UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Towaki Komatsu,                                                                          FIRST AMENDED
                                                                                         COMPLAINT

                          Plaintiff,                                                     No. 20-cv-8540

            -vs-                                                                         JURY DEMAND

The City of New York, Shauna Stribula, Harold Miller, Jane Doe1
10/12/17, NYPD Detective Nicholas Mason (shield #: 6995), NYPD
Officer Lance (shield #: 245), NYPD Officer Ranieri (shield #: 24361),
NYPD Officer Suzuki (shield #: 7373), NYPD John Doe1 10/12/17,
NYPD John Doe2 10/12/17, NYPD John Doe3 10/12/17, NYPD John
Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD John Doe6
10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17,
NYPD Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Rachel
Atcheson, Pinny Ringel, Dustin Ridener, Jane Doe1 10/18/17, NYPD
Officer Jerry Ioveno (shield #: 5560), NYPD Officer Santana (shield #:
7291), NYPD John Doe1 10/18/17, NYPD John Doe2 10/18/17, NYPD
John Doe3 10/18/17, NYPD John Doe4 10/18/17, NYPD John Doe5
10/18/17, NYPD John Doe6 10/18/17, NYPD Inspector Howard
Redmond, NYPD Lieutenant Ralph Nieves, NYPD Officer Baez (shield
#: 5984), NYPD Officer Raymond Gerola (shield #: 6577), NYPD
Officer Joe Ventri, NYPD John Doe1 10/25/17, NYPD John Doe2
10/25/17, NYPD John Doe3 10/25/17, NYPD John Doe4 10/25/17,
NYPD John Doe5 10/25/17, NYPD John Doe6 10/25/17, NYPD Officer
Jemaal Gungor, NYPD Officer Edward Klein, NYPD Officer Zappia
(shield #: 4152), NYPD Officer Barker (shield #: 13845), NYPD John
Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19,
NYPD John Doe4 3/18/19, NYPD John Doe5 3/18/19, NYPD Sergeant
Ryan Dwyer, NYPD Sergeant Jordan Mazur, NYPD Detective Stephen
Halk, Marco Carrion, Jessica Ramos, Stephen Levin, Bill de Blasio,
Anthony Shorris, James O’Neill, Cyrus Vance, Jr., Lawrence Byrne, Jr.,

•   All of the defendants listed above who are people are being sued in
    their individual and official capacities,

                          Defendants.
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       Plaintiff Towaki Komatsu (hereinafter referred to in the first-person as “I”, “me”, and

“my”), proceeding pro se in this action, does hereby state and allege all that follows in this

pleading.

                                    PRELIMINARY REMARKS

1.     The following applies throughout this complaint in the interests of brevity:

       a.      Acronyms and aliases in the second column of the following table will be used

       throughout this pleading instead of the entries in the third column to which they

       correspond:

       #      Abbreviation         Corresponds To
       1      ACLU                 American Civil Liberties Union
       2      Bronx DA             Bronx District Attorney’s office
       3      CCRB                 New York City Civilian Complaint Review Board
       4      City Council         New York City Council
       5      City Hall email      Excerpts from a 374-page PDF file that I was provided on
              excerpts             2/15/19 by the New York City Mayor’s office in response
                                   to a Freedom of Information Law demand that I submitted
                                   to it. Those excerpts correspond to e-mail messages that
                                   appear on pages 211 212, and 361 thru 374 in that file.
                                   Information shown on those pages was provided to me with
                                   redactions. Copies of e-mail messages about me that were
                                   sent 4/10/17, 6/28/17, and 6/29/17 appear on those pages.
                                   Those e-mail messages partly concern litigation that I
                                   commenced against the New York City Human Resources
                                   Administration (“HRA”) in which I was then involved that
                                   are closely related to my claims in this action. Senior
                                   members of the New York City Mayor’s administration and
                                   the head of the Mayor’s NYPD security detail (Defendant
                                   Redmond) sent those e-mail messages to HRA
                                   Commissioner Steven Banks and amongst themselves.
                                   Those excerpts are available in a PDF file that is available
                                   on the Internet at
                                   https://drive.google.com/file/d/16wSpJ7kk-
                                   aOtx7Bkg8MeqUpyWd5Io2hR/view?usp=sharing
       6      Defendant City       Defendant City of New York
       7      DHS                  New York City Department of Homeless Services
       8      DOE                  New York City Department of Education
       9      DOI                  New York City Department of Investigations
       10     DOJ                  U.S. Department of Justice


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11   DSS         New York City Department of Social Services
12   FOIL        Freedom of Information Law
13   FRCP        Federal Rule of Civil Procedure
14   HPD         New York City Department of Housing, Preservation and
                 Development
15   HRA         New York City Human Resources Administration
16   IAB         The NYPD’s Internal Affairs Bureau
17   K1          The related federal lawsuit that I commenced against the
                 City of New York, Defendant Nieves, and others in April of
                 2018 that corresponds to the ongoing case of Komatsu v.
                 City of New York, No. 18-cv-3698 (LGS)(GWG)(S.D.N.Y.)
                 that my claims in this case relate back to and amplify. The
                 judges in that case refused to grant me sufficient time to file
                 a further amended complaint in that case that would have
                 otherwise enabled me to assert my claims in that case
                 instead of in this case. In fact, Judge Lorna Schofield
                 explicitly directed me to instead commence a new civil
                 action for additional claims that I sought to assert in that
                 case.
18   K2          The related federal lawsuit that I commenced against the
                 City of New York, Mr. Banks, and others on 8/14/20 that
                 corresponds to the ongoing case of Komatsu v. City of New
                 York, No. 18-cv-6510(LLS)(S.D.N.Y.) that my claims in
                 this case relate back to and amplify.
19   K3          The related federal lawsuit that I commenced against the
                 City of New York, Defendant Nieves, Hansen, and others
                 on 8/29/20 that corresponds to the ongoing case of Komatsu
                 v. City of New York, No. 18-cv-7046 (ER)(S.D.N.Y.) that
                 my claims in this case relate back to and amplify.
20   K4          The related federal lawsuit that I commenced against the
                 City of New York as well as Defendants, Mason, Nieves,
                 and others on 9/13/20 that corresponds to the ongoing case
                 of Komatsu v. City of New York, No. 18-cv-7502(S.D.N.Y.)
                 that my claims in this case relate back to and amplify.
21   K5          The related federal lawsuit that I commenced against the
                 City of New York as well as Defendants, Mason, Nieves,
                 and others on 9/25/20 that corresponds to the ongoing case
                 of Komatsu v. City of New York, No. 18-cv-8004(S.D.N.Y.)
                 that my claims in this case relate back to and amplify.
22   K6          The related federal lawsuit that I commenced against the
                 City of New York as well as Defendants, Mason, Nieves,
                 and others on 10/5/20 that corresponds to the ongoing case
                 of Komatsu v. City of New York, No. 18-cv-
                 8251(ER)(S.D.N.Y.) that my claims in this case relate back
                 to and amplify.
23   The Mayor   New York City Mayor Bill de Blasio


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24   Mayor’s 3/15/17   The town hall meeting that the Mayor conducted on 3/15/17
     town hall         in the Chelsea district in Manhattan as New York City
                       Councilman Corey Johnson was its moderator
25   Mayor’s 4/27/17   The public town hall meeting that members of the public
     town hall         conducted in a collaborative manner with the Mayor, Mr.
                       Banks, New York City Councilman Jimmy Van Bramer,
                       and other government officials as a mostly traditional
                       public forum on 4/27/17 in Long Island City in Queens that
                       was subject to New York State’s Open Meetings Law and
                       was used a campaign event to support the Mayor’s re-
                       election interests that I was illegally barred from attending
                       while I had active litigation against HRA.
26   Mayor’s 5/23/17   The public resource fair meeting that members of the public
     resource fair     conducted in a collaborative manner with the Mayor, Mr.
                       Banks, and other government officials as a mostly
                       traditional public forum on 5/23/17 inside of the Bronx
                       Supreme Court. That public forum was subject to New
                       York State’s Open Meetings Law and I was illegally barred
                       from attending it while I had active litigation against HRA
                       that included claims about being illegally barred from
                       public forums that the Mayor and Mr. Banks conducted.
27   Mayor’s 9/8/17    The public hearing that the Mayor conducted on 9/8/17 at 2
     public hearing    pm in the Blue Room in City Hall that partly concerned
                       proposed legislation about reforming the NYPD as I was
                       illegally prevented from attending that hearing. That public
                       forum was subject to New York State’s Open Meetings
                       Law and I was illegally barred from attending it while I had
                       active litigation against HRA that included claims about
                       being illegally barred from public forums that the Mayor
                       conducted.
28   Mayor’s 9/14/17   The public town hall meeting that members of the public
     town hall         conducted in a collaborative manner with the Mayor, Mr.
                       Banks, New York City Councilman Chaim Deutsch, and
                       other government officials as a mostly traditional public
                       forum on 9/14/17 at 2525 Haring Street in Brooklyn. That
                       public forum was subject to New York State’s Open
                       Meetings Law and I was illegally barred from attending it
                       from within the room in which it was conducted while I had
                       active litigation against HRA that included claims about
                       being illegally barred from public forums that the Mayor
                       and Mr. Banks conducted.




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29   Mayor’s 9/26/17   The public town hall meeting that members of the public
     town hall         conducted in a collaborative manner with the Mayor, Mr.
                       Banks, former New York City Councilman Dan Garodnick,
                       and other government officials as a mostly traditional
                       public forum on 9/26/17 at 245 East 56th Street in
                       Manhattan. That public forum was subject to New York
                       State’s Open Meetings Law and I was illegally barred from
                       attending it from within the room in which it was conducted
                       while I had active litigation against HRA that included
                       claims about being illegally barred from public forums that
                       the Mayor and Mr. Banks conducted.
30   Mayor’s 9/27/17   The public resource fair meeting that members of the public
     resource fair     conducted in a collaborative manner with the Mayor, Mr.
                       Banks, and other government officials as a mostly
                       traditional public forum on 9/27/17 at 3940 Broadway in
                       Manhattan. That public forum was subject to New York
                       State’s Open Meetings Law and I was illegally barred from
                       attending it while I had active litigation against HRA that
                       included claims about being illegally barred from public
                       forums that the Mayor and Mr. Banks conducted.
31   Mayor’s 9/28/17   The public town hall meeting that members of the public
     town hall         conducted in a collaborative manner with the Mayor, Mr.
                       Banks, former New York City Councilwoman Melissa
                       Mark-Viverito, and other government officials as a mostly
                       traditional public forum on 9/28/17 at 1833 Lexington
                       Avenue in Manhattan. That public forum was subject to
                       New York State’s Open Meetings Law and I was illegally
                       barred from attending it while I had active litigation against
                       HRA that included claims about being illegally barred from
                       public forums that the Mayor and Mr. Banks conducted.




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32   Mayor’s 10/4/17   The public town hall meeting that members of the public
     town hall         conducted in a collaborative manner with the Mayor, Mr.
                       Banks, New York City Councilman Ritchie Torres, and
                       other government officials as a mostly traditional public
                       forum on 10/4/17 at 2452 Washington Avenue in the
                       Bronx. That public forum was subject to New York State’s
                       Open Meetings Law. I was illegally barred from attending
                       that public forum:

                          a) While I had active litigation against HRA that
                          included claims about being illegally barred from public
                          forums that the Mayor and Mr. Banks conducted,

                          b) Just 1 day after Defendants Mason and Hansen
                          illegally prevented me from attending a public press
                          conference in front of City Hall that concerned
                          reforming the NYPD.

                          c) Just 1 day after both Manhattan District Attorney
                          Cyrus Vance, Jr. and Lawrence Byrne, Jr. informed me
                          during a meeting that was conducted at the New York
                          City Bar Association that was partly recorded on audio
                          that they would willfully violate their Fourteenth
                          Amendment affirmative legal duty as law-enforcement
                          officials to intervene on my behalf to uphold my
                          constitutional rights by refusing to do their jobs as I
                          apprised them of crimes that members of the NYPD
                          were committing against me at public forums that the
                          Mayor was conducting and they told me then that they
                          would not do anything about that.

                          d) Just 2 days after I testified to New York City
                          Councilman Eric Ulrich and others during the public
                          hearing that the City Council’s Committee on Veterans
                          conducted in City Hall partly about being illegally
                          barred from public forums that the Mayor conducted.




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33   Mayor’s         The public town hall meeting that members of the public
     10/12/17 town   conducted in a collaborative manner with the Mayor, Mr.
     hall            Banks, former New York City Councilwoman Rosie
                     Mendez, and other government officials as a mostly
                     traditional public forum on 10/12/17 in a school located at
                     442 E Houston Street in Manhattan. That school is
                     controlled by the New York City Department of Education.
                     That public forum was subject to New York State’s Open
                     Meetings Law. I was illegally barred from attending that
                     public forum by Defendant Stribula and others:

                        a) While I continued to have active litigation against
                        HRA that included claims about being illegally barred
                        from public forums that the Mayor and Mr. Banks
                        conducted,

                        b) While I was engaged in protected activity on
                        10/12/17 partly by distributing literature containing
                        whistleblowing information against the Mayor’s
                        administration and NYPD security detail that I prepared
                        to members of the public as I waited in line with them
                        to attend that town hall before I was illegally coerced by
                        Defendant Stribula to leave that line as she then
                        threatened me by telling me that she would arrange for
                        Defendant Redmond to coerce me to leave that line if I
                        didn’t immediately exit it.

                        c) While Defendant Stribula flat out lied to my face by
                        claiming that I had turned down offers of legal
                        assistance that she claimed I had received as a result of
                        referrals that I received to legal services organizations.
                        Contrary to her deceit, I never received any offers that
                        to be provided legal assistance.

                         d) Just 8 days after Defendant Mason and others
                         illegally prevented me from attending the Mayor’s
                         10/4/17 town hall.
34   Mayor’s         The video recording that the Mayor’s office arranged to be
     10/12/17 town   recorded of the Mayor’s 10/12/17 town hall. That video is
     hall video      available on the Internet at
                     https://www.youtube.com/watch?v=seUP48e0KUY




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35   Mayor’s           The public town hall meeting that members of the public
     10/18/17 town     conducted in a collaborative manner with the Mayor, Mr.
     hall              Banks, New York City Councilwoman Stephen Levin, and
                       other government officials as a mostly traditional public
                       forum on 10/18/17 at 180 Remsen Street in Brooklyn. That
                       public forum was subject to New York State’s Open
                       Meetings Law
36   Mayor’s           The video recording that the Mayor’s office arranged to be
     10/18/17 town     recorded of the Mayor’s 10/12/17 town hall. That video is
     hall video        available on the Internet at
                       https://www.youtube.com/watch?v=QJ9MnU8so4E.
37   Mayor’s           The public resource meeting that members of the public
     10/25/17          conducted in a collaborative manner with the Mayor, Mr.
     resource fair     Banks, and other government officials as a traditional
                       public forum on 10/25/17 at Brooklyn College that is
                       located at 2705 Campus Road in Brooklyn. That public
                       forum was subject to New York State’s Open Meetings
                       Law. I was illegally barred from attending that public
                       forum by Defendants Redmond, Nieves, Baez, Gerola, and
                       others:

                           a) While I continued to have active litigation against
                           HRA
38   Mayor’s 3/18/19   The public hearing that the Mayor conducted at 4:30 pm on
     public hearing    3/18/19 in the Blue Room inside of City Hall for which the
                       Mayor’s Office issued public notice on the Internet that is
                       available at https://a856-
                       cityrecord.nyc.gov/RequestDetail/20190307108 and
                       confirmed that the agenda for that hearing partly concerned
                       labor rights.
39   Mayor’s 3/18/19   The video recording that the Mayor’s office arranged to be
     public hearing    recorded of the Mayor’s 3/19/17 town hall. That video is
     video             available on the Internet at
                       https://www.youtube.com/watch?v=rqwyR7ZD23M.
40   Mayor’s CAU       The Mayor’s Community Affairs Unit
41   Mr. Banks         HRA Commissioner Steven Banks




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       42     My HRA lawsuit       The hybrid lawsuit that I commenced against HRA in
                                   January of 2017 that corresponds to Komatsu v. New York
                                   City Human Resources Administration, No. 100054/2017
                                   (Sup. Ct., New York Cty.) and is being appealed. I asserted
                                   claims in that case that my claims in this case relate back to
                                   and amplify. Prior to 6/8/17, I asserted claims in that case
                                   that concerned illegal acts and omissions that were
                                   committed against me by defendants in this action that
                                   caused me to have been illegally barred from attending both
                                   the Mayor’s 4/27/17 town hall and the Mayor’s 5/23/17
                                   public resource fair meeting.
       43     NTT Data, Inc.       NTT
       44     NYAG                 New York State Attorney General’s Office
       45     NYCHA                New York City Housing Authority
       46     NYCLU                New York Civil Liberties Union
       47     OCA                  New York State Office of Court Administration
       48     OTDA                 The New York State Office of Temporary and Disability
                                   Assistance
       49     Second Circuit       United States Court of Appeals for the Second Circuit
       50     Urban                Urban Pathways, Inc. It is the slumlord for the building in
                                   which I reside.

2.     In response to a FOIL demand that I submitted to the NYPD on 3/18/19, it provided me

with a set of video recordings that were recorded by video security cameras that it controls that

are installed in the immediate vicinity of City Hall that were recorded on 3/18/19 as it also

illegally didn’t provide me additional video recordings that were recorded on that date by

additional video security cameras that it controls that are located in that same area that it was

required to provide to me pursuant to FOIL and my First Amendment rights. Among the video

recordings that the NYPD provided to me in response to that FOIL demand to which the NYPD

assigned the FOIL identification code of “FOIL-2019-056-04374” were two significant video

recordings about which the following fact apply:

       a.      One of those video recordings is a file that I have renamed as “View of Park Row

       entrance to City Hall on 3-18-19_7.26183 - Park Row ES 1 North of Spruce St (City

       Hall) Cam-2 (26116).mp4”. The following additional relevant facts apply about that



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video:

      i.It is hereinafter referred to in this complaint as “NYPD 3/18/19 video2”.

     ii.It shows a wide view of the area by the entrance to City Hall that is located by

         Park Row.

     iii.A copy of it is available on the Internet at

         https://drive.google.com/open?id=1IKBHpLvN7zSX6RLwaBiQ5G6a1JKokErR.

     iv.That video is 1 hour and 4 seconds long.

     v.That video was recorded at some point between 4:10 pm and 5:30 pm on 3/18/19.

     vi.Defendant NYPD John Doe5 3/18/19 appears in it at the elapsed time of 56

         minutes and 54 seconds. The next screenshot is from that video and corresponds

         to that elapsed time. Defendant NYPD John Doe5 3/18/19 is the person who

         appears on the far-left in it. I appear in that screenshot on the right and was then

         wearing a white sweater, blue jeans, and a black backpack.




b.       The other video recording is a file that I have renamed as “Aerial view of entrance

to City Hall from Park Row on 3-18-19_7.26183 - Park RowCITYHALL-C114-EXT-




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       City Hall Plaza PTZ (26118).mp4”. The following additional relevant facts apply about

       that video:

             i.It is hereinafter referred to in this complaint as “NYPD 3/18/19 video1”.

             ii.It shows an aerial view of the area of City Hall that is located of the front of City

               Hall.

            iii.A copy of it is available on the Internet at

               https://drive.google.com/open?id=1rTBOcU2txrQwI23vkaB2lRK90H8dsv1j.

            iv.That video is 1 hour long.

             v.That video was recorded at some point between 4:10 pm and 5:30 pm on 3/18/19.

            vi.Defendant Gungor and I appear in it at the elapsed time of 54 minutes and 17

               seconds as he escorted me out of City Hall’s building through its main entrance.

3.     The next screenshot is from a video recording that was recorded on 4/8/19 that the NYPD

provided to me in response to a timely FOIL demand that I submitted to it. That video was

recorded by a video security camera that the NYPD controls from which the NYPD illegally

didn’t provide me any video recording that was recorded on 3/18/19. I appear in this screenshot

as I stood near City Hall’s entrance by Park Row as I wore a gray sweatshirt, blue jeans, a black

backpack. The Mayor also appears in it near a SUV vehicle that was parked on City Hall’s

grounds as he stood in front of that SUV.




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4.     Defendant NYPD John Doe1 3/18/19 is clearly shown at the elapsed time of 17 minutes

and 29 seconds in the video recording that the Mayor’s Office arranged to be recorded of the

Mayor’s 3/18/19 4:30 pm public hearing.

5.     Every reference that I make in this pleading that concerns my efforts to have attended the

Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, and c) 10/25/17 resource fair concern

those that I made to lawfully attend them from within the room in which the Mayor, Mr. Banks,

and/or other government officials jointly conducted them as they were conducted, shortly before

they began, and shortly after they ended.

6.     Every reference that I make in this pleading that concerns my efforts to have attended the

Mayor’s 3/18/19 public hearing concern those that I made to lawfully attend and testify in it in

accordance with the entire array of my constitutional rights and all other applicable laws without

illegal interference from anyone and certainly without being illegally seized while doing so.

7.     References to HRA, DHS, and DSS will be used interchangeably in this pleading for

simplicity.

8.     The Exhibit A that is annexed to this complaint is comprised of public notices that the

City of New York issued on the Internet for the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town



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hall, and c) 10/25/17 resource fair. Those notices contain the following details:

        a.       When and where those public forums would be conducted.

        b.       How those who sought to attend those public forums could register in advance to

        do so.

        c.       When the doors would open for those public forums on the dates when they were

        conducted.

        d.       The identities of some of the government officials and government agencies with

        which the Mayor conducted those meetings as mostly traditional public forums.

        e.       The identities of various groups that helped to sponsor those public forums.

9.      At 10:40 am on 10/11/17, a Twitter posting was posted on the Internet at

https://twitter.com/RosieMendez/status/918124076358668289 by a Twitter account that is

registered to former New York City Councilwoman Rosie Mendez. That Twitter account has the

username of “@RosieMendez”. Ms. Mendez was the moderator of the Mayor’s 10/12/17 town

hall. That Twitter posting included the following pertinent remark about attending the Mayor’s

10/12/17 town hall as well as images that were public notices about the Mayor’s 10/12/17 town

hall:

        “Deadline to rsvp for Thursday's townhall has been extended to Thursday at 12pm”

10.     At 6:25 pm on 10/18/17, a Twitter posting was posted on the Internet at

https://twitter.com/StephenLevin33/status/920777889305579521 by a Twitter account that is

registered to Defendant Levin. That Twitter account has the username of “@StephenLevin33”.

That Twitter posting included the following pertinent remark in violation of New York State

General Business Law §349 about attending the Mayor’s 10/18/17 town hall that hindsight

confirms was entirely and grossly misleading, fraudulent, deceptive, and disingenuous with




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respect to whether I could lawfully attend that public forum in accordance with my constitutional

rights to have done so:

       “Join us and LIVE as we host a town hall right here in @NYCMayor the 33rd District!”

11.    The following shows an e-mail message that I sent to register in advance to attend the

Mayor’s 10/12/17 town hall:

       From: Towaki Komatsu <towaki_komatsu@yahoo.com>
       Subject: RSVP for 10/12/17 public Town Hall meeting with New York City's Mayor
       Date: October 5, 2017 at 12:11:01 PM EDT
       To: manhattantownhall@cityhall.nyc.gov

       My name is Towaki Komatsu

       This e-mail serves as my RSVP for the 10/12/17 public Town Hall meeting New York
       City’s Mayor will hold.

       Pursuant to New York State’s Open Meetings Law, I have a legal right to attend that
       public town hall meeting.

       Any attempt to hinder my ability to attend it will constitute a violation of both that law
       and the federal criminal statute that concerns obstruction of justice, specifically 18 U.S.C.
       1512.

       Any such attempt to hinder my ability to attend that public meeting will be severely dealt
       with from a legal standpoint.

12.    The statements that I made in that e-mail message were entirely appropriate and reflected

the fact that members of the Mayor’s staff and members of the NYPD had repeatedly and

illegally prevented me from attending public town hall meetings, public resource fair meetings,

public hearings that the Mayor conducted since 4/27/17.

13.    The following shows an e-mail message that I sent to register in advance to attend the

Mayor’s 10/18/17 town hall:

       From: Towaki_Komatsu@yahoo.com
       Subject: Re: RSVP for 10/18/17 public Town Hall meeting with New York City's Mayor
       Date: October 11, 2017 at 7:09:25 PM EDT
       To: brooklyntownhall@cityhall.nyc.gov



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       This is my RSVP for the Mayor's 10/18/17 public town hall meeting.

       Towaki Komatsu

14.    The next screenshot is from an online form that I submitted on 10/19/17 to register in

advance to attend the Mayor’s 10/25/17 resource fair before saved that form information as a

PDF file that truncated some of the text that submitted in that form. I expressed in that form that

I intended to discuss illegal and repeated acts of viewpoint discrimination while attending the

Mayor’s 10/25/17 resource fair. That form also confirms that I then made it clear that I sought to

talk with personnel who then worked for DSS, the NYPD, and DOE as well as people who dealt

with issues for tenants.




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15.    After I submitted that online registration form to attend the Mayor’s 10/25/17 resource

fair, the following confirmation notice appeared on the web page that sufficiently confirmed I

would be able to attend the Mayor’s 10/25/17 resource fair:




16.    The illegal acts and omissions that were committed against me on 10/12/17, 10/18/17,

10/25/17, and 3/18/19 at the sites of public forums that my claims in this complaint concern were

committed in relation to my efforts to have exercised my legal right to have done the following:

       a.        Lawfully attended those public forums in accordance with my constitutional

       rights.

       b.        Exercised the full extent of my rights while attending them partly by engaging in

       protected whistleblowing about a broad array of matters of public concern and private

       matters.

17.    This is a civil rights action to vindicate my rights in response to illegal acts and omissions

that were committed against me on 10/12/17, 10/18/17, 10/25/17, and 3/18/19 at the sites of

public forums that the Mayor conducted with other government officials in relation to my efforts

to have lawfully attended them while Defendant Howard Redmond was a) the head of the

Mayor’s NYPD security detail and b) the primary defendant in Sherrard v. City of New York,

No. 15-cv-7318 (MB) (S.D.N.Y. Jun. 13, 2018). Since 4/27/17, I was aware of his status as the

defendant in Sherrard v. City of New York by having conducted research about him then in the

wake of illegal acts and omissions that he and others committed against me on 4/27/17 that


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caused me to be illegally barred from attending the Mayor’s 4/27/17 town hall in flagrant

violation of my constitutional rights and other applicable laws. Those who committed such

illegal acts and omissions against me on 10/12/17, 10/18/17, 10/25/17, and 3/18/19 mostly did so

as part of a conspiracy in retaliation against me that was mainly for protected whistleblowing and

litigation activities that I continued to be engaged in against Mr. Redmond, themselves, other

members of the NYPD, members of the Mayor’s staff, HRA, HRA’s business partners, Mr.

Banks, New York State court officers, and others. Such protected whistleblowing and litigation

activities that this concerns were largely related to my HRA lawsuit and earlier illegal acts and

omissions that were committed against me in flagrant violation of the Hatch Act (5 U.S.C.

§1502(a)(1)) and other laws for the mutual benefit of the Mayor, members of the City Council,

and those who committed such illegal acts and omissions leading up to the 2017 New York City

government election in the interest of extending their job security and maintaining their access to

opportunities to further advance their careers. Such illegal acts and omissions wee committed

against me on the following dates by the defendants in this action and others in relation to efforts

that I previously undertook to exercise my constitutional rights to lawfully attend and participate

in 14 earlier public forums that a) would have otherwise been conducted partly by me on 4/12/17

with respect to a scheduled oral arguments hearing in my HRA lawsuit that Jeffrey Moszyc of

HRA illegally stole from me by engaging in illegal ex-parte communications to request an

adjournment and b) were partly conducted by the Mayor, Mr. Banks, and others that included

public town hall meetings, public resource meetings, public hearings, a publicity stunt that the

Mayor conducted on 7/25/17 in a public area of a subway station, and a public press conference

on 10/3/17 that about reforming the NYPD:

       4/12/17, 4/27/17, 5/23/17, 6/8/17, 7/12/17, 7/25/17, 8/30/17, 9/8/17, 9/14/17, 9/26/17,
       9/27/17, 9/28/17, 10/3/17, 10/4/17



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18.    While committing such illegal acts and omissions against me on 10/12/17, 10/18/17,

10/25/17, and 3/18/19 that my claims in this complaint concern, that was done to extend a

campaign of harassment, retaliation, and unequal and discriminatory acts against me at public

forums dating back to 4/27/17 that the Mayor and other government officials conducted with

members of the public in a collaborative manner as the Mayor and such other government

officials were running for re-election and using those public forums to try to improve their re-

election prospects partly by trying to attract publicity.

19.    The illegal acts and omissions that were committed against me on 10/12/17, 10/18/17,

10/25/17, and 3/18/19 as well as on earlier dates that go as far back to 4/27/17 at public forums

that the Mayor conducted with other government officials and continued long after 10/25/17 at

additional public forums that they conducted were acts of voter suppression, voter fraud,

whistleblower retaliation, a malicious and naked abuse of process, illegal selective-enforcement,

standardless discretion, viewpoint discrimination in violation of the Hatch Act, my constitutional

rights, federal and New York State criminal statutes, New York State’s Open Meetings Law, and

other applicable laws that were against me directly and others indirectly largely by illegally

depriving the public of relevant and significant information that it could use to make informed

voting decisions during the 2017 New York City government elections that I sought to lawfully

and widely broadcast by attending public forums that the Mayor conducted within the rooms in

which they were conducted while they were recorded on video that could amplify and extend the

reach of the critical views against the Mayor’s administration, the NYPD, the Mayor’s

administration’s business partners, and whistleblower news censors in journalism that I sought to

lawfully express.




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                                  JURISDICTION AND VENUE

1.       This Court has subject matter jurisdiction over federal claims pursuant to 28 U.S.C.

§§1331 and 1343. This action is brought pursuant to 42 U.S.C. §§1983, 1985, 1988 and the First,

Fourth, Fifth, and Fourteenth Amendments of the U.S. Constitution.

2.       My claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§2201 and

2202, FRCP Rules 57 and 65, and the general legal and equitable powers of this Court.

3.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because I reside in the Bronx and the

illegal acts and omissions that were committed against me that this complaint concerns occurred

in Manhattan and Brooklyn.

4.       An award of costs and attorneys' fees is authorized pursuant to 42 U.S.C. §1988.

5.       Consistent with the requirements of New York General Municipal Law § 50-e, I filed a

timely Notice of Claim with the New York City Comptroller within 90 days of the accrual of my

claims under New York law.

6.       My claims have not been adjusted by the New York City Comptroller's Office.

                                              PARTIES

1.       I am, and was at all times relevant to this action, a resident of Bronx County in the State

of New York. I am also a U.S. Navy veteran, who swore to defend the U.S. Constitution against

all of its enemies indefinitely and without exceptions. I have honored that oath and continue to

do so.

2.       At all times relevant herein Defendant Bill de Blasio and Defendant James O’Neill were

employees of the City of New York.

3.       At all times relevant herein, a) Defendant de de Blasio has been the Mayor of the City of

New York, b) Defendant James O’Neill was the commissioner of the NYPD, and c) Defendant




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Lawrence Byrne, Jr. was the Deputy Commissioner for Legal Matters for the NYPD. As the

commissioner of the NYPD, Defendant O’Neill was among others who were responsible for how

the NYPD operated, how the NYPD’s personnel were trained, how they were supervised, and

how they were disciplined. In his capacity as the Deputy Commissioner for Legal Matters for the

NYPD, Defendant Byrne, Jr. was similarly responsible for having the members of the NYPD

operate within the bounds of applicable laws while they were on-duty as members of the NYPD.

Defendant de Blasio was also partly responsible for how the NYPD operated and was supervised

at all times relevant herein partly by having the power to replace Defendant O’Neill as the

NYPD’s commissioner and set the budget for the NYPD. In regards to this point, Mr. de Blasio

was recorded on video on 11/30/17 during the public town hall meeting that he conducted in

Queens as he stated the following:

       “If you have a problem with policing, I am ultimately responsible.”

4.     Mr. De Blasio is shown and heard as he made that remark in that video at the elapsed

time of 1 hour, 49 minutes, and 19 seconds. That video recording is available on the Internet at

https://www.youtube.com/watch?v=CRV0IKbg5tQ.

5.     Defendant City of New York is a municipal corporation duly incorporated and authorized

under the laws of the State of New York pursuant to §431 of its Charter. The City of New York

is authorized under the laws of the State of New York to maintain a police department, the

NYPD, which is supposed to act as its agent in the area of law-enforcement and for which it and

the Mayor are ultimately responsible. The City and the Mayor both assume the risks incidental to

the maintenance of a police force and the employment of police officers.

6.     The following defendants in this action were at all times relevant herein officers,

employees, and agents of the NYPD and the City of New York:




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       NYPD Detective Nicholas Mason (shield #: 6995), NYPD Officer Lance (shield #: 245),
       NYPD Officer Ranieri (shield #: 24361), NYPD Officer Suzuki (shield #: 7373), NYPD
       John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD John Doe3 10/12/17, NYPD
       John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD Jane Doe1 10/12/17, NYPD
       Jane Doe2 10/12/17, NYPD Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, NYPD
       Officer Jerry Ioveno (shield #: 5560), NYPD Officer Santana (shield #: 7291), NYPD
       John Doe1 10/18/17, NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD
       John Doe4 10/18/17, NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, NYPD
       Inspector Howard Redmond, NYPD Lieutenant Ralph Nieves, NYPD Officer Baez
       (shield #: 5984), NYPD Officer Raymond Gerola (shield #: 6577), NYPD Officer Joe
       Ventri, NYPD John Doe3 10/25/17, NYPD John Doe5 10/25/17, NYPD John Doe6
       10/25/17, NYPD Officer Jemaal Gungor, NYPD Officer Edward Klein, NYPD Officer
       Zappia (shield #: 4152), NYPD Officer Barker (shield #: 13845), NYPD John Doe1
       3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
       3/18/19, NYPD John Doe5 3/18/19, NYPD Sergeant Ryan Dwyer, NYPD Sergeant
       Jordan Mazur, NYPD Detective Stephen Halk, James O’Neill, Lawrence Byrne, Jr.

7.     Defendants Nieves, O’Neill, and Byrne, Jr. have retired from the NYPD.

8.     Upon information and belief, Defendants NYPD John Doe6 10/12/17, NYPD John Doe1

10/25/17, NYPD John Doe2 10/25/17, and NYPD John Doe4 10/25/17 were officers, employees,

and/or agents of the NYPD and the City of New York on 10/25/17.

9.     The following facts apply to the defendants in this action who I identify with John Doe

and Jane Doe in their names:

       a.     They were people whose real names I don’t know.

       b.     They worked for the NYPD and/or Mayor’s office at all times relevant herein.

       c.     They appear in video recordings that I recorded on 10/12/17, 10/18/17, 10/25/17,

       and 3/18/19 as they were committing illegal acts and omissions against me that concern

       my claims in this action.

       d.     Most of those defendants appear in the video recordings listed in the following

       table at the elapsed time shown while some of those defendants instead appear in other

       video recordings that I didn’t record and sufficiently discuss in this complaint to identify

       those other defendants:



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#    Defendant            Video             Elapsed Time
1    NYPD John Doe1       IMG_2581.MOV      1 second
     10/12/17
2    NYPD John Doe2       IMG_2591.MOV      2 seconds
     10/12/17
3    NYPD John Doe3       IMG_2591.MOV      2 seconds
     10/12/17
4    NYPD John Doe4       IMG_2582.MOV      2 seconds
     10/12/17
                          IMG_2736.mov      34 seconds
5    NYPD John Doe5       IMG_2585.MOV      3 seconds
     10/12/17
                          IMG_2587.mov      2 seconds
6    NYPD John Doe6       IMG_2588.MOV      2 seconds
     10/12/17
7    NYPD Jane Doe1       IMG_2581.MOV      2 seconds
     10/12/17
8    NYPD Jane Doe2       IMG_2593.MOV      2 seconds
     10/12/17
9    NYPD Jane Doe3       IMG_2582.MOV      2 seconds
     10/12/17
10   NYPD Jane Doe4       IMG_2588.MOV      2 seconds
     10/12/17
11   Jane Doe1 10/12/17   IMG_2581.MOV      The very beginning
12   Jane Doe1 10/18/17   IMG_2736.MOV      7 seconds
13   NYPD John Doe1       IMG_2736.MOV      19 seconds
     10/18/17
14   NYPD John Doe2       IMG_2736.MOV      34 seconds
     10/18/17
15   NYPD John Doe3       IMG_2736.MOV      34 seconds
     10/18/17
16   NYPD John Doe4       IMG_2736.MOV      34 seconds
     10/18/17
17   NYPD John Doe5       IMG_2737.MOV      12 seconds
     10/18/17
18   NYPD John Doe6       IMG_2737.MOV      12 seconds
     10/18/17
19   NYPD John Doe1       IMG_2853.MOV      26 seconds, 28
     10/25/17                               seconds
20   NYPD John Doe2       IMG_2853.MOV      27 seconds
     10/25/17
21   NYPD John Doe3       IMG_2857.MOV      33 seconds
     10/25/17
22   NYPD John Doe4       IMG_2857.MOV      34 seconds
     10/25/17
                          IMG_2863.MOV      7 seconds


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       23     NYPD John Doe5            IMG_2857.MOV                   34 seconds
              10/25/17
       24     NYPD John Doe6            IMG_2857.MOV                   34 seconds
              10/25/17
       25     NYPD John Doe2            IMG_8277.MOV                   13 seconds
              3/18/19
       26     NYPD John Doe3            IMG_8374.MOV                   59 seconds
              3/18/19
       27     NYPD John Doe4            IMG_8277.MOV                   2 minutes and 25
              3/18/19                                                  seconds


10.    The faces of the defendants in this action who I identify with John and Jane Doe in their

names are shown in the following table at the elapsed times in the video recordings to which I

just referred and otherwise referred earlier in this complaint:

#     Defend-     Image                                           Comments
      ant
1      NYPD                                                       He is shown standing next to
      John                                                        Defendant Lance and behind ad
      Doe1                                                        top the left of Defendant Stribula.
      10/12/17
                                                                  He illegally didn’t try to intervene
                                                                  on my behalf to enable me to
                                                                  attend the Mayor’s 10/12/17 town
                                                                  hall in violation of 42 USC
                                                                  §1986, 42 USC §1985, his oath as
                                                                  a member of the NYPD, my
                                                                  Fourteenth Amendment rights,
                                                                  and other laws as he acted in
                                                                  concert with Defendant Stribula
                                                                  and others to illegally prevent me
                                                                  from attending that public forum.




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2   NYPD                        She is shown standing behind
    Jane                        Defendants Lance and NYPD
    Doe2                        John Doe1 10/12/17 as they stood
    10/12/17                    next to one another and behind
                                Defendant Stribula.

                                She illegally didn’t try to
                                intervene on my behalf to enable
                                me to attend the Mayor’s
                                10/12/17 town hall in violation of
                                42 USC §1986, 42 USC §1985,
                                her oath as a member of the
                                NYPD, my Fourteenth
                                Amendment rights, and other
                                laws as she acted in concert with
                                Defendant Stribula and others to
                                illegally prevent me from
                                attending that public forum.
3   NYPD                        He is shown standing on a
    John                        sidewalk near Defendant Stribula
    Doe2                        and an entrance to the property of
    10/12/17                    the school that hosted the
                                Mayor’s 10/12/17 town hall as he
                                illegally didn’t try to intervene on
                                my behalf to enable me to attend
                                that town hall in violation of 42
                                USC §1986, 42 USC §1985, his
                                oath as a member of the NYPD,
                                my Fourteenth Amendment
                                rights, and other laws as he acted
                                in concert with Defendant
                                Stribula and others to illegally
                                prevent me from attending that
                                public forum.




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4   NYPD                        He is shown standing on a
    John                        sidewalk near Defendant Stribula
    Doe3                        and an entrance to the property of
    10/12/17                    the school that hosted the
                                Mayor’s 10/12/17 town hall as he
                                illegally didn’t try to intervene on
                                my behalf to enable me to attend
                                that town hall in violation of 42
                                USC §1986, 42 USC §1985, his
                                oath as a member of the NYPD,
                                my Fourteenth Amendment
                                rights, and other laws as he acted
                                in concert with Defendant
                                Stribula and others to illegally
                                prevent me from attending that
                                public forum.
5   NYPD                        She is shown walking along a
    Jane                        sidewalk in front of the school
    Doe2                        that hosted the Mayor’s 10/12/17
    10/12/17                    town hall in my direction and that
                                of Defendant Stribula’s while
                                Defendant Stribula and others
                                were illegally preventing me from
                                attening that public forum.
                                Defendant NYPD Jane Doe2
                                10/12/17 illegally didn’t try to
                                intervene on my behalf to enable
                                me to attend that town hall in
                                violation of 42 USC §1986, 42
                                USC §1985, her oath as a member
                                of the NYPD, my Fourteenth
                                Amendment rights, and other
                                laws as she acted in concert with
                                Defendant Stribula and others to
                                illegally prevent me from
                                attending that public forum.

                                She also then walked in the
                                direction of a video security
                                camera that was attached to that
                                school that was likely controlled
                                by the DOE and recorded a
                                clearer image of her face than
                                what appears to the left.




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6   NYPD                        The first image shown to the left
    John                        is from the video recording that
    Doe4                        has the filename of
    10/12/17                    “IMG_2582.mov”. He is the
                                Black male in it who is standing
                                in front of Defendant Mason in
                                this image as he stood on a
                                sidewalk near an entrance to the
                                property of the school that hosted
                                the Mayor’s 10/12/17 town hall as
                                he illegally didn’t try to intervene
                                on my behalf to enable me to
                                attend that town hall in violation
                                of 42 USC §1986, 42 USC §1985,
                                his oath as a member of the
                                NYPD, my Fourteenth
                                Amendment rights, and other
                                laws. That occurred as he acted in
                                concert with Defendant Stribula
                                and others to illegally prevent me
                                from attending that public forum.

                                The second image shown to the
                                left is from the video recording
                                that has the filename of
                                “IMG_2736.mov” and
                                corresponds ot the elapsed time of
                                34 seconds in it as he illegally
                                told me that he wouldn’t arrange
                                to hae a commanding officer of
                                his to promptly come to where he
                                and I then were as he and others
                                were illegally acting in concert as
                                they illegally prevented me from
                                attending the Mayor’s 10/18/17
                                town hall while I conducted
                                myself in an entirely lawful
                                manner in contrast to them. He
                                also illegally prevented me from
                                attending the Mayor’s 10/25/17
                                resource fair by preventing me
                                from accessing the building in
                                which it was conducted in
                                violation of my constitutional
                                rights of access to a public forum.




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7   NYPD                        She is a Black female who is
    Jane                        shown wearing a black hat and a
    Doe3                        blue NYPD shirt. She was then
    10/12/17                    near a door that was used to grant
                                access to members of the public
                                and Defendant Stribula who
                                appears in this image to the
                                school that hosted the Mayor’s
                                10/12/17 town hall.

                                NYPD Jane Doe3 10/12/17
                                illegally didn’t try to intervene on
                                my behalf to enable me to attend
                                the Mayor’s 10/12/17 town hall in
                                violation of 42 USC §1986, 42
                                USC §1985, her oath as a member
                                of the NYPD, my Fourteenth
                                Amendment rights, and other
                                laws as she acted in concert with
                                Defendant Stribula and others to
                                illegally prevent me from
                                attending that public forum. She
                                did so largely by enabling
                                Defendant Stribula and others that
                                include members of the public to
                                enter that school at the same time
                                that I was being illegally
                                prevented from doing so in
                                flagrant violation of my
                                Fourteenth Amendment rights
                                that pertain to discrimination,
                                selective-enforcement, abuse of
                                process as well as my First
                                Amendment right of access to a
                                public forum.

                                As she was where she appears in
                                the image to the left, she was in
                                an area that was located close to a
                                video security camera that was
                                attached to that school and likely
                                controlled by the DOE. That
                                video security camera likely
                                recorded a clearer image of her
                                face than what appears to the left.




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8   NYPD                        The first image shown to the left
    John                        is from the video recording that
    Doe5                        has the filename of
    10/12/17                    “IMG_2585.MOV”. He is shown
                                walking in my direction from the
                                property of the school that hosted
                                the Mayor’s 10/12/17 town hall as
                                he illegally didn’t try to intervene
                                on my behalf to enable me to
                                attend that town hall in violation
                                of 42 USC §1986, 42 USC §1985,
                                his oath as a member of the
                                NYPD, my Fourteenth
                                Amendment rights, and other
                                laws. That occurred as he acted in
                                concert with Defendant Stribula
                                and others to illegally prevent me
                                from attending that public forum.

                                As he left the property of that
                                school then, he was in an area that
                                was located close to a video
                                security camera that was attached
                                to that school and likely
                                controlled by the DOE. That
                                video security camera likely
                                recorded a clearer image of his
                                face than what appears to the left.

                                The second image of him that is
                                shown to the left is from the video
                                recording that has the filename of
                                “IMG_2587.mov” and
                                corresponds ot the elapsed time of
                                2 seconds in it as he walked next
                                to Defendant Harold Miller and
                                Paola Ruiz of the Mayor’s office.
                                At that time, NYPD John Doe5
                                10/12/17 also illegally didn’t try
                                to intervene on my behalf to
                                enable me to attend that town hall
                                in violation of 42 USC §1986, 42
                                USC §1985, his oath as a member
                                of the NYPD, my Fourteenth
                                Amendment rights, and other
                                laws. That occurred as he



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                                continued to act in concert with
                                Defendant Stribula and others that
                                included Defendant Miller to
                                illegally prevent me from
                                attending that public forum.
9   NYPD                        She is a female member of the
    Jane                        NYPD who then wore a black
    Doe4                        NYPD uniform as she was then
    10/12/17                    near a door that was used to grant
                                access to members of the public
                                to the school that hosted the
                                Mayor’s 10/12/17 town hall.

                                NYPD Jane Doe4 10/12/17
                                illegally didn’t try to intervene on
                                my behalf to enable me to attend
                                the Mayor’s 10/12/17 town hall in
                                violation of 42 USC §1986, 42
                                USC §1985, her oath as a member
                                of the NYPD, my Fourteenth
                                Amendment rights, and other
                                laws as she acted in concert with
                                Defendant Stribula and others to
                                illegally prevent me from
                                attending that public forum. She
                                did so largely by enabling
                                Defendant Stribula and others that
                                include members of the public to
                                enter that school at the same time
                                that I was being illegally
                                prevented from doing so in
                                flagrant violation of my
                                Fourteenth Amendment rights
                                that pertain to discrimination,
                                selective-enforcement, abuse of
                                process as well as my First
                                Amendment right of access to a
                                public forum.

                                As she was where she appears in
                                the image to the left, she was in
                                an area that was located close to a
                                video security camera that was
                                attached to that school and likely
                                controlled by the DOE. That
                                video security camera likely



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                                 recorded a clearer image of her
                                 face than what appears to the left.
10   NYPD                        He is the Black male who I have
     John                        reason to believe was a member
     Doe6                        of the NYPD on 10/12/17 as he
     10/12/17                    appeared on the right in the image
                                 shown to the left. He appears next
                                 to Defendant NYPD Jane Doe3
                                 10/12/17 in that image.

                                 He illegally didn’t try to intervene
                                 on my behalf to enable me to
                                 attend the Mayor’s 10/12/17 town
                                 hall in violation of 42 USC
                                 §1986, 42 USC §1985, his oath as
                                 a member of the NYPD, my
                                 Fourteenth Amendment rights,
                                 and other laws as he acted in
                                 concert with Defendant Stribula
                                 and others to illegally prevent me
                                 from attending that public forum.
                                 He did so largely by enabling
                                 Defendant Stribula and others that
                                 include members of the public to
                                 enter that school at the same time
                                 that I was being illegally
                                 prevented from doing so in
                                 flagrant violation of my
                                 Fourteenth Amendment rights
                                 that pertain to discrimination,
                                 selective-enforcement, abuse of
                                 process as well as my First
                                 Amendment right of access to a
                                 public forum.

                                 As he was where he appears in
                                 the image to the left, he was in an
                                 area that was located close to a
                                 video security camera that was
                                 attached to that school and likely
                                 controlled by the DOE. That
                                 video security camera likely
                                 recorded a clearer image of his
                                 face than what appears to the left.




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11   Jane                        Here, Jane Doe1 10/12/17 is
     Doe1                        shown after she flagrantly
     10/12/17                    violated my rights pursuant to the
                                 Fourteenth Amendment, Fifth
                                 Amendment, and First
                                 Amendment to be issued an
                                 admission ticket to attend the
                                 Mayor’s 10/12/17 town hall while
                                 I waited in line behind the man
                                 shown in this image who is
                                 wearing a black jacket and a hat
                                 while I was conducting myself in
                                 an entirely lawful manner in
                                 contrast to her and Defendant
                                 Stribula who also appears in this
                                 image.



     Jane                        She appears in the first screenshot
     Doe1                        shown to the left that is from the
     10/18/17                    elapsed time of 7 seconds in the
                                 video that has the filename of
                                 “IMG_2736.MOV” as she wore
                                 eyeglasses and had dark hari
                                 while it seems that she then
                                 carrried a tablet computer in her
                                 left hand.

                                 She also appears in the second
                                 screenshot shown to the left that
                                 is from the elapsed time of 1 hour,
                                 51 minutes, and 20 seconds in the
                                 video recording that the Mayor’s
                                 office arranged to be recorded of
                                 the Mayor’s 9/28/17 town hall
                                 meeting. That video recording is
                                 available on the Internet at
                                 https://www.youtube.com/watch?
                                 v=4s9fYZNLK8o.




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12   NYPD                        He is wearing the blue shirt with a
     John                        NYPD patch by his left shoulder
     Doe1                        on it as he stood next to
     10/18/17                    Defendant Ioveno on a sidewalk
                                 near me. Both Defendant Ioveno
                                 and NYPD John Doe1 10/18/17
                                 illegally didn’t intervene on my
                                 behalf to enable me to attend the
                                 Mayor’s 10/18/17 town hall as
                                 they instead acted in concert with
                                 Defendants NYPD John Doe4
                                 10/12/17, Ringel, Atcheson,
                                 Stribula, and others through their
                                 illegal acts and omissions to
                                 illegally prevent me from
                                 attending the Mayor’s 10/18/17
                                 town hall. That occurred before
                                 Defendant Ioveno intervened on
                                 my behalf on 11/30/17 by talking
                                 with Defendants Carrion and
                                 Ridener then in front of the school
                                 that hosted the public town hall
                                 meeting that the Mayor conducted
                                 on that date that enabled me to
                                 attend that town hall after
                                 Defendant Stribula told me in
                                 front of Defendants Ringel,
                                 Miller, and Baez and numerous
                                 witnesses that she wouldn’t allow
                                 me to attend that town hall in
                                 spite of the fact that I was


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                                 conducting myself in an entirely
                                 lawful manner in contrast to her
                                 and other defendants. I recorded
                                 Ms. Stribula on video then.
13   NYPD                        He is shown in this image as he
     John                        wore a black NYPD uniform with
     Doe2                        a black hat and stood on a
     10/18/17                    sidewalk near the entrance to the
                                 building that hosted the Mayor’s
                                 10/18/17 town hall that was used
                                 to grant members of the public
                                 access to it to attend that public
                                 forum on that date. He also
                                 illegally didn’t intervene on my
                                 behalf as Defendants NYPD John
                                 Doe4 10/12/17, Ringel, Atcheson,
                                 Stribula, and others were acting in
                                 concert through their illegal acts
                                 and omissions to illegally prevent
                                 me from attending the Mayor’s
                                 10/18/17 town hall. He had a
                                 realistic opportunity then to have
                                 intervened on my behalf for that
                                 purpose.
14   NYPD                        He is shown in this image as he
     John                        stood on a sidewalk near the
     Doe3                        entrance to the building that
     10/18/17                    hosted the Mayor’s 10/18/17 town
                                 hall that was used to grant
                                 members of the public access to it
                                 to attend that public forum on that
                                 date. He also illegally didn’t
                                 intervene on my behalf as
                                 Defendants NYPD John Doe4
                                 10/12/17, Ringel, Atcheson,
                                 Stribula, and others were acting in
                                 concert through their illegal acts
                                 and omissions to illegally prevent
                                 me from attending the Mayor’s
                                 10/18/17 town hall. He had a
                                 realistic opportunity then to have
                                 intervened on my behalf for that
                                 purpose.




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15   NYPD                        He is shown in this image as he
     John                        stood on a sidewalk near the
     Doe4                        entrance to the building that
     10/18/17                    hosted the Mayor’s 10/18/17 town
                                 hall that was used to grant
                                 members of the public access to it
                                 to attend that public forum on that
                                 date. He also illegally didn’t
                                 intervene on my behalf as
                                 Defendants NYPD John Doe4
                                 10/12/17, Ringel, Atcheson,
                                 Stribula, and others were acting in
                                 concert through their illegal acts
                                 and omissions to illegally prevent
                                 me from attending the Mayor’s
                                 10/18/17 town hall. He had a
                                 realistic opportunity then to have
                                 intervened on my behalf for that
                                 purpose.


16   NYPD                        He is shown in this image as he
     John                        stood on a sidewalk in front of
     Doe5                        Defendant Ringel (also shown in
     10/18/17                    this on the left) and I as
                                 Defendants NYPD John Doe4
                                 10/12/17, Ringel, Stribula,
                                 Atcheson, and others were nearby
                                 and acting in concert through
                                 their illegal acts and omissions to
                                 illegally prevent me from
                                 attending the Mayor’s 10/18/17
                                 town hall.

                                 Defendant NYPD John Doe5
                                 10/18/17 illegally didn’t intervene
                                 on my behalf to enable me to
                                 attend that town hall in spite of
                                 the fact that he had a realistic
                                 opportunity to have done so for
                                 that purpose.




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17   NYPD                        He is shown in this image as he
     John                        stood on a sidewalk in front of
     Doe6                        Defendant Ringel and I as
     10/18/17                    Defendants NYPD John Doe4
                                 10/12/17, Ringel, Stribula,
                                 Atcheson, and others were nearby
                                 and acting in concert through
                                 their illegal acts and omissions to
                                 illegally prevent me from
                                 attending the Mayor’s 10/18/17
                                 town hall.

                                 Defendant NYPD John Doe6
                                 10/18/17 illegally didn’t intervene
                                 on my behalf to enable me to
                                 attend that town hall in spite of
                                 the fact that he had a realistic
                                 opportunity to have done so for
                                 that purpose.
18   NYPD                        The first image of him
     John                        corresponds to the elapsed time of
     Doe1                        26 seconds and the second image
     10/25/17                    of him corresponds to the elapsed
                                 time of 28 seconds.

                                 He is shown standing on the
                                 sidewalk near me and Defendants
                                 Nieves and Baez as they were
                                 illegally prevented me from
                                 walking past them through a
                                 gated entrance from the sidewalk
                                 where I stood to the entrance of
                                 the school that hosted the
                                 Mayor’s 10/25/17 resource fair.
                                 He illegally didn’t intervene on
                                 my behalf to enable me to attend
                                 that resource fair meeting in spite
                                 of the fact that he had a realistic
                                 opportunity to have done so for
                                 that purpose.

                                 Although I can’t say for certain at
                                 this point, I have reason to believe
                                 that NYPD John Doe1 10/25/17
                                 was a member of the NYPD on
                                 10/25/17 or was otherwise some


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                                 other law-enforcement official
                                 then because of his behavior then.




19   NYPD                        He is shown standing on the
     John                        sidewalk near me and Defendants
     Doe2                        Nieves and Baez as they were
     10/25/17                    illegally prevented me from
                                 walking past them through a
                                 gated entrance from the sidewalk
                                 where I stood to the entrance of
                                 the school that hosted the
                                 Mayor’s 10/25/17 resource fair.
                                 He illegally didn’t intervene on
                                 my behalf to enable me to attend
                                 that resource fair meeting in spite
                                 of the fact that he had a realistic
                                 opportunity to have done so for
                                 that purpose.

                                 Although I can’t say for certain at
                                 this point, I have reason to believe
                                 that NYPD John Doe1 10/25/17
                                 was a member of the NYPD on
                                 10/25/17 or was otherwise some
                                 other law-enforcement official
                                 then because of his behavior




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20   NYPD                        He is shown standing in front of
     John                        the front-passenger door for a
     Doe3                        NYPD car with an identifcation
     10/25/17                    number of 5249 on it as he stood
                                 across the street from where I and
                                 Defendants Nieves and Baez then
                                 were as they were illegally
                                 preventing me from walking past
                                 them through a gated entrance
                                 from the sidewalk where I stood
                                 to the entrance of the school that
                                 hosted the Mayor’s 10/25/17
                                 resource fair. He illegally didn’t
                                 intervene on my behalf to enable
                                 me to attend that resource fair
                                 meeting in spite of the fact that he
                                 had a realistic opportunity to have
                                 done so for that purpose.




21   NYPD                        In the video that has the filename
     John                        of “IMG_2857.MOV”, he is
     Doe4                        shown standing next to
     10/25/17                    Defendants NYPD John Doe5
                                 10/18/17, and NYPD John Doe6
                                 10/18/17 in an area that was
                                 located across the street from
                                 where I and Defendants Nieves
                                 and Baez then were as Defendants
                                 Nieves and Baez were illegally
                                 preventing me from walking past
                                 them through a gated entrance
                                 from the sidewalk where I stood
                                 to the entrance of the school that
                                 hosted the Mayor’s 10/25/17
                                 resource fair. He illegally didn’t
                                 intervene on my behalf to enable
                                 me to attend that resource fair
                                 meeting in spite of the fact that he
                                 had a realistic opportunity to have
                                 done so for that purpose.



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                                 In the video that has the filename
                                 of “IMG_2863.MOV”, he is
                                 shown standing on a sidewalk
                                 near where I and Defendants
                                 Baez, Gerola, and NYPD John
                                 Doe4 10/12/17 then were as they
                                 were illegally preventing me from
                                 walking past them through a
                                 gated entrance from the sidewalk
                                 where I stood to the entrance of
                                 the school that hosted the
                                 Mayor’s 10/25/17 resource fair..




22   NYPD                        He is shown standing next to
     John                        Defendants NYPD John Doe4
     Doe5                        10/18/17, and NYPD John Doe6
     10/25/17                    10/18/17 in an area that was
                                 located across the street from
                                 where I and Defendants Nieves
                                 and Baez then were as Defendants
                                 Nieves and Baez were illegally
                                 preventing me from walking past
                                 them through a gated entrance
                                 from the sidewalk where I stood
                                 to the entrance of the school that
                                 hosted the Mayor’s 10/25/17
                                 resource fair. He illegally didn’t
                                 intervene on my behalf to enable
                                 me to attend that resource fair
                                 meeting in spite of the fact that he
                                 had a realistic opportunity to have
                                 done so for that purpose.




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23   NYPD                        He is shown standing next to
     John                        Defendants NYPD John Doe4
     Doe6                        10/18/17, and NYPD John Doe5
     10/25/17                    10/18/17 in an area that was
                                 located across the street from
                                 where I and Defendants Nieves
                                 and Baez then were as Defendants
                                 Nieves and Baez were illegally
                                 preventing me from walking past
                                 them through a gated entrance
                                 from the sidewalk where I stood
                                 to the entrance of the school that
                                 hosted the Mayor’s 10/25/17
                                 resource fair. He illegally didn’t
                                 intervene on my behalf to enable
                                 me to attend that resource fair
                                 meeting in spite of the fact that he
                                 had a realistic opportunity to have
                                 done so for that purpose.




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24   NYPD                       This corresponds to the elapsed
     John                       time of 17 minutes and 29
     Doe1                       seconds in the video that the
     3/18/19                    Mayor’s Office arranged to be
                                recorded of the Mayor’s 3/18/19
                                4:30 pm public hearing that was
                                conducted in the Blue Room in
                                City Hall. This shows NYPD
                                John Doe1 3/18/19 as he
                                criminally assaulted me as I was
                                conducting myself in an entirely
                                lawful manner in stark contrast to
                                the Mayor and him by illegally
                                seizing my left arm and making
                                contact with my back with his
                                right hand. He did so as I was in
                                the middle of testifying to the
                                Mayor in accordace with my
                                constitutional rights as the Mayor
                                was flagrantly violating my First
                                Amendment and Fourteenth
                                Amendment rights to do so.
                                Through his actions against me
                                then, NYPD John Doe1 3/18/19
                                flagrantly violated my Fourth
                                Amendment, Fifth Amendment,
                                First Amendment, and Fourteenth
                                Amendment rights as well as
                                additional applicable laws.

                                Instead of illegally seizing me on
                                3/18/19 and interfering with my
                                testimony to the Mayor duri that
                                hearing, it was his duty as a
                                member of the NYPD to
                                immediately intervene on my
                                behalf against the Mayor to stop
                                him from illegally engaging in
                                flagrant witness tampering and
                                obstruction in regards to the
                                testimony that I was then giving.
                                As a result, he then acted in
                                concert with the Mayor as a co-
                                conspirator to illegally subject me
                                to witness tampering.




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25   NYPD                       NYPD John Doe2 3/18/19 was
     John                       inside of the Blue Room in City
     Doe2                       Hall as NYPD John Doe1 3/18/19
     3/18/19                    criminally assaulted me by
                                seizing me while I was in the
                                middle of lawfully testifying and
                                otherwise conducting myself
                                during the Mayor’s 3/18/19 public
                                hearing. NYPD John Doe2
                                3/18/19 illegally didn’t try to
                                intervene on my behalf then
                                against both a) NYPD John Doe1
                                3/18/19 and b) the Mayor partly
                                by immediately arresting NYPD
                                John Doe1 3/18/19 for illegally
                                assaulting me, seizing me,
                                harassing me, witness tampering,
                                and other crimes and offenses that
                                occurred in his immediate
                                presence I that relatively small
                                room. He also had a duty then to
                                stop the Mayor from continuing
                                to willfully engage in witness
                                tampering against me in that room
                                as he clearly obstructed my
                                testimony.

                                He also illegally didn’t intervene
                                on my behalf to enable me to re-
                                enter the Blue Room on 3/18/19
                                after I was illegally ejected from
                                it to retrieve my backpack and
                                laptop own my own instead of
                                having others touch that property.
                                He also illegally didn’t try to
                                intervene on my behalf thereafter
                                on 3/18/19 as I proceeded to be
                                illegally coerced to leave City
                                Hall’s building and its grounds
                                while I was criminally assaulted
                                and otherwise coerced to do so by
                                Defendants Klein, Gungor, and
                                other members of the NYPD.

                                In sum, he flagrantly violated 42
                                USC §1986, 42 USC §1985, his



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                                oath as a member of the NYPD,
                                my Fourteenth Amendment rights
                                to have had him intervene on my
                                behalf on 3/18/19, and other
                                applicable laws. Instead, he acted
                                in concert with NYPD John Doe1
                                3/18/19, the Mayor, and
                                Defendants Gungor, NYPD John
                                Doe3 3/18/19, Klein, and other
                                NYPD defendants in regards to
                                the illegal acts and omissions that
                                were committed against me on
                                3/18/19 inside of City Hall and on
                                its grounds.
26   NYPD                       What I just discussed about
     John                       NYPD John Doe2 3/18/19 is
     Doe3                       equally true and accurate about
     3/18/19                    NYPD John Doe3 3/18/19. He
                                was also inside of the Blue Room
                                in City Hall as I testified to the
                                Mayor and was illegally seized by
                                Defendant NYPD John Doe1
                                3/18/19.




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27   NYPD                       NYPD John Doe4 3/18/19
     John                       illegally didn’t intervene on my
     Doe4                       behalf against Defendant Klein
     3/18/19                    and Gungor as they illegally
                                assaulted me and otherwise
                                illegally coerced me to leave City
                                Hall’s property on 3/18/19.
                                NYPD John Doe4 3/18/19 was
                                then in their immediate presence
                                as I sought to remain on City
                                Hall’s grounds and inside of City
                                Hall partly to try to lawfully talk
                                with journalists and other
                                government officials then and
                                there about the fact that I was
                                illegally seized and assaulted by
                                NYPD John Doe1 3/18/19 inside
                                of its Blue Room and also ejected
                                from it as well as the fact that the
                                Mayor illegally subjected me to
                                witness tampering during the
                                Mayor’s 3/18/19 public hearing as
                                members of the NYPD illegally
                                didn’t intervene on my behalf.

                                I also sought to remain on City
                                Hall’s grounds and in City Hall’s
                                building then to apprise such
                                journalists and other government
                                officials about the fact that
                                Defendants Klein, Gungor,
                                NYPD John Doe4 3/18/19, and
                                other members of the NYPD were
                                illegally assaulting me, harassing
                                me, and otherwise illegally
                                coercing me to leave City Hall’s
                                grounds while I was conducting
                                myself in an entirely lawful
                                manner in contrast to them.




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28    NYPD                                                         NYPD John Doe5 3/18/19 is the
      John                                                         member of the NYPD who
      Doe5                                                         appears on the left in this image
      3/18/19                                                      that also appears to show
                                                                   Defendant NYPD Officer Barker
                                                                   (shield #: 13845) in it as they
                                                                   stood near the NYPD guardhouse
                                                                   that is located just inside of the
                                                                   Park Row entrance to City Hall.

                                                                   What I just discussed about
                                                                   NYPD John Doe4 3/18/19 is
                                                                   equally true about NYPD John
                                                                   Doe5 3/18/19.




11.    The table shown next contains brief information about as well as links to copies of video

recordings that I recorded with my cell phone on 10/12/17, 10/18/17, 10/25/17, and 3/19/19 to

which I just referred above as well as other video recordings that I recorded on those dates. I

recorded all of those video recordings while I lawfully conducted myself as I stood outside of

and in close proximity to the buildings that hosted the Mayor’s 10/12/17 town hall, 10/18/17

town hall, 10/25/17 resource fair, and 3/19/19 public hearing while I was being illegally

prevented from attending those public forums in flagrant violation of my constitutional rights

and other applicable laws. The second table that follows this one includes further relevant

descriptions about what appears in those video recordings.




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#    Creation Date      Filename                        Link to video
     and Time
1    10/12/17 at 5:51   IMG_2581.MOV                    https://drive.google.com/file/d/1
     pm                                                 dDdtcWzTQViDUJm2mIaNH6
                                                        wTTnJAYAN5/view?usp=sharin
                                                        g
2    10/12/17 at 7:14   IMG_2582.MOV                    https://drive.google.com/file/d/1
     pm                                                 3MW6rctyDJ-
                                                        VxtQxtxRLw3AO733cJjgL/vie
                                                        w?usp=sharing
3    10/12/17 at 7:14   IMG_2583.MOV                    https://drive.google.com/file/d/1J
     pm                                                 sWXTEJOvVbIyBtfdxRBO4i8Y
                                                        beIx-oF/view?usp=sharing
4    10/12/17 at 7:15   IMG_2584.MOV                    https://drive.google.com/file/d/1
     pm                                                 R-
                                                        9B91znm0XPZRU_WNP7tYmE
                                                        P2Loq1QZ/view?usp=sharing
5    10/12/17 at 7:25   IMG_2585.MOV                    https://drive.google.com/file/d/1
     pm                                                 UzPXmt2SQ0zQxcKLIVcRgBe
                                                        KKTTjST2X/view?usp=sharing
6    10/12/17 at 7:25   IMG_2586.MOV                    https://drive.google.com/file/d/1
     pm                                                 KZVuSbN8yDDKfcjcJGR5z9S1
                                                        IUIlpeyR/view?usp=sharing
7    10/12/17 at 7:25   IMG_2587.mov                    https://drive.google.com/file/d/1
     pm                                                 MNAFz4QBuGPk5D9xq6PxIdv
                                                        lh603wPQf/view?usp=sharing
8    10/12/17 at 7:26   IMG_2588.MOV                    https://drive.google.com/file/d/1s
     pm                                                 HyMLV_RKx_ga6JG517PY6l5
                                                        7AYtiVtN/view?usp=sharing
9    10/12/17 at 7:30   IMG_2589.MOV                    https://drive.google.com/file/d/1
     pm                                                 eEAMLC53rryddcqYKx6TtD4h
                                                        VSSkVgC1/view?usp=sharing
10   10/12/17 at 7:31   IMG_2590.MOV                    https://drive.google.com/file/d/1s
     pm                                                 99q8odr_GWXNbv7ksuX04KK
                                                        w75pDr8b/view?usp=sharing
11   10/12/17 at 7:32   IMG_2591.MOV                    https://drive.google.com/file/d/1
     pm                                                 THKpFq5qdmQL-
                                                        5PCnffe28p_JaTTv4xD/view?us
                                                        p=sharing
12   10/12/17 at 7:32   IMG_2592.MOV                    https://drive.google.com/file/d/1
     pm                                                 g1OCNAPmFxHV1eSCNvp-
                                                        eTrosK5zVftK/view?usp=sharin
                                                        g




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13    10/12/17 at 7:43   IMG_2593.MOV                        https://drive.google.com/file/d/1
      pm                                                     TljYxZWfsPn_tIVV8dTijuZI7o
                                                             xrj9Oq/view?usp=sharing
14    10/18/17 at 5:01   IMG_2736.mov                        https://drive.google.com/file/d/1l
      pm                                                     9Jbry4NU62uo3kRJXA6jTqoeY
                                                             fBP3PS/view?usp=sharing
15    10/18/17 at 5:03   IMG_2737.mov                        https://drive.google.com/file/d/1
      pm                                                     6RJzqtWXmQlgqfJ50ZOVbnhX
                                                             1MOgh3MW/view?usp=sharing
16    10//25/17 at       IMG_2853.MOV                        https://drive.google.com/file/d/1
      11:59 am                                               Yht0dK15TuIh_McSy2AdG2C
                                                             YPCfGFgav/view?usp=sharing
17    10/25/17 at        IMG_2857.MOV                        https://drive.google.com/file/d/1
      12:48 pm                                               Twwochabl-z_otheC-
                                                             yjwdOyFsta6ka8/view?usp=shar
                                                             ing
18    10/25/17 at 2:32   IMG_2863.MOV                        https://drive.google.com/file/d/1
      pm                                                     qKiqYx4DBUKFFtAXIszYvDE
                                                             WXJN4RBuH/view?usp=sharin
                                                             g
19    3/18/19 at 5:04    IMG_8277.MOV                        https://drive.google.com/open?id
      pm                                                     =1r9ZGamyup1x-
                                                             GnSKsjEBm2AcSLGYdH2j
20    3/21/19 at 12:29   IMG_8374.MOV                        https://drive.google.com/file/d/1
      pm                                                     v3DZxaPskhCK8kywq6G2kR3z
                                                             hPpzHInC/view?usp=sharing


12.    Upon information and belief, Defendants Redmond, Nieves, Mason, Gerola, Ventri, and

Ioveno, NYPD John Doe4 10/12/17, NYPD John Doe1 3/18/19, NYPD John Doe2 3/18/19,

NYPD John Doe3 3/18/19, Gungor, and Dwyer were at all times relevant herein members of the

NYPD security detail for the Mayor.

13.    At all times relevant herein, Mr. Redmond helped to direct and supervise how the

Mayor’s NYPD security detail operated.

14.    Defendants Mazur and Halk were assigned to work on the timely FOIL demand that I

submitted to the NYPD on 3/18/19 to which the NYPD assigned the identification code of FOIL-

2019-056-04374 in which I directed the NYPD to provide me video recordings and provided




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sufficient information to the NYPD in doing so to allow its personnel to immediately provide me

the entirety of the video recordings that I directed the NYPD to provide to me through that FOIL

demand. Upon information and belief, Defendants Mazur and Halk acted in concert with

unknown others that caused me to be illegally deprived of video recordings that were recorded

on 3/18/19 by video security cameras controlled by the NYPD in the immediate vicinity of City

Hall in flagrant violation of my rights pursuant to FOIL, the First Amendment, the Fourteenth

Amendment, and other applicable laws that also confirm that the City of New York was required

to preserve and provide me those video recordings in unedited and non-redacted form largely in

response to the fact that I submitted timely complaints about the illegal acts and omissions that

were committed against me on 3/18/19 inside of City Hall and otherwise on City Hall’s grounds

and within its immediate vicinity to the CCRB and other government bodies as I also was

preparing to commence entirely valid litigation in response to the illegal acts and omissions that

were committed against me on 3/18/19 by the Mayor and members of the NYPD. In short, the

City of New York and members of the NYPD engaged in willful and illegal spoliation of

evidence and obstruction of justice by not providing me the entirety of the video recordings that I

ordered the NYPD to provide to me in furtherance of a criminal scheme to cover-up the illegal

acts and omissions that were committed against me on 3/18/19 to which I just referred.

15.    At all times relevant herein, Defendant Vance, Jr. has been the Manhattan District

Attorney and has been responsible for enforcing applicable laws that include New York State’s

Penal Code in New York City by commencing prosecutions.

16.    At all times relevant herein, Defendant Stephen Levin has been a member of the City

Council, and employee of the City of New York. He was also the moderator of the Mayor’s

10/18/17 town hall.




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17.       At all times relevant herein, Defendants Ringel, Atcheson, Stribula, Miller, Jane Doe1

10/12/17, and Carrion were employees of the City of New York who worked for the Mayor’s

CAU as Mr. Carrion was the commissioner of the Mayor’s CAU.

18.       Upon information and belief, Defendant Jane Doe1 10/18/17 was an employee of the City

of New York and worked for the Mayor’s office at all times relevant herein.

19.       The next table contains links to the LinkedIn profiles on the Internet for Defendants

Atcheson, Carrion, Ioveno, Miller, Ridener, Ringel, and Stribula that contain summary

information about their careers and educational backgrounds:

      #    Name                           Link to LinkedIn Profile
      1    Rachel Atcheson                https://www.linkedin.com/in/rachel-atcheson-517b47a0/
      2    Marco Carrion                  https://www.linkedin.com/in/marco-a-carrion/
      3    Jerry Ioveno                   https://www.linkedin.com/in/jerry-ioveno-512794b/
      4    Harold Miller                  https://www.linkedin.com/in/harold-miller-305502171/
      5    Dustin Ridener                 https://www.linkedin.com/in/dustinridener/
      6    Pinny Ringel                   https://www.linkedin.com/in/pinny-ringel-24b9045/
      7    Shauna Stribula                https://www.linkedin.com/in/shauna-stribula-294912a7/

20.       At all times relevant herein, Defendants Jessica Ramos and Dustin Ridener were

employees of the City of New York who worked for the Mayor’s office.

21.       The defendants in this action who are people violated oaths that they were required to

take through the illegal acts and omissions that they committed against me on 10/12/17,

10/18/17, 10/25/17, and 3/18/19 in relation to my efforts to lawfully attend the Mayor’s a)

10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair, and d) 3/18/19 public

hearing. The specific oaths that the defendants violated then in regards to me were those that

they were required to take upon a) joining the NYPD and/or b) otherwise working for the City of

New York. Those oaths required them to swear or affirm that they would perform their duties as

members of the NYPD and/or other personnel of the City of New York in accordance with the

U.S. Constitution and New York State Constitution to the best of their abilities. In regards to this


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point, the Mayor’s press office made a transcript available on the Internet of a swearing-in

ceremony for new members of the NYPD that the Mayor presided over on 10/8/15. That

transcript is available on the Internet at https://www1.nyc.gov/office-of-the-mayor/news/702-

15/transcript-mayor-de-blasio-delivers-remarks-nypd-swearing-in-ceremony.

22.    The next screenshot shows an excerpt from that transcript that reflects how those new

members of the NYPD pledged to uphold the U.S. and New York Constitution and to faithfully

discharge their duties as members of the NYPD to the best of their abilities after the defendant in

this action who are members of the NYPD most likely did the same before they committed

illegal acts and omissions against me that this action concerns. Hindsight therefore confirms that

they lied in the oaths that they took upon joining the NYPD to become part of a criminal mob as

liars and con artists instead of joining the ranks of actual law-enforcement.




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23.    In a similar vein, other personnel of the City of New York are required upon working for

the City of New York by New York State Civil Service Law §62 to take and file an oath or

affirmation in which they pledge and declare that they will support the U.S. and New York State

Constitution and faithfully discharge the duties of their jobs with the City of New York to the

best of their abilities. The terms of New York State Civil Service Law §62 are shown on the New

York State Senate’s web site at https://www.nysenate.gov/legislation/laws/CVS/62. The

following are two relevant excerpts from that law:

       a.      “Every person employed by the state or any of its civil divisions, except an
               employee in the labor class, before he shall be entitled to enter upon the discharge
               of any of his duties, shall take and file an oath or affirmation in the form and
               language prescribed by the constitution for executive, legislative and judicial
               officers, which may be administered by any officer authorized to take the
               acknowledgment of the execution of a deed of real property, or by an officer in
               whose office the oath is required to be filed. In lieu of such oath administered by
               an officer, an employee may comply with the requirements of this section by
               subscribing and filing the following statement: "I do hereby pledge and declare
               that I will support the constitution of the United States, and the constitution
               of the state of New York, and that I will faithfully discharge the duties of the
               position of ............, according to the best of my ability. " Such oath or
               statement shall be required only upon original appointment or upon a new
               appointment following an interruption of continuous service, and shall not be
               required upon promotion, demotion, transfer, or other change of title during the
               continued service of the employee, or upon the reinstatement pursuant to law or
               rules of an employee whose services have been terminated and whose last
               executed oath or statement is on file.”

               (boldface formatting added for emphasis)

       b.      “The refusal or wilful failure of such employee to take and file such oath or
               subscribe and file such statement shall terminate his employment until such oath
               shall be taken and filed or statement subscribed and filed as herein provided.”

24.    On a closely related note, the following shows the terms of New York City Charter

Section 435(a) that address the legal duties that all members of the NYPD have and underscores

the fact that the defendants in this action who were members of the NYPD between 10/3/17 and

10/4/17 committed illegal acts and omissions against me in relation to my claims in this case by



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flagrantly violating and disregarding their legal duties as members of the NYPD:

       “The police department and force shall have the power and it shall be their duty to
       preserve the public peace, prevent crime, detect and arrest offenders, suppress riots,
       mobs and insurrections, disperse unlawful or dangerous assemblages and
       assemblages which obstruct the free passage of public streets, sidewalks, parks and
       places; protect the rights of persons and property, guard the public health, preserve
       order at elections and all public meetings and assemblages; subject to the provisions of
       law and the rules and regulations of the commissioner of traffic,* regulate, direct, control
       and restrict the movement of vehicular and pedestrian traffic for the facilitation of traffic
       and the convenience of the public as well as the proper protection of human life and
       health; remove all nuisances in the public streets, parks and places; arrest all street
       mendicants and beggars; provide proper police attendance at fires; inspect and observe all
       places of public amusement, all places of business having excise or other licenses to carry
       on any business; enforce and prevent the violation of all laws and ordinances in force
       in the city; and for these purposes to arrest all persons guilty of violating any law or
       ordinance for the suppression or punishment of crimes or offenses.

       (boldface formatting added for emphasis)

25.    By committing the illegal acts and omissions against me that my claims in this action

concern, the defendants who did so and were then personnel of the City of New York violated

New York City Charter §1116 that requires them to be promptly fired and prohibited from

working for the City of New York again.

26.    The individual defendants are being sued herein in their individual and official capacities.

27.    At all times relevant herein, the individual defendants were acting under color of state

law in the course and scope of their duties and functions as agents, servants, employees and

officers of the NYPD and City of New York. They were acting for and on behalf of the NYPD,

Mayor, Mr. Banks, HRA, and one another at all times relevant herein. While doing so, the

defendants in this action who are members of the NYPD did so with the power and authority

vested in them as officers, agents and employees of the NYPD and incidental to the lawful

pursuit of their duties as officers, employees and agents of the NYPD.

28.    The individual defendants' acts hereafter complained of were carried out intentionally,




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recklessly, and oppressively with malice and egregious, callous, and wanton disregard of

plaintiff's rights.

29.     At all relevant times, the individual defendants were engaged in joint ventures, assisting

each other in performing the various actions described herein and lending their physical presence

and support and the authority of their offices to one another.


                                    BACKGROUND FACTS

1.      I incorporate by reference the statements that I made in all of the preceding paragraphs as

though fully set forth herein.

2.      In the interests of brevity and pursuant to FRCP Rule 10(c), I incorporate by reference as

though fully set forth herein both a) the “Background Facts” section and b) the “Legal Standards

and Additional Background Facts” section that appear in the following:

        a.       The First Amended Complaint that I filed in K4 on 10/5/20. That submission

        corresponds to docket number 4 in that case.

        b.       The complaint that I filed in K5 on 9/25/20. That submission corresponds to

        docket number 2 in that case.

        c.       The complaint that I filed in K6. That submission corresponds to docket number 2

        in that case.

3.      Long before I was first prevented from attending a public forum that the Mayor

conducted, a news organization named DNAInfo published a news article on the Internet on

12/18/16 at https://www.dnainfo.com/new-york/20161217/upper-west-side/mayor-de-blasio-

town-hall-upper-west-side/ that was written by Carolina Pichardo and is entitled, “De Blasio's

Town Hall Initially Bars Media Due to 'Miscommunication'” in which that article reported that

members of the press were initially prevented from attending a town hall meeting that the Mayor



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conducted on 12/15/16 while Mr. Levine was the moderator for that town hall meeting that was a

public forum. That article also reported that someone named Thomas Lopez-Pierre was barred

from that public forum and wasn’t eventually permitted to attend that town hall. Mr. Lopez-

Pierre was then a political rival of New York City Councilman Mark Levine who was seeking to

be Mr. Levine’s replacement on the City Council. This means that the illegal acts and omissions

that the defendants in this action committed against me in relation to town hall meetings, a

resource fair meeting, and a public hearing that the Mayor conducted were a resumption of

illegal acts and omissions that were part of a municipal custom and practice by members of the

Mayor’s office and members of the NYPD to illegally bar people from public forums that the

Mayor conducted in violation of the U.S. Constitution and other applicable laws. The following

is a relevant excerpt from that news article that sufficiently confirms that Mr. Levine and/or

people who acted on his behalf violated the Hatch Act by barring Thomas Lopez-Pierre from that

town hall meeting:

     The local tenant activist Thomas Lopez-Pierre — who is running against Levine for City
     Council — said he was also barred, after registering for the event and receiving a call for
     confirmation from the Mayor's office on Monday.

     Levine said Lopez-Pierre has a "violent history" and "has behaved in threatening ways at
     numerous such events."

     Levine said there was "some vetting for security concerns," but that a mixture of about two
     dozen community organizations, including nonprofits and NYCHA tenant groups, brought
     their own constituents. There was open registration as well, in which those interested could
     register by calling or emailing a designated number.

     Lopez-Pierre said he also spoke to Paola Ruiz, the Manhattan Borough Director for the
     mayor’s community affairs unit, on Dec. 6 to directly register for the event.


4.      The next screenshot is from a Twitter posting that Mr. Lopez-Pierre posted on the

Internet at https://twitter.com/VoteLopezPierre/status/809560855151071232 on 12/15/16 at 7:48




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pm by using a Twitter account that is registered to him and has the username of

“@VoteLopezPierre”. His remarks in that posting sufficiently confirm that Mr. Levine violated

the Hatch Act (5 U.S.C. §1502(a)(1)) by causing Mr. Lopez-Pierre to be barred from that town

hall meeting and that town hall meeting was illegally conducted inside of a public school in

violation of Bloomberg v. The New York City Department of Education, No. 17-cv-3136 (PGG)

(S.D.N.Y. Sept. 24, 2019).




5.     The next screenshot is from a Twitter posting that a journalist named Brigid Bergin


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posted on the Internet at https://twitter.com/brigidbergin/status/809555592125759488 on

12/15/16 at 7:27 pm by using a Twitter account that is registered to her and has the username of

“@brigidbergin”. Her remarks in that posting confirm that she observed Mr. Lopez-Pierre on

12/15/16 as he was being illegally barred from attending the public town hall meeting that the

Mayor conducted with New York City Councilman Mark Levine at a time when Mr. Lopez-

Pierre sought to be Mr. Levine’s replacement on the City Council.




6.     On a related note, on 12/16/16, a news organization named Pix11 published a news

article that was written by a Mario Diaz that is entitled “Demonstrators Brave the Cold to Protest

De Blasio’s Homeless Policy Outside Town Hall Meeting” and available on the Internet at

https://pix11.com/2016/12/16/demonstrators-brave-the-cold-to-protest-de-blasios-homeless-

policy-outside-town-hall-meeting/. That article reported the following:

       a.      Mr. Lopez-Pierre was prevented from attending the town hall meeting that the

       Mayor conducted on 12/15/16 with Mr. Levine.

       b.      Mr. Lopez-Pierre told a journalist outside of that public town hall meeting on

       12/15/16 that though he received confirmation that he would be able to attend that town

       hall, he was prevented from doing so once officials of Defendant City learned that he was

       a political candidate who was running against New York City Councilman Mark Levine



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       in an election to become a member of the City Council.

       c.      Journalists observed Mr. Lopez-Pierre joking with members of the NYPD outside

       of that town hall meeting as they left it as temperatures outside were then well below

       freezing.

       d.      d. A press secretary named Rosemary Boeglin for the Mayor thereafter claimed

       that Mr. Lopez-Pierre skipped a line for entering the school that hosted that town hall

       meeting in order to cause a scene and that he asked to be arrested then. However, that

       clearly was a fraudulent pretext that was designed to illegally cover-up the fact that Mr.

       Lopez-Pierre was illegally barred from that public forum in violation of applicable laws.

7.     Long before Defendant Stribula was among those who illegally prevented me from

attending the Mayor’s 10/12/17 town hall, I took a photograph of her and Defendant Ringel at

7:46 pm on 4/27/17 near the entrance to the school that hosted the Mayor’s 4/27/17 town hall as I

was being illegally prevented from attending that public forum by Defendants Redmond, Ringel,

Miller, and others as Ms. Stribula was aware of that and didn’t intervene on my behalf to enable

me to attend that town hall. The next screenshot is from that 4/27/17 photograph and shows Ms.

Stribula on the far-left as Mr. Ringel appears near its center.




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8.     Hindsight suggests that Ms. Stribula’s failure to intervene on my behalf on 4/27/17 to

enable me to attend the Mayor’s 4/27/17 town hall was a clear sign that she was then a co-

conspirator with Defendants Redmond, Ringel, Miller, and others in a criminal scheme to violate

my constitutional right to attend that town hall while those conspirators were violating the Hatch

Act (5 U.S.C. §1502(a)(1)) in the process partly by engaging in voter suppression, whistleblower

retaliation, and viewpoint discrimination against me and the public by extension while the Mayor

used that town hall partly as a campaign event to attract publicity and goodwill to bolster his re-

election prospects. Prior to that 4/27/17 town hall, Ms. Stribula sent an e-mail message on

4/27/17 at 2:46 pm to various people to communicate work assignments that she was issuing to

people who included Defendant Miller for that town hall. Those work assignments partly

pertained to tasks that would be performed in granting members of the public access to that town

hall. A copy of that e-mail message appears in the annexed Exhibit B. I received a copy of that

e-mail message on 2/18/20 from Hannah Faddis of the New York City Law Department. The

redactions that appear in that e-mail message reflect how Ms. Faddis provided it to me. Also,



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Defendant City illegally engaged in spoliation of critically significant video recording evidence

that it was legally required to have preserved that was recorded on 4/27/17 between 5:30 pm and

6:30 pm by a video security camera that was installed on 4/27/17 by the entrance to the school

that hosted the Mayor’s 4/27/17 town hall. That video security camera is controlled by the DOE

and the video recording that Defendant City illegally didn’t preserve was recorded between 5:40

pm and 6:30 pm on 4/27/17 by that specific video security camera.

9.      Additionally, long before Defendant Stribula illegally prevented me from attending the

Mayor’s 10/12/17 town hall, an eyewitness of mine sent an e-mail message on 6/24/17 at 4:26

pm to a whistleblower news censor in journalism named Graham Rayman and I in which that

witness discussed illegal acts that Ms. Stribula committed against that witness on 6/8/17 during

the public town hall meeting in Rego Park in Queens. That witness asked me to keep that

witness’ identity confidential and I agreed to do so. As a result, I will refer to that witness as

“Person X” in this complaint. Person X worked for the New York State Attorney General’s

office on 6/8/17 and 6/24/17. It’s ironic that this means that Defendant Stribula illegally violated

the constitutional rights of someone on 6/8/17 by refusing to allow that person to access the room

in which the Mayor conducted his 6/8/17 town hall while seating was available in that room as

that town hall was being conducted. In short, the following excerpt from that e-mail message that

Person X sent on 6/24/17 at 4:26 pm about Ms. Stribula, the Mayor’s 6/8/17 town hall, and I

confirms that Ms. Stribula illegally subjected me to stigma-plus defamation on 6/8/17 in remarks

that she made to Person X by baselessly referring to me as a “harasser” as I watched Ms. Stribula

and Person X talk in a stairwell in the building that hosted the Mayor’s 6/8/17 town hall:

     Subject: Re: Information about police misconduct on 6/8 at Mayor's public town hall
     meeting in Rego Park
     Date: June 24, 2017 at 4:26:20 PM EDT
     To: Towaki Komatsu <towaki_komatsu@yahoo.com>



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      Cc: "Rayman, Graham" <grayman@nydailynews.com>

      I would just like to add that I was allowed to write my question on a card, after which the
      guard told me they would allow me in to ask the question after they reviewed it and people
      emptied the room. As the room emptied, they did not let me in saying that the room was full
      even though we saw empty seats in the TV screens. When I asked a Mayor's staff member
      why they wouldn't let me in, she explained it was because I was associated with Towaki and
      he was a "harasser", but did not explain anything else to me. I think maybe she was
      referencing Towaki's litigation history with different city agencies, but I am not sure since I
      just met him that day. I also think maybe they did not let me in because they did not like my
      question which was about police accountability, but I'm not sure about that since I know
      someone else in the room was allowed to ask a question about broken windows policing.
      Also, please keep my name anonymous. Thanks.

10.      Person X mistakenly expressed in the preceding e-mail message that I had litigation

against different agencies of Defendant City. Although I used my HRA lawsuit prior to 6/8/17 to

pursue entirely valid claims against personnel who worked for Defendant City and were assigned

to different agencies of Defendant City, the sole opposing party in my HRA lawsuit on 6/8/17

continued to be HRA. When I met Person X for the first and only time on 6/8/17 while attending

the Mayor’s 6/8/17 town hall from within an overflow room in the basement of the building in

which the Mayor conducted that town hall in a room elsewhere within that building, I then had

ongoing and entirely valid litigation against HRA through my HRA lawsuit and had just

presented oral arguments in that case on 6/7/17 because Jeffrey Mosczyc of HRA illegally

colluded and conspired with New York State Judge Nancy Bannon in between 4/5/17 and

4/11/17 to illegally adjourn the scheduled 4/12/17 oral arguments hearing in that case through an

illegal ex-parte adjournment application that he faxed on 4/5/17 to Judge Bannon’s chambers to

illegally prevent me from being able to oppose his illegal adjournment application before Judge

Bannon illegally granted it on 4/11/17 in flagrant violation of my due process rights while she

then was running for re-election as a judge. In hindsight, it appears that Ms. Stribula told Person

X on 6/8/17 that I was a harasser simply because I commenced litigation against HRA in which I




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also asserted entirely valid claims on 5/19/17 through an order to show cause application that

concerned illegal acts and omissions that were committed against me on 4/27/17 that caused me

to be illegally prevented from attending the Mayor’s 4/27/17 town hall and illegally assaulted by

NYPD Officer Rafael Beato on that date on a public sidewalk next to the school that hosted the

Mayor’s 4/27/17 town hall by being shoved 3 times without cause as I lawfully sought to apprise

the Mayor from a sufficient distance away as he left the building that hosted that town hall partly

about the fact that I was illegally barred from that town hall and assaulted by Mr. Beato.

11.    Before she was among others who illegally prevented me from attending the Mayor’s

10/18/17 town hall, Defendant Atcheson was recorded on video on 4/27/17 that confirms that she

was present then in the immediate vicinity of where I was near the entrance to the school that

hosted the Mayor’s 4/27/17 town hall as Defendants Redmond, Ringel, and Miller were illegally

preventing me from entering that school to attend that town hall from within an overflow room

that was setup for that town hall after I was issued an admission ticket for that purpose. Ms.

Atcheson then was among others who illegally prevented me from attending the public resource

fair meeting that the Mayor conducted on 5/23/17 inside of the Veteran’s Memorial Hall

chamber inside of the Bronx Supreme Court while I was conducting myself in an entirely lawful

manner in that courthouse on that date. That was after I registered in advance to attend that

5/23/17 resource fair. I thereafter received video recordings from OCA that were recorded in that

courthouse on 5/23/17 that show Ms. Atcheson as she used a variety of body language toward

me in conjunction with remarks to illegally direct me to move away from the entrance to the

Veteran’s Memorial Hall chamber in that courthouse that was then being used to grant other

members of the public access to that public forum. Coincidentally, that 5/23/17 resource fair was

conducted during the U.S. Navy’s annual Fleet Week event in New York City while I continued




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to be a U.S. Navy veteran and as that 5/23/17 resource fair was conducted in Veteran’s

Memorial Hall. The next screenshot is from one of the video recordings that I received from

OCA that was recorded on 5/23/17 by a video security camera it controls that is installed inside

of the Bronx Supreme Court. Defendant Atcheson and I appear on the left in that screenshot that

corresponds to the time of 9:30.24.444 am on 5/23/17. Ms. Atcheson was then using her left

hand to illegally direct me to move away from the entrance to the Veteran’s Memorial Hall

chamber in that courthouse in spite of the fact that she and I were then in a public corridor in that

courthouse over which she certainly had absolutely no control whatsoever. Andrew Berkowitz of

the Mayor’s NYPD security detail also appears in that screenshot as he then had his left hand

near his mouth while apparently engaging in a radio communication by using a device that was

installed near his left wrist. A female member of the NYPD is also shown in that screenshot as

she doing something with a cell phone instead of performing her legal duty to uphold my

constitutional rights by intervening on my behalf to enable me to attend that 5/23/17 resource

fair.




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12. New York State Court Officers Anthony Manzi (badge #: 182), Matthew Brunner (badge #:

   478), and Ramon Dominguez (badge #: 508) all were eyewitnesses to the illegal acts and

   omissions that were committed against me on 5/23/17 inside of the Bronx Supreme Court

   that caused me to be illegally prevented from attending the Mayor’s 5/23/17 resource fair

   meeting in it. They then jointly prepared an official report on 5/24/17 that is known as an

   “Unusual Occurrence Report” that was submitted to their supervisors. I received a copy of

   that report from OCA on 8/28/20 in response to a FOIL demand that I submitted to it. The

   first page in that report contains the following relevant statement about me and the fact that I

   was illegally prevented at 9:50 am on 5/23/17 from attending the Mayor’s 5/23/17 resource

   fair by them and Defendants Atcheson, Gerola, Nieves, and Mr. Berkowitz as all of them

   then worked as co-conspirators for that purpose:


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       “AT ABOVE T/P/O, THE ABOVE UNKNOWN SUBJECT WAS DENIED ENTRY
       INTO A CITY HALL EVENT BEING HELD IN THE ROTUNDA BY CITY HALL
       STAFF AND MAYOR DEBLASIO’S NYPD DETAIL. SUBJECT WAS ASKED TO
       VACATE THE AREA HE WAS STANDING IN”

13. No facts in that report exist that indicate that valid grounds existed to bar me from the

   Mayor’s 5/23/17 resource fair nor move from where I lawfully stood in a hallway in that

   courthouse as I waited to be granted access to that public resource fair. Also, prior to being

   among those who illegally caused me to be prevented from attending the Mayor’s 10/18/17

   town hall by refusing to issue me an admission ticket to do so, Ms. Atcheson also illegally

   refused to issue me admission such admission tickets on 9/14/17 and 9/26/17 to enable me to

   attend the town hall meetings that the Mayor conducted near the buildings that hosted those

   public forums on the dates when they were conducted in spite of the fact that I registered in

   advance to attend those town hall meetings and I conducted myself in an entirely lawful

   manner at the sites of those town hall meetings on the dates when they were conducted in

   contrast to her. The circumstance clearly foreshadowed further such illegal acts by her

   against at the sites of town hall meetings that the Mayor conducted on the dates when they

   would be conducted. That circumstance was also an indication of an apparent addiction that

   Defendant Atcheson had to remaining a faithless servant on account of the fact that she was

   willfully violating her oath of office for her job with Defendant City by virtue of how she

   was illegally treating me at the sites of public forums that the Mayor conducted. In short, Ms.

   Atcheson proved to be an incorrigible addict with others who were all addicted to violating

   my constitutional rights at public forums that the Mayor conducted to steal the 2017 New

   York City government elections by voter suppression, voter fraud, and whistleblower

   retaliation largely to protect their careers. An equitable remedy that I hope such addicts

   promptly receive to cure that addition would entail having them receive the lasting gift that



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      the coronavirus can offer them largely because that would likely greatly improve my chances

      at the same time of being able to lawfully attend public forums in the future without any

      unreasonable interference and reduce crime.

14.      E-mail records confirm that senior members of the Mayor’s staff received updates about

my HRA lawsuit on 4/10/17 in spite and in flagrant violation of the fact that my HRA lawsuit

had been sealed at my request since January of 2017 and was still sealed on 4/10/17. The next

screenshot is from the e-mail message that appears on page 1 within the PDF file that I’m

referring to as “City Hall email excerpts” in this complaint. That e-mail message was sent on

4/10/17 at 5:24 pm by someone named Raquel Lucas in her capacity as a senior assistant for Mr.

Banks. That e-mail message was sent to Mr. Banks as well as Defendant Carrion and other senior

members of the Mayor’s office about me, my litigation against HRA, and my scheduled

attendance on 4/11/17 at the Mayor’s 4/11/17 public resource fair meeting before I discovered at

9:56 am on 4/11/17 that Mr. Mosczyc and Judge Bannon had illegally conspired and colluded to

steal my First Amendment and Fourteenth Amendment right to have testified as scheduled on

4/12/17 in my HRA lawsuit and submit opposition in my HRA lawsuit to oppose the 4/5/17

adjournment application by Mr. Mosczyc before that adjournment could be legally granted just

one day after I engaged in parallel litigation against HRA that was assigned to OTDA in its

capacity as a New York State administrative appellate forum for claims asserted against HRA.




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15.    What follows shows an e-mail message that I received on 9/27/17 at 9:49 am that was

sent to me by someone named Judith Lê while she then worked for the CCRB as an investigator.

She sent me that e-mail message in response to an e-mail message that I sent to her on that date

at 9:27 am in which I apprised her that Defendants Gerola, Mason, and Atcheson acted in concert

on 9/26/17 to illegally prevent me from attending the public town hall meeting that the Mayor

conducted then in Manhattan with Mr. Banks and other government officials. In her e-mail

message to me on 9/27/17 at 9:49 am, Ms. Lê claimed that the Mayor's staff and Mayor’s CAU

were then in charge of admittance to town hall meetings that the Mayor conducted.

       From: "Le, Judith (CCRB)" <JLe@ccrb.nyc.gov>
       Subject: RE: New viewpoint discrimination by NYPD's Howard Redmond & Lt. Nieves
       at Mayor's 8/30 town hall in Brooklyn
       Date: September 27, 2017 at 9:49:27 AM EDT
       To: Towaki Komatsu <towaki_komatsu@yahoo.com>

       Hi Mr. Komatsu,




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       As we previously discussed, unfortunately, admittance in and out of the Town Hall
       events falls outside the jurisdiction. Again, if you'd like, I can forward the complaint to
       Internal Affairs, or recommend that you speak to the Mayor's staff/Community Affairs
       office, as they are in charge of admittance to the Town Halls.

       Best,

       Judith Lê

       Investigator, Squad 8
       Civilian Complaint Review Board
       100 Church Street, 10th Floor
       New York, NY 10007
       (212) 912-2081


16.    On 9/28/17, the Mayor conducted a town hall in Harlem during which members of the

audience did a fantastic job of criticizing the Mayor about various matters. They did so after

New York City Councilman Bill Perkins urged the audience for that town hall to speak freely

about whatever was on their mind during that town has as they addressed the Mayor and other

government personnel during it. While urging them to do so, he told the audience that he didn’t

want its members to feel restrained and to be shy in doing so. He instead then explicitly urged

that audience’s members to shout out whatever was on their minds as they addressed the Mayor

and other government personnel who attended that that town hall. The Mayor’s office arranged

for that town hall meeting to be recorded on video that is available on the Internet at

https://www.youtube.com/watch?v=4s9fYZNLK8o. Mr. Perkins is shown in the next screenshot

at the elapsed time of 5 minutes and 37 seconds as he urged the audience members for that town

hall to conduct themselves during it in the manner that I just discussed. Mr. Perkins’ remarks

then were a clear indication that it was certainly permissible pursuant to the First Amendment

and Fourteenth Amendment for members of the public to shout their remarks to all government

personnel who attended town hall meetings that the Mayor conducted following 9/28/17 because




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due process and equal protection was applicable to being able to be as vocal during such

subsequent public forums.




17.    While following the instructions that Mr. Perkins gave during that town hall meeting, a

Black woman rose to the occasion and marched to the center of the room in which the Mayor

conducted that town hall as it was being conducted to lawfully express her irritation about

something to the audience. All of that and more was recorded in the video recording that I just

discussed. The next screenshot is from the elapsed time of 1 hour, 26 minutes, and 2 seconds in

the video recording that I just discussed. It shows the fantastic Black woman on the right to

whom I just referred as she stood and hilariously stole the stage from the Mayor during his

9/28/17 town hall as she raised a finger on her left hand, wore an circular earring on her right ear

and a blue denim jacket as she had her mouth open and had her right hand near her right hip.




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18.    The Mayor appears on the right in the preceding screenshot as he wore a white shirt and

stood. Defendant Redmond appears in the upper-left corner in that screenshot. The fantastic

Black woman that I just discussed was very boisterous during that town hall and was permitted

to continue to attend that town hall for more than 30 minutes after she stole the stage from the

Mayor in the manner that I just described and was recorded on video. The next screenshot is

from the elapsed time of 1 hour, 59 minutes, and 10 seconds in that video and shows her again as

she talked to the Mayor while she held a microphone in her right hand and was lawfully

expressing a grievance to him about inadequate public notice that was issued for the Mayor’s



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9/28/17 town hall.




19.    The next screenshot is from the elapsed time of 1 hour, 59 minutes, and 50 seconds in

that same video as I played it back with the closed-captioning feature enabled. That screenshot

shows that same fantastic Black woman on the far left as she continued to talk to the Mayor

while using a microphone. As she did so, she brilliantly told the Mayor, “you’re in with the

criminals”. I totally agree with her remark about him and genuinely appreciate her outspokenness

then for having reminded him quite clearly, publicly, and loudly about his status as a criminal

while she stood next to Defendant Redmond. Mr. Redmond promptly thereafter coerced her to


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leave that town hall meeting in retaliation for her remarks to the Mayor. Although the Mayor and

Defendant Redmond certainly didn’t like her remarks to the Mayor then, an excerpt from Cohen

v. California, 403 U.S. 15, 91 S. Ct. 1780, 29 L. Ed. 2d 284 (1971) that appears in this

complaint’s Legal Standards section confirms that what I just stated about that fantastic Black

woman’s speech may have been another person’s “lyric” at the same time that others objected to

it.




20.    The next screenshot is from the elapsed time of 1 hour, 50 minutes, and 37 seconds in

that video and shows another fantastic woman as she stood up and assertively addressed the

Mayor while lawfully criticizing him about his policies that concern rezoning and affordable

housing matters as other members of that audience certainly supported her. At that time, she was

a teacher and was schooling the Mayor about his lack of honesty, transparency, accountability,

and leadership. I would have loved to have witnessed her addressing the Mayor firsthand as she


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did so by having been permitted to exercise my constituonal right to have attended that town

hall from within the room in which it was conducted and seen her face that is not shown in that

video recording. If I had been able to attend that town hall within that room, I would have tried

to lawfully thank her for her criticism of the Mayor and recorded a video of her as she then

delivered her remarks to the Mayor. I had a First Amendment and Fourteenth Amendment right

to have recorded her conversation with the Mayor on video in a way that showed her face and the

defendants in this action.




21.    The next screenshot is from the elapsed time of 1 minute, 51 minutes, and 58 seconds in

that same video as it shows an unknown bald male as he looked in the direction of the video

camera that recorded that video and stood near the woman who had just schooled the Mayor

about his rezoning policies. That bald man whio is shown wearing a pink shirt and dark colored

sportscoat was recorded on video as he was present on 4/27/17 at the site of the Mayor’s 4/27/17

town hall near its entrance as I was being illegally prevented from attending it by members of the




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NYPD as well as Defendant Miller and Pinny Ringel of the Mayor’s CAU. That bald man who

wore the pink shirt during the Mayor’s 9/28/17 town hall illegally didn’t make any effort on

4/27/17 to allow me to attend the Mayor’s 4/27/17 town hall as he was aware that I was being

prevented from attending it. The totality of the circumstances on 9/28/17 strongly suggests that

he was then in the middle of harassing that woman in response to her remarks to the Mayor then

in spite of the fact that her remarks to the Mayor then had been protected speech about matters of

public concern.




22.    The next screenshot is from the elapsed time of 1 minute, 52 minutes, and 18 seconds in

that same video as it shows an unknown Black woman harassing the teacher who schooled the

Mayor about his rezoning policies. The bald man who was then wearing a pink shirt and dark

colored sportscoat that I just discussed also appears in that screenshot as he also appeared to then

be harassing that teacher.




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23.    The next screenshot is from the elapsed time of 1 minute, 52 minutes, and 20 seconds in

that same video as it shows Jane Doe1 10/18/17 on the right as she stood near the fantastic

teacher that I have been discussing while she continued to address the Mayor.




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24.     The next screenshot is from the elapsed time of 1 minute, 52 minutes, and 6 seconds in

that video as it showed Melissa Mark-Viverito, who was then both the Speaker of the City

Council and the moderator for that town hall. She was then telling the audience that people have

a First Amendment right to a) express their views and disagree with others and that b) people

had a First Amendment right to express their views in that room then.




25.     She made those remarks while I was being illegally prevented from attending that town

hall and before she told me on 9/28/17 as she left that event in front of the building that hosted it

and near a street that didn’t know what the NYPD’s problems with me were as I apprised her of

the fact that I was illegally prevented from attending that town hall in flagrant violation of my

First Amendment rights as I then expected her to promptly and effectively intervene on my

behalf to immediately remedy that. Instead, she illegally did nothing about that in spite of the

fact that she then had the power to introduce legislation that could have addressed and resolved

that.


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26.    I wasn’t recorded on video attending the Mayor’s 9/28/17 town hall primarily because

Defendants Gerola, Mason, NYPD Jane Doe4 10/12/17, and others illegally prevented me from

attending that town hall after I arrived to the site of that public forum to do so in accordance with

my constitutional rights. People who attended that town hall were illegally ejected from it while

that was also recorded on video. That occurred mainly because the Mayor has proven to be

incapable of tolerating valid criticism in contrast to his talents and apparent addiction for

violating civil rights at public forums that is an criminal addition that he appears to share with

several of the other defendants in this action. What I just discussed confirms that I had a

Fourteenth Amendment due process and equal right to attend the town hall meetings, public

resource fair meeting, and public hearing that the Mayor conducted on 10/12/17, 10/18/17,

10/25/17, and 3/18/19 and be as vocal and critical of the Mayor, his administration, and the

NYPD as those who attended the Mayor’s 9/28/17 town hall in Harlem were.

27.    On a related note, the next screenshot is a composite that shows a) a screenshot on the

left that is from the elapsed time of 21 seconds within a video recording that I recorded on

9/28/17 at 5:58 pm as I lawfully waited in front of a woman named Marie Miranda to be granted

access to the Mayor’s 9/28/17 town hall in front of the building in which it would be conducted

on that date with b) a screenshot on the right that shows Ms. Miranda as she spoke to the Mayor

during that town hall while attending it from within the room in which it was conducted.




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28.    The screenshot on the right in the preceding screenshot is from the elapsed time of 1

hour, 26 minutes, and 36 seconds within the video recording that the Mayor’s office arranged to

be recorded of the Mayor’s 9/28/17 town hall. This screenshot further and overwhelmingly

confirms that I had a Fourteenth Amendment due process and equal protection right to have

attended that town hall during which Ms. Miranda talked with the Mayor about one of the very

same types of housing issues that was among the types of matters that I sought to discuss with

government officials while attending the Mayor’s a) 9/28/17 town hall, b) 10/12/17 town hall, c)

10/18/17 town hall, and d) 10/25/17 resource fair. As she talked with the Mayor during that

9/28/17 town hall, Ms. Miranda told the Mayor that she needed assistance from his

administration to contend with a landlord her landlord who wasn’t properly maintaining

conditions in her apartment building. In response, Vito Mustaciuolo told Ms. Miranda that HPD

was suing her landlord. Mr. Mustaciuolo was then a senior member of HPD and I have talked

with him face-to-face a few times. Ms. Miranda also told the Mayor then that she and other



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tenants in her building were suing that same landlord, but she needed conditions in her apartment

building to be properly addressed in the interim. The sum and substance of what she discussed

with the Mayor was very closely-related to problems that I have had with Urban and HRA in

relation to conditions in the building in which I reside about which I sought to have the Mayor

commit to immediately remedying while attending the Mayor’s a) 9/28/17 town hall, b) 10/12/17

town hall, c) 10/18/17 town hall, and d) 10/25/17 resource fair.


                                   RETROSPECTIVE FACTS

1.     This section is comprised of relevant facts about matters that occurred after most of the

events occurred that gave rise to my claims in this action. These facts support my claims in this

action by hindsight and what they reveal about a propensity and proclivity by the defendants to

violate my rights at public forums that the Mayor conducted.


Facts about my interactions with the defendants on 11/30/17 at the site of the Mayor’s town

hall on that date:

2.     To mercilessly and legally kill any possible doubt that anyone may have about whether

it’s objectively reasonable to infer from the totality of the circumstances that a) Defendant

Stribula was personally involved with others in causing me to have been illegally prevented from

attending the Mayor’s 10/12/17 town hall through their acts and omissions as they acted in

concert and b) Defendant Ringel was personally involved with others in causing me to have been

illegally prevented from attending the Mayor’s 10/18/17 town hall through their acts and

omissions as they acted in concert, I will next discuss a critically significant video recording that

I recorded of them, Defendant Baez, and Defendant Miller on 11/30/17 at 5:30 pm in front of the

building that hosted the town hall meeting that the Mayor conducted in Queens as I conducted




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myself in an entirely lawful manner in stark contrast to Defendants Stribula, Ringel, Baez, and

Miller as I stood in front of eyewitnesses that were comprised of other members of the public

who were also waiting to attend that town hall.

3.      The next screenshot is from the elapsed time of 3 seconds in a video recording that I

recorded on 11/30/17 at 5:30 pm that has the filename of “IMG_3280.MOV” as I stood in front

of the building that hosted the public town hall meeting that the Mayor conducted in Queens on

that date.




4.      As I recorded that video, I stood in front of other members of the public who also were

lawfully conducting themselves and were also waiting to be granted access to that building to

lawfully attend that town hall. As I recorded that video, I recorded Defendants Stribula, Ringel,

Miller, Ridener, and Baez in it as well as members of the public who certainly then were

eyewitnesses. A copy of that video is available on the Internet at



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https://drive.google.com/file/d/1p43pfi4DWQYVZi8b1GkHkcunEoN2Lhm4/view?usp=sharing.

This screenshot shows Defendant Stribula as she was about to tell me again that she was not

allowing me to attend the Mayor’s 11/30/17 town hall.

5.     The next screenshot from that same video is from the elapsed time of 5 seconds and

reflects what appears in it as Defendant Miller appears on the right. At that point in that video,

Ms. Stribula was about to tell me that I couldn’t attend that town hall simply because she said

that she wouldn’t allow me to do so without any additional clarification about that. I had just

asked her to provide me a valid legal basis for why she was attempting to prevent me from

attending that town hall meeting that was certainly a public forum and subject to my

constitutional rights and New York State’s Open Meetings Law. How she treated me on

11/30/17 by trying to prevent me from attending that town hall is exactly how she treated me on

10/12/17 in regard to my efforts to have lawfully attended the Mayor’s 10/12/17 town hall as

well as how a) she and defendants Ringel, Atcheson, and others illegally barred me from the

Mayor’s 10/18/17 town hall and b) Defendants Baez, Nieves, Gerola, Redmond, and others

illegally barred me from the Mayor’s 10/25/17 resource fair as I was subjected to illegal

standardless discretion by them on 10/12/17, 10/18/17, 10/25/17, and 11/30/17 in that regard.




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6.     Defendant Stribula never provided me any due process nor an objectively valid legal

justification on 11/30/17 about her decision to try to illegally exclude me from being able to

lawfully attend the Mayor’s 11/30/17 town hall meeting and Defendants Baez, Miller, Ringel,

and Ridener certainly made no attempt to enable me to exercise my constitutional right to

lawfully attend that town hall. One of the members of the public who was also waiting in line

near me as I recorded that video is heard in that video as he agreed to a request that I then made

to him to also record what was occurring in his presence with respect to the fact that I was then

being illegally prevented from attending that town hall.

7.     The next screenshot from that same video that I recorded is from the elapsed time of 42




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seconds and shows Defendant Ringel right after he nodded his head to express agreement with a

remark that I made as I was narrating information about what I was then experiencing in regards

to being illegally prevented from attending that town hall without being provided an objectively

valid legal justification for that. Right before he nodded his head to express that agreement, I

stated that I wasn’t being provided such a legal justification and showed a printout from a news

article that was written by Margo Schlanger, is entitled “The Supreme Court Gives a Subtle

Boost to Free Speech”, and was published on the Internet at

https://newrepublic.com/article/117925/woodv- moss-subtle-victory-free-speech on 5/28/14 by a

news organization named New Republic. That news article focused on the U.S. Supreme Court’s

decision in Wood v. Moss, 134 S. Ct. 2056, 572 U.S., 188 L. Ed. 2d 1039 (2014).




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8.     The next screenshot is from that same video from the elapsed time of 36 seconds and

shows the news article that I just discussed.




9.     The only reason why I was able to eventually able to attend the Mayor’s 11/30/17 town


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hall was because Defendant Ioveno intervened on my behalf to enable me to do so after I

apprised both him and New York City Councilman Rory Lancman in front of the building that

hosted that town hall about the fact that I was being illegally prevented from attending that town

hall. Mr. Lancman was the moderator for that town hall meeting and flagrantly violated his legal

duty pursuant to 42 USC §1986, the constitutional oath he took to work for the City of New

York, New York City Charter §1116, and NYPL §195.00 to have attempted to intervene on my

behalf to enable me to attend that town hall. Mr. Ioveno then intervened on my behalf by briefly

talking with Defendant Carrion and Ridener on a sidewalk before he returned to where I was and

told me that I would be able to attend that town hall. I had a Fourteenth Amendment due process

and equal protection right on 10/12/17, 10/18/17, and 10/25/17 to have had other members of the

NYPD to have similarly intervened on my behalf then and overruled those who were illegally

preventing me from attending the town hall and resource fair meetings that the Mayor conducted

on those dates while doing so to enable me to attend all of those public forums.


Facts about how David Rem lawfully expressed himself during the Mayor’s 2/19/20 town

hall, was applauded for that by audience, and was retaliated against for that by Defendant

Redmond and the Mayor:

10.    I will next briefly jump forward to a discussion of remarks that were made on 2/19/20 by

another trailblazer named David Rem, who followed the lead of the fantastic Black woman who

attended the Mayor’s 9/28/17 town hall and stole the stage from him that I talked about earlier.

Mr. Rem picked up where she left off as Mr. Rem truthfully and refreshingly told the Mayor in

no uncertain terms that he was the “worst Mayor ever” during the town hall meeting that the

Mayor conducted on 2/19/20 in Forest Hills in Queens. The Mayor’s office arranged for that

2/19/20 town hall to be recorded on video that is available on the Internet at



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https://www.youtube.com/watch?v=5le6DCaxiG8. Along with the discussion that I presented

about the fantastic Black woman who attended the Mayor’s 9/28/17 town hall, this discussion

about Mr. Rem is being presented to clearly establish the fact that the Defendants in this action

illegally subjected me to a double-standard with respect to my ability to attend public town hall

meetings, public resource fair meetings, and public hearings that the Mayor conducted as they

illegally discriminated against me and used a fraudulent pretext in doing so as they illegally

subjected me to an abuse of process, standardless discretion, and flagrant violation of my First

Amendment rights and Fourteenth Amendment rights that pertain to a) selective-enforcement

that corresponds to the class-of-one theory and is predicated upon an illegitimate animus and

invidious discriminatory intent, b) due process, and c) equal protection. This is proven by the

fact that those defendants treated the fantastic Black woman who attended the Mayor’s 9/28/17

town hall and that I discussed earlier and Mr. Rem on 2/19/20 much differently than they treated

me by allowing them to attend and remain in the town hall meetings that the Mayor conducted

on those dates even after they criticized the Mayor and other members of his administration

while attending them.

11.    The next screenshot is from that video and shows Mr. Rem at the elapsed time of 1 hour,

37 minutes, and 55 seconds in that video as he a) exercised his First Amendment rights by

lawfully reminding Bill de Blasio that he was the “worst Mayor ever” and b) received cheers

from the audience in response for being so honest about that view concerning Mr. de Blasio that

I certainly share. Mr. Rem is shown in this screenshot on the right as he stood and wore a hooded

sweatshirt that had a red hood, red sleeves, and gray backside. When the Mayor entered the room

that hosted that town hall on 2/19/20, he was met with a chorus of boos from its audience. Those

who did so besides perhaps Mr. Rem were not forced to leave that town hall. That fact




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underscored the fact that it is entirely lawful behavior to criticize the Mayor and other

government personnel who attend public forums that the Mayor conducts as they’re conducted

and as such personnel attend them.




12.    The next screenshot is from that same video and shows the Mayor making a hand signal

to Defendant Redmond at the elapsed time of 1 hour, 38 minutes, and 23 seconds to criminally

retaliate against Mr. Rem in response to Mr. Rem’s valid criticism of the Mayor and Richard

Carranza during that public forum. Mr. Carranza is the Chancellor of the DOE and was

characterized as a racist by Mr. Rem during that town hall. By directing Mr. Redmond then

through the use of that hand signal, the Mayor clearly demonstrated that he was acting in concert

with Mr. Redmond to have Mr. Rem coerced to leave that town hall in violation of the First

Amendment and Fourteenth Amendment with respect to both Mr. Rem as a speaker and those

who sought to continue to receive Mr. Rem’s speech as he attended that town hall.




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13.    The totality of what is shown and heard in that video sufficiently establishes that Mr. de

Blasio retaliated against Mr. Rem during that town hall in violation of a) Mr. Rem’s First

Amendment rights, b) other laws that include 18 U.S.C. §245(b)(5), NYPL §240.20, and New

York State’s Open Meetings Law, and c) the First Amendment right that other people who

shared Mr. Rem’s views and didn’t share his views had to continue to hear what Mr. Rem had to

say during that public forum while both they and Mr. Rem remained in that room as that town

hall continued to be conducted.

14.    That 2/19/20 town hall meeting was co-sponsored by a variety of groups instead of

having been organized and conducted strictly by the Mayor’s office. In her capacity as the

moderator of that 2/19/20 hall instead of someone else, Ms. Koslowitz’s duties were identical to

those that New York City Councilman Corey Johnson performed on 3/15/17 during the town hall

meeting that the Mayor conducted. Specifically, just like how Mr. Johnson did on 3/15/17 during

the town hall meeting that he then conducted with the Mayor, it was strictly Ms. Koslowitz’ job

during the Mayor’s 2/19/20 town hall to control the length of time that people could speak to the



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Mayor after she gave them a chance to do so as that town hall was conducted. The point here is

that only Ms. Koslowitz was authorized to interfere with Mr. Rem’s lawful freedom of

expression that he directed against the Mayor during that 2/19/20 town hall because she was the

moderator of that public forum instead of someone else.

15.    This fact is significant largely because though Ms. Koslowitz clearly proved that she does

not support the First Amendment as she criticized Mr. Rem in response to him having lawfully

exercised his First Amendment rights during that 2/19/20 town hall by criticizing the Mayor and

Mr. Carranza, the video recording of that town hall that was recorded as a result of arrangements

that the Mayor’s office made does not indicate that she communicated anything to end Mr.

Rem’s remarks to the Mayor during that public forum.

16.    The next screenshot is from that same video and shows Defendant Redmond, Defendant

Ringel, Mr. Rem, and the Mayor in it at the elapsed time of 1 hour, 38 minutes, and 25 seconds

as Mr. Redmond appears to be clearly scowling to express anger about how Mr. Rem was

fabulously criticizing the Mayor in front of an appreciate audience.




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17.    Shortly thereafter, Defendant Redmond illegally coerced Mr. Rem to leave that public

forum in violation of his constitutional right to remain in it and continue to receive the cheers

and applause from its audience that he received for his leadership and honesty by having told

him that he was the worst Mayor ever. The next screenshot is from the elapsed time of 1 hour, 38

minutes, and 27 seconds in that video and shows Defendant Redmond as he was about to assault

Mr. Rem with right hand by illegally grabbing Mr. Rem’s left arm in flagrant violation of Mr.

Rem’s Fourth Amendment rights.




18.    Although it may appear from the next screenshot that is from the elapsed time of 1 hour,

38 minutes, and 29 seconds in that video that Mr. Rem punched the Mayor in his face that would

make me and other New Yorkers quite happy, it is far more likely that what is shown in that

screenshot indicates that Mr. Rem yanked his left arm away from Defendant Redmond’s illegal

grasp of it in response to Mr. Redmond having illegally grabbed it.



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19.    The next screenshot is from the elapsed time of 1 hour, 37 minutes, and 58 seconds in

that video and shows Mr. Rem as he pointed at the Mayor while he finished his outstanding

criticism of the Mayor then and received well-deserved applause from an unknown man who

appears in the upper-right corner and stood up from his seat to pay respect to Mr. Rem for his

leadership and outspokenness by taking off the gloves and showing the Mayor up in such a

refreshing way during that public forum.




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20.    The next screenshot is also from the elapsed time of 1 hour, 37 minutes, and 58 seconds

in that video and shows Mr. Rem as he received well-deserved applause from a woman on the

far-left as well as the man on the right who continued to applaud Mr. Rem.




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21.    The next screenshot is from what appears at the elapsed time of 6 minutes and 3 seconds

in the video recording that the Mayor’s office arranged to be recorded on 7/8/20 of the public

hearing that the Mayor conducted remotely at 12:30 pm on 7/8/20. That video recording is

available on the Internet at https://www.youtube.com/watch?v=Ze4v5p44590. This screenshot

shows New York City Councilwoman Carlina Rivera as she testified in that hearing.




22.    The preceding screenshot is relevant to my claims in this complaint that concern the

Mayor’s 3/18/19 public hearing because it decisively establishes that when the Mayor claimed to

me on 3/18/19 during the Mayor’s 3/18/19 public hearing that I attended and briefly testified in

that he was unsure about whether my playback of video recordings in conjunction with my

testimony that I sought to lawfully then do could be accepted, that wasn’t an isolated instance in

which he and perhaps other members of the Mayor’s office illegally discriminated against the



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public’s First Amendment right to receive information from those who testified in public

hearings that he conducted through the video recordings that the Mayor’s office arranged to be

recorded of them. In doing so, the Mayor and perhaps other members of the Mayor’s office

illegally chilled my First Amendment right to expression as a speaker during that 3/18/19 public

hearing as well as the public’s corresponding First Amendment right to receive information from

speakers and that violation of First Amendment freedoms caused irreparable harm. This

screenshot confirms that the Mayor’s office committed an abuse of discretion and discrimination

by illegally not showing the faces of everyone who testified in that 7/8/20 public hearing in that

video recording. The Mayor’s office illegally discriminated against those who testified in that

hearing whose faces weren’t shown in that video as well as me and other members of the public

who also sought to observe the facial expressions and other body language that may have been

exhibited by all who testified in that hearing as they did so. The First Amendment right that

people have to receive information from speakers includes those who are deaf and rely on sign

language and/or lip-reading to receive information from speakers.

23.      The following is a relevant excerpt from Robar v. Village of Potsdam Board of Trustees,

No. 8: 20-cv-0972 (LEK/DJS) (N.D.N.Y. Sept. 21, 2020) that addressed a legal standard that

pertained to an application for a preliminary injunction to uphold First Amendment rights that

was granted through that decision:

      “"Violations of the First Amendment are presumed irreparable." Tunick v. Safir, 209 F.3d
      67, 70 (2d Cir. 2000). The Supreme Court has declared that "the loss of First Amendment
      freedoms, for even minimal periods of time, constitutes irreparable injury." Elrod v. Burns,
      427 U.S. 347, 373 (1976); see also Bery, 97 F.3d at 693 ("Violations of First Amendment
      rights are commonly considered irreparable injuries for the purposes of a preliminary
      injunction."); Mitchell v. Cuomo, 748 F.2d 804, 806 (2d Cir. 1984) (noting that "[w]hen an
      alleged deprivation of a constitutional right is involved, most courts hold that no further
      showing of irreparable injury is necessary," and collecting cases).”

24.      In Snyder v. Phelps, 562 U.S. 443, 131 S. Ct. 1207, 179 L. Ed. 2d 172 (2011), the U.S.



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Supreme Court issued the following findings about the First Amendment that are very relevant to

my claims in this action and the relief that I seek to be granted:

      “Speech is powerful. It can stir people to action, move them to tears of both joy and sorrow,
      and—as it did here—inflict great pain. On the facts before us, we cannot react to that pain by
      punishing the speaker. As a Nation we have chosen a different course—to protect even
      hurtful speech on public issues to ensure that we do not stifle public debate.”

25.      Similarly, the judge who issued the decision in Center for Bio-Ethical Reform, Inc. v.

Black, 234 F. Supp. 3d 423 (W.D.N.Y. 2017) cited Snyder v. Phelp in the following pertinent

excerpt from it that is also very relevant to my claims in this action and the relief that I seek to be

granted:

      “"[A]bove all else, the First Amendment means that government has no power to restrict
      expression because of its message, its ideas, its subject matter, or its content." Police Dep't of
      Chicago. v. Mosley, 408 U.S. 92, 95-96, 92 S.Ct. 2286, 33 L.Ed.2d 212 (1972). State actors
      are "not permitted to privilege the feelings or viewpoints of one group over the viewpoints of
      another group." See Forsyth County, Ga. v. Nationalist Movement, 505 U.S. 123, 134, 112
      S.Ct. 2395, 120 L.Ed.2d 101 (1992). "[U]nder our Constitution the public expression of ideas
      may not be prohibited merely because the ideas are themselves offensive to some of their
      hearers, or simply because bystanders object...." Bachellar v. Maryland, 397 U.S. 564, 567,
      90 S.Ct. 1312, 25 L.Ed.2d 570 (1970). Indeed, "[a]s a Nation, we have chosen ... to protect
      even hurtful speech on public issues to ensure that we do not stifle public debate." Snyder v.
      Phelps, 562 U.S. 443, 460-61, 131 S.Ct. 1207, 179 L.Ed.2d 172 (2011). It is well settled
      that 435*435 "the right to engage in peaceful and orderly political demonstrations is, under
      appropriate conditions, a fundamental aspect of the `liberty' protected by the Fourteenth
      Amendment." Shuttlesworth v. City of Birmingham, Ala., 394 U.S. 147, 161, 89 S.Ct. 935, 22
      L.Ed.2d 162 (1969) (Harlan, J., concurring).”

26.      On 10/30/17, I attended a meeting that was about the U.S. Constitution that Arthur

Eisenberg of the NYCLU and David Cole of the ACLU conducted at the Fordham Law School

that is located at 150 West 62nd Street in Manhattan. Those who organized that meeting

arranged for it to be recorded on video that is available on the Internet at

https://livestream.com/accounts/14230140/events/7870400/videos/165193623. During that

meeting’s question and answer session with its audience, I told Mr. Eisenberg and Mr. Cole that

I was both a U.S. Navy veteran and a whistleblower. I also told them that the Mayor’s NYPD



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security detail had been illegally preventing me from attending public forums that the Mayor had

been conducting. I told them that as I asked them how I could get legal representation from their

organizations to address that problem. Mr. Eisenberg was then the NYCLU’s legal director and

Mr. Cole was then the ACLU’s national legal director. In response, Mr. Eisenberg clearly told

me that I had a legal right to attend the Mayor’s public forums as long as I was not disrupting

those public forums. The conversation that I had with both of them during that meeting during

which I made the remarks to them that I just discussed and Mr. Eisenberg gave me the answer

that I just discussed begins at the elapsed time of 55 minutes and 25 seconds in the video

recording of that meeting. I’m shown later in that video at the elapsed time of 1 hour, 6 minutes,

and 12 seconds as I talked with Mr. Eisenberg as I wore a white sweater and was carrying a

backpack. The next screenshot shows both Mr. Cole on the left and Mr. Eisenberg on the right

immediately after Mr. Eisenberg told me that I had a right to attend the Mayor’s public forums

while I was not disrupting those meetings.




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                                      LEGAL STANDARDS

1.      I incorporate by reference the statements that I made in all of the preceding paragraphs as

though fully set forth herein.

2.      In the interests of brevity and pursuant to FRCP Rule 10(c), I incorporate by reference as

though fully set forth herein the “Legal Standards” section that appears in the following:

        a.      The First Amended Complaint that I filed in K4 on 10/5/20. That submission

        corresponds to docket number 4 in that case.

        b.      The complaint that I filed in K5 on 9/25/20. That submission corresponds to

        docket number 2 in that case.

        c.      The complaint that I filed in K6. That submission corresponds to docket number 2

        in that case.

3.      By illegally preventing me from attending the Mayor’s a) 10/12/17 town hall, b)

10/18/17 town hall, and c) 10/25/17 resource fair as well as ejecting me from the Mayor’s

3/18/19 public hearing and City Hall’s property on that date, those who did so and illegally

didn’t intervene on my behalf to stop and otherwise reverse that violated my First Amendment

right to communicate directly to government officials that is articulated as follows in Kittay v.

Giuliani, 112 F. Supp. 2d 342 (S.D.N.Y. 2000):

     "The right to petition in general guarantees only that individuals have a right to communicate
     directly to government officials, and that individuals have the right of access to the courts to
     redress constitutional violations. See McDonald v. Smith, 472 U.S. 479, 482, 105 S.Ct. 2787,
     86 L.Ed.2d 384 (1985); Mozzochi v. Borden, 959 F.2d 1174, 1180 (2d Cir.1992)"

4.      According to Bloomberg v. The New York City Department of Education, No. 17-cv-3136

(PGG) (S.D.N.Y. Sept. 24, 2019), the Mayor, members of the City Council, and other

government officials were explicitly prohibited by from conducting town hall meetings and other




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similar meetings inside of schools controlled by the DOE after school, unless the following

prerequisites were satisfied:

       a.      "Candidate forums are permitted provided all candidates are invited to

       participate."

       b.      "Permit applications for candidate forums must include a written representation

       that all candidates have been invited to participate."

5.     The preceding prerequisites clearly confirm that they were designed to foster discussion

and debate by political rivals in government elections in accordance with the intent of New York

State’s Open Meetings Law. This point is reinforced by the fact that the preceding excerpts apply

to the additional excerpt from Bloomberg v. The New York City Department of Education that

confirms it:

       “No rallies, forums, programs, etc., on behalf of, or for the benefit of any elected official,
       candidate, candidates, slate of candidates or political organization/committee may be held
       in a school building after school/business hours, except as indicated in paragraphs II.C
       and II.D below.”

6.     The prohibition that I just discussed is discussed in greater detail in a memorandum that

was issued by the DOE on 6/22/09 and is shown in a PDF file that is available on the Internet at

https://cdn-blob-prd.azureedge.net/prd-pws/docs/default-source/default-documentlibrary/d-130-

6-22-2009-final-remediated-wcag2-0.pdf.

7.     That PDF file corresponds to regulation number D-130 that was established by a DOE

Chancellor that remained in effect on and after 10/12/17. The prohibition that I discussed above

appears on page 6 within that regulation. Information on that page indicates that prohibition

stems from New York State Education Law section 414 and policies by the DOE.

8.     There is no reason to believe that the Mayor, members of the Mayor’s administration, and

members of the City Council complied with the prerequisites for being able to lawfully conduct a



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public town hall meeting within the school that hosted the Mayor’s 10/12/17 town hall by having

invited people to attend that town hall who were rivals of the Mayor in the 2017 New York City

government elections. Concerning this point, Politico New York published a news article on

2/29/16 on the Internet at https://www.politico.com/states/new-york/albany/story/2016/02/avella-

outraged-by-lateinvite-to-de-blasio-town-hall-031750 that is entitled “Avella Outraged by Late

Invite to De Blasio Town Hall” that was written by Laura Nahmias. That article reported about a

claim that was made by New York State Senator Tony Avella that the Mayor’s administration

failed to invite him to attend a town hall meeting that the Mayor would conduct until it was too

late for Mr. Avella to be able to attend it. That article further reported that Mr. Avella was a critic

of the Mayor and his administration and believed that the Mayor’s staff deliberately waited to

invite him to attend the Mayor’s town hall meeting that the Mayor held on 2/29/16 in Queens

until it would be too late for Mr. Avella to attend it.

9.     The following findings that were issued in Walsh v. Enge, 154 F. Supp. 3d 1113 (D. Or.

2015) concern prospective exclusions from public forums and are therefore extremely relevant to

my claims in this action that concern my having been illegally and prospectively barred without

due process from attending the Mayor’s a) 10/12/17 town hall, b) 10//18/17 town hall, and c)

10/25/17 resource fair as well as the fact that I was illegally and prospectively barred without due

process from continuing to be on the grounds of City Hall on 3/18/19 after I was illegally ejected

from the Mayor’s 3/18/19 public hearing:

       This case requires the Court to decide whether the First Amendment allows a Mayor or
       his or her designee, acting pursuant to a city ordinance, to exclude a person, potentially
       indefinitely, from attending future City Council meetings to which the public is otherwise
       invited to attend and present their opinions simply because the person has been disruptive
       at previous meetings. The First Amendment protects, among other things, "freedom of
       speech" and "petitioning for a governmental redress of grievances." U.S. Const. amend. I.
       The First Amendment is incorporated into the Fourteenth Amendment and thus applies to
       the states and local governmental bodies. Gitlow v. New York, 268 U.S. 652, 666, 45



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       S.Ct. 625, 69 L.Ed. 1138 (1925). No appellate opinion of which this Court is aware has
       ever held that the First Amendment permits prospective exclusion orders from otherwise
       public city council meetings. A presiding officer may remove a disruptive individual
       from any particular meeting, and a sufficiently disruptive person may even be prosecuted
       for such conduct if public law permits. But no matter how many meetings of a city
       council a person disrupts, he or she does not forfeit or lose the future ability to exercise
       constitutional rights and may not be prospectively barred from attending future meetings.
       Our democratic republic is not so fragile, and our First Amendment is not so weak.

10.    The following findings from Frain v. Baron, 307 F. Supp. 27 (E.D.N.Y. 1969) is also

relevant to my claims in this action for reasons that are sufficiently self-explanatory:

            “Fear of disorder, which the City cites to justify its policy, has been ruled out as a
            ground for limiting peaceful exercise of First Amendment rights. Edwards v. South
            Carolina, 372 U.S. 229, 83 S.Ct. 680, 9 L.Ed.2d 697 (1963).”

11.    The U.S. Supreme Court issued the following critically significant findings in Cohen v.

California, 403 U.S. 15, 91 S. Ct. 1780, 29 L. Ed. 2d 284 (1971):

       a.      “It may be that one has a more substantial claim to a recognizable privacy
               interest when walking through a courthouse corridor than, for example,
               strolling through Central Park”

       b.      “Finally, in arguments before this Court much has been made of the claim that
               Cohen's distasteful mode of expression was thrust upon unwilling or unsuspecting
               viewers, and that the State might therefore legitimately act as it did in order to
               protect the sensitive from otherwise unavoidable exposure to appellant's crude
               form of protest. Of course, the mere presumed presence of unwitting listeners or
               viewers does not serve automatically to justify curtailing all speech capable of
               giving offense. See, e.g., Organization for a Better Austin v. Keefe, 402 U. S. 415
               (1971). While this Court has recognized that government may properly act in
               many situations to prohibit intrusion into the privacy of the home of unwelcome
               views and ideas which cannot be totally banned from the public dialogue, e.g.,
               Rowan v. Post Office Dept., 397 U. S. 728 (1970), we have at the same time
               consistently stressed that "we are often `captives' outside the sanctuary of the
               home and subject to objectionable speech." Id., at 738. The ability of government,
               consonant with the Constitution, to shut off discourse solely to protect others from
               hearing it is, in other words, dependent upon a showing that substantial privacy
               interests are being invaded in an essentially intolerable manner. Any broader view
               of this authority would effectively empower a majority to silence dissidents
               simply as a matter of personal predilections.”

       c.      “it is nevertheless often true that one man's vulgarity is another's lyric.”




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       d.      “"[o]ne of the prerogatives of American citizenship is the right to criticize public
               men and measures—and that means not only informed and responsible criticism
               but the freedom to speak foolishly and without moderation." Baumgartner v.
               United States, 322 U. S. 665, 673674 (1944).

               Finally, and in the same vein, we cannot indulge the facile assumption that one
               can forbid particular words without also running a substantial risk of suppressing
               ideas in the process. Indeed, governments might soon seize upon the censorship of
               particular words as a convenient guise for banning the expression of unpopular
               views. We have been able, as noted above, to discern little social benefit that
               might result from running the risk of opening the door to such grave results.”

       e.      “The constitutional right of free expression is powerful medicine in a society as
               diverse and populous as ours. It is designed and intended to remove governmental
               restraints from the arena of public discussion, putting the decision as to what
               views shall be voiced largely into the hands of each of us, in the hope that use of
               such freedom will ultimately produce a more capable citizenry and more perfect
               polity and in the belief that no other approach would comport with the premise of
               individual dignity and choice upon which our political system rests. See Whitney
               v. California, 274 U. S. 357, 375377 (1927) (Brandeis, J., concurring).”


12. The admission tickets that were issued by the Mayor’s staff for town hall meetings that the

   Mayor conducted were functionally equivalent to press credentials that grant members of the

   press access to meetings that government officials conduct. What follows is a relevant

   excerpt from Karem v. Trump, No. 19-cv-5255 (D.C. Cir. June 5, 2020) that addressed what

   is required of due process in the context of a denial of access to government officials through

   the revocation of a press credential. In short, that lawsuit led to Brian Karem having a press

   credential revoked from him by the Whitehouse reinstated.

       “A fundamental principle in our legal system,” the Supreme Court observed in FCC v.
       Fox Television Stations, Inc., 567 U.S. 239 (2012), “is that laws which regulate persons
       or entities must give fair notice of conduct that is forbidden or required.” Id. at 253. Such
       “[e]lementary notions of fairness,” the Court explained in BMW of North America, Inc. v.
       Gore, 517 U.S. 559 (1996), “dictate that a person receive fair notice not only of the
       conduct that will subject him to punishment, but also of the severity of the penalty that
       [the government] may impose.” Id. at 574. “This requirement of clarity[,] . . . essential to
       the protections provided by the Due Process Clause of the Fifth Amendment,” Fox
       Television, 567 U.S. at 253, “is implicated” whenever the government imposes “civil
       penalties,” Gore, 517 U.S. at 574 n.22 (emphasis omitted). Where such penalties



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         “threaten[] to inhibit the exercise of constitutionally protected rights[,] . . . a more
         stringent vagueness [and fair-notice] test should apply.” Village of Hoffman Estates v.
         Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498–99 (1982).

         That “essential . . . protection[]” of fair notice applies here. Fox Television, 567 U.S. at
         253. As we explained in Sherrill, “the interest of a bona fide Washington correspondent
         in obtaining a White House press pass . . . undoubtedly qualifies as [a] liberty [interest]
         which may not be denied without due process of law under the fifth amendment.” 569
         F.2d at 130–131. And because “any deprivation” of a protected liberty interest must “be
         effected pursuant to constitutionally adequate procedures,” Brandon v. District of
         Columbia Board of Parole, 823 F.2d 644, 648 (D.C. Cir. 1987), a duly issued hard pass
         may not be suspended without due process. Accordingly, “[e]lementary notions of
         fairness” required that Karem “receive fair notice not only of the conduct that [would]
         subject him to punishment, but also of the . . . magnitude of the sanction that [the White
         House] might impose.” Gore, 517 U.S. at 574. Furthermore, because the suspension of a
         hard pass, like the denial of a hard pass, “implicate[s]” “important first amendment
         rights,” Sherrill, 569 F.2d at 130, we evaluate Karem’s suspension under a particularly
         “stringent vagueness [and fair-notice] test,” Village of Hoffman Estates, 455 U.S. at 498–
         99.

         Applying that test, we think Karem’s due process claim is likely to succeed because, on
         this record, nothing put him on notice of “the magnitude of the sanction”—a month-long
         loss of his White House access, an eon in today’s news business—that the White House
         “might impose” for his purportedly unprofessional conduct at the non-press-conference
         event. Gore, 517 U.S. at 574.

13.      The following is a relevant excerpt from Kass v. City of New York, 864 F.3d 200 (2d Cir.

2017) that addresses the matter of illegal dispersal orders that law-enforcement personnel issue.

      “New York courts have held that "a refusal to obey such an order [to move] can be justified
      only where the circumstances show conclusively that the police officer's direction was purely
      arbitrary and was not calculated in any way to promote the public order." People v. Todaro,
      26 N.Y.2d 325, 328-29, 310 N.Y.S.2d 303, 258 N.E.2d 711 (1970) (quoting People v.
      Galpern, 259 N.Y. 279, 284-85, 181 N.E. 572 (1932)); Crenshaw v. City of Mount Vernon,
      372 Fed.Appx. 202, 206 (2d Cir. 2010) (summary order) (same).”

14.      The following findings from Henry v. Wyeth Pharmaceuticals, Inc., 616 F.3d 134 (2d

Cir. 2010) address scenarios in which supervisors like a) Defendants de Blasio, Carrion,

Redmond, and Stribula act like mob bosses while using subordinates and others that include b)

Defendants Ringel, Nieves, Atcheson, and Baez like henchmen, agents, and proxies to carry out

their dirty work to commit criminal acts against others and otherwise violate the rights of others:



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       We believe the court erred in this instruction. In Gordon v. New York City Bd. of
       Educ., 232 F.3d 111, 116 (2d Cir. 2000), we stated, "Neither this nor any other circuit has
       ever held that, to satisfy the knowledge requirement, anything more is necessary than
       general corporate knowledge that the plaintiff has engaged in a protected activity." We
       then rejected the argument that in order to satisfy the causation requirement, a plaintiff
       must show that the particular individuals who carried out an adverse action knew of the
       protected activity. Id. at 117. Instead, we indicated that a jury may

       find retaliation even if the agent denies direct knowledge of a plaintiff's protected
       activities, for example, so long as the jury finds that the circumstances evidence
       knowledge of the protected activities or the jury concludes that an agent is acting
       explicitly or implicit[ly] upon the orders of a superior who has the requisite knowledge.

       Id. See also Gorman-Bakos v. Cornell Coop Extension of Schenectady County, 252 F.3d
       545, 554 (2d Cir.2001) (noting that a plaintiff can establish causation by showing
       protected activity was closely followed in time by adverse employment action); Kessler
       v. Westchester County Dep't of Soc. Servs., 461 F.3d 199, 210 (2d Cir.2006).
       Gordon directly addressed the situation in which a corporate agent carries out an adverse
       employment action on the orders, explicit or implicit, of a superior with knowledge that
       the plaintiff has engaged in a protected activity. However, in order to show causation in
       the sense required by McDonnell Douglas — that is, a causal connection between the
       protected activity and the adverse employment action — it is not necessary that the
       supervisor who has knowledge of the plaintiff's protected activities have ordered the
       agent to impose the adverse action. A causal connection is sufficiently demonstrated if
       the agent who decides to impose the adverse action but is ignorant of the plaintiff's
       protected activity acts pursuant to encouragement by a superior (who has knowledge) to
       disfavor the plaintiff.

15.    Gordon v. New York City Bd. of Educ., 232 F.3d 111 (2d Cir. 2000) is cited in Henry v.

Wyeth Pharmaceuticals, Inc. and includes the following related findings:

       The lack of knowledge on the part of particular individual agents is admissible as some
       evidence of a lack of a causal connection, countering plaintiff's circumstantial evidence
       of proximity or disparate treatment. See Alston, 14 F.Supp.2d at 312-13. A jury, however,
       can find retaliation even if the agent denies direct knowledge of a plaintiff's protected
       activities, for example, so long as the jury finds that the circumstances evidence
       knowledge of the protected activities or the jury concludes that an agent is acting
       explicitly or implicit upon the orders of a superior who has the requisite knowledge. See
       id. at 311. This is so, moreover, regardless of whether the issue of causation arises in the
       context of plaintiff's satisfaction of her prima facie case or as part of her ultimate burden
       of proving that retaliation "played a motivating role in, or contributed to, the employer's
       decision." Renz v. Grey Advertising, Inc., 135 F.3d 217, 222 (2d Cir.1997)

       Accordingly then, to the extent that the district court charged the jury that the
       very agents of the Board who engaged in retaliatory actions against Gordon had to know



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         of her protected activity, it erred.


16.      The following findings from Housing Works, Inc. v. Turner, 00 Civ. 1122 (LAK)(JCF)

(S.D.N.Y. Sept. 15, 2004) address an ongoing pattern of retaliation and how retaliatory intent

may be proven that includes by a pattern of unequal treatment without any rational basis:

         The plaintiff can demonstrate a causal connection between its protected activities and the
         defendants' adverse actions either "indirectly by means of circumstantial evidence, . . . or
         directly by evidence of retaliatory animus." Cobb v. Pozzi, 363 F.3d 89, 108 (2d Cir.
         2003) (quoting Morris v. Lindau, 196 F.3d 102, 110 (2d Cir. 1999)); Kantha v. Blue, 262
         F. Supp. 2d 90, 103 (S.D.N.Y. 2003). Summary judgment is inappropriate when
         "questions concerning the employer's motive predominate the inquiry." Morris, 196 F.3d
         at 110. "Nonetheless, we have held that a plaintiff may not rely on conclusory assertions
         of retaliatory motive to satisfy the causal link . . . Instead, he must produce `some
         tangible proof to demonstrate that [his] version of what occurred was not
         imaginary.'" Cobb, 363 F.3d at 108 (quoting Morris, 196 F.3d at 111)).

         A plaintiff's circumstantial evidence of retaliation could include the timing of the
         defendant's actions, such as when the alleged retaliation closely follows the plaintiff's
         speech. Morris, 196 F.3d at 110; McCullough v. Wyandanch Union Free School District,
         187 F.3d 272, 280 (2d Cir. 1999). The plaintiff can also proffer evidence of unequal
         treatment, or an ongoing campaign of retaliation. Hampton Bays Connections, Inc. v.
         Duffy, 127 F. Supp. 2d 364, 374 (E.D.N.Y. 2001); Economic Opportunity Commission
         of Nassau County, Inc. v. County of Nassau, 106 F. Supp. 2d 433, 437 (E.D.N.Y.
         2000) (citing Gagliardi v. Village of Pawling, 18 F.3d 188, 195 (2d Cir. 1994)).

         The defendants' arguments with respect to causation will be discussed in relation to each
         of the adverse actions alleged.


17.      The following is a relevant excerpt from Musso v. Hourigan, 836 F.2d 736 (2d Cir.

1988).

             “As a general rule, a government official is not liable for failing to prevent another
             from violating a person's constitutional rights, unless the official is charged with an
             affirmative duty to act. See, e.g., Rizzo v. Goode, 423 U.S. 362, 376-77 (1976); Doe v.
             New York City Dep't of Social Servs., 649 F.2d 134, 141 (2d Cir.1981).”

18.      42 USC §1986 includes the following relevant provisions that are applicable partly about

New York City government personnel who had opportunities to intervene on my behalf to attend

the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair, and d)


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3/18/19 public hearing:

            “Every person who, having knowledge that any of the wrongs conspired to be done,
            and mentioned in section 1985 of this title, are about to be committed, and having
            power to prevent or aid in preventing the commission of the same, neglects or refuses
            so to do, if such wrongful act be committed, shall be liable to the party injured, or his
            legal representatives, for all damages caused by such wrongful act, which such person
            by reasonable diligence could have prevented; and such damages may be recovered in
            an action on the case; and any number of persons guilty of such wrongful neglect or
            refusal may be joined as defendants in the action”

19.    New York City Charter §1116 includes the following provisions that are applicable partly

about New York City government personnel who had opportunities to intervene on my behalf to

attend the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair, and

d) 3/18/19 public hearing and did not do so:

       a.      Any council member or other officer or employee of the city who shall wilfully

       violate or evade any provision of law relating to such officer's office or employment, or

       commit any fraud upon the city, or convert any of the public property to such officer's

       own use, or knowingly permit any other person so to convert it or by gross or culpable

       neglect of duty allow the same to be lost to the city, shall be deemed guilty of a

       misdemeanor and in addition to the penalties imposed by law and on conviction shall

       forfeit such office or employment, and be excluded forever after from receiving or

       holding any office or employment under the city government.

       b.      Any officer or employee of the city or of any city agency who shall knowingly

       make a false or deceptive report or statement in the course of duty shall be guilty of a

       misdemeanor and, upon conviction, forfeit such office or employment.

20.    NYPL §195.00 concerns official misconduct and includes the following terms that are

applicable partly about New York City government personnel who had opportunities to intervene

on my behalf to attend the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17



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resource fair, and d) 3/18/19 public hearing and did not do so:

        A public servant is guilty of official misconduct when, with intent to obtain a benefit or
        deprive another person of a benefit:

        1. He commits an act relating to his office but constituting an unauthorized exercise of his
        official functions, knowing that such act is unauthorized; or

        2. He knowingly refrains from performing a duty which is imposed upon him by law or is
        clearly inherent in the nature of his office.

        Official misconduct is a class A misdemeanor.


                                MAIN STATEMENT OF FACTS


1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The illegal acts and omissions that were committed against me on 10/12/17, 10/18/17,

10/25/17, and 3/18/19 at the sites of the town hall meetings, a resource fair meeting, and a public

hearing that the Mayor conducted that concern my claims in this action were a microcosm of a

much larger, pervasive, systemic, and longstanding campaign and pattern of illegal customs,

practices, and policies that included flagrant violations of my First Amendment and Fourteenth

Amendment rights that were jointly devised, coordinated, implemented, executed, and covered-

up by senior decision-making members of the NYPD and members of the Mayor’s staff against

me in relation to my efforts to lawfully attend public town hall, public resource fair, and public

hearings in accordance with my constitutional rights that members of the public conducted in a

collaborative manner with the Mayor, Mr. Banks, and other City of New York and State of New

York personnel. The Mayor, Defendant O’Neill, and other City of New York, State of New

York, and federal government personnel that include members of the City Council such as

Defendant Levin tacitly condoned those illegal acts and omissions against me.



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3.     When I tried to attend the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c)

10/25/17 resource fair, and d) 3/18/19 public hearing, I had ongoing litigation partly through my

HRA lawsuit and K1 (this applies just to the Mayor’s 3/18/19 public hearing) in which I was

pursuing entirely valid claims against defendants in this action for having been previously barred

from public forums that the Mayor and Mr. Banks conducted that included town hall and

resource fair meetings. Defendants Redmond, Carrion, and other senior members of the Mayor’s

staff were aware of my HRA lawsuit as early as 6/29/17 according to e-mail records that I was

provided by the Mayor’s office. I’m referring to what appears in the City Hall email excerpts.

Much of those emails that are shown in that PDF file were provided to me by the Mayor’s office

with redactions applied to them and I urge this Court to immediately compel the City of New

York to immediately provide me non-redacted and unedited copies of the e-mail messages that

are shown in that PDF file to better facilitate my ability to prove my claims in this action on the

merits. As a reminder, the following is a link to that PDF file on the Internet:

https://drive.google.com/file/d/16wSpJ7kk-aOtx7Bkg8MeqUpyWd5Io2hR/view?usp=sharing

4.     The following is a screenshot from the e-mail message that Defendant Redmond sent

about me on 6/28/17 at 2:18 pm that appears on page 8 in that PDF file:




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5.     That e-mail concerns illegal acts that he and other members of the NYPD and Mayor’s

CAU that include Defendants Nieves, Gerola. Ringel, and Miller committed against me on

4/27/17 that caused me to be illegally barred from the town hall meeting that the Mayor

conducted on 4/27/17 in Queens while I conducted myself in an entirely lawful manner.

Additional e-mail messages appear in that PDF file that were sent by Defendant Ramos in which

she blatantly lied about me and my HRA lawsuit as well as other matters about me to illegally


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cover-up the illegal acts and omissions that were committed against me that had caused me to be

barred from attending town hall meetings and resource fair meetings that the Mayor conducted

on 4/27/17, 5/23/17, and 6/8/17 while I had ongoing litigation against HRA that was

unquestionably protected activity.

6.     The next screenshot is from the e-mail message that Defendant Ramos sent on 6/28/17 at

3:27 pm to a whistleblower news censor in journalism named Erin Durkin who works for a news

organization named Politico. Ms. Durkin worked for the New York Daily News on 6/28/17.




7.     The remarks that Ms. Ramos expressed in the preceding screenshot is a smoking gun and

confirms that she and others were illegally subjecting me to an illegal prior restraint of my First

Amendment and Fourteenth Amendment rights in regards to public forums that the Mayor was

then conducting that was applicable to town hall meetings and additional types of public forums

that he was conducting, such as public resource fair meetings.

8.     While trying to lawfully attend the town hall meetings, resource fair meetings, and public

hearings that the Mayor conducted with Mr. Banks and others on and after 4/27/17, I sought to

lawfully try to have Mr. Banks fired for cause, Urban’s contracts with the City of New York to


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be cancelled immediately for cause, and all of the personnel of HRA, DHS, and DSS to be

replaced largely to prevent further atrocities from occurring to those who resided in the building

in which I reside as a consequence of fraud and negligence by personnel of HRA, DHS, DSS,

Urban, and others. However, I was illegally prevented from being able to do so. As I sought to

do so, I took it upon myself to be an advocate for those who resided in the building in which I

reside that is a shelter for military veterans that is subsidized by taxpayers and comparable to

notoriously horrific NYCHA housing in that respect. Defendant City and NYCHA were sued by

the DOJ in the lawsuit that corresponds to USA v. New York City Housing Authority, No. 18-cv-

5213, (WHP) (S.D.N.Y. November 14, 2018) because of fraud and negligence that the Mayor’s

administration perpetrated as a slumlord in regards to NYCHA housing after defendants in this

action and other members of the Mayor’s staff and the NYPD stole the outcomes of the 2017

New York City government elections for the Mayor’s benefit and their own. Such fraud and

negligence by NYCHA and the Mayor’s administration was illegally covered-up prior to the

2017 New York City government elections to protect the re-election interests of the Mayor and

his administration. The written transcript that was prepared from the public hearing that U.S.

District Judge William Pauley conducted on 9/26/18 in USA v. New York City Housing

Authority, No. 18-cv-5213, (WHP) (S.D.N.Y. November 14, 2018) confirms that I testified to

him during that hearing. As I did so, I correctly and analytically pointed out to him that there

really isn’t any meaningful difference between how HRA and NYCHA operate directly and

indirectly as slumlords of public housing. I recall that he gave short shrift to my testimony then.

My testimony in that hearing occurred after Letitia James engaged in grandstanding during that

hearing through her remarks before she rushed away from the duties that she then had as New

York City’s Public Advocate to accord proper due process to the rest of the public who were also




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there to testify. Ms. James instead rushed out of that courtroom immediately after she finished

grandstanding with the testimony that she delivered. Perhaps the deaths of Robert Vargas and

Gilda Giscombe that occurred thereafter in the building in which I reside due to negligence by

both Urban and HRA and were preventable will now spur Judge Pauley to visit wherever they

may be buried and humbly apologize to them and their families while buying the arrogance and

narrow-mindedness that he showed to me on 9/26/18. I will discuss the deaths of both Mr.

Vargas and Ms. Giscombe in greater detail shortly.

9.      Largely as a result of the fact that I was illegally prevented from attending many public

town hall meetings and public resource fair meetings that the Mayor conducted with Mr. Banks

and others on and after 4/27/17 prior to the 2017 New York City government elections that were

conducted in September of 2017 and November of 2017, Bill de Blasio was able to steal his re-

election win as New York City’s Mayor with significant criminal assistance of the defendants in

this action and others by engaging in voter suppression, voter fraud, and whistleblower

retaliation at the same time that atrocious, complicit, and pervasive news censorship by the press

facilitated that.

10.     If not for my having been illegally prevented from attending public town hall meetings

and public resource fair meetings that the Mayor conducted with Mr. Banks and others on and

after 4/27/17, it clearly stands to reason that I would be able to use Robert Vargas as a witness in

litigation that I have against Defendant City, Urban, HRA, Mr. Banks, and others. However, I

will never have the opportunity to do so nor to speak to Mr. Vargas again because Mr. Banks,

Ann Marie Scalia of HRA, and personnel of Urban significantly contributed to the circumstances

that caused his death to occur on or about 8/11/20 in the apartment in which he resided in the

building in which I reside roughly 8 days after I sent the following e-mail message about Mr.




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Vargas and his needs to Mr. Banks and Ms. Scalia at 1:27 pm on 8/3/20:

      From: Towaki_Komatsu <towaki_komatsu@yahoo.com>
      Subject: Question about helping a disabled military veteran in my building
      Date: August 3, 2020 at 1:27:32 PM EDT
      To: "Scalia, Ann Marie" <scaliaa@dss.nyc.gov>
      Cc: "banksst@dss.nyc.gov" <banksst@dss.nyc.gov>, "Calhoun, Martha"
      <calhounm@dss.nyc.gov>

      Ms. Scalia,

      I’m sending you this to find out what you, Mr. Banks, and HRA is willing to do to help the
      disabled military veteran who lives in apartment 1D in the building in which I reside who
      needs an air conditioner to be installed in his living room.


      He told me yesterday that Urban Pathways, Inc.’s personnel told him that though it has an air
      conditioner to install that is located in the basement of that building, it will take 2 weeks from
      when he was told last week for bars to be cut outside of his living room window to install
      that air conditioner.

      I previously talked with you and Mr. Banks on his behalf and i also testified on his behalf
      during a City Council public hearing.

      The person I’m talking about has had several strokes and can barely move.

      It is unconscionable for HRA to allow him to have to sweat in his apartment only because
      Urban’s personnel, its contractors, and HRA won’t get off of their fat ass to abide by
      applicable health and safety laws in the middle of Summer.


      I’m not anticipating a response to this e-mail and will likely use it in my federal lawsuit to
      further establish that HRA is blatantly disregarding its legal duties with its business partners.

      From,

      Towaki Komatsu


11.      After I sent that e-mail message, I received an e-mail message from Ms. Scalia on

8/10/20 at 10:42 pm. The header section from that e-mail message and a relevant excerpt from it

about Mr. Vargas is shown next.




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      From: "Scalia, Ann Marie" <scaliaa@dss.nyc.gov>
      Subject: RE: Update
      Date: August 10, 2020 at 10:42:40 PM EDT
      To: Towaki_Komatsu <towaki_komatsu@yahoo.com>
      Cc: "Aaronson, Nicola" <aaronsonn@dss.nyc.gov>, "Clary, Carin" <claryc@hra.nyc.gov>,
      "Wilkinson, Thatiana" <wilkinsont@hra.nyc.gov>, "Galindo, Daniel"
      <galindod@hra.nyc.gov>, "Jennifer, kelly" <Kellyjen@hra.nyc.gov>


      Regarding the disabled veteran you referred to below we are look into this but we will not be
      able to communicate with you regarding this individual and his circumstances.

12.      The following is a link to an audio recording that has the filename of “Robert_Vargas on

8-2-20 at 9_11 pm_20200802 211142.m4a” that I recorded on 8/2/20 at 9:11 pm while I talked

with Mr. Vargas in the kitchen area within his apartment as he was then telling me that he

urgently needed to have an air conditioner to be installed in his apartment for his health after he

had suffered numerous strokes:

https://drive.google.com/file/d/1kgqME-
aLSNUjKknYGY9lX03pfYBCQmM6/view?usp=sharing

13.      Mr. Vargas is clearly heard in that audio recording at the elapsed time of 35 seconds as he

made a remark to me in which he rhetorically asked whether those who were depriving him of an

air conditioner in his apartment wanted someone else to die in the building in which I reside after

a nice woman whose name was Gilda Giscombe died in it in December of 2019 due to

negligence by HRA, DHS, and Urban’s personnel. I talked with Mr. Vargas on 8/2/20 while it

had recently been both hot and humid in the building in which I reside that is poorly ventilated

due to negligence by Urban, HRA, DHS, HPD, and OTDA. Mr. Vargas and I are heard in that

audio recording at the elapsed time of 1 minute and 7 seconds as we talked about Gilda’s death.

Mr. Vargas told me that she collapsed in the lobby of the building in which I reside in December

of 2019 before she asked a security worker who then worked in that building to help her to reach

her apartment on the third floor in that building. Mr. Vargas told me that the security worker



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refused to assist her. Ms. Giscombe was found dead in her apartment a few days later.

14.    The following is a link to a video recording that has the filename of “FDNY forcing open

Robert Vargas' apartment door on 8-11-20 at 3_39 pm_IMG_3624.MOV” that I recorded on

8/11/20 at 3:39 pm while I stood in a public area on the first floor of the building in which I

reside as a recorded members of the New York City Fire Department (“FDNY”) while they

broke open the front door to Mr. Vargas’ apartment:

https://drive.google.com/file/d/1BGbVCcAlTCTy_WpODblxPbh7H-q1zYnk/view?usp=sharing

15.    The next screenshot is from the elapsed time of 2 seconds in that video and shows 3

members of the FDNY as one of them was using a tool to force open the front door to Mr.

Vargas’ apartment in the building in which I reside. They had been asked to come to that

building then because Mr. Vargas was no longer responding to people who were checking up on

his welfare and the front door to his apartment was locked from the inside.




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16.    The following is a link to a video recording that has the filename of “Urban staff member

in front of apartment building on 8-11-20 at 4_04 pm with a FDNY ambulance in front and

EMTs inside of the building by Roberts apartment_IMG_3636.MOV” that I recorded on 8/11/20

at 4:04 pm while I stood in front of the building in which I reside and recorded a FDNY

ambulance that was there while paramedics assigned to it were inside of the building in which I

reside and outside of Mr. Vargas’ apartment as they were then there to respond to his death:

https://drive.google.com/file/d/1dAFNodgC63nglKYenr0Djgva_UpXJjY9/view?usp=sharing

17.    The next screenshot is from the elapsed time of 14 seconds in that video and shows



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FDNY paramedics as they stood in an area of the lobby of the building in which I reside that is

located just outside of Mr. Vargas’ apartment.




18.    The following is a link to a video recording that has the filename of “NYC Medical

Examiner's Office workers rolling Robert Vargas out of apartment building at 8_53 pm on 8-11-

20_IMG_3661.MOV” that I recorded on 8/11/20 at 8:53 pm while I stood in front of the building

in which I reside and recorded members of the New York City Chief Medical Examiner’s Office

as they used a stretcher to roll Mr. Vargas out of the building in which I reside while he was then

in a black body-bag:

https://drive.google.com/file/d/1otdIE5Ggj2QMzLvY1c6sSU7XFg3MHet4/view?usp=sharing

19.    The next screenshot is from the elapsed time of 3 seconds in that video and shows the

members from the New York City Chief Medical Examiner’s Office and the black body-bag that

Mr. Vargas was then inside of in front of the building in which I reside.


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20.    The following lists what some of my primary objectives were in broad terms as I sought

to lawfully attend the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource

fair, and d) 3/18/19 public hearing and testify in the Mayor’s 3/18/19 public hearing:

       a.      I sought to engage in extensive protected whistleblowing about matters of both

       public concern and private matters while attending those public forums as a) reporters,

       members of the public, and numerous government officials were present and nearby and

       b) those public forums were recorded on video that was broadcast on the Internet that

       could greatly amplify the message that I was trying to widely broadcast through word-of-

       mouth advertising. However, hindsight sufficiently confirms that the defendants in this

       action and others were hell-bent on trying to illegally prevent me from being able to


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exercise my legal right to take advantage of public town hall meetings, public resource

fair meetings, and public hearings that the Mayor conducted with Mr. Banks and others to

use them and the resources that they made available to get the messages out that I was

lawfully attempting to broadcast as I sought for those messages and viewpoints of mine

to achieve the greatest possible reach largely through word-of-mouth advertising that

could occur a) at the sites of those public forums as they were being conducted and b) as

a result of those who watched the video recordings of those public forums and may have

chosen to engage in such advertising

b.     The subject matter of whistleblowing that I intended to lawfully engage in while

attending those public forums largely concerned the sum and substance of my HRA

lawsuit that was a complex hybrid proceeding, illegal acts and omissions that had been

committed against me since 4/11/17 in regards to public forums that the Mayor and Mr.

Banks conducted and also included the scheduled 4/12/17 oral arguments hearing in my

HRA lawsuit that Jeffrey Mosczyc illegally caused me to be deprived of just 1 day prior

to that scheduled hearing. On 4/11/17, HRA also illegally manipulated OTDA during a

fair hearing that OTDA pointlessly conducted between HRA and I after OTDA illegally

refused to fully enforce a fair hearing decision that one of its administrative law judges

issued on 9/15/16 in my favor that I discussed with Defendant Levin on 4/27/17 as I

testified to him in a public hearing that the City Council’s Committee on General Welfare

conducted. HRA manipulated OTDA on 4/11/17 by managing to have a new

administrative law judge who was then assigned to the fair hearing that OTDA then

conducted between HRA and I to disregard the fact that an attorney for HRA named

Marin Gerber flagrantly violated res judicata and committed wire fraud during that




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hearing through her remarks as both OTDA and I separately recording audio recordings

of that hearing that was conducted by telephone. That hearing was conducted by

telephone only because OTDA had been illegally preventing me from having such

hearings face-to-face in its offices located at 14 Boerum Place in Brooklyn following

7/5/16. On 7/5/16, an administrative law judge who was assigned to OTDA illegally and

abruptly terminated a face-to-face fair hearing that OTDA conducted between HRA and I

in OTDA’s offices located at 14 Boerum Place in Brooklyn while OTDA recorded that

hearing on audio. She did so while I was in the middle of attempting to lawfully answer

a question that I was asked during that hearing just 3 days after I was viciously assaulted

in the living room of where I reside by my former roommate (Ronald Sullivan) that fraud

and negligence by HRA, Urban, Services for the Underserved, Inc. (“SUS”) enabled.

That assault was both entirely foreseeable and preventable. It occurred after Mr. Sullivan

attempted to assault me in that same living room on 5/12/16 and was physically

restrained by one of Urban’s personnel who then happened to be in that living room as

Mr. Sullivan was making verbal threats against me before he suddenly rushed toward me

to try to assault me. I then promptly reported that attempted assault on 5/12/16 mainly

through cell phone text messages to someone named Molly McCracken of SUS to have

her act as an intermediary between Urban and I to arrange for Mr. Sullivan to be

immediately evicted from the building in which I reside because he had proven that he

was a clear and unacceptable threat to my safety in that building. I also made telephone

calls on 5/19/16 to Lisa Lombardi and Ronald Abad while they were then among Urban’s

senior management to try to persuade them to immediately evict Mr. Sullivan for the

same reasons. However, all of my requests for him to be evicted were denied. Instead, I




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received more than 15 punches from Mr. Sullivan’s fists to an area near my left temple

on my head in the living room of where I reside on 7/2/16 when Mr. Sullivan exploded as

the time bomb that I correctly recognized him to be on 5/12/16. On or about 2/24/17,

Bronx Criminal Court Judge Cori Weston issued a fraudulent determination in the case of

People v. Sullivan, No. 2016BX042188 (Bronx Crim. Ct. Feb. 24, 2017) in which she

claimed that Mr. Sullivan was not guilty for assaulting me on 7/2/16 in the living room of

where I reside after she abused her discretion by suppressing a critically significant

security log as evidence in the criminal case that the Bronx DA commenced against Mr.

Sullivan for assaulting me on that date in my living room as the Bronx DA committed

prosecutorial misconduct in that case in a number of significant ways that prejudiced my

right to have Mr. Sullivan to be properly prosecuted for assaulting me. Bill de Blasio

appointed Cori Weston as a judge and I have held him liable for doing so. I certainly

intended to engage in protected whistleblowing against the Mayor during the Mayor’s a)

10/12/17 town hall, b) 10/18/17 town hall, and c) 10/25/17 resource fair about the fact

that he appointed Cori Weston to be a judge and the harm that caused me as a result of

Judge Weston having fraudulently determined that Mr. Sullivan was not guilty for having

assaulted me partly by fraudulently concealing material evidence. The Mayor also

appointed David Kirschner to be a judge and that enabled Mr. Kirschner as a Bronx

Criminal Court judge to free a gang-member named Jose Gonzalez, who then killed a

FDNY paramedic as he stole an ambulance that was assigned to her. The New York Post

published a news article on 3/20/17 about how Mr. Gonzalez killed Ms. Arroyo and how

Judge Kirschner enabled that to occur. That news article is entitled “Judge Was Soft on

Accused EMT Killer Weeks Before Rampage”, was written by Larry Celona, and is




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available on the Internet at https://nypost.com/2017/03/20/judge-was-soft-on-accused-

emt-killer-weeks-before-rampage/. That news article was published less than one month

after Judge Weston fraudulently determined that Mr. Sullivan was not guilty of having

viciously assaulted me on 7/2/16. The findings in Johnson v. NYC Health & Hosps, 246

A.D.2d 88, 676 N.Y.S.2d 38, 676 N.Y.S. 38 (App. Div. 1998) confirm that security logs

are admissible as evidence in criminal cases. The security log that I sought to have

accepted as evidence in the criminal case against Mr. Sullivan for assaulting me was

updated by security personnel who worked for Urban in the building in which I reside.

That log contained critically significant information about how Mr. Sullivan was

observed as exhibiting an angry demeanor as he fled from the building in which I reside

after he viciously assaulted me in the living room of where I reside on 7/2/16.

Additionally, Mr. Sullivan made incriminating remarks to a witness named Larry Kayatt

on 7/2/16 as Mr. Sullivan fled from the building in which I reside after assaulting me in

it. Mr. Kayatt thereafter told me both prior to 11/2/16 and on 8/29/17 how Mr. Sullivan

described to him on 7/2/16 as he fled from that building about precisely how he assaulted

me on 7/2/16 in the living room of where I reside. Mr. Kayatt told me then that Mr.

Sullivan told him that he (Mr. Sullivan) “bitch-slapped” me and hit me with an open hand

as he criminally assaulted me on 7/2/16. Also, I legally recorded an audio recording of

my conversation with Mr. Kayatt at 4:01 pm on 8/29/17 as he shared that information

about Mr. Sullivan with me. I have played back that audio recording while testifying in

public hearings that the City Council conducted and using that recording in conjunction

with the testimony that I provided. Also, I sent an e-mail message to Hayden Briklin of

the Bronx DA on 11/2/16 at 6:37 pm in which I provided her Mr. Kayatt’s name to have




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her team use him as a witness in the criminal case that her team commenced against Mr.

Sullivan for having assaulted me on 7/2/16. Mr. Briklin was involved in the criminal case

against Jose Gonzalez that led to Judge Kirschner ordering him to be released from

custody before he killed Ms. Arroyo. Also, the Bronx DA negligently didn’t appeal the

decision that Judge Weston issued in the criminal case against Mr. Sullivan to exclude

the security logs as evidence to the greatest extent that its prosecutors. While he was the

assistant district attorney for the Bronx DA who prosecuted the criminal case at trial

against Mr. Sullivan for assaulting me, Scott McDonald, Jr. as well as a female

supervisor of his instead merely debated the matter of the admissibility of the security

logs with Judge Weston in her courtroom. They did so in spite of the fact that the Bronx

DA could have formally pursued an appeal to an appellate court about Judge Weston’s

arbitrary and capricious decision to exclude those security logs from the evidence that she

would consider in that case. The Bronx DA also never used any witness in that criminal

case against Mr. Sullivan other than me in spite of what Mr. Kayatt and others knew

about that assault and how Mr. Sullivan was observed to have an angry demeanor as he

fled from the building in which he assaulted me. The Bronx DA also waited until October

of 2017 to arrange for me to be issued an order of protection against Mr. Sullivan for

having assaulted me on 7/2/16. That caused me to have to continue to have Mr. Sullivan

as my roommate in the same apartment in which he viciously assaulted me at the same

time that I was battling to recover from the concussion and trauma that assault caused me.

All of this information were among the subjects of additional protected whistleblowing

about which I intended to engage in whistleblowing against the Mayor, the Bronx DA,

Judge Weston, the NYPD, HRA, and Urban during the public town hall meetings and




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public resource fair meetings that the Mayor conducted on and after 4/27/17. Returning to

my discussion about OTDA, though it is responsible for providing proper oversight over

how HRA operates as well and is also responsible with HRA for providing proper

oversight over how Urban operates as the landlord of the building in which I reside,

hindsight confirms that no such oversight has existed over HRA nor Urban. Similarly, no

proper oversight over how OTDA operates has existed. After my 7/5/16 OTDA fair

hearing was illegally terminated by the administrative law judge assigned to it in

retaliation for entirely valid complaints that I lawfully reported to her during that hearing

about the fact that she wasn’t paying proper attention to the information that I was

communicating during that hearing at the same time that I was battling a concussion that

was developing in my head as well as justifiable rage against HRA for my having been

assaulted on 7/2/16 partly because of fraud and negligence that it and Urban committed

against me, Samuel Spitzberg of OTDA sent me a letter dated 7/21/16 in which he

implicitly acknowledged the fact that my 7/5/16 OTDA fair hearing had been illegally

terminated in violation of my rights pursuant to the First Amendment and Fourteenth

Amendment. On 7/5/16, prior to leaving the building in which my 7/5/16 OTDA fair

hearing was conducted, I lawfully expressed outrage to OTDA personnel in a public

waiting area in that building about the fact that my 7/5/16 OTDA fair hearing was

illegally terminated in violation of my rights after I travelled all the way from the Bronx

to Brooklyn to attend that hearing and was heavily suffering from the effects of having

been viciously assaulted just 3 days earlier. OTDA never accorded me any due process in

regards to its decision to illegally ban me from returning to its offices in Brooklyn after

7/5/16. Instead, OTDA’s personnel have repeatedly lied to me and negligently condoned




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fraud by HRA against me following 7/5/16 that concerned material matters. Such

negligence contributed to the circumstances that enabled Mr. Vargas’ death.

Additionally, OTDA has illegally never conducted fair hearings for additional claims that

I asserted against HRA that I brought to OTDA’s attention on 2/9/17 in a 62-page fax that

I transmitted to OTDA on 2/9/17 to have OTDA conduct fair hearings between HRA and

I within 30 days in accordance with OTDA’s own policies. In short, I also intended to try

to engage in extensive protected whistleblowing against OTDA while attending the

Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, and c) 10/25/17 resource fair.

Concerning what I just discussed about OTDA, it’s necessary to bear in mind that it takes

just roughly 5 minutes to walk between the site of the Mayor’s 10/18/17 town hall and

OTDA’s offices in Brooklyn that are located at 14 Boerum Place. It’s also necessary to

keep in mind that in his capacity as the chairman of the City Council’s Committee on

General Welfare, Defendant Levin was among others who were supposed to be providing

proper oversight over how HRA operated that he egregiously wasn’t at the same time that

he was familiar with matters pertaining to OTDA before he served as the moderator for

the Mayor’s 10/18/17 town hall.

c.     The subject matter of whistleblowing that I intended to lawfully engage in while

attending those public forums also concerned the sum and substance of the face-to-face

conversations that I had with the Mayor and Mr. Banks prior to 10/12/17 that dated back

to 3/1/16 with respect to Mr. Banks and 3/15/17 with respect to the Mayor as both the

Mayor and Mr. Banks had proven to be con artists as far as I was concerned. I sought to

lawfully and widely apprise voters and potential voters as well as political rivals of the

Mayor and members of the City Council while attending public forums that the Mayor




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conducted with others that New Yorkers sorely needed a complete overhaul of New York

City’s government personnel and that the primary way to get that done was by

immediately firing the Mr. De Blasio, his entire administration, and the entire City

Council as well as other New York City government personnel through the power of their

votes.

d.         Additional whistleblowing of public concern about which I intended to engage in

while attending the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall , and c)

10/25/17 resource fair was against whistleblower news censors in journalism.

e.         Clarification about matters that I intended to engage in whistleblowing about

while attending such public forums that the Mayor conducted is readily apparent by the

sum and substance of the testimony that I gave during public hearings that committees of

the City Council conducted on the following dates that were recorded on video as a result

of arrangements that the City Council made:

         i.   4/27/17: General Welfare Committee. That video is available on the Internet

              at https://councilnyc.viebit.com/player.php?hash=yT2sfbuWriiW. I addressed

              Defendant Levin as I testified in that hearing. My testimony in that video

              begins at the elapsed time of 3 hours, 27 minutes, and one second and lasted

              until the elapsed time of 3 hours, 29 minutes, and 28 seconds.

     ii.      6/14/17: Committee on Public Safety. That video is available on the Internet

              at https://councilnyc.viebit.com/player.php?hash=YXl0VS6f0vsZ. I primarily

              addressed New York City Councilwoman Vanessa Gibson at the end of my

              testimony in that hearing as I then testified to her and others. My testimony in

              that video begins at the elapsed time of 2 hours, 54 minutes, and 42 seconds




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       and lasted until the elapsed time of 3 hours, 58 minutes, and 28 seconds.

iii.   6/19/17: Committee on Oversight and Investigations. That video is available

       on the Internet at

       https://councilnyc.viebit.com/player.php?hash=mpfP5DcsXgf5. I testified

       then to former New York City Councilman Vincent Gentile and former New

       York City Councilwoman Elizabeth Crowley. My testimony in that video

       begins at the elapsed time of 35 minutes and 19 seconds and lasted until the

       elapsed time of 50 minutes, and 55 seconds.

iv.    6/27/17: General Welfare Committee. That video is available on the Internet

       at https://councilnyc.viebit.com/player.php?hash=5dKD0m59T0oF. I testified

       then to New York City Councilman Ben Kallos. My testimony in that video

       begins at the elapsed time of 4 hours, 42 minutes, and 50 seconds and lasted

       until the elapsed time of 4 hours, 51 minutes, and 37 seconds. I testified

       during that hearing partly about the fact that I was being illegally prevented

       from attending public forums that the Mayor had been conducting since

       4/27/17 with other government officials.

 v.    10/2/17: Committee on Veterans. That video is available on the Internet at

       https://councilnyc.viebit.com/player.php?hash=iL2CQdQxyO6c. I testified

       then to New York City Councilman Eric Ulrich. My testimony in that video

       begins at the elapsed time of 2 hours, 8 minutes, and 3 seconds and lasted

       until the elapsed time of 2 hours, 26 minutes, and 3 seconds. I also testified

       during that hearing partly about the fact that I was being illegally prevented

       from attending public forums that the Mayor had been conducting since




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      4/27/17 with other government officials.

vi.   10/16/17: Committee on Courts and Legal Services. That video is available on

      the Internet at https://councilnyc.viebit.com/player.php?hash=6D4LixzIe9Bs.

      I testified then to New York City Councilman Rory Lancman. My testimony

      in that video begins at the elapsed time of 2 hours, 43 minutes, and 4 seconds

      and lasted until the elapsed time of 2 hours, 26 minutes, and 3 seconds. I

      testified during that hearing partly about the fact that I was being illegally

      prevented from attending public forums that the Mayor had been conducting

      since 4/27/17 with other government officials. The next screenshot is from

      what appears at the elapsed time of 2 hours, 39 minutes, and 26 seconds in

      that 10/16/17 hearing as I testified about the fact that I was being illegally

      prevented from attending public town hall meetings and resource fair

      meetings that the Mayor had been conducting.




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In response to that specific testimony about illegal acts and omissions against

me at public forums, I reasonably expected Mr. Lancman to immediately

directly or indirectly intervene on my behalf in some way that would

ultimately cause that illegal practice to immediately stop. However, he

unconscionably did nothing about that. The video recording of that 10/16/17

hearing also recorded Mr. Lancman on audio as I testified in it while Mr.

Lancman was rude to me by answering a telephone call that he received

instead of letting it go to voicemail and properly paying complete attention to

my testimony. While I have testified in public hearings that the City Council

has conducted in City Hall, I have observed Defendants Redmond, Mason,

and Gerola as well as other members of the Mayor’s NYPD security detail as

they conducted surveillance against me. Since the public hearings that the City



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           Council conducts are broadcast over the Internet on video in real-time as they

           are being conducted, all of the defendants in this action and others had the

           opportunity to watch my testimony in such public hearings before I attempted

           to attend the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, and c)

           10/25/17 resource fair.

f.     Additional clarification about matters that I intended to engage in whistleblowing

about while attending such public forums that the Mayor conducted is readily apparent by

the sum and substance of the conversations that I had with Marcia Kramer of CBS New

York and Juliet Papa of 1010 WINS on 6/15/17 during a town hall meeting that CBS

New York conducted in Corona in Queens that it recorded on video and is shown in a

news report that is available on the Internet at

http://newyork.cbslocal.com/2017/06/15/queens-election-town-meeting/. Erin Durkin

attended that town hall. During that town hall’s video, I talked with Ms. Kramer and Ms.

Juliet in Ms. Durkin’s immediate presence during two separate periods and engaged in

protected whistleblowing about a variety of matters while doing so. Such matters

included whistleblowing that was about my having been illegally prevented from

attending public town hall and resource fair meetings that the Mayor conducted on

4/27/17 5/23/17, and 6/8/17. The periods in that video recording during which I talked

with Ms. Kramer and Ms. Juliet were between the following elapsed times in that video:

        i. a) 40 minutes and 22 seconds and b) 47 minutes and 17 seconds.

       ii. a) 56 minutes and 33 seconds and b) 57 minutes and 45 seconds.

g.     Further clarification about matters that I intended to engage in whistleblowing

about while attending such public forums that the Mayor conducted is readily apparent by




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the sum and substance of the conversations that I had with the following government

officials that were recorded on video and otherwise on audio:

      i.   3/15/17 and 7/18/17: With the Mayor during the town hall and resource fair

           meetings that he conducted on those dates. The next screenshot shows me as I

           began talking with the Mayor during the Mayor’s 3/15/17 town hall that the

           Mayor’s office arranged to be recorded on video that is available o the

           Internet at https://www.youtube.com/watch?v=i5LjWB2d2vc. The screenshot

           corresponds to what appears in that video at the elapsed time of 2 hours, 1

           minute, and 18 seconds.




           A whistleblower news censor in journalism named Michael Gartland attended

           that meeting along with Defendants Stribula and Redmond. Paola Ruiz of the

           Mayor’s staff also attended that meeting. I talked with both Ms. Ruiz and Ms.

           Stribula during that meeting and Ms. Stribula gave me her business card then.



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While I talked with Ms. Ruiz during that meeting right after I finished talking

with the Mayor during it, I gave her a comment card that I was issued during

that meeting. I wrote a list of issues and whistleblowing information on that

card for which I sought assistance from the Mayor’s office and never really

received in response. I thereafter sent Ms. Stribula and Ms. Ruiz a detailed e-

mail message on 3/16/17 at 10:54 pm that was partly against HRA and its

business partners that include Urban and NTT. No one replied to that e-mail

message. Instead, hindsight clearly suggests that I was illegally retaliated

against by a) Ms. Stribula, other members of the Mayor’s CAU that include

Defendants Ringel and Miller as well as b) members of the Mayor’s NYPD

security detail that include Defendant Redmond in relation to my efforts to

lawfully attend further public forums comprised of town hall meetings,

resource fair meetings, and public hearings that the Mayor thereafter

conducted with other government officials and the public in response to the

protected whistleblowing that I engaged in through that 3/16/17 e-mail

message. That e-mail message contained a large amount of entirely valid and

protected whistleblowing information. I also sent that e-mail message then to

others that included the following people as both courtesy-copy (“Cc”)

recipients and blind courtesy copy (“Bcc”) recipients:

#     Recipient Name      E-mail                                     Cc or
                                                                     Bcc?
1     ABC News            iwitness@abc.com,                          Bcc
2     Madina Toure        mtoure@observer.com                        Bcc
3     Yoav Gonen          ygonen@nypost.com                          Bcc
4     Matthew Chayes      matthew.chayes@newsday.com                 Bcc
5     Laura Nahmias       LNahmias@Politico.com                      Bcc
6     Jeff C. Mays        jeffcmays@gmail.com                        Bcc


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   7      Errol Louis        errol.louis@charter.com                   Bcc
   8      Paola Ruiz         pruiz@cityhall.nyc.gov                    Cc
   9      New York City      gethelp@pubadvocate.nyc.gov               Cc
          Public
          Advocate’s
          office
   10     Lourdes Rosado     lourdes.rosado@ag.ny.gov                  Cc
   11     Melissa Mark-      mmark-viverito@council.nyc.gov            Cc
          Viverito

The next table contains additional information about some of those e-mail

recipients.

   #      Recipient Name     Notes
   1      Madina Toure       She then worked for a news organization named
                             Observer and now works for Politico. She is a
                             whistleblower news censor in journalism.
   2      Yoav Gonen         He then worked for the New York Post and now
                             works for a news organization named “The
                             City”. He is a whistleblower news censor in
                             journalism.
   3      Matthew Chayes     He works for Newsday and is a whistleblower
                             news censor in journalism.
   4      Laura Nahmias      She then worked for Politico and now works for
                             New York Daily News. She is a whistleblower
                             news censor in journalism.
   5      Jeff C. Mays       He works for the New York Times and is a
                             whistleblower news censor in journalism.
   6      Errol Louis        He works for Spectrum News and is a
                             whistleblower news censor in journalism.
   7      Lourdes Rosado     She was then the head of the civil rights division
                             of the New York State Attorney General’s
                             office. I previously met her on 3/13/17 and she
                             gave me her business card then.
   8      Melissa Mark-      She was then the Speaker of the City Council. I
          Viverito           previously met her on 3/13/17 during the
                             meeting in which I met both Ms. Rosado and
                             Jeff C. Mays.

   The next screenshot shows me as I began talking with the Mayor during the

   Mayor’s 7/18/17 resource fair meeting that the Mayor’s office arranged to be

   recorded on video and illegally concealed from the public while the Mayor ran



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for re-election as well as thereafter in spite of the fact that that video is a

public record. The Mayor’s office temporarily provided me access to that

video recording in response to a FOIL demand that I submitted to it. A video

clip of that recording that I recorded is available on the Internet at

https://drive.google.com/open?id=1-

ZUN22r8q4qARLEbMk8FVg4KuLqfTtcc. The beginning of that video clip

corresponds to what appears in the video of the Mayor’s 7/18/17 resource fair

at the elapsed time of 1 hour, 8 minutes, and 25 seconds. This screenshot is

from what appears in that video clip at the elapsed time of 1 minute and 31

seconds. NYPD John Doe1 3/18/19 appears on the far-left in it as Mr. Banks,

the Mayor, and Jessica Ramos also appear in it. In addition to Mr. Gartland

and other whistleblower news censors in journalism who attended that

meeting, Gloria Pazmino attended it in her capacity as a whistleblower news

censor in journalism. All of them then sat within roughly 15 from where I then

talked with the Mayor. One of them was then clearly recording my

conversation with the Mayor on audio. Mr. Gartland then still worked for the

New York Post and now works for the New York Daily News. Ms. Pazmino

then worked for a news organization named Politico and now works for

Spectrum News.




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ii.   6/26/17: With Defendant O’Neill at the New York City Bar Association that

      arranged for the meeting in which I talked with him to be recorded on audio

      that is available on the Internet at

      http://dts.podtrac.com/redirect.mp3/www2.nycbar.org/mp3/Podcasts/media/po

      lice_commissioner_audio_2017-06-26.mp3. During that meeting, I had two

      face-to-face conversations with Mr. O’Neill. My first conversation with him

      during it extends from the elapsed time of a) 32 minutes and 38 seconds from

      the beginning of that audio recording to b) 33 minutes and 36 seconds in that

      recording. My second conversation with him then extends from the elapsed

      time of a) 47 minutes and 4 seconds from the beginning of that recording to b)

      49 minutes and 14 seconds. Numerous whistleblower news censors in

      journalism attended that meeting. The next screenshot is from a video

      recording that I recorded during that meeting that shows microphones that are

      labeled with information that correspond to Pix11News, 1010Wins, NBC,

      CBS New York, WCBS 880, ABC News, and NBC New York that confirms


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       that whistleblower news censors from those organizations attended that

       meeting.




iii.   10/3/17: With Defendant Vance, Jr. at the New York City Bar Association

       that arranged for the meeting in which I talked with him to be recorded on

       audio that is available on the Internet at

       http://dts.podtrac.com/redirect.mp3/www2.nycbar.org/mp3/Podcasts/media/po

       lice_commissioner_audio_2017-06-26.mp3. My discussion with Mr. Vance,

       Jr. during that audio recording extends from the elapsed time of roughly 2

       hours, 3 minutes, and 50 seconds to 2 hours, 5 minutes, and 11 seconds. Since



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      the microphones that were passed to the audience during that meeting were

      faulty, it is necessary to significantly amplify the volume of that audio

      recording to clearly hear much of what I then discussed with Mr. Vance, Jr.

      Defendant Byrne, Jr. is clearly heard in that audio recording as he stated

      “Viewpoint discrimination?” in a way that clearly suggested he wasn’t’ aware

      of what viewpoint discrimination entailed in spite of the fact that he was then

      the head of the NYPD’s legal division. A whistleblower news censor for the

      New York Times named Joseph Goldstein attended that meeting at briefly

      talked with me at the end of that meeting around the same time that I talked

      with an average and arrogant civil rights attorney named Ron Kuby during

      that meeting as Mr. Kuby then told me that he would rather walk his dogs than

      provide me legal representation for the matters that my litigation against

      Defendant City concerns insofar as that concerns illegal acts and omissions

      that have been committed against me at public forums that the Mayor

      conducted with other government officials and members of the public.

iv.   10/13/17: With Defendant Shorris during a meeting that the New York Law

      School hosted while whistleblower news censors in journalism named Yoav

      Gonen, Ben Max, Matthew Chayes, and Jillian Jorgensen attended that

      meeting. Mr. Gonen then worked for the New York Post. He now works for a

      news organization named “The City”. Ben Max runs a news organization

      named Gotham Gazette. Mr. Chayes works for Newsday. Ms. Jorgensen then

      worked for the New York Daily News and now works for Spectrum News.

      Mr. Shorris, Mr. Max, Mr. Chayes, Mr. Gonen, and Ms. Jorgensen appear




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from left to right in the next screenshot that is from a photograph that the New

York Law School arranged to be taken at the end of that meeting and is

available on the New York Law School’s web site.




The New York Law School recorded that meeting on video and that video is

available on the Internet at

https://www.youtube.com/watch?v=ZEKi8skDT0c. The next screenshot is

from the elapsed time of 37 minutes and 54 seconds in that video as I talked

with Mr. Shorris during that meeting. This screenshot is from how I played

back that video with its closed-captioning feature enabled.




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This screenshot accurately reflects the fact that I then asked Mr. Shorris to tell

me when the Mayor’s NYPD security detail would stop violating my First

Amendment right to attend public forums that the Mayor conducted as I cited

the landmark and seminal court decision about viewpoint discrimination that

the U.S. Supreme Court issued in Wood v. Moss, 134 S. Ct. 2056, 572 U.S.,

188 L. Ed. 2d 1039 (2014) as I then talked with Mr. Shorris. I also told Mr.

Shorris during that conversation that a) I had just been illegally prevented

from attending the Mayor’s 10/12/17 town hall and b) Defendant Redmond

was then both the defendant in a civil right lawsuit (I was then referring to

Sherrard v. City of New York) and a member of the Mayor’s NYPD security

detail who illegally prevented me from attending public forums that the

Mayor had been conducting. I also told Mr. Shorris during that conversation

that I had previously attended a meeting on 12/16/16 that the New York Law

School hosted in which Mr. Banks made false statements. I talked with Mr.

Banks during that meeting and he lied to my face then about legal assistance


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as a whistleblower news censor in journalism named Courtney Gross attended

that meeting. She works for Spectrum News. The New York Law School

arranged to have that 12/16/16 meeting to be recorded on video that is

available on the Internet at

https://www.youtube.com/watch?v=czkZh6cAVWY. My conversation with

Mr. Banks in that video begins at the elapsed time of 48 minutes and 40

seconds. The next screenshot is from the elapsed time of 48 minutes and 51

seconds as I addressed Mr. Banks and discreetly pointed out to him and that

meeting’s audience that hindsight confirmed that he lied to my face on 3/1/16

at the Yale Club in Manhattan by having told me then that he would thereafter

try to get me some legal help that I never received and that he instead

fraudulently worked to be withheld from me. I played back that video with its

closed-captioning feature enabled. Mr. Banks also lied about additional

material matters of fact during that 12/16/16 that ultimately significantly

caused or contributed to the death of Robert Vargas on or about 8/11/17 in the

building in which I reside. Mr. Banks clearly stated during that 12/16/16

meeting that he and the Mayor were committed to controlling things that were

within their control. Mr. Vargas would likely still be both alive and a potential

witness of mine if Mr. Banks had been truthful about that remark by him on

12/16/16.




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The next screenshot is from a photo of Courtney Gross that appears on the

New York Law School’s web site that was taken of her during that 12/16/16

meeting with Mr. Banks.




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a. Further clarification about matters that I intended to engage in whistleblowing about

   while attending such public forums that the Mayor conducted is readily apparent by

   the sum and substance of what I discussed during numerous 50-h hearings that I

   participated in with lawyers about my claims against the City of New York and other

   defendants in this action that I was permitted to record on audio during most of those

   hearings. I had one such 50-h hearing on 10/19/17.

b. Additional whistleblowing that I intended to engage in while attending such public

   forums that the Mayor conducted concerned the lawsuit of Sherrard v. City of New

   York, No. 15-cv-7318 (MB) (S.D.N.Y. Jun. 13, 2018) that was commenced against

   Defendant Redmond before he committed perjury in relation to it about material

   matters during a deposition on 5/19/17 and as he testified at trial in it.

c. Further whistleblowing that I intended to engage in while attending such public

   forums that the Mayor conducted concerned the needs of other tenants who resided in

   the building in which I reside that is housing for military veterans that is subsidized

   by taxpayers and terribly mismanaged by Urban through a contract it has with HRA

   that has illegally shirked its legal duty to provide proper oversight of how Urban

   operates as the landlord of that building. Concerning this point, I intended to

   voluntarily serve as an advocate for the needs of such other tenants in that building

   while attending those public forums before Mr. Banks, Ann Marie Scalia of HRA,

   and Urban’s personnel significantly caused or contributed to the death of one of those

   tenants that occurred on or about 8/11/17 by depriving him of an air conditioner in his

   apartment. His name is Robert Vargas. He was both a U.S. Marines ad Army National

   Guard military veteran who had suffered from numerous strokes. I sent an e-mail




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message to Mr. Banks and Ms. Scalia on 8/3/20 in which I urged them to immediately

cause an air conditioner to be installed in Mr. Vargas’ apartment in the building in

which I reside. Instead, members of the New York Fire Department broke open the

front door to Mr. Vargas’ apartment on 8/11/20 and discovered that Mr. Vargas had

died in his apartment while there was no air conditioner installed in it. Prior to that

date, I twice testified on Mr. Vargas’ behalf during public hearings that the City

Council conducted. Mr. Banks attended one of them as I testified about Mr. Vargas.

Mr. Vargas’ death occurred after I was viciously assaulted in the living room of my

apartment on 7/2/16 that was largely due to HRA and Urban having illegally

subjected me to a bait-and-switch fraud and forgery concerning a binding apartment

lease agreement that I signed on 2/16/16 with Urban to be issued apartment 4C in the

building in which I reside in its entirety instead of being a shared apartment. If not for

that illegal bait-and-switch, I wouldn’t have had my 7/2/16 assailant as my roommate

because I wouldn’t’ have had any roommate in the apartment that I would otherwise

have resided in within the building in which I reside. That 7/2/16 assault occurred

after that assailant tried to assault me on 5/12/16 in that same living room. I reported

that attempted assault and actual assault to try to get my roommate immediately

evicted from where I resided. However, that never happened because of criminal

negligence by HRA and Urban’s personnel that HRA has steadfastly illegally

covered-up with Mr. Banks’ knowledge and approval. This certainly was also a

matter that I intended to engage in whistleblowing about during the Mayor’s public

forums to befit the public’s interests in public safety as well as proper procurement

and oversight practices.




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Facts about the Mayor’s 10/12/17 town hall:

21.    The next screenshot is from what appears in the Mayor’s 10/12/17 town hall video at the

elapsed time of 12 minutes and 39 seconds as I played back that video with the closed-captioning

feature enabled. It confirms that the Mayor was then in the middle of telling the audience at that

town hall that its members could meet with the other government officials who also attended that

town hall at the end of that meeting within the room in which it was conducted to talk with them

about whatever was on the minds of the members of the public who attended that town hall and

that those government officials would stay there all night to talk with them, if necessary.




22.    By making such remarks then, the Mayor confirmed that town hall was a quorum that

was comprised of senior government officials of his administration was present at that town hall

and that they would be conducting public business during that meeting by being available for the

audience members to talk with during that meeting. The Mayor’s remarks then about that also

confirmed that that meeting was mostly a traditional public forum because he explicitly stated

that the members of the audience could meet with such senior government officials during that


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meeting to freely talk with them. That circumstance also largely caused him to be a sideshow and

irrelevant during that meeting because the members of the audience weren’t allowed to have a

free-flowing discussion with him during that meeting in contrast to the free-flowing back and

forth discussion that they could instead have with senior government officials of his

administration at the end of that meeting that included Mr. Banks.

23.    On 10/12/17, I arrived sufficiently early and prior to 5:50 pm to the site of the Mayor’s

10/12/17 town hall to be granted access to that town hall in accordance with my constitutional

rights and other applicable laws with respect to being able to attend that town hall from within

the room in which it would be conducted. Defendants in this action with whom I talked outside

of and in close proximity to the building that hosted that town hall shortly before it began in

regards to my efforts to lawfully attend that town hall included, but wasn’t limited to the

following defendants in this action:

       Stribula, Miller, Mason, Lance, Ranieri, Suzuki, Jane Doe1 10/12/17, NYPD John Doe4
       10/12/17

24.    The next screenshot is from the video that I recorded on 10/12/17 at 5:51 pm that has the

filename of “IMG_2851.MOV” as I stood next to a line of people that had formed in which I had

previously lawfully waited behind the last person shown in that line to be granted access to the

school that hosted the Mayor’s 10/12/17 town hall in order to be accorded my constitutional right

of access to that town hall with respect to the room in which it would be conducted.




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25.    The primary reason why I was no longer in that line when I recorded this video is

because Defendant Stribula illegally coerced me to leave that line after I was lawfully engaged in

protected activity by distributing whistleblowing literature against the Mayor’s administration,

members of the Mayor’s NYPD security detail, HRA’s business partners, and others while I was

in that line to those who stood in front and behind me in it. No member of the public to whom I

gave that literature expressed any objection to me about how I conducted myself then nor the

information in that literature. They instead were appreciative of the fact that I shared that

information with them. I recall having presciently told members of the public who were then in

that line with me that I anticipated that members of the Mayor’s staff and members of the

Mayor’s NYPD security detail would resume their illegal practice at that town hall of illegally

preventing me from attending it while I conducted myself in an entirely lawful manner in


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contrast to them. Defendant Stribula and others proved that I was totally right.

26.     On 10/12/17, Ms. Stribula coerced me to leave the line I lawfully waited in with other

members of the public to be granted access to the Mayor’s 10/12/17 town hall by threatening me

that she would summon Defendant Redmond to come to where she and I were to force me to

leave it if I didn’t acquiesce to her illegal demand for me to leave that line. I regrettably left that

line in response to that threat. In hindsight, I should have stayed in that line and lawfully forced

my way into that school to attend that town hall while lawfully engaging in self-defense against

everyone who initiated physical contact with me to continue to violate my constitutional right to

attend that town hall.

27.     While I was in that line, Defendant Jane Doe1 10/12/17 illegally refused to issue me an

admission ticket for that town hall in flagrant violation of my rights pursuant to the First

Amendment, Fifth Amendment, and Fourteenth Amendment and other applicable laws as she

illegally discriminated against me by doing so.

28.     All of the following defendants illegally refused to intervene on my behalf on 10/12/17 at

the site of that town hall and otherwise simply didn’t do so to enable me to attend that town hall

as they acted in concert with Defendant Stribula to prevent me from attending that town hall as

co-conspirators for that illegal scheme:

        Defendants Miller, Mason, Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD
        John Doe2 10/12/17, NYPD John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD
        John Doe5 10/12/17, NYPD John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD
        Jane Doe2 10/12/17, NYPD Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17

29.     All of the defendants that I just identified had a realistic opportunity to have intervened

on my behalf on 10/12/17 to enable me to attend that town hall. They also had a legal, ethical,

inherent, and affirmative duty to have then intervened on my behalf for that purpose that is

confirmed by what I discussed in the Legal Standards section about them and the jobs that they



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then held. Through my remarks to them on 10/12/17 at the site of that town hall as well as

through their own ears and eyes with which they could and should have otherwise made

independent assessments about the illegal acts and omissions that were being perpetrated against

me in their immediate presence with respect to my efforts to lawfully attend that town hall,

sufficient information was available to all of those defendants to have spurred them to have

properly intervened on my behalf to attend that town hall. No one did so however as all of them

exhibited acceptance of that illegal practice against me. Instead, they allowed other members of

the public to attend that town hall who arrived to the site of that town hall after I did for that

purpose. That violated my Fourteenth Amendment due process and equal protection rights

largely because that was discriminatory against me.

30.    The next screenshot is from the video that I recorded on 10/12/17 at 7:25 pm that has the

filename of “IMG_2587.MOV” as I continued to wait on a sidewalk located next to where I had

previously been in line to attend the Mayor’s 10/12/17 town hall.




31.    Defendant Miller is shown in this screenshot as he stood next to Paola Ruiz of the


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Mayor’s CAU while he was aware that I sought to be able to lawfully attend that town hall. I

talked with him in that area on 10/12/17 to be provided an objectively valid explanation about

why I was not being allowed to attend the Mayor’s 10/12/17 town hall. In response, he used a

fraudulent pretext by telling me that it was because of past behavior and didn’t elaborate about

that. He also told me then that I wouldn’t be allowed to attend town hall meetings that the Mayor

conducted without a court order.

32.    The next screenshot is from the video that I recorded on 10/12/17 at 7:31 pm that has the

filename of “IMG_2590.MOV” as I stood on a sidewalk near Defendant Stribula and an

alleyway that led from that sidewalk to an entrance on the side of the school that hosted the

Mayor’s 10/12/17 town hall that was used to grant members of the public access to that school to

attend that town hall. A copy of that video is available on the Internet at

https://drive.google.com/file/d/1s99q8odr_GWXNbv7ksuX04KKw75pDr8b/view?usp=sharing.

The back of Ms. Stribula’s head and a video security camera that was then attached to that school

are shown in that screenshot. That security camera appears at the top of the screenshot near its

center. I urge this Court to immediately issue an order that will compel the City of New York to

immediately provide me all of the video recordings that were recorded by that video security

camera on 10/12/17 between 5 pm and 11 pm to better facilitate my ability to prove my claims in

this action about the Mayor’s 10/12/17 town hall.




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33.    The next screenshot is of a draft e-mail message that I saved on 10/12/17 at 6:26 pm to

record information about members of the NYPD that I had just talked with as I urged them to

intervene on my behalf to enable me to attend that town hall. That e-mail message has the last

names of Defendants Ranieri and Suzuki in it with their NYPD shield numbers. They stood near

me when I had those conversations with them.




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34.    As I talked with Defendant Stribula on 10/12/17 at the site of that town hall, she lied to

me by claiming that I had rejected an offer that she claimed I had received to be provided legal

assistance. I never received such an offer. Concerning this point, I sent an e-mail message to an

attorney named Norman Siegel on 10/12/17 at 9:01 pm that is shown below:

       From: Towaki Komatsu <Towaki_Komatsu@yahoo.com>
       Subject: Re: Attending tonight's town hall with the Mayor
       Date: October 12, 2017 at 9:01:08 PM EDT
       To: Norman Siegel <NSiegel@stellp.com>

       Shauna Stribula of the Mayor’s office illegally kicked me out of the line to get in tonight,
       then lied by claiming that I had turned down legal assistance previously that had been
       made available by a partner of the New York City Resources Administration.

35.    Mr. Siegel is a prominent civil rights attorney and used to be the head of the New York

Civil Liberties Union. Prior to going to the site of the Mayor’s 10/12/17 town hall on that date, I

sent him an e-mail message in which I asked him if he would be interested in attending that town

hall meeting largely because I correctly anticipated that illegal acts and omissions would be

committed against me in relation to my efforts to lawfully attend that town hall in accordance

with my rights. I thought that it would be helpful if people like him would be there to be able to

witness such illegal acts and omissions being perpetrated against me by the defendants in this

action. However, he wasn’t able to attend that town hall. Moreover, the fact that I inquired as to

whether he would be able to attend that town hall speaks volumes about the fact that it wasn’t my



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intent whatsoever to conduct myself in any unlawful, disorderly, and threatening manner as I

sought to lawfully attend the Mayor’s 10/12/17 town hall.

36.    Through their illegal acts and omissions against me on 10/12/17, the defendants that my

10/12/17 claims concern illegally chilled my First Amendment right to expression as a speaker

during the Mayor’s 10/12/17 town hall by preventing me from attending it as well as the public’s

corresponding First Amendment right to receive information from speakers. Those illegal acts

and omissions flagrantly violated my First Amendment right of assembly in a public forum as

well as the remainder of my constitutional rights that applied that that public forum and caused

me irreparable harm in that regard. That experience also caused me reputational harm,

embarrassment, humiliation, and enormous justifiable anger and stress largely as a result of

having been illegally coerced to leave the line that I lawfully waited in with other members of

the public to attend that town hall. A key but-for cause for that experience was negligent failure

to train and supervise by Defendant Carrion, Redmond, O’Neill, the Mayor, and other defendants

in this action who directly and indirectly supervised those who illegally prevented me from

attending that town hall.


Facts about the Mayor’s 10/18/17 town hall:

37.    Defendants Ringel, Atcheson, Jane Doe1 10/18/17, Stribula and others illegally barred

me from attending the Mayor’s 10/18/17 town hall through their illegal acts and omissions

against me on that date. That occurred as the following was entirely true and accurate:

       a.      I continued to have active litigation against HRA on 10/18/17 through my HRA

       lawsuit that included claims about being illegally barred from public forums that the

       Mayor and Mr. Banks conducted. Prior to trying to attend the Mayor’s 10/18/17 town

       hall, I submitted an application to the New York State Supreme Court’s Appellate



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Division’s First Department on 10/18/17 to be granted immediate interim relief. Relief

that I then sought to be immediately granted through that application was an issuance of

an order by that court that would compel the City of New York to cause its personnel to

stop illegally interfering with my constitutional rights to attend public forums that the

Mayor conducted. Prior to denying that application on that date, I talked with Judge

Richard T. Andrias of that court in the clerk’s office of that courthouse on that date. He

has since retired as a judge. He told me on 10/18/17 in that clerk’s office that he wasn’t

sure if his court could possibly grant me the relief that I sought through that application

and suggested that I might want to try commencing a federal lawsuit instead to be granted

that relief. He also then directed personnel who were working in the rear right corner in

that office to telephone the New York City Corporation Counsel to discuss my

application. The next screenshot is from a draft e-mail message that I saved at 3:22 pm on

10/18/17 in which I recorded information about two people who are named Dan Ramos

and Debbie Wolf who worked for that courthouse and witnessed my conversation with

Judge Andrias in that clerk’s office on 10/18/17.




I have no knowledge about whether such a telephone call was made by that courthouse’s

personnel to the New York City Corporation Counsel in response to Judge Andrias’

remarks in that clerk’s office about me and the illegal acts that had been committed



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against me prior to that date that had been causing me to be barred from public forums

that the Mayor had been conducted and otherwise discriminated against in relation to my

efforts to lawfully attend those public forums in accordance with my constitutional rights.

The primary reason why Judge Andrias denied my application for interim relief about

public forums that the Mayor had been conducting was because no written notice was

ever issued to me that informed me that I was barred from them or that my attendance in

regards to them would otherwise be restricted. A true and accurate copy of the order that

Judge Andrias issued on 10/18/17 in response to my application to the New York State

Supreme Court’s Appellate Term’s First Department for interim relief appears within the

annexed Exhibit C.

b.     Jeffrey Mosczyc filed an affirmation on 10/19/17 in my ongoing HRA lawsuit

after he committed perjury in remarks that he expressed in that affirmation about material

matters of fact.

c.     I was looking forward to participating in a 50-h hearing that was scheduled to be

conducted of me on 10/19/17 for entirely valid claims that I asserted against Defendant

Redmond in response to him having been recorded on video as he illegally seized and

assaulted me on 7/25/17 in a subway station near City Hall below Broadway near Warren

Street as he did so in retaliation for my having persisted in lawfully exercising my First

Amendment and Fourteenth Amendment rights in accordance with the MTA’s Rules in

an area in close proximity to the Mayor and a large group of whistleblower news censors

in journalism that included the following people while the Mayor conducted an illegal

publicity stunt in a manner and in an area in that subway station that flagrantly violated

both the MTA’s rules and the constitutional rights that the public had in that subway




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station to not be obstructed in their ability to freely assemble and otherwise move about

in all public areas in that subway station:

   #       News Censor           Employer on           Employer on
                                 7/25/17               10/13/20
   1       Matthew Chayes        Newsday               Newsday
   2       Erin Durkin           New York Daily        Politico
                                 News
   3       Josh Einiger          ABC News              ABC News
   4       Michael Gartland      New York Post         New York Daily
                                                       News
   5       Mara Gay              Wall Street           New York Times
                                 Journal
   6       David Goodman         New York Times        New York Times
   7       Courtney Gross        Spectrum News         Spectrum News
   8       Noah Hurowitz         Unknown               Unknown
   9       Jillian Jorgensen     New York Daily        Spectrum News
                                 News
   10      Ben Max               Gotham Gazette        Gotham Gazette
   11      Gloria Pazmino        Politico              Spectrum News
   12      Marc Santia           NBC New York          Unknown
   13      Shant Shahrigian      New York Daily        New York Daily
                                 News                  News
   14      Madina Toure          Observer              Politico
   15      Audrey Wachs          Unknown               Unknown

        The publicity stunt that the Mayor then conducted in that subway station was

        illegal partly because it was conducted right next to a staircase and in an area that

        illegally obstructed and hindered the movements of the public as well as their

        right to assemble in the specific area in which that publicity stunt was illegally

        conducted. Also, the Mayor illegally used a microphone during that publicity

        stunt in violation of the MTA’s rules. Members of the Mayor’s NYPD also

        illegally caused a downtown subway train to be held in that subway station

        without any valid justification in spite of the fact that the Mayor has repeatedly

        stated that he does not control the MTA. Additionally, I sought to invite everyone

        who attended the Mayor’s 10/12/17 town hall and the Mayor’s 10/18/17 town hall


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               to attend my 10/19/17 50-h hearing against Defendant Redmond while attending

               those town hall meetings. I sought to embarrass the Mayor, Mr. Redmond, and

               other members of the NYPD, and news censors in journalism while making those

               invitations during those town hall meetings partly by sarcastically asking the

               Mayor, Mr. Redmond, and other members of the NYPD, and news censors in

               journalism if they would like to join me and members of the public in the room in

               which my 10/19/17 50-h hearing would be conducted and to precisely, honestly,

               and fully explain to everyone who attended those town hall meetings on the spot

               why they wouldn’t want to do so as my question to them and their responses

               would be recorded on video that was being broadcast over the Internet prior to the

               2017 New York City general elections that would allow the public to directly and

               indirectly fire the Mayor, his entire administration, everyone who was then a

               member of the City Council, and members of the NYPD.

38.    On 10/18/17, I arrived to the site of the Mayor’s town hall on that date before 5 pm and

promptly joined a line of other members of the public to be granted access to the building that

hosted the Mayor’s 10/18/17 town hall by members of the Mayor’s staff and members of the

NYPD. I conducted myself in an entirely lawful manner throughout the entire time that I was at

that location. However, Defendants Ringel, Atcheson, Jane Doe1 10/18/17, Stribula, and Carrion

acted in concert with members of the NYPD that partly included Defendants Lance, NYPD John

Doe4 10/12/17, Santana, and Ioveno through their illegal acts and omissions that caused me to be

illegally barred from that town hall without any due process having been accorded to me in

regards to that. In doing so, they clearly subjected me to standardless discretion and an illegal

prior restraint without any objectively valid justification with respect to my rights pursuant to the




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First Amendment, Fifth Amendment, Fourteenth Amendment, and New York State’s Open

Meetings Law to attend the Mayor’s 10/18/17 town hall. The violations of my Fifth Amendment

and Fourteenth Amendment rights partly correspond to my having been illegally denied an

admission ticket for that town hall and deprived of both liberty and property with respect to that

town hall as a consequence of having been illegally been prevented from entering the building

that hosted that town hall to make use of it for the purpose of exercising my liberty rights that

pertained to attending that town hall and otherwise lawfully exercising the entire array of my

rights while attending that town hall. Additional violations of my Fourteenth Amendment rights

in regards to that town hall meeting partly resulted from the fact that other members of the public

were granted access to that town hall after they arrived to that site after I did. That violated my

Fourteenth Amendment due process and equal protection rights as well as the prohibitions

against selective-enforcement that correspond to the class-of-one legal theory that is based upon

an illegitimate animus and invidious discriminatory intent. I was certainly entitled to equal

treatment in regards to my efforts to lawfully attend that town hall and every other member of

the public who was permitted to do so.

39.    When I arrived to the site of the Mayor’s 10/18/17 town hall on 10/18/17 before 5 pm, I

promptly waited in a line on a public sidewalk that runs parallel to Remsen Street in Brooklyn in

an area that was located near the entrance to the building that hosted that town hall. I waited in

that line to be issued an admission ticket to attend that town hall from within the room in which

it would be conducted and I arrived sufficiently early to the site of that town hall on 10/18/17

that enabled me to be near the front of the line that was comprised of other similarly-

circumstanced members of the public who also sought to attend that town hall. Either the first or

one of the first members of the Mayor’s staff who I met on 10/18/17 at the site of the Mayor’s




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10/18/17 town hall in that area was Defendant Atcheson. As I sought to have her issue me an

admission ticket there and then that would enable me to attend the Mayor’s 10/18/17 town hall,

Ms. Atcheson illegally refused to do so in spite of the fact that I was conducting myself in an

entirely lawful manner. She told me then that she received information from her supervisor that I

was not to be allowed to attend that town hall. That prompted me to then ask who her supervisor

was who told her that. She told me that her supervisor’s name was Defendant Carrion.

40.    The next screenshot is from the elapsed time of 1 second in the video recording that has

the filename of “IMG_2737.MOV” that I recorded on 10/18/17 at 5:03 pm with my cell phone as

I lawfully conducted myself while I stood on a sidewalk that runs parallel to Remsen Street in

Brooklyn and was in the specific area where members of the public lined up to be granted access

by Defendants Atcheson, Ringel, members of the NYPD, and others to the building that hosted

the Mayor’s 10/18/17 town hall in order to attend that town hall. Ms. Atcheson is clearly shown

standing near me in this screenshot.




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41.    Ms. Atcheson is clearly heard telling me that her supervisor was then Defendant Carrion

in that video recording at the elapsed time of 6 seconds. She told me that then to identify her

supervisor from whom she received information that indicated that I was not to allowed to attend

the Mayor’s 10/18/17 town hall. If I had then been conducting myself in some threatening or

disorderly manner, it clearly stands to reason that Ms. Atcheson would not have been standing

near me for obvious reasons. At the elapsed time of 14 seconds in that video, I provided



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narration for it right after Mr. Ringel walked by me and as Ms. Atcheson continued to stand near

me. In that narration, I clearly stated the following while I intended that remark to pertain to

Defendants Atcheson, Ringel, and Carrion:

       “So these people are not letting me into a public meeting.”

42.    I would have recorded more video recordings with my cell phone on 10/18/17 at that

location, but my cell phone lost power.

43.    Additionally, while I continued to be illegally prevented from attending the Mayor’s

10/18/17 town hall, I talked with members of the public nearby who were passing by me to

attend the Mayor’s 10/18/17 town hall. While doing so, I distributed literature to them that I

made available to them that was identical and/or similar to the literature that I distributed to

members of the public on 10/12/17 at the site of the Mayor’s town hall on that date as they lined

up to be granted access to that public forum. Two of the people with whom I then talked were

elderly women. I talked with them near the entrance to the building that hosted the Mayor’s

10/18/17 town hall. I told them then and there that I was being illegally prevented from attending

the Mayor’s 10/18/17 town hall at the same time that I was a whistleblower against the Mayor’s

administration and the NYPD while I had ongoing litigation against the Mayor’s administration.

I informed them that Defendant Ringel was among those who were preventing me from

attending that town hall and that I hadn’t received any valid explanation for why I was being

prevented from attending that town hall. Learning about that really upset them and they promptly

approached Mr. Ringel to confront him and express their irritation about the fact that he was

preventing me from attending that town hall. They clearly told Mr. Ringel then that I had a First

Amendment right to attend that town hall and one of them appeared to have poked Mr. Ringel in

his chest area. I never asked them to conduct themselves in any unlawful manner towards Mr.




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Ringel. However, I certainly took pleasure in how they stood up for me then and there with

respect to how they interacted with Mr. Ringel. While those two women talked with Mr. Ringel,

they demanded to know why I was illegally not being allowed to attend the Mayor’s 10/18/17

town hall. In response, Mr. Ringel made a remark to them in which he claimed that I knew what

I did to have caused that to occur as he committed defamation against me because I hadn’t done

anything to have justified that. Mr. Ringel then instead used that remark as a fraudulent pretext to

try to justify the illegal discrimination that he, Ms. Atcheson, Ms. Stribula, Mr. Carrion, and

others were then committing against me that that caused me to be prevented from attending the

Mayor’s 10/18/17 town hall. While I was at the site of the Mayor’s 10/18/17 town hall on

10/18/17 before that town hall began, I recall having a brief conversation with Ms. Stribula that

was adversarial in nature and tied to the fact that she illegally prevented me from attending the

Mayor’s 10/12/17 town hall. Contrary to anything that she and others may possibly claim, I

conducted myself in an entirely lawful manner as I interacted with her and clearly expressed

justifiable frustration with her that stemmed from how she had been subjecting me to illegal acts

and lying about me.

44.    I also met Defendant Levin on 10/18/17 as he arrived at the site of the Mayor’s 10/18/17

town hall shortly before it began and talked with him near the entrance to the building that

hosted that town hall before he entered that building to attend that town hall. I very clearly told

him then that I was being illegally prevented from attending that town hall and that I sought his

assistance with enabling me to exercise my constitutional right to attend that public forum. He

lied to me then by telling me that there was nothing that he could do to help me to be able to

attend that town hall. Contrary to his deceit, he is a lawmaker as a member of the City Council to

whom I testified on 4/20/17. As the moderator for the Mayor’s 10/18/17 town hall, he could




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likely have arranged for me to be able to attend that town hall by boycotting that town hall until I

was permitted to attend it from within the room in which it was conducted and otherwise told the

audience during that town hall that he would instead change the location for where that town hall

meeting would continue to be conducted to the sidewalk outside of the building where he and I

talked on 10/18/17 outside of the building that hosted that town hall. He could have explained to

that town hall’s audience, the Mayor, the Mayor’s NYPD security detail, and members of the

Mayor’s staff that he was deciding to move the location of that town hall to that sidewalk and/or

wherever else I then may have been in order to make certain that I could be among the audience

members for that town hall to uphold my constitutional rights and ask the Mayor to explain to

everyone why it was that I was illegally barred from that town hall meeting while they Mayor

was running for re-election. As the moderator of the Mayor’s 10/18/17 town hall, Mr. Levin’s

job was to decide which members of that town hall’s audience were able to talk with the Mayor

during that town hall. For similar reasons and as its moderator, Mr. Levin had control over

deciding who could access that town hall in much the same way that New York City Councilman

previously ordered the NYPD on 12/15/17 to arrest a political rival of his named Thomas Lopez-

Pierre at the site of the Mayor’s 12/15/16 town hall if Mr. Lopez-Pierre tried to enter the school

in which that town hall was conducted as that town hall was conducted in it. By not trying to

enable me to attend that town hall, Mr. Levin acted in concert by virtue of his failure to act with

those who were illegally preventing me from attending that town hall. In doing so, he flagrantly

violated 42 USC §1986, his constitutional oath as an employee of the City of New York, New

York City Charter §1116, NYPL §195.00, and my Fourteenth Amendment due process and equal

protection rights. He thereafter continued to commit illegal acts and omissions against me in

relation to public hearings in which I testified that the City Council’s Committee on General




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Welfare conducted. For example, after I lawfully testified to him on 3/25/19 during the public

hearing that the City Council’s Committee on General Welfare conducted and arranged to be

recorded on video that was required by New York City Charter §1063 to be available on the

Internet for the public to view within 3 days after that hearing, that video recording wasn’t

available on the Internet. I sent him an e-mail message on 4/11/19 at 1:55 pm in which I apprised

him about that to have him immediately make arrangements to cause that video recording to be

immediately available on the Internet to view. The following shows a relevant excerpt from that

e-mail message:

       From: Towaki Komatsu <towaki_komatsu@yahoo.com>
       Subject: Re: Missing video of 3/25/19 General Welfare Committee hearing
       Date: April 11, 2019 at 1:55:41 PM EDT
       To: slevin@council.nyc.gov

       Mr. Levin,

       The video of the 3/25/19 General Welfare Committee public hearing you conducted is
       missing for the time period for while you conducted it in the Committee Room in City
       Hall after you began it in its main chamber.

       Section 1063 of the New York City Charter required the entirety of the video recording
       for that public hearing in which I testified in the Committee Room to be available to the
       general public within 3 days following that hearing.

       This needs to be immediately resolved. I also require the identities of all who have
       concealed that video recording from the general public.

45.    Mr. Levin completely ignored that e-mail message. As a result, the video recording of my

testimony on 3/25/19 to him during that public hearing was illegally not made available on the

Internet until 5/31/19 in flagrant violation of my First Amendment and Fourteenth Amendment

rights as a speaker to have had that video recording available on the Internet for the public to

watch within 3 days after that 3/25/19 hearing. The more than 2-month delay in having that

video recording available on the Internet caused irreparable harm to my First Amendment rights




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as a speaker to disseminate information of public concern to the public through that video over

the Internet. This point is made perfectly clear by relevant findings in Elrod v Burns, 427 US 347

(1976) and Piesco v. City of New York, Dept. of Personnel, 933 F.2d 1149 (2d Cir. 1991). In regards

to this point, Elrod v Burns includes the following findings:

       a.      “The timeliness of political speech is particularly important. See Carroll v.
               Princess Anne, 393 U. S. 175, 182 (1968); Wood v. Georgia, 370 U. S. 375, 391-
               392 (1962).”

       b.      “The loss of First Amendment freedoms, for even minimal periods of time,
               unquestionably constitutes irreparable injury.”

46.    The video recording of the public hearing that the City Council’s Committee on General

Welfare conducted on 3/25/19 that the City Council arranged to be recorded is available on the

Internet at https://councilnyc.viebit.com/player.php?hash=poUr8soKY686. My testimony in that

video begins at the elapsed time of 7 hours, 40 minutes, and 19 seconds. I testified against HRA,

Mr. Banks, and Urban during that hearing. Much of the sum and substance of that testimony was

among the whistleblowing subjects about which I intended to engage in protected

whistleblowing against HRA, Urban, and Mr. Banks while attending the Mayor’s a) 10/12/17

town hall, b) 10/18/17 town hall, and c) 10/25/17 town hall.

47.    While I was at the site of the Mayor’s 10/18/17 town hall on 10/18/17 shortly before it

began and as it was being conducted, I didn’t observe anyone besides me who was being

illegally prevented from attending that town hall as they attempted to attend it. Instead, I was the

only person who was illegally singled-out to be illegally discriminated against in a premeditated

way by being barred from that public forum. While I was there, I observed a group of

demonstrators who gathered in front of the entrance to the building that hosted that town hall as

they demonstrated against various housing initiatives that New York City Councilman Stephen

Levin apparently supported in favor of real estate developers. I also met a political rival of the



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Mayor who is named Sal Albanese while I was there. I also met a woman there who I believe

was then running for a seat on the City Council. I believe that I pointed out to both of them and

others that I was then being illegally prevented from attending that town hall meeting. At 6:37

pm on 10/18/17, a Twitter posting was posted on the Internet at

https://twitter.com/SalAlbaneseNYC/status/920780996013953024 by a Twitter account that is

registered to Mr. Albanese that has the username of “SalAlbaneseNYC”. That Twitter posting

included a photograph that was taken in front of the entrance to the building that hosted the

Mayor’s 10/18/17 town hall. Mr. Albanese, Defendants Atcheson and NYPD John Doe4

10/12/17, someone who has worked as a bodyguard for Mr. Banks, and others in that

photograph. That photograph also shows a video security camera that was then installed on the

right side of the entrance to the building that hosted that town hall. I have been able to identify 2

additional video security cameras that were installed in the areas on Remsen Street in Brooklyn

near that building where I waited on 10/18/17 to be granted access to that building.to attend the

Mayor’s 10/18/17 town hall. What follows is the photograph that appears in the Twitter posting

that I just discussed. Mr. Albanese appears in the center, Ms. Atcheson’s head appears behind his

right shoulder, the person who I know has been a bodyguard for Mr. Banks is shown on the left

and next to a set of steps as he appeared to then be holding a cellphone with his left hand next to

his left ear while he wore a suit and tie, and NYPD John Doe4 10/12/17 appears behind Ms.

Atcheson.




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48.    Although I don’t like the fact that Mr. Albanese supports the NYPD, I partly sought to

attend the Mayor’s 10/18/17 town hall to engage in protected whistleblowing against the Mayor

and his administration that I hoped would be beneficial to Mr. Albanese and other political rivals

of the Mayor to cause a sufficient number of voters to make informed and independent decisions

that would cause Bill de Blasio to be fired as New York City’s Mayor on 1/1/118 as a result of

the 2017 New York City government elections that were held in November of 2017.

49.    The next screenshot is from the elapsed time of 7 seconds in the video recording that has

the filename of “IMG_2736.MOV” that I recorded on 10/18/17 at 5:01 pm with my cell phone as

I lawfully conducted myself while I stood on a sidewalk that runs parallel to Remsen Street in

Brooklyn and was in the specific area where members of the public lined up to be granted access


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by Defendants Atcheson, Ringel, members of the NYPD, and others to the building that hosted

the Mayor’s 10/18/17 town hall in order to attend that town hall.




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50.     Defendant Atcheson is shown in the preceding screenshot as she then had her right hand

covering her mouth as she looked in my direction as she wore a blue jacket and a red shirt. Also,

an unknown female member of the Mayor’s staff who wore eyeglasses and had dark hair stood

next to her then. That screenshot also confirms that I then had a printed copy of my RSVP for the

Mayor’s 10/18/17 town hall with me. At the elapsed time of 15 seconds in that video, Defendant

Ringel is heard saying the following to me:

        “Take your phone out of my face and then we can talk.”

51.     He made that remark to me in response to my having just said the following to him as he

loitered on the sidewalk where he and I then while he was acting in concert as a co-conspirator

with Defendant Atcheson, Stribula, Carrion, and others to illegally cause me to be prevented

from attending the Mayor’s 10/18/17 town hall by causing me to be deprived of an admission

ticket for that town hall:

        “You want me to stand outside the line? Tell me what to do. I’ll obey it.”

52.     Although I made the preceding remark to him while I was lawfully and intended to

continue to conduct myself in an entirely lawful manner then and there, I wasn’t sincere in the

preceding remark that I made to him to the extent that I then claimed that I would voluntarily exit

the line in which I was then lawfully exercising my First Amendment and Fourteenth

Amendment right to assemble in order to be granted access to the Mayor’s 10/18/17 town hall

just like every other member of the public who was granted that access by having waited in an

orderly manner in that same area in a line for that specific purpose. I also wasn’t then sincere to

Mr. Ringel in regards to my claim that that I would follow any instruction that I received from

him to attend the Mayor’s 10/18/17 town hall that was different from steps that other members of

the public had to take in order to attend the Mayor’s 10/18/17 town hall. If I had instead




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accepted that, I would have acquiesced to the patently illegal customs and practices that

constituted illegal discrimination, segregation, selective-enforcement, and abuse of process

against me to which Defendants Ringel, Atcheson, Stribula, Carrion, and others were subjecting

me in regards to my efforts to lawfully attend the Mayor’s 10/18/17 town hall. Instead, my

remarks to Mr. Ringel then really were part of a tactic that I used to try to have Mr. Ringel made

a remark to me from which it could objectively be inferred from the totality of the applicable

circumstances that he was then illegally acting in concert as a co-conspirator with Defendants

Atcheson, Carrion, Stribula, and others to cause me to be prevented from attending the Mayor’s

10/18/17 town hall and violate my rights pursuant to the First Amendment, Fourth Amendment,

Fifth Amendment, Fourteenth Amendment, New York State’s Open Meetings Law and other

applicable laws by doing so. I had no legal duty then to not use such a tactic with Mr. Ringel and

others to try to get them to incriminate himself in regards to the illegal acts and omissions that

were being committed against me concerning my efforts to lawfully attend public forums that the

Mayor conducted. I was quite sure then that Mr. Ringel would have possibly told me that if I

agreed not to express criticism against anyone while attending that town hall, he or someone else

would then possibly relent and allow me to attend that town hall from within the room in which

it was condition. However, such a condition would certainly be an illegal prior restraint on my

First Amendment rights and something that I would never agree to.

53.    The following is a relevant excerpt from Puckett v. City of Glen Cove, 631 F. Supp. 2d

226 (E.D.N.Y. 2009) that confirms that I had a First Amendment right to criticize government

personnel without being retaliated against for doing so:

       “Plaintiff must first allege that she engaged in protected activity to state a First
       Amendment claim of retaliation. The First Amendment protects the right of access to
       the courts, and an individual's right to complain to public officials. Lewis v. Casey,
       518 U.S. 343, 350, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996) (right of access); Monsky v.



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         Moraghan, 127 F.3d 243, 246 (2d Cir.1997) (right of access); Patriots Way, LLC v.
         Marconi, 2007 WL 988712 *4 (D.Conn.2007); see Colondres v. Scoppetta, 290
         F.Supp.2d 376, 381 (E.D.N.Y.2003) (right of access is "bound up" with the First
         Amendment right to petition the government); Gagliardi, 18 F.3d at 194-95 (right to
         complain to public officials protected by First Amendment). These First Amendment
         rights include the right to be free from retaliation for their exercise. Colondres, 290
         F.Supp.2d at 382; see Patriots Way, 2007 WL 988712”

54.      At the elapsed time of 3 seconds in the video that I just discussed that I recorded at 5:01

pm on 10/18/17, I’m clearly heard asking Defendant Ringel as he walked by me whether I could

enter the building that hosted the Mayor’s 10/18/17 town hall to attend that public forum as I

stated that I had my RSVP for that event with me and presented a printed copy of it to him. In

response, he ignored me until I made the claim to him that I just discussed in which I claimed to

him that I would obey whatever he would possibly tell me to do in order to be granted access to

that public forum. While he and I then talked, we were separated by a vertical metal barrier on

that sidewalk that is shown in the video that I recorded and my cell phone was never in his face

on 10/18/17. Although I positioned it in close proximity to him, it is not my view that my cell

phone was ever in his face on 10/18/17. Moreover, he was equitably estopped from objecting to

how close my cell phone was to him on 10/18/17 on that street on account of the fact that he and

others were then illegally preventing me from attending the Mayor’s 10/18/17 town hall and I

was then recording a video recording to gather evidence for use in entirely valid litigation against

him and others in response to that. The following excerpt from the Second Circuit’s decision in

Hansen v. Harris, 619 F.2d 942 (2d Cir. 1980) sufficiently articulates the fact that Mr. Ringel

was then estopped from objecting to how I then used my cell phone in relation to him:

      “The Government may sometimes be estopped from enforcing its rules, based on the conduct
      of its agents.”


55.      The following excerpt from Glus v. Brooklyn Eastern Dist. Terminal, (359 U.S. 231, 79

S. Ct. 760, 3 L. Ed. 2d 770 (1959) reinforces this point:


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      “To decide the case we need look no further than the maxim that no man may take advantage
      of his own wrong.”


56.      Defendant Lance is shown standing in very close proximity to me at the start of the video

recording that I recorded at 5:01 pm on 10/18/17 that I have been discussing above. He

continued to stand there in close proximity to both me and Mr. Ringel as Mr. Ringel and I talked

with one another in that video recording. Although Mr. Lance was required to have intervened

on my behalf on 10/12/17 and 10/18/17 to try to enable me to attend the town hall meetings that

the Mayor conducted on those dates, he made no effort to do so. He was required to have done so

by 42 USC §1986, his oath as a member of the NYPD, his constitutional oath as an employee of

Defendant, New York City Charter §1116, and his duties as a police officer that are partly

enumerated in New York City Charter §435(a). Among his legal duties on 10/12/17 and

10/18/17 as a member of the NYPD were those that required him to:

         a. Prevent crimes. This duty required him to prevent violations of NYPL §240.20(4),

             NYPL §240.20(5), 18 U.S.C. §1513(e), 5 U.S.C. §1502(a), and other applicable laws

             by the defendants to my detriment in regards to my efforts to lawfully attend the

             Mayor’s 10/18/17 town hall.

         b. Preserve the public peace. This required him to eliminate the source of the conflict

             between the defendants in this action and I in regards to my efforts to lawfully attend

             the Mayor’s 10/18/17 town hall by causing them to allow me to lawfully exercise my

             constitutional right to attend that town hall.

         c. Detect and arrest offenders. This required him to arrest Defendants Atcheson, Ringel,

             Stribula, and others for committing illegal acts and omissions against me by not

             allowing me to attend public forums that the Mayor conducted while I was

             conducting myself in a lawful manner at the sites of those public forums on the dates


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          when they were conducted.

       d. Disperse unlawful or dangerous assemblages and assemblages which obstruct the free

          passage of public streets, sidewalks, and places. This required him to cause everyone

          to move away from me who prevented me from being able to attend public forums

          that the Mayor conducted while I conducted myself in a lawful manner at the sites o

          those public forums on the dates when they were conducted.

       e. Protect the rights of persons. This required him to intervene on my behalf to protect

          my rights in regards to public forums that the Mayor conducted.

       f. Preserve order at all public meetings and assemblages. This further required him to

          intervene on my behalf in regards to my efforts to lawfully attend public forums that

          the Mayor conducted.

       g. Remove all nuisances in the public streets, parks and places. This required him to

          cause all of the defendants and all other nuisances to be removed that caused me to be

          prevented from attending public forums that the Mayor conducted while I conducted

          myself in a lawful manner.

       h. Enforce and prevent the violation of all laws and ordinances in force in the city. This

          is self-explanatory.

       i. To arrest all persons guilty of violating any law or ordinance for the suppression or

          punishment of crimes or offenses. This is self-explanatory.

57.    At the elapsed time of 18 seconds in the video that I recorded on 10/18/17 at 5:01 pm,

I’m heard asking Defendants Lance and NYPD John Doe4 10/12/17 to arrange to have a

commanding officer within the NYPD to come to where we were. NYPD John Doe4 10/12/17

also then stood near where Defendant Lance and I were. My grounds for that entirely warranted




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request was the fact that both of them were illegally shirking their legal duties as members of the

NYPD that I just discussed by illegally not intervening on my behalf to try to enable me to attend

the Mayor’s 10/18/17 town hall. I sought to have such a commanding officer to immediately

cause me to be able to attend that town hall and have everyone who was involving in preventing

me from attending it to be arrested for doing so. NYPD John Doe4 10/12/17 is clearly heard at

the elapsed time of 32 seconds in the video recording that I just discussed as he expressed his

refusal to have a commanding officer within the NYPD to come to where he, Defendant Lance,

and I then were by telling me “absolutely not sir.” The next screenshot shows Defendants NYPD

John Doe4 10/12/17 and Lance in the video that I just discussed at the elapsed time of 34

seconds. Mr. Lance is the Black male in the lower-right corner who wore a hat.




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58.    At the elapsed time of 23 seconds in that video, I’m heard saying the following as I stood

next to Defendant Lance and near NYPD John Doe4 10/12/17:

You know, I was in court today.”

59.    By making that remark to them then, it was my way of not so subtly warning them that it

was likely that I would pursue entirely valid litigation against them and others in the event that

they continued to illegally not intervene on my behalf to enable me to attend the Mayor’s


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10/18/17 town hall in the wake of my having actually been in court earlier that day in regards to

a matter that partly concerned my efforts to have a judge issue an order that would compel

Defendant City to enable me to attend public forums that the Mayor conducted.

60.    The next screenshot is from the elapsed time of 22 seconds in that video and shows

Defendant Ioveno on the left. He is bald and stood roughly within 20 feet of where I then was.

He didn’t make any effort to intervene on my behalf to enable me to attend the Mayor’s 10/18/17

town hall. This screenshot also shows that other senior members of the NYPD were then

arriving to the site of the Mayor’s town hall on that date as all members of the NYPD at that

location illegally refused and otherwise didn’t make any effort to intervene on my behalf to

attend that town hall in spite of the fact that they were required to have done so and they had a

realistic opportunity to intervene partly by arresting everyone who was preventing me from

attending that town hall.




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61.    Although I talked with several members of the NYPD on 10/18/17 at the site of the

Mayor’s 10/18/17 town hall before it began and as it was conducted to try to have them perform

their legal duty to intervene on my behalf to enable me to exercise the entire array of my

constitutional rights and those pursuant to New York State’s Open Meetings Law that applied to

attending the Mayor’s 10/18/17 town hall, all of them refused to intervene on my behalf.

62.    The next screenshot is from what appears in the Mayor’s 10/18/17 town hall video at the

elapsed time of 12 minutes and 49 seconds as I played back that video with the closed-captioning

feature enabled. It confirms that the Mayor was then in the middle of telling the audience at that

town hall that its members could meet with the other government officials who also attended that

town hall at the end of that meeting within the room in which it was conducted to talk with them

about whatever was on the minds of the members of the public who attended that town hall and

that those government officials would stay there all night to talk with them, if necessary.




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63.    By making such remarks then, the Mayor confirmed that town hall was a quorum that

was comprised of senior government officials of his administration was present at that town hall

and that they would be conducting public business during that meeting by being available for the

audience members to talk with during that meeting. The Mayor’s remarks then about that also

confirmed that that meeting was mostly a traditional public forum because he explicitly stated

that the members of the audience could meet with such senior government officials during that

meeting to freely talk with them. That circumstance also largely caused him to be a sideshow and

irrelevant during that meeting because the members of the audience weren’t allowed to have a

free-flowing discussion with him during that meeting in contrast to the free-flowing back and



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forth discussion that they could instead have with senior government officials of his

administration at the end of that meeting that included Mr. Banks.

64.    The public notice that was issued for the Mayor’s 10/18/17 town hall clearly contains

false and fraudulent advertising in flagrant violation of New York State General Business Law

§349 by stating the following about how members of the public would be granted access to that

town hall:

       “FIRST COME, FIRST SEATED”

65.    Hindsight confirms that was false and fraudulent advertising by virtue of the fact that I

was illegally denied access to that town hall and was among the first members of the public to

arrive to the site of that town hall on 10/18/17 to lawfully attend that public forum.

66.    Through their illegal acts and omissions against me on 10/18/17, the defendants that my

10/18/17 claims concern illegally chilled my First Amendment right to expression as a speaker

during the Mayor’s 10/18/17 town hall by preventing me from attending it as well as the public’s

corresponding First Amendment right to receive information from speakers. Those illegal acts

and omissions flagrantly violated my First Amendment right of assembly in a public forum as

well as the remainder of my constitutional rights that applied that that public forum and caused

me irreparable harm in that regard. That experience also caused me reputational harm,

embarrassment, humiliation, and enormous justifiable anger and stress largely as a result of

having been illegally prevented from attending that town hall. A key but-for cause for that

experience was negligent failure to train and supervise by Defendant Carrion, Redmond, O’Neill,

Shorris, the Mayor, and other defendants in this action who directly and indirectly supervised

those who illegally prevented me from attending that town hall.




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Facts about the Mayor’s 10/25/17 resource fair:

20.    Prior to trying to attend the Mayor’s 10/25/17 resource fair, I attended a public meeting

about tenants rights and legal assistance on 10/24/17 that was conducted in Harlem at 527 West

125th Street. The panel of speakers at that meeting included the following people:

       a.      Jordan Dressler of HRA. He is the head of its Office of Civil Justice that is

       responsible or coordinating the provision of pro-bono and lost-cost legal representation

       and legal assistance to New Yorkers for a variety of legal matters through HRA’s

       business partners that it funds for that purpose and refers people to in order to have them

       undergo an intake meeting with such partners to determine whether they will be provided

       such representation and/or assistance by them.

       b.      New York City Councilman Mark Levine.

       c.      Elsia Vasquez. She is the founder of a tenant advocacy organization named

       P.A.'L.A.N.T.E. Harlem Inc.

       d.      Rodrigo Sánchez-Camus, who works for Northern Manhattan Improvement

       Corporation (“NMIC”) as its Legal Director.

21.    During that meeting, I recorded a video recording at 7:28 pm that is available on the

Internet at https://drive.google.com/open?id=1fIKkIA6KjevDPdUH2hPs20kIvw1IK3M of that

meeting’s speakers.

22.    The next screenshot is from that video and shows Mr. Dressler, Mr. Levine, Mr. Sánchez-

Camus, and Ms. Vasquez from left to right.




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23.    During that meeting, I talked with Mr. Sánchez-Camus about the fact that I received a

notice via e-mail on 4/11/17 from someone named Adlin Adon from his organization while she

was worked for it as a paralegal. I told him then that she expressed in that notice that NMIC

wouldn’t provide me legal assistance nor legal representation in the wake of my having met with

her for a legal intake appointment to ascertain whether NMIC would provide me legal assistance

or legal representation after I had been referred to it by HRA. I asked him then to better explain

why I had been denied that assistance from his legal organization. He lied to me in response by

claiming that his organization couldn’t provide me legal representation nor legal assistance for

the types of matters that I sought such legal representation or legal assistance. He did so in spite

of the fact that one of the legal matters for which I sought such assistance from his organization

was a housing matter pertaining to my housing in the Bronx. His organization provides legal

representation and/or assistance for such matters in the Bronx.

24.    I also talked with Mr. Dressler during that meeting. While I talked with him then, he lied

to me by telling me that HRA couldn’t cause me to be provided pro-bono or low-cost legal

assistance from HRA’s business partners that it funds for the types of legal matters for which I

sought to such assistance. He told me that after the Mayor told me during the public town hall

meeting that he conducted on 3/15/17 that was recorded on video that the City of New York

could cause me to be provided pro-bono legal representation for wage-theft matters and HRA’s

Deputy General Counsel Ann Marie Scalia issued me a binding and fully-enforceable agreement

dated 8/1/17 that lacked any disclaimer, caveat, and qualifying remark in an e-mail message that

I received from her in which she explicitly stated that she and HRA would assist me in “any way

possible”. Ms. Scalia sent me that e-mail message in response to having been referred to me by

Mr. Banks following face-to-face conversations that I had with him on 7/18/17 and 7/19/17



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during the public town hall meeting and public resource fair meeting that he conducted with the

Mayor on those dates while those were rare instances in which members of the Mayor’s NYPD

security detail, other members of the NYPD, and members of the Mayor’s staff took a temporary

break from committing criminal acts and omissions against me to briefly allow me to lawfully

exercise my First Amendment right to attend those public forums. Mr. Dressler was bound by

the terms of the 8/1/17 binding and fully-enforceable agreement that Ms. Scalia issued to me to

assist me in any way possible. New York City Charter §13-b and 18 NYCRR §352.23(a) jointly

also obligated HRA to ensure that I had access to HRA’s business partners that provide pro-bono

legal representation and low-cost legal assistance represent or assist me with legal matters for

which I sought such help largely to eliminate my need for further assistance from HRA. I also

recall having talked with Ms. Vasquez during that meeting on 10/24/17 about widespread

corruption in New York City’s government. She agreed with me that such corruption existed and

told me that no one was going to help me to contend with and overcome that. The information

that I was told by those who I talked with during that meeting was all the more reason why I

sought to attend the Mayor’s 10/25/17 resource fair meeting to engage in protected

whistleblowing that would also be about the fact that HRA and its business partners weren’t

performing their legal and contractual duty to provide me pro-bono and/or low-cost legal

assistance to meet my legal needs. Prior to attending that 10/24/17 meeting, Mr. Banks lied to

my face on 4/11/17 in Staten Island about why I hadn’t received such legal representation or

legal assistance from HRA’s business partners as NMIC was one of two organizations that he

then lied to me about.

25.    The Mayor’s 10/25/17 resource fair meeting was conducted at Brooklyn College at 2705

Campus Road in Brooklyn. Brooklyn College is part of the City University of New York




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(“CUNY”). CUNY has issued reports as PDF files on the Internet that describe its policies that

pertain to First Amendment expression and viewpoint discrimination on its properties. One of

those reports is 5 pages in length, available on the Internet at http://www.bcc.cuny.edu/wp-

content/uploads/2019/02/freedom-of-expression-and-expressive-conduct-08.26.16-1.pdf, and is

entitled “The City University of New York - Policy on Freedom of Expression and Expressive

Conduct”. Another such report that CUNY issued about that same subject is 8 pages in length,

available on the Internet at http://www.bcc.cuny.edu/wp-content/uploads/2019/01/cuny-policy-

freedom-of-expression-henderson-rules-1.pdf, and is also entitled “The City University of New

York - Policy on Freedom of Expression and Expressive Conduct”. The sum and substance of

what is discussed in both of those reports clearly confirms that the illegal acts and omissions that

were committed against me on 10/25/17 by the defendants that caused me to be illegally

prevented from attending the Mayor’s 10/25/17 public resource fair were in flagrant

contravention of CUNY’s policies that pertain to First Amendment activities on its properties.

26.    At 2:13 pm on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/RichardBuery/status/923251125058404352 by a Twitter account that is

registered to someone named Richard Buery, Jr. That Twitter account has the username of

“@RichardBuery” and he then worked for the Mayor’s administration. That Twitter posting

includes the following remark about the Mayor’s 10/25/17 resource fair meeting as well as a

photograph that was taken during that meeting that shows the Mayor, Nick Gulotta, and

Defendants NYPD John Doe4 10/25/17 and NYPD John Doe6 10/25/17 in it:

       “@NYCMayor with NY’s finest at the Brooklyn resource fair! #inBrooklyn #CHIYB”

67.    The next screenshot is from the photograph that is shown in that Twitter posting.




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68.    In the preceding screenshot, Defendant NYPD John Doe4 10/25/17 is the male who is

shown wearing a white shirt and eyeglasses as NYPD John Doe6 10/25/17 stood immediately to

his right. The Mayor appears in the top-right corner and Nick Gulotta appears on the far left in it.

69.    At 10:57 am on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/NYCMayorsOffice/status/923201972429303809 by a Twitter account that is

registered to the New York City Mayor’s office. That Twitter account has the username of

“@NYCMayorsOffice”. That Twitter posting includes the following remark that hindsight

confirms was materially fraudulent and misleading advertising in regards to me about the

Mayor’s 10/25/17 resource fair meeting as well as an image that is identical to the public notice

that was issued for that public resource fair meeting that appears in the annexed exhibits:

       “The Brooklyn Resource Fair is happening today from 11AM-3 PM. Come by, grab
       some swag, and get your questions answered! #inBrooklyn”


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70.    At 4:30 pm on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/NYCMayorsOffice/status/923285762371739648 by someone who used the

Twitter account that has the username of “@NYCMayorsOffice” that I just discussed. That

Twitter posting includes a) the following remark that hindsight confirms was materially

fraudulent and misleading in violation of New York State General Business Law §349 in regards

to me about the Mayor’s 10/25/17 resource fair meeting and b) photographs that were taken by

someone who attended that public resource fair meeting while he or she attended it:

       “Thank you to everyone who came out to the Brooklyn Resource Fair! We were thrilled
       to get the chance to speak with you all.”

71.    Contrary to the remark that appears in that Twitter posting, I was illegally prevented from

attending that public resource fair meeting on 10/25/17 and instead continued to stand outside of

its entrance even after I apprised Defendant Shorris as he arrived to the site of that public

resource fair meeting that I was being illegally prevented from attending that resource fair. He

then told me that he would look into that matter before he walked away and entered the building

in which that public forum was being conducted as a traditional public forum. During that

resource fair, the members of the public who attended it were free to move about it in and talk

with whichever government personnel who were in attendance that they chose to about whatever

was on their minds. They were also able to inspect and collect public records that were made

available during that public forum by government personnel who attended it. This fact is clearly

proven by photographs that were taken during that resource fair meeting. This means that those

who illegally prevented me from attending that resource fair meeting also committed the crimes

of illegally depriving me of access to the public records that were made available during that

public forum in violation of NYPL §240.65, NYPL §175.25, and 18 U.S.C. §1513(e) as well as




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my rights pursuant to the First Amendment, Fifth Amendment, and Fourteenth Amendment. A

violation of NYPL §175.25 is a felony.

72.    The next screenshot is from one of the photographs that was included in the Twitter

posting that I just discussed that was posted on the Internet at 4:30 pm on 10/25/17 by someone

who used the Twitter account that has the username of “@NYCMayorsOffice”. That photograph

clearly shows public records that appear to be flyers that Defendant City’s government agencies

made available for inspection and collection to the members of the public who attended the

Mayor’s 10/25/17 resource fair.




73.    At 5:22 pm on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/NYCSeniors/status/923298706689949697 by someone who used the Twitter

account that has the username of “@NYCSeniors”. That Twitter account is registered to an entity


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named NYC Seniors that corresponds to one of Defendant City’s government agencies. That

Twitter posting includes the following remark about the Mayor’s 10/25/17 resource fair meeting

and a photograph that was taken by someone who attended that public resource fair meeting

while he or she attended it:

       “We had a wonderful time at the Brooklyn Resource Fair today during #CHIYB -
       Brooklyn! Thank you all for coming out.”

74.    The next screenshot is from the photograph that was included in that Twitter posting. It

clearly shows public records that appear to be flyers that Defendant City’s government agencies

made available for inspection and collection to the members of the public who attended the

Mayor’s 10/25/17 resource fair.




75.    At 1:24 pm on 10/25/17, a Twitter posting was posted on the Internet at



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https://twitter.com/Joperez26DVS/status/923238765598052354 by someone who used the

Twitter account that has the username of “@Joperez26DVS”. That Twitter account is registered

to an someone named Jo Perez, who works for a New York City government agency that focuses

on matters pertaining to military veterans. That Twitter posting includes the following remark

about the Mayor’s 10/25/17 resource fair meeting and a photograph that was taken by someone

who attended that public resource fair meeting while he or she attended it:

       “Itʼs a Pleasure informing #Brooklyn of resources at #CHIYB Brooklyn
       College Student Center”

76.    The next screenshot is from the photograph that was included in that Twitter posting. It

also clearly shows public records that appear to be flyers that Defendant City’s government

agencies made available for inspection and collection to the members of the public who attended

the Mayor’s 10/25/17 resource fair. Due to my status as a Navy veteran, I clearly had both a First

Amendment right and interest in being able to attend the Mayor’s 10/25/17 resource fair to

inspect and perhaps collect the public records that appear in this screenshot and to publicly and

lawfully ridicule the Mayor and his administration during that resource fair for routinely and

substantially neglecting the needs of military veterans to hopefully lead a sufficient number of

voters to fire him and his administration through the New York City government elections that

were conducted in November of 2017.




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77.    At 2:36 pm on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/nycgov/status/923256898782224386 by someone who used the Twitter

account that has the username of “@nycgov” that is registered to Defendant City. That Twitter

posting includes the following remark about the Mayor’s 10/25/17 resource fair meeting and 3

photographs that were taken by someone who attended that public resource fair meeting while he

or she attended it:

       “A full house at #BrooklynCollege as and reps from NYC agencies
       answer residentsʼ questions at the City Resource Fair. #CHIYB”

78.    The next two screenshots are from one of the photographs that was included in that

Twitter posting. Defendant Carrion is shown in the first screenshot. A further display of public

records appears in the second screenshot. It’s objectively reasonable to infer from the totality of


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the circumstances that both Defendant Carrion and Ramos continued to be involved with others

in having caused me to be illegally barred from the Mayor’s a) 10/12/17 town hall, b) 10/18/17

town hall, and c) 10/25/17 resource fair.




79.    At 6:19 pm on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/AMBichotte/status/923313069647941633 by someone who used the Twitter

account that has the username of “@AMBichotte” that is registered to a politician named

Rodneyse Bichotte. That Twitter posting includes the following remark about the Mayor’s

10/25/17 resource fair meeting and 4 photographs that were taken by someone who attended that

public resource fair meeting while he or she attended it:

       “Happy to have join on #brooklynresourcefair in my district #42
       @NYCMayor @BklynCollege411@fema”

80.    The next screenshot is from one of the photographs that was included in that Twitter

posting. In this screenshot, Defendants Ventri and Ramos appear on the far left as the Mayor



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stood near Ms. Ramos. Defendant Ringel also is shown in this screenshot along with a

whistleblower news censor in journalism named Yoav Gonen.




81.    At 1:37 pm on 10/25/17, a Twitter posting was posted on the Internet at

https://twitter.com/gracerauh/status/923242204893769729 by someone who used the Twitter

account that has the username of “@gracerauh” that is registered to a former news censor in

journalism named Grace Rauh. That Twitter posting includes a photograph that was taken of the

Mayor during the Mayor’s 10/25/17 resource fair that shows him talking with a member of the

public. Ms. Rauh worked for Spectrum News as a news censor in regards to me on 10/25/17 and

earlier dates. I talked with her both on 9/14/17 and 9/26/17 outside of the buildings that hosted

the town hall meetings that the Mayor conducted on those dates as I was being illegally

prevented from being able to attend those public forums. The fact that she thereafter never

reported anything about that confirms that the official end of her career in journalism was long

overdue.

82.    I recall that I talked with New York City Councilman Bill Perkins as he left the Mayor’s


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10/25/17 resource fair about the fact that I had been illegally prevented from attending it. I had

previously apprised him about the fact that I had also been illegally prevented from attending

other public forums that the Mayor had been conducting since 4/27/17. Mr. Perkins never made

any attempt to intervene on my behalf to stop the illegal acts and omissions that were being

committed against me that prevented me from attending those public forums. That fact is

relevant largely because it illustrates that such illegal acts and omissions were clearly pervasive

and persistent patterns, practices, policies, and customs of Defendant City’s agencies and

personnel that were malevolently applied against me at public forums that the Mayor conducted

that were condoned by Mr. Perkins and other government personnel that partly include the

Mayor, and Defendants Levin, Ramos, Carrion, Vance, Jr., Redmond, and O’Neill.

83.    The next screenshot is from the elapsed time of 1 second in the video recording that I

recorded on 10/25/17 at 11:59 am that has the filename of “IMG_2853.MOV”. Defendants Baez

and Nieves appear from left to right in it as they both were then illegally preventing me from

attending the Mayor’s 10/25/17 resource fair. I recorded that video near the entrance to a

passageway that connects the building that hosted the Mayor’s 10/25/17 resource fair to the

nearly empty public sidewalk on which I lawfully stood and conducted myself as I recorded that

video. This screenshot shows Defendant Nieves as he was in the act of illegally preventing me

from attending that public forum as he illegally issued a baseless order to me to move from

where I then lawfully stood on a sidewalk that is a traditional public forum while I wasn’t

obstructing anyone in stark contrast to him and Defendant Baez.




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84.    By virtue of the fact that both Defendant Nieves and Baez were then illegally preventing

me from walking past them to reach the building that hosted the Mayor’s 10/25/17 resource fair,

both of them were equitably estopped from ordering me to move from where I then lawfully

stood. By preventing me from attending that resource fair, they violated all of the following:

       a. 18 U.S.C. §245(b)(5), 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 5 U.S.C.

           §1502(a), 42 U.S.C. §1985, 42 U.S.C. §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §240.65, NYPL §175.25, NYPL §120.45,

           NYPL §215.10, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

           Fourteenth Amendment, New York State’s Open Meetings Law,

       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. Their oath of office as members of the NYPD.

       g. The Handschu Agreement.


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       h. The following findings from People v. Howard, 50 N.Y.2d 583, 430 N.Y.S.2d 578,

           408 N.E.2d 908 (1980):

              i.   “An individual to whom a police officer addresses a question has a
                   constitutional right not to respond. He may remain silent or walk or run away.
                   His refusal to answer is not a crime. Though the police officer may endeavor
                   to complete the interrogation, he may not pursue, absent probable cause to
                   believe that the individual has committed, is committing, or is about to
                   commit a crime, seize or search the individual or his possessions, even
                   though he ran away.”

             ii.   “But while the police had the right to make the inquiry, defendant had a
                   constitutional right not to respond. This is so both because the Fifth
                   Amendment to the United States Constitution and its State counterpart (New
                   York Const, art I, § 6) permitted him to remain silent and because the Fourth
                   Amendment and its State counterpart (art I, § 12) protect him from detention
                   amounting to seizure unless there is probable cause. As Mr. Justice
                   BRANDEIS put it long ago in Olmstead v United States (277 US 438, 478),
                   defendant had "the right to be let alone."”

                   (boldface formatting added for emphasis)

85.    The next screenshot is from the elapsed time of 25 seconds in the video recording that I

just discussed. It shows Defendant Nieves as he flagrantly violated my Fourteenth Amendment

due process and equal protection rights by allowing other members of the public to walk past

him and Defendant Baez to the building that hosted the Mayor’s 10/18/17 resource fair after they

arrived to that location after me. By doing so, he flagrantly discriminated against me and

subjected me to selective-enforcement and a patently illegal and malicious abuse of process.




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86.    As I discussed earlier in this complaint, Defendants NYPD John Doe1 10/25/17 and

NYPD John Doe2 10/25/17 appear in that video as they observed Defendants Nieves and Baez

illegally preventing me from attending the Mayor’s 10/25/17 resource fair and Defendant Nieves

illegally otherwise harassing me on that sidewalk by trying to illegally coerce me to move from

where I lawfully stood. Neither of those additional defendants made an attempt to intervene on

my behalf to enable me to exercise my constitutional right to attend that resource fair and remain

where I stood on that sidewalk without being harassed by Defendant Nieves as I did so.

87.    The next screenshot shows Defendant Nieves at the elapsed time of 13 seconds in the

video recording that I recorded on 10/25/17 at 12:01 pm that has the filename of

“IMG_2854.MOV”. A copy of that video is available on the Internet at

https://drive.google.com/file/d/1kngBltVsaK_-4ny_r7nmu7mAxplvuQEi/view?usp=sharing. Mr.

Nieves and Defendant Baez were then continuing to conduct themselves as criminals by

continuing to illegally prevent me from attending the Mayor’s 10/25/17 for no valid reason.



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88.    Defendant Nieves is shown approaching me at that point in that video as he was again

illegally making remarks to me to try to illegally coerce me to move from where I lawfully stood

on that nearly sidewalk while I continued to not be obstructing pedestrian traffic in contrast to

him and Defendant Baez with respect to me by subjecting me to an unofficial and patently illegal

arrest of my ability to walk past them to the building that hosted the Mayor’s 10/25/17 resource

fair in violation of applicable findings from People v. Alba, 81 A.D.2d 345, 440 N.Y.S.2d 230

(App. Div. 1981) and Dotson v. Farrugia, No. Civ. 1126 (PAE) (S.D.N.Y. Mar. 26, 2012) that

both address such unofficial arrests of an individual’s ability to move about freely by a show of

authority without a legal justification in violation of the Fourth Amendment. As he approached

me then, Mr. Nieves illegally put one of his hands on my body to try to make me move. As a




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result, I immediately engaged in lawful self-defense in response to the offensive physical contact

with my body that he deliberately and illegally committed by shoving his hand downward and

away from my body. That prompted Defendants NYPD John Doe5 10/25/17, NYPD John Doe6

10/25/17, and least one other member of the NYPD who I don’t presently recall to quickly cross

the street from where Defendant Nieves and I stood to intervene on Defendant Nieves’ behalf

against me. As they approached me, however, I immediately told them that I had just lawfully

engaged in self-defense against Defendant Nieves strictly in response to the fact that he had just

illegally put one of his hands on my body. I believe that one of them then lied to my face by

claiming that he hadn’t seen Mr. Nieves do that. Moreover, none of them did anything to

intervene on my behalf against Defendants Nieves and Baez to enable me to attend the Mayor’s

10/25/17 resource fair in spite of the fact that they were all aware that Defendant Nieves and

Baez were then clearly preventing me from attending that public forum.

89.    The next screenshot is from the elapsed time of 2 seconds in that video and shows a

printed copy of New York State’s Open Meeting Law that I was holding to confirm that I was

entirely aware of the fact that I had a legal right to attend the Mayor’s 10/25/17 resource fair. As

I recorded that video, I provided narration in which I indicated that Defendants Baez and Nieves

were then violating New York State’s Open Meetings Law as I was referring to the fact that they

were illegally preventing me from attending the Mayor’s 10/25/17 resource fair.




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90.    The next screenshot corresponds to what appears at the very beginning of the video

recording that I recorded on 10/25/17 at 12:48 pm that has the filename of “IMG_2857.MOV”. It


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shows a video security camera that was installed on the side of the building that hosted the

Mayor’s 10/25/17 resource fair in an area that enabled that camera to record the interactions that

I had with Defendants Nieves, Baez, and NYPD John Doe4 10/12/17 as I continued to stand in

the area on the public sidewalk that I discussed earlier where Defendant Nieves had been

illegally harassing me. The City of New York has been legally required to preserve all of the

video recordings that were recorded by that video security camera on 10/25/17 throughout the

entire time that I was at the site of that 10/25/17 resource fair on 10/25/17.




91.    The next screenshot corresponds to the elapsed time of 9 seconds in that same video and

shows Defendants Baez and NYPD John Doe4 10/12/17 as they stood in the gated entrance to

the property of the college that hosted the Mayor’s 10/25/17 resource fair as they were illegally

preventing me from being able to walk past them to attend that resource fair. I recall having an

adversarial conversation with NYPD John Doe4 10/12/17 during my interactions with him on




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10/25/17 at that location by that entrance about the fact that he, Defendant Nieves, Defendant

Baez, and others were then illegally preventing me from attending the Mayor’s 10/25/17

resource fair. To be clear however, I never conducted myself in an unlawful, threatening, or

disorderly way while I was at the site of the Mayor’s 10/25/17 resource fair. In stark contrast to

the NYPD and Mayor’s staff, I’m not that stupid to do so with such fake law-enforcement

personnel who likely were armed with guns on 10/25/17 and can reasonably be expected to

rarely shoot straight.




92.    The next screenshot corresponds to the elapsed time of 35 seconds in that same video and

shows Defendants NYPD John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5


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10/25/17, and NYPD John Doe6 10/25/17 from left to right as well as an unknown member of

the NYPD who sat in the driver’s seat of a NYPD car that had the car identification number of

5249 on it.




93.    The next screenshot corresponds to what appears at the elapsed time of 1 second in the

video recording that I recorded on 10/25/17 at 12:59 pm that has the filename of

“IMG_2858.MOV”. A copy of that video is available on the Internet at

https://drive.google.com/file/d/1qB2-iFDscXuG6YaF7Uae4CkwORuNfq2h/view?usp=sharing.

Defendants Ventri, Redmond, and Gerola are clearly shown doing a “Perp Walk” directly in

front of where I then continued to lawfully stand near the entrance to the property of the college

that hosted the Mayor’s 10/25/17 resource fair while they were all aware that I was being

prevented from attending that public forum and illegally didn’t attempt to intervene on my behalf

to enable me to attend it because they were acting in concert with those who were illegally

preventing me from doing so.




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94.    The next screenshot corresponds to what appears at the elapsed time of 3 seconds in the

video recording that I recorded on 10/25/17 at 12:59 pm that has the filename of

“IMG_2859.MOV”. A copy of that video is available on the Internet at

https://drive.google.com/file/d/1jZfoK8cTjzhRgEakwL1esj8rKTMYpz9K/view?usp=sharing.

Defendant Gerola is shown in that screenshot as continued to do his “Perp Walk” with

Defendants Redmond and Ventri as he also gave Defendant Baez a “thumbs-up” hand signal by

using his left hand to thank him for something that the totality of the circumstances then strongly

suggests was for helping to illegally prevent me from attending the Mayor’s 10/25/17 resource


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fair.




95.     The next screenshot corresponds to what appears at the beginning of the video recording

that I recorded on 10/25/17 at 2:11 pm that has the filename of “IMG_2862.MOV”. A copy of

that video is available on the Internet at https://drive.google.com/file/d/1UqXvfLP8nrd-

3Ii5lNggX8zmxKw6MrWC/view?usp=sharing. Defendant Gerola is shown in that screenshot as

he stood in front of Defendant NYPD John Doe4 10/12/17 in an area that was near both a) the

entrance to the building that hosted the Mayor’s 10/25/17 resource fair that was away from the

sidewalk where I then stood and b) a sign that was posted about the Mayor’s 10/25/17 resource

fair. It also appears that a metal detector was then in use just inside of the entrance to the

building that hosted the Mayor’s 10/25/17 resource fair.




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96.    The next screenshot corresponds to what appears in that video at the elapsed time of 14

seconds as I was making remarks to members of the public nearby in which I discussed the fact

that Defendant Redmond was the defendant in Sherrard v. City of New York that I discussed

earlier in this complaint. My remarks then as I recorded that video were primarily addressed to a

group of elderly Black women who sat nearby who I believed were quite familiar with the civil

rights movement in the 1960s that was against discrimination and segregation with respect to the

use of public facilities that included schools that Brooklyn College certainly was as it then also

hosted the Mayor’s 10/25/17 resource fair. I unfortunately recorded that video in a way that had

one of my fingers accidentally covering part of the lens for my cell phone’s camera that caused

Defendant Redmond to be partly obscured in that video as he then wore a blue suit and was



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shown on the left in that screenshot.




97.    Prior to 10/25/17, I similarly and lawfully engaged in protected whistleblowing about

Defendant Redmond’s status as the defendant in Sherrard v. City of New York on 8/30/17 as I sat

in a chair in the gym that hosted the Mayor’s 8/30/17 town hall in Brooklyn shortly before that

town hall began as I talked to female members of the public who then sat near me as Defendant

Redmond approached the area where I then was. He then promptly retaliated against me for

doing so partly by immediately making illegal physical contact with my body while I remained

seated and was conducting myself. He then illegally caused me to be ejected from that building

in retaliation for my protected speech against him that expanded to include justifiably angry

objections about the fact that he illegally and deliberately made physical contact with my body


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while I was seated and conducting myself in a lawful manner. As far as I’m concerned,

Defendant Redmond is total trash and I tremendously dislike being in contact with such trash.

98.      The following are the specific remarks that was protected whistleblowing that I stated

about Defendant Redmond and his status as the defendant in Sherrard v. City of New York at the

elapsed time of 14 seconds in the video that I just discussed:

      “So this guy is Howard Redmond. He’s the defendant in the federal civil rights lawsuit I was
      talking about…and…Howard Redmond…the case is “Sherrard versus City of New York”.
      He put somebody in jail for 19 hours and now he’s not letting me into a public meeting.”

99.      The next screenshot corresponds to what appears in the video that I just discussed at the

elapsed time of 28 seconds. It shows Defendant Redmond as he made a hand gesture with his left

index finger to Defendant Baez to illegally direct him to illegally coerce me to move from where

I then lawfully stood on a public sidewalk while I continued to not be obstructing anyone’s

movements in retaliation for my remarks against Defendant Redmond then. The fact that I

wasn’t obstructing anyone’s movements then is confirmed by the following facts:

         a.      An unknown girl is partially shown at the elapsed time of 19 seconds in that video

                 as she freely walked by me from that college’s property in the direction of the

                 sidewalk on which I then stood. In fact, she is clearly shown at the elapsed time

                 of 18 seconds in that video as she had to walk around Defendants Redmond and

                 Baez as they obstructed her ability to exit that property by virtue of where they

                 stood in relation to that exit.

         b.      Defendant NYPD John Doe2 10/25/17 is partially shown at the elapsed time of 25

                 seconds in that video as he freely walked by me from that college’s property in

                 the direction of the sidewalk on which I then stood.




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100.   The next screenshot corresponds to what appears in the video that I just discussed at the

elapsed time of 30 seconds. It shows both Defendant Baez and Redmond as they approached me

as Defendant Baez illegally directed me through his remarks and the extension of his left arm

toward me to move away from where I then lawfully stood in retaliation for my protected speech

against Defendant Redmond.




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101.   Through their actions against me then as both Defendants Baez and Redmond sought to

try to illegally intimidate me in retaliation for my protected First Amendment activities of

expression, assembly, and expressive association with other members of the public nearby, both

Defendants Baez and Redmond were then also illegally preventing me from walking past them to

reach the building that hosted the Mayor’s 10/25/17 resource fair. As a result, both of them were

also equitably estopped from ordering me to move from where I then lawfully stood. By

preventing me from attending that resource fair, they also violated all of the following:

       a. 18 U.S.C. §245(b)(5), 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 5 U.S.C.

           §1502(a), 42 U.S.C. §1985, 42 U.S.C. §1986.


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       b. NYPL §240.20, NYPL §240.26, NYPL §240.65, NYPL §175.25, NYPL §120.45,

           NYPL §215.10, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

           Fourteenth Amendment, New York State’s Open Meetings Law,

       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. Their oath of office as members of the NYPD.

       g. The Handschu Agreement.

       h. The findings in People v. Howard that I presented earlier in this complaint.

102.   The next screenshot corresponds to what appears in the video that I just discussed at the

elapsed time of 34 seconds. It shows both Defendants Baez and Redmond as Defendant Baez

continued to illegally coerce me to move away from where I lawfully stood on a public sidewalk

while I wasn’t obstructing anyone’s movements. No objectively valid legal justification existed

for that coercion. As a result, he and Defendant Redmond were then jointly violating my First

Amendment, Fifth Amendment, and Fourteenth Amendment rights that all pertained to being

able to freely choose where I would stand on that nearly empty public sidewalk and be able to

stand directly next to the gated entrance to the property of the college that hosted the Mayor’s

10/25/17 resource fair instead of Defendants Baez and Redmond that I sought to do to continue

to effectively engage in protected whistleblowing against Defendant Redmond, other members of

the NYPD, and the Mayor’s administration as members of the public walked past me.




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103.   The next screenshot corresponds to what appears in the video that I just discussed at the

elapsed time of 45 seconds right after Defendant Baez finished illegally coercing me to move

from where I lawfully stood on that sidewalk. It shows a) Defendants Baez and Redmond, b) the

gated entrance to the property of the college that hosted the Mayor’s 10/25/17 resource fair, c)

elderly Black women to whom I was addressing protected whistleblowing against Defendant

Redmond, and d) the building that hosted the Mayor’s 10/25/17 resource fair.




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104.   While I stood on that sidewalk, I also engaged in additional whistleblowing against the

Mayor’s administration that was partly about the fact that I had repeatedly and illegally been

prevented from attending earlier public forums that the Mayor conducted as I talked with

members of the public nearby. Just to be clear, my decision to engage in whistleblowing as I

stood on that sidewalk on 10/25/17 was a contingency plan that I would implement in the event

that I would be proven to be correct about my expectation that I wouldn’t be permitted to

lawfully attend the Mayor’s 10/25/17 resource fair by members of the NYPD and others. For this

reason, since I was illegally prevented from attending that resource fair before I began engaging

in whistleblowing as I stood on that public sidewalk, it cannot be validly claimed that I was

barred from attending that resource fair because of any remarks that I made on 10/25/17 while I

was at the site of that 10/25/17 resource fair.


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105.   The next screenshot is from what appears at the elapsed time of 1 second in the video

recording that I recorded on 10/25/17 at 2:32 pm that has the filename of “IMG_2863.MOV”.

Defendant NYPD John Doe4 10/12/17 and Ringel are shown from left to right in it as they stood

in front of me on the sidewalk and the gated entrance to the property of the college that hosted

the Mayor’s 10/25/17 resource fair. Mr. Ringel was then leaving that area as it appeared that he

had something to say to Defendant NYPD John Doe4 10/12/17 while Defendants NYPD John

Doe4 10/12/17, Baez, and Gerola were then illegally preventing me from attending the Mayor’s

10/25/17 resource fair by not allowing me to walk past them through the gated entrance to the

property of the college that hosted that resource fair.




106.   The next screenshot is from what appears at the elapsed time of 2 seconds in the video

that I just discussed. Nick Gulotta of the Mayor’s staff is shown in it on the left as he wore a blue


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suit and stood in front of Defendant Baez and to the left of Defendant John Doe4 10/12/17 as Mr.

Gulotta left the site of the Mayor’s 10/25/17 resource fair and appeared to thank Defendant Baez

for something as he left that area.




107.   The next screenshot is from what appears in the video that I just discussed at the elapsed

time of 5 seconds. Defendant Gerola is shown in that screenshot as he stood in front of me on the

sidewalk and the gated entrance to the property of the college that hosted the Mayor’s 10/25/17

resource fair as he let a female walk past him to the building in which that resource fair was



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being conducted. Defendants Baez and John Doe4 10/12/17 also appear in this video as they

stood near Mr. Gerola and continued to also illegally prevent me from attending the Mayor’s

10/25/17 resource fair by not allowing me to reach that building by walking them through that

same gated entrance. The smug facial expression that Defendant Gerola is shown exhibiting in

this screenshot was indicative of malice and an invidious discriminatory intent by him towards

me in regards to illegally preventing me from attending the Mayor’s 10/25/17 public resource

fair meeting.




108.   Through their illegal acts and omissions against me on 10/25/17, the defendants that my

10/25/17 claims concern illegally chilled my First Amendment right to expression as a speaker

during the Mayor’s 10/25/17 resource fair meeting by preventing me from attending it as well as

the public’s corresponding First Amendment right to receive information from speakers. That


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also illegally chilled my First Amendment right to receive various information and resources that

were made available to those who attended that resource fair by doing so. Those illegal acts and

omissions flagrantly violated my First Amendment right of assembly in a public forum as well as

the remainder of my constitutional rights that applied that that public forum and caused me

irreparable harm in that regard. That experience also caused me reputational harm,

embarrassment, humiliation, and enormous justifiable anger and stress largely as a result of

having been illegally prevented from attending that resource fair. A key but-for cause for that

experience was negligent failure to train and supervise by Defendant Carrion, Redmond, O’Neill,

Shorris, the Mayor, and other defendants in this action who directly and indirectly supervised

those who illegally prevented me from attending that resource fair. In addition, no one ever made

any remark to me on 10/25/17 at the site of the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town

hall, and c) 10/25/17 resource fair about the existence of buffer zones that were located near the

buildings that hosted those public forums in which demonstrating and protest activities were not

allowed. This is entirely true and accurate in spite of the fact that I don’t regard how I conducted

myself on those dates at those sites as having engaged in protesting and demonstrating. I was

instead simply trying to exercise my constitutional rights in regards to those public forums that

the Mayor conducted with others.

109.   To conclude this section, it’s worthwhile to emphasize the material fact that the illegal

acts and omissions that were committed against me by the defendants who were present at the

site of the Mayor’s 10/25/17 resource fair on 10/2517 with respect to my efforts to lawfully

attend that public forum weren’t isolated illegal acts and omissions by them against me that

occurred on just that date for that specific public forum. Instead, the table shown next identifies

additional public forums since 4/27/17 that the Mayor and others conducted at which the




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defendants that my 10/25/17 claims concern committed very similar illegal acts and omissions

against me that among other things a) illegally prevented me from attending those public forums

altogether, b) caused me to be illegally segregated from the room in which town hall meetings

were conducted by being restricted to attending them from overflow rooms, c) prevented me

from attending press conferences that were open to the public to attend, and d) caused me to be

criminally assaulted, stalked, and harassed by them on a public sidewalk that was adjacent to a

building that hosted a public town hall meeting that the Mayor conducted on the date it was

conducted.

   #     Defendant       Summary of some of the illegal acts & omissions
   1     Baez            • Illegal exclusion from public town hall meetings and resource fair
                           meetings that the Mayor conducted:

                                 7/12/17 and 9/27/17

                         •   Illegal exclusion from a press conference that was open to the
                             public:

                                 10/3/17 at City Hall that involved a press conference that was
                                 conducted by people who pushed for reforming the NYPD.

                         •   Illegal failure to intervene to uphold my constitutional rights at
                             public forums that the Mayor conducted as other members of the
                             NYPD violated them:

                                 7/12/17
   2     Gerola          •   Illegal exclusion from public town hall meetings and resource fair
                             meetings that the Mayor conducted:

                                 5/23/17, 6/8/17, 7/12/17, 9/14/17, 9/26/17, 9/27/17, 9/28/17

                         •   Illegal stalking, harassment, detention, and restraint on other First
                             Amendment activities on a public sidewalk next to a building that
                             just hosted a town hall that the Mayor conducted:

                                 4/27/17

                         •   Illegal failure to intervene to uphold my constitutional rights at
                             public forums that the Mayor conducted as other members of the


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                    NYPD violated them:

                        4/27/17, 5/23/17, 7/12/17, 9/14/17, 9/27/17, 9/28/17
3   Nieves      •   Illegal exclusion from public town hall meetings and resource fair
                    meetings that the Mayor conducted:

                       5/23/17, 7/12/17, 8/30/17, 9/14/17, 9/26/17, 10/4/17

                •   Illegal stalking, harassment, detention, and restraint on other First
                    Amendment activities on a public sidewalk next to a building that
                    just hosted a town hall that the Mayor conducted and in a
                    courthouse hallway as the Mayor conducted a public resource fair
                    in that courthouse:

                       4/27/17, 5/23/17, 8/30/17, 9/14/17

                •   Illegal ejection from an area where the Mayor conducted a public
                    forum:

                       8/30/17

                •   Illegal seizure of personal property:

                       8/30/17 in the gym that hosted the town hall meeting that the
                       Mayor conducted in it shortly thereafter

                •   Illegal failure to intervene to uphold my constitutional rights at
                    public forums that the Mayor conducted as other members of the
                    NYPD violated them:

                        4/27/17, 5/23/17, 7/12/17, 8/30/17, 9/8/17, 9/14/17, 9/26/17,
                        10/4/17
4   NYPD John   •   Illegal exclusion from public town hall meetings and resource fair
    Doe4            meetings that the Mayor conducted:
    10/12/17
                       9/28/17, 10/12/17, 10/18/17

                •   Illegal failure to intervene to uphold my constitutional rights at
                    public forums that the Mayor conducted as members of the
                    Mayor’s staff and other members of the NYPD violated them:

                        9/28/17, 10/12/17, 10/18/17
5   Redmond     •   Illegal exclusion from public town hall meetings, resource fair
                    meetings, and public press conferences that the Mayor conducted:

                       4/27/17, 7/25/17, 8/30/17


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                         •   Illegal stalking, harassment, seizure, assault, detention, and
                             restraint on and retaliation for First Amendment activities at a
                             public press conference that the Mayor conducted:

                                7/25/17

                         •   Illegal harassment, First Amendment retaliation, and ejection from
                             a town hall that the Mayor conducted:

                                8/30/17

                         •   Illegal failure to intervene to uphold my constitutional rights at
                             public forums that the Mayor conducted as other members of the
                             NYPD violated them:

                                5/23/17, 6/8/17, 7/12/17, 7/25/17, 9/14/17, 9/28/17


Facts about the Mayor’s 3/18/19 public hearing:

110.   The next screenshot is from what appears at the elapsed time of 17 minutes and 28

seconds in the Mayor’s 3/18/19 public hearing video. As a reminder, that video recording is

available on the Internet at https://www.youtube.com/watch?v=rqwyR7ZD23M.




111.   NYPD John Doe1 3/18/19 is clearly shown in that screenshot as he illegally assaulted,

seized, and harassed me as he illegally engaged in witness tampering with the Mayor by abruptly



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ending my ability continue to lawfully testify to the Mayor and the public in the Mayor’s 3/18/19

public hearing as the Mayor also illegally subjecting me to witness tampering by deliberately and

impermissibly interfering with and interrupting my testimony while he needed to instead shut up

on account of the fact that I never asked him a question during my testimony. NYPD John Doe1

3/18/19 is shown in this screenshot as he illegally seized my left arm and illegally made contact

with my back with his right hand as he proceeded to illegally kick me out of the Blue Room in

City Hall in which that meeting was conducted. The reason why I was then carrying my laptop

was because I sought to exercise my First Amendment right to playback relevant video

recordings of conversations that I previously had with the Mayor about labor rights matters a) on

3/15/17 during the Mayor’s 3/15/17 town hall and b) on 7/18/17 during the Mayor’s 7/18/17

public resource fair after the Mayor’s office illegally concealed the video recording of the

Mayor’s 7/18/17 public resource fair from the public and whistleblower news censors in

journalism named Michael Gartland and Gloria Pazmino unconscionably withheld reporting

about the conversation that I had with the Mayor during that public resource fair from the public

that directly and materially facilitated the ability of the Mayor, his staff, and the Mayor’s NYPD

security detail to steal the results of the 2017 New York City government elections for the

Mayor’s benefit and their own largely by extending their job security and access to opportunities

to further advance their careers.

112.   What follows is an entirely accurate transcript that I prepared of the entirety of the

remarks that the Mayor and I said to one another during the Mayor’s 3/18/19 public hearing. My

testimony in that hearing begins at the elapsed time of 17 minutes and 3 seconds in the video of

the Mayor’s 3/18/19 public hearing as the Mayor was clearly then shown in that video as he

exhibited an irritated demeanor on his face as he clearly scowled at me.




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   Me:           “Good afternoon, Mr. Mayor.”

   Mayor:        “Good afternoon.”

   Me:           “Um, you and I have talked a few times about this company NTT Data. You’ve
                 said in the press recently that, um, “Too much money is in the wrong hands”.
                 So, for the benefit of this audience, I’m going to begin my testimony by playing
                 back a video that…of our conversation on March 15th of 2017 at your town hall
                 in Chelsea.”
   Mayor:        I don’t know if that’s uh…if that’s…

                 (Crosstalk between the Mayor and I then immediately ensued as he continued to
                 willfully violate my First Amendment rights to testify in that hearing in the
                 precise manner that I sought as he used a fraudulent pretext to interrupt and
                 block the remainder of my lawful testimony as NYPD John Doe1 3/18/19
                 quickly approached me from behind while I lawfully resisted the Mayor’s
                 illegal efforts to subject me to what I was acutely aware of was flagrant witness
                 tampering and obstruction in violation of my rights pursuant to the First
                 Amendment, Fourteenth Amendment, and New York State’s Open Meetings
                 Law to lawfully testify in that hearing without being interrupted).
   Me:           “Actually, the First Amendment. The First Amendment. First Amendment
                 rights.”
   Mayor:        “First Amendment rights are great. But, I just want to say, I don’t know if we
                 accept that in the testimony. So, keep moving forward.


113.   The next screenshot sufficiently establishes that the Mayor engaged in fraud and

deception by claiming to me on 3/18/19 during his public hearing that he didn’t know if my

playback of video recordings was acceptable while I testified to a New York City government

official in City Hall. That screenshot is from page 162 in the written transcript that is available as

a PDF file from the City Council’s web site at

https://legistar.council.nyc.gov/View.ashx?M=F&ID=6652094&GUID=B513FE70-8924-4EB6-

9E35-D8B38ED66290 that the City Council arranged to be prepared from the public hearing that

the City Council’s Committee on General Welfare conducted on 9/20/18 in the main chamber

inside of City Hall and corresponds to testimony that I then provided to that committee’s

members that included Defendant Levin.


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114.   No rational reason exists to believe the Mayor’s claim to me on 3/18/19 about him not

knowing whether my playback of video recordings in conjunction with that hearing could be

accepted after I previously played video recordings in conjunction with testimony that I gave

during other public hearings that were previously conducted in City Hall. Following 3/18/19, I

continued to be able to playback video recordings as I testified in other public hearings that were

conducted in City Hall as well. The preceding screenshot incidentally corresponds to testimony

that I gave on behalf of Robert Vargas who resided in the building in which I reside and I

discussed earlier in this complaint.



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115.    The next screenshot is from what appears at the elapsed time of 17 minutes and 29

seconds in the Mayor’s 3/18/19 public hearing video and clearly shows Defendant NYPD John

Doe1 3/18/19 and I on the right side in it as he continued to illegally assault me by having his

right hand on my back in an area near my right shoulder blade without my consent that I

continued to regard as offensive physical contact largely because he was illegally preventing me

from lawfully finishing my testimony in that public hearing on my own terms in accordance with

my rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment, Fourteenth

Amendment, and New York State’s Open Meetings Law. At that time, he was illegally escorting

me to the exit of that room while Defendants NYPD John Doe2 3/18/19 and NYPD John Doe3

3/18/19 were then inside of that room and illegally didn’t intervene on my behalf against both the

Mayor and Defendant NYPD John Doe1 3/18/19 to enable me to lawfully complete my

testimony in that hearing in the precise manner in which I then sought to lawfully testify at the

Mayor’s expense to befit the public’s interest in a) government transparency, b) government

accountability, c) learning about violations of the Hatch Act that stole the 2017 New York City

government elections for the Mayor, d) proper and ethical procurement practices for government

contracts, and e) fighting wage-theft, voter suppression, voter fraud, and whistleblower

retaliation.




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116.   I never yelled, shouted, nor used any offensive language while I was in the Blue Room on

3/18/19. I never engaged in any behavior in that room on that date that was threatening,

disorderly, and disruptive. Instead, the Mayor and Defendant NYPD John Doe1 3/18/19 jointly,

willfully, malevolently, and oppressively did so against me.

117.   Neither the Mayor nor Defendant NYPD John Doe1 3/18/19 provided me any due

process before Defendant NYPD John Doe1 3/18/19 illegally seized, assaulted, harassed, and

ejected me from the Blue Room on 3/18/19. Although the Mayor didn’t explicitly direct

Defendant NYPD John Doe1 3/18/19 to seize, assault, harass, and eject me from the Blue Room

on 3/18/19, he is jointly liable with Defendant NYPD John Doe1 3/18/19 for all of that having

occurred because he clearly acted in concert with Defendant NYPD John Doe1 3/18/19 in regard

to that largely because the Mayor’s interruption of my testimony in that 3/18/19 public hearing

was the but-for cause for the decision that Defendant NYPD John Doe1 3/18/19 made to illegally

seize, assault, harass, and eject me from the Blue Room on that date.




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118.   Defendant NYPD John Doe1 3/18/19 violated all of the following through his illegal acts

against me on 3/18/19 in the Blue Room:

       a. 18 U.S.C. §245(b)(5), 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42

            U.S.C. §1985, 42 U.S.C. §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §120.45, NYPL §215.10, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

            Fourteenth Amendment, New York State’s Open Meetings Law,

       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. His oath of office as a member of the NYPD.

       g. The findings from People v. Howard, People v. Alba, Dotson v. Farrugia, and Frain

            v. Baron that I presented earlier in this complaint as well as relevant findings in Elrod

            v Burns and Piesco v. City of New York, Dept. of Personnel.

119.   The following are several relevant excerpts from Piesco v. City of New York, Dept. of

Personnel that certainly apply to the illegal acts and omissions that were committed against me

on 3/18/19 while I was in the Blue Room in City Hall:

       a.      "Whatever differences may exist about interpretations of the First Amendment,
               there is practically universal agreement that a major purpose of that Amendment
               was to protect the free discussion of governmental affairs. This of course includes
               discussions of candidates, structures and forms of government, the manner in
               which government is operated or should be operated, and all such matters relating
               to political processes."

       b.      “The Supreme Court has recognized that one of the critical purposes of the first
               amendment is to provide society with a basis to make informed decisions about
               the government.”

       c.      The “first amendment guarantees that debate on public issues is "`uninhibited,
               robust, and wide open'".




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       d.      Speech "on matters of public concern is that speech which lies `at the heart of the
               First Amendment's protection'".

120.   In a similar vein, the U.S. Supreme Court stated in Elrod v. Burns that the "loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury”.

121.   Upon information and belief, at least two video security cameras that were controlled by

the NYPD were installed in the Blue Room in City Hall as I testified in that hearing. Defendant

City has been legally required to preserve all video recordings that were recorded by those video

security cameras throughout the entire time that I was inside of the Blue Room on 3/18/19 and

property of mine was inside of that room on 3/18/19 after I was illegally ejected from that room.

122.   The next screenshot is from what appears at the elapsed time of 17 minutes and 30

seconds in the Mayor’s 3/18/19 public hearing video and clearly shows the Mayor as he clearly

appeared to be smirking or grinning to express pleasure and satisfaction about the fact that I was

then being criminally seized, assaulted, harassed, and subjected to witness tampering by

Defendant NYPD John Doe1 3/18/19 in support of the Mayor’s obstruction of my testimony

during that hearing.




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123.   The next screenshot is from what appears at the elapsed time of 17 minutes and 32

seconds in the Mayor’s 3/18/19 public hearing video and clearly shows the Mayor as he clearly

appeared to be smiling as he continued to express pleasure and satisfaction about the fact that I

was just illegally ejected from the Blue Room in City Hall by Defendant NYPD John Doe1

3/18/19.




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124.   The Mayor violated all of the following through his illegal acts against me on 3/18/19 in

the Blue Room as he illegally subjected me to First Amendment retaliation, viewpoint discretion,

and an illegal prior restraint of my First Amendment right to lawfully express myself as an abuse

of process to block testimony that would be critical of him and his administration:

       a. 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42 U.S.C. §1985, 42 U.S.C.

           §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §215.10, and NYPL §195.00.

       c. My rights pursuant to the First Amendment, Fourteenth Amendment, and New York

           State’s Open Meetings Law.

       d. New York State General Business Law §349.

       e. New York City Charter §1116.

       f. His oath of office as an employee of the City of New York and New York City’s



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           Mayor.

       g. The findings from Frain v. Baron, Elrod v Burns, and Piesco v. City of New York, Dept.

           of Personnel that I presented earlier in this complaint.

125.   The following is another relevant excerpt from Piesco v. City of New York, Dept. of

Personnel that certainly applies to the Mayor’s erroneous and irrelevant remarks to me during

the 3/18/19 public hearing about whether my playback of relevant video recordings in

conjunction with my testimony could be accepted.

       "Without a searching inquiry into these motives, those intent on punishing the exercise of
       constitutional rights could easily mask their behavior behind a complex web of post hoc
       rationalizations."

126.   On a related note, the U.S. Supreme Court stated the following about illegal prior

restraints on First Amendment rights in McCutcheon v. Federal Election Com'n, 134 S. Ct. 1434,

572 U.S. 185, 188 L. Ed. 2d 468 (2014):

        “The First Amendment "is designed and intended to remove governmental restraints
       from the arena of public discussion, putting the decision as to what views shall be voiced
       largely into the hands of each of us, ... in the belief that no other approach would comport
       with the premise of individual dignity and choice upon which our political system rests."
       Cohen v. California, 403 U.S. 15, 24, 91 S.Ct. 1780, 29 L.Ed.2d 284 (1971). As relevant
       here, the First Amendment safeguards an individual's right to participate in the public
       debate through political expression and political association. See Buckley, 424 U.S., at
       15, 96 S.Ct. 612.”

127.   The Mayor also illegally didn’t intervene on my behalf by ordering NYPD John Doe1

3/18/19 to immediately get his hands off of me to enable me to lawfully complete the remainder

of my testimony in that 3/18/19 public hearing in the precise manner that I sought to testify.

128.   The Mayor never stated during the 3/18/19 public hearing that my playback of video

recordings in conjunction with my testimony couldn’t be accepted during that hearing. Instead,

he clearly expressed that he wasn’t sure about that at the same time that it was well-settled that

ignorance was no excuse for him nor anyone else to violate my rights. Moreover, the Mayor’s



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claim to me on 3/18/19 during his public hearing that he didn’t know about whether my playback

of video recordings in conjunction with my testimony could be accepted is thoroughly exposed

as baseless by the U.S. Supreme Court’s landmark decision in Goldberg v. Kelly, 397 U.S. 254,

90 S. Ct. 1011, 25 L. Ed. 2d 287 (1970) that addressed what is required of due process. In

Goldberg v. Kelly, the U.S. Supreme Court explicitly stated the following:

        a.      “The opportunity to be heard must be tailored to the capacities and circumstances
                of those who are to be heard.”

        b.      The hearing must be "at a meaningful time and in a meaningful manner."

        c.      "The fundamental requisite of due process of law is the opportunity to be heard."

129.    After I was illegally ejected from the Blue Room in City Hall on 3/18/19, my backpack

continued to be in it and I was illegally prevented from re-entering that room to retrieve that

property on my own. Instead, a member of the Mayor’s NYPD security detail collected it and

brought it to me as I stood just outside of that room. I believe that Defendant NYPD John Doe3

3/18/19 was the person who brought it to me then as he violated my Fourth Amendment, Fifth

Amendment, and Fourteenth Amendment rights that partly pertain to due process, equal

protection, discrimination, abuse of process, and selective-enforcement that corresponds to the

class-of-one legal theory that is based upon an illegitimate animus by illegally denying me my

right to lawfully retrieve my own property in that room without him nor anyone else touching it.

I certainly then regarded him, the Mayor, and every other member of the NYPD who was in the

Blue Room with me on 3/18/19 as total garbage largely because no member of the NYPD

performed his legal duty to intervene on my behalf against both the Mayor and Defendant NYPD

John Doe1 3/18/19 to uphold my constitutional rights to lawfully testify in and attend that

hearing for its entire duration.

130.    The illegal harassment that I experienced on 3/18/19 by both the Mayor and Defendant



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NYPD John Doe1 3/18/19 while I was in the Blue Room in City Hall wasn’t an isolated incident

of comparable harassment that involved both of them against me. The next screenshot is from the

elapsed time of 2 minutes and 10 seconds from the video clip of the video recording that I

recorded from the separate video recording that I was provided by the Mayor’s office that it

arranged to be recorded of the public resource fair meeting that the Mayor conducted on 7/18/17

in Kew Gardens in Queens. As a reminder, that video clip is available on the Internet at

https://drive.google.com/open?id=1-ZUN22r8q4qARLEbMk8FVg4KuLqfTtcc. This screenshot

clearly shows NYPD John Doe1 3/18/19 as he illegally and deliberately had his right hand on a

backpack that I wore as the Mayor was harassing me also by trying to touch me near my right

shoulder with his right hand while I was conducting myself in an entirely lawful manner in stark

contrast to both of them at the end of the conversation that I just had with the Mayor that

included a discussion about NTT and the fact that Defendant Redmond illegally prevented me

from attending the Mayor’s 4/27/17 town hall meeting. In this screenshot, I was deliberately

leaning backwards to engage in social-distancing from the Mayor while trying to avoid having

being touched by him then and needing to thereafter take an extra long shower to wash his filth

off of me. Through their actions against me that are shown in this screenshot, both the Mayor

and NYPD John Doe1 3/18/19 were then violating 18 U.S.C. §245(b)(5) by trying to intimidate

me in retaliation for what I publicly discussed with the Mayor then in front of censors in

journalism, Mr. Banks, and members of the public.




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131.    The next screenshot is from what appears in that same video at the elapsed time of 2

minutes and 12 seconds and clearly shows NYPD John Doe1 3/18/19 as he illegally continued to

have his right hand on my backpack as I was leaving the Mayor’s wretched company after his

father did.




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132.   The next screenshot is from what appears in that same video at the elapsed time of 2

minutes and 12 seconds and clearly shows NYPD John Doe1 3/18/19 as he illegally pushed me

away without any legal justification whatsoever as I continued to voluntarily leave the Mayor’s

wretched company and that of Mr. Banks, who also appears in this screenshot as he wore

eyeglasses and remained bald while Defendant Ramos was holding up the microphone that

appears in this screenshot.




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133.   On a related note, Defendant NYPD John Doe1 3/18/19 also violated the Handschu

Agreement in regards to me on 11/30/17 as he illegally conducted surveillance against me and

harassed me by doing so while subjecting me to illegal selective-enforcement and an abuse of

process as I lawfully conducted myself while I sat in a chair and attended the Mayor’s 11/30/17

town hall meeting from within the room in which it was conducted. The next screenshot is from

the elapsed time of 10 seconds within the video recording that I recorded with my laptop on

11/30/17 at 7:24 pm that has the filename of “town hall 11-30.mov” and is available on the




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Internet at https://drive.google.com/file/d/1yPXmVyjX2_-

80dQzak0HsU1byN2i65tE/view?usp=sharing. This screenshot clearly shows Defendant NYPD

John Doe1 3/18/19 watching how I was using my laptop as he stood behind me and to my right

while he was subjecting me to illegal surveillance. A diligent inspection of his eyes then confirm

that they were looking downwards in the direction of my laptop’s screen while I was calm and

conducting myself in a lawful manner. Defendant Ventri also appears in this screenshot as he

wore a suit and red tie. Defendant NYPD John Doe1 3/18/19’s illegal surveillance of me during

that town hall meeting occurred after Defendant Stribula illegally tried to prevent me from

attending that town hall meeting.




134.   At the elapsed time in the video from which the preceding screenshot was recorded, I was

engaged in clearly protected activity as I was typing something on my laptop that was in an early


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draft version of a complaint that I intended to thereafter file in litigation that I would commence

against Defendant City partly in response to illegal acts and omissions were committed against

me at public forums that the Mayor conducted since 4/27/17. The next screenshot is from a

screenshot that I took at 8:52 pm on 11/30/17 while I continued to work on that complaint while

attending the Mayor’s 11/30/17 town hall meeting.




135.   Furthermore, the specific information that I sought to lawfully testify about during the

Mayor’s 3/18/19 public hearing was also related to face-to-face conversations that I had with the

Mayor on 12/5/17 and 12/20/17 while I legally recorded those conversations on audio as I

attended the town hall meetings that he conducted on those dates. The following is a link to a

copy of the audio recording on the Internet that I recorded on 12/5/17 at 9:57 pm that has the

filename of “The Mayor on 12-5-17 at 9-57 pm_20171205 215741.m4a”:


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https://drive.google.com/file/d/1uNN5V0RYMkLp5qcFBgf8XNYGIo3g4Ggd/view?usp=sharin

g

136.   At the elapsed time of 4 minutes and 38 seconds in that recording, I’m heard as I talked

to the Mayor and said the following to him:

       “Mr. Banks lied to me at your last town hall.”

137.   That remark concerned a lie that Mr. Banks expressed to me on 11/30/17 as I talked with

him at the end of the town hall meeting that he conducted with the Mayor. Mr. Banks lied to me

then about a request that I made to the Mayor on 7/18/17 while I talked with him during the

public resource fair meeting that he conducted with Mr. Banks as I asked the Mayor then to have

Defendant City cancel all of its government contracts with NTT because NTT was continuing to

subject me to wage-theft that I had previously discussed with Mr. Banks. The Mayor is heard

lying to me in the audio recording that I just discussed and recorded during his 12/5/17 town hall

meeting as he stated the following to me to respond to the preceding remark that I made to him

about Mr. Banks’ dishonesty and NTT:

       “Brother, we’ve been over this a thousand times”.

138.   I would like this Court to order the Mayor to prove that he and Mr. Banks engaged in

activities “a thousand times” that were in response to my 7/18/17 request to have Defendant City

to cancel all of its government contracts with NTT by making him and identify every single time

that he and Mr. Banks engaged in such activities and explain in detail precisely what those

activities entailed. Since all of those contracts continue to be financed by taxpayers during the

ongoing Coronavirus pandemic while New Yorkers are struggling with the finances, granting

this specific request would befit the public’s interest in government transparency, accountability,

ethical procurement practices for services and goods, and not supporting organizations that




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commit wage-theft to end the Mayor’s unconscionable practice of keeping money in the wrong

hands that Scott Stringer has condoned. I previously talked with Mr. Stringer about this specific

issue on 4/6/17, 4/18/17, and 6/5/17 during town hall meetings that he conducted in Manhattan

and Brooklyn with others while those conversations were recorded on video. The following is a

screenshot from the elapsed time of 5 seconds in a video recording that I recorded of him on

4/18/17 at 7:54 pm that is available on the Internet at

https://drive.google.com/file/d/164mfbqJX0kueL8SDfeiaZ4_szKcoU2CJ/view?usp=sharing as I

talked with him in the Flatbush section in Brooklyn about that issue during a town hall meeting

that he conducted with Jumaane Williams and Eric Gonzalez who are now New York City’s

Public Advocate and the Brooklyn District Attorney, respectively.




139.   When I talked with him on 6/5/17 in lower Manhattan during a town hall meeting that he

conducted with New York City Councilwoman Carlina Rivera, he both acknowledged that he




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and had previously talked about that as he continued to stonewall me about matter as he made it

clear that he condoned the fact that Defendant City is keeping the government contracts that it

has with NTT. By doing so, he has firmly established that he neither supports labor rights nor

ethical procurement practices in regards to government contracts. The following is a link to a

copy of the video recording that I recorded of my conversation on 6/5/18 at 7:29 pm about that

matter during the town hall meeting that he conducted:

   https://drive.google.com/file/d/10ybFjNnThwig9CaUX1BdSsTIOjnDUgKD/view?usp=shari
   ng

140.   The next screenshot is following from what appears at the elapsed time of 42 seconds in

that video recording as I asked Mr. Stringer to tell me when he would allow New Yorkers to no

longer have to pay for the contracts that Defendant City has with NTT as NTT continued to

subject me to wage-theft that I previously apprised him about. The way that an elderly woman is

shown looking at me in that video as I asked Mr. Stringer that question leads me to believe that

certain New Yorkers certainly care about having their tax dollars used in a responsible manner

by government officials instead of allowing that funding to go to companies that continue to

commit wage-theft against military veterans during a pandemic.




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141.   While I talked with Mr. Stringer about that matter in April of 2017 and specifically asked

him if he would be willing to have Defendant City to cancel all of its government contracts with

organizations that commit wage-theft, he idiotically told me on 4/18/17 that Defendant City

would have no one to do business with instead of demonstrating leadership and ethics.

142.   The following is a link to a copy of the audio recording on the Internet that I recorded on

12/20/17 at 9:35 pm that has the filename of “Voice_20171220_213511.wav”:

https://drive.google.com/file/d/1EE9E4UMI5G5ur_YdPPizwcEzApmOx_zk/view?usp=sharing

143.   At the elapsed time of 3 minutes and 9 seconds in that recording, I’m heard as I talked to

the Mayor and said the following to him:


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       “We met on July 18th. You said that uh, Mr. Banks would do as he says. He hasn’t done

       that in 5 months.”

144.   The Mayor is then heard in that audio recording as he responded to me by saying the

following:

       “We’ve been over it a couple times. I don’t know why you keep coming back.”

       [inaudible]

       “I’ve raised it to him. He’s looked at it. He’s given you an answer. I’m sorry. We’re
       done. Stop coming back.”

145.   Immediately after the Mayor stated the preceding remarks to me in that audio recording,

I’m heard in it as I stated the following in order to him and Defendant Carrion who was also

nearby:

       a.     “First Amendment, Sir.” That remark was addressed to the Mayor to emphatically

              point out to him that I had a First Amendment right to attend all public forums

              that he conducted and was in direct response to how he had just tried to illegally

              intimidate me by directing me to stop attending public forums that he conducted.

       b.     “So that was Bill de Blasio lying to me, um…” I said that to identify the Mayor as

              the person who had just talked with.

       c.     “See? This is what happens. He just lied to me…again.” These remarks were

              directed to Defendant Carrion as he stood nearby and Mr. Carrion is heard saying

              “Okay” to me in response.

       d.     “I’ll talk to the reporters.” This remark was also to Defendant Carrion.

       e.     “He also told me to stop coming back, so that’s, um…intimidation right there.”

              Mr. Carrion is heard saying “Okay” to me in response.

146.   Coincidentally, Defendants Redmond, Ringel, Miller, Carrion, NYPD Detective



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Christopher Fowler, and another member of the Mayor’s NYPD security detail illegally

subjected members of the public to First Amendment retaliation near where I sat during the

Mayor’s 12/20/17 town hall meeting as I recorded that on video at 7:48 pm then. That occurred

while the Fourteenth Amendment due process and equal protection rights of those people as well

as their right to not be subjected to selective-enforcement and discrimination were flagrantly

violated as a result by being illegally coerced leave that town hall. With respect to information

that I discussed earlier in this complaint about the Mayor’s 9/28/17 town hall meeting, that

occurred meeting less than 3 months after Defendant Redmond, other members of the Mayor’s

NYPD security detail, and members of the Mayor’s staff let a fantastic Black woman to a) steal

the stage from the Mayor during his 9/28/17 town hall as she similarly shouted and marched to

the center of the room in which that town hall meeting was conducted as it was conducted and b)

continue to attend that town hall meeting for another 30 minutes in spite of her behavior at that

town hall that was very comparable to the behavior of the people who were illegally ejected from

the Mayor’s 12/20/17 town hall. Those who illegally caused the people to be ejected from the

Mayor’s 12/20/17 town hall also violated my rights pursuant to the First Amendment and

Fourteenth Amendment that pertain to due process and equal protection to have been able to

continue to hear the views that those people sought to continue to express during that 12/20/17

town hall as boisterously as the fantastic Black woman from the Mayor’s 9/28/17 town hall had

been permitted to. A copy of the video recording that I recorded at 7:48 pm on 12/20/17 during

the Mayor’s 12/20/17 town hall is available on the Internet at

https://drive.google.com/file/d/1D9wIPRjvdcz7wMhedaqtd_XIrFP8yCby/view?usp=sharing.

The people who were illegally ejected from that town hall meeting are shown and heard

expressing their views at the beginning of that video recording and I’m shown giving them a




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thumbs-up sign at the elapsed time of 13 seconds in that video. Defendant Ringel is shown at the

elapsed time of 2 seconds in that video as he harassed them. The next screenshot is from the

elapsed time of 30 seconds in that video and shows Defendant Ringel, an unknown male member

of the Mayor’s NYPD security detail, NYPD Christopher Fowler of the Mayor’s NYPD security

detail, Defendant Redmond, and Defendant Carrion as they harassed the members of the public

who were illegally ejected from that town hall in an area where a video security camera was

installed on a wall.




147.    New York City Councilwoman Laurie Cumbo was the moderator for the Mayor’s

12/20/17 town hall meeting and condoned the fact that people were illegally ejected from that

public forum. She is also presently contending with a lawsuit that was commenced on 6/1/20



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against her and others by a woman named Sakia Fletcher that corresponds to the case of Fletcher

v. Medgar Evers College, No. 20-cv-4163(VEC)(S.D.N.Y.). That lawsuit partly concerns

allegations that Ms. Cumbo illegally subjected Ms. Fletcher to First Amendment retaliation after

Ms. Fletcher spoke out against Ms. Cumbo during a public forum.

148.   The discussion that follows pertains to patently illegal selective-enforcement,

discrimination, and abuse of process that was committed against me on 3/18/19 by members of

the Mayor’s NYPD security detail and other members of the NYPD immediately after I was

illegally ejected from the Mayor’s 3/18/19 public hearing by comparing that experience to the

fact that members of the Mayor’s NYPD security detail and other members of the NYPD

allowed activists and members of the City Council to conduct a sit-in protest on 12/11/18 inside

of City Hall’s building while blocking the flow of pedestrian traffic.

149.   At 2:45 pm on 12/11/18, a Twitter posting was posted on the Internet at

https://twitter.com/katie_honan/status/1072578252479348739 by a Twitter account that is

registered to a journalist named Katie Honan who works for the Wall Street Journal. That Twitter

account has the username of “@katie_honan”. That Twitter posting included the following

remark and a video recording that shows Defendant Gerola in it as he stood in public area on the

first floor in City Hall’s building while activists sat on the ground nearby while conducting a sit-

in protest as they clearly blocked passageways in public areas in that building near its main

entrance:

       “Advocates demanding 30,000 units for homeless New Yorkers inside City Hall. No sign
       of @NYCMayor here.”

150.   The next screenshot is from the video recording in that Twitter posting that most likely

was recorded on that date and shortly before that Twitter posting was posted on the Internet.

Defendant Gerola is clearly shown as the first person on the left in it who was then standing. And



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doing absolutely nothing to eject those who were obstructing public areas in City Hall’s building

in an area that is near the Blue Room in City Hall before I was illegally ejected from both City

Hall and City Hall’s entire property on 3/18/19 while I was illegally subjected to selective-

enforcement, abuse of process, discrimination, and flagrant violations of my due process, ad

equal protection rights by comparison to those who were permitted by Defendant Gerola and

other members of the NYPD on 12/11/18 to obstruct passageways in City Hall’s building while

being disruptive in that way.




151.   At 3:09 pm on 12/11/18, a Twitter posting was posted on the Internet at




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https://twitter.com/JustinBrannan/status/1072584066741035009 by a Twitter account that is

registered to New York City Councilman Justin Brannan. That Twitter account has the username

of “@JustinBrannan”. That Twitter posting included the following remark to point out that

people were illegally blocking all exit doors in City Hall as well as a photograph that appeared to

confirm that at least the main exit in City Hall was then blocked in an area where there are video

security cameras installed that are controlled by the NYPD:

       “Current situation: @VOCALNewYork blocks all exit doors at City Hall chanting "we
       need 30,000 units to house the homeless!" They're not wrong.”

152.   On 12/11/18, the New York Daily News published a news article on the Internet at

https://www.nydailynews.com/news/politics/ny-pol-city-hall-protest-no-arrests-20181211-

story.html that was written by Jillian Jorgensen and is entitled “Police are Hands-Off at City Hall

Sit-In Protest Demanding Housing for the Homeless” about the protest that was conducted in

City Hall on that date that I just discussed. The following is a relevant excerpt from that news

article that addressed the elephant in the room about that protest in regards to the issue of illegal

selective-enforcement by the NYPD of applicable law:

       “What’s a city councilman have to do to get arrested in this town?

       City Council members and advocates for the homeless demonstrated for more than an
       hour at City Hall Tuesday, blocking doorways in an effort to be arrested that was
       ultimately unsuccessful.”

153.   Given that those people were permitted by the NYPD to conduct a peaceful protest inside

of City Hall then that was disruptive to others who may have sought to be able to freely enter and

exit City Hall through its main entrance without encountering any obstructions, it cannot be

credibly claimed that any legitimate justification existed for members of the NYPD to interfere

with my efforts to have both a) testified to the Mayor on 3/18/19 during the his public hearing in

City Hall’s Blue Room on that date and b) remain in City Hall and otherwise on City Hall’s



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property after I was illegally ejected from that public hearing with the Mayor. Quite to the

contrary, I had a clear First Amendment and Fourteenth Amendment due process and equal

protection right with respect to those who protested in City Hall on 12/11/18 that I just discussed

to testify in the Mayor’s 3/18/19 public hearing without any interference and to remain in City

Hall’s building and on its grounds on that date after I was illegally ejected from that hearing.

154.   What follows is a discussion about how the defendants in this action illegally ejected me

from City Hall’s building and its property on 3/18/19 after I was then illegally ejected from the

Blue Room as well as how those defendants also illegally harassed, stalked, and assaulted as that

occurred. On 3/18/19, shortly after I was ejected from the Blue Room and was handed my

backpack by NYPD John Doe3 3/18/19 in the immediate area located directly outside of that

room, I met Defendant Gungor in that area and he began to escort me out of City Hall. As we

walked toward its main exit, I noticed Defendant Carrion as he descended a set of stairs that were

located to my right from the second floor in City Hall. I then told him that had just been illegally

ejected from the Blue Room and that I was being illegally coerced to leave City Hall by the

NYPD. He responded by telling me that there was nothing that he could do about that and that

was a NYPD issue. Mr. Gungor and I then exited City Hall through its main entrance. Defendant

Gungor and I began to be recorded on video at the elapsed time of 54 minutes and 11 seconds by

the video recording that has the filename of “Aerial view of entrance to City Hall from Park Row

on 3-18-19_7.26183 - Park RowCITYHALL-C114-EXT-City Hall Plaza PTZ (26118).mp4” that

I briefly discussed earlier in this complaint and will hereinafter refer to as “3/18/19 aerial video”.

Mr. Gungor and I are shown at that point in that video as we exited City Hall through its main

exit while I wore a white sweat and Mr. Gungor wore a dark jacket. Defendants NYPD John

Doe2 3/18/19 and Defendant Dwyer quickly followed us outside through that same exit.




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155.    The next screenshot shows what appears in a magnified version of 3/18/19 aerial video

at the elapsed time of 54 minutes and 20 seconds. Defendant Gungor, myself, and Defendants

NYPD John Doe2 3/18/19 and Defendant Dwyer appear in it from left to right in front of the

entrance to City Hall’s building.




156.    The next screenshot shows what appears in a magnified version of 3/18/19 aerial video at

the elapsed time of 54 minutes and 27 seconds. Defendant Gungor and I appear in it as we stood

near the flagpole that is located in front of City Hall’s building and I was mostly obscured from

view by that flagpole as I began to record a video recording with my cellphone of Mr. Gungor

that I will discuss next.




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157.   The video recording that has the filename of “IMG_8277.MOV” that I began recording at

5:04 pm on 3/18/19 that I briefly discussed earlier in this complaint recorded some of my

interactions with the defendants who were personally involved in causing me to be illegally

ejected from City Hall’s grounds after I exited City Hall’s building on 3/18/19 and otherwise

illegally didn’t intervene on my behalf against other members of the NYPD as I was then being

illegally ejected from City Hall’s grounds, harassed, stalked, assaulted, and subjected to attempts

to intimidate me for that purpose in flagrant violation of my constitutional rights and other

applicable laws. The next screenshot shows what appears in that video of 6 seconds and shows

Defendant Gungor as he raised his left hand while appearing to be friendly in spite of the fact

that he was then actually illegally coercing me to leave City Hall’s grounds while I was

continuing to conduct myself in an entirely lawful manner in stark contrast to him, other

members of the NYPD nearby who were illegally condoning the fact that I was being coerced to

leave City Hall’s grounds, and the Mayor.




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158.   At the elapsed time of 8 seconds in that video, I’m clearly heard asking Mr. Gungor to

provide me his name. He ignored my request in response and instead chose to focus on

continuing to illegally coerce me to leave City Hall’s grounds through its exit by Park Row. The

next screenshot is from the elapsed time of 13 seconds in that video and shows Defendant NYPD

John Doe2 3/18/19 on the left and Defendant Dwyer on the right as he stood behind a pillar near

the main entrance to City Hall’s building as they illegally didn’t intervene on my behalf to

uphold my constitutional right to remain on City Hall’s grounds and to be accorded proper due

process in regards to the decision that was made to illegally eject me from the Blue Room in City

Hall, City Hall’s building, and City Hall’s entire property.




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159.   At the elapsed time of 22 seconds in that video, I’m heard providing narration for it as I

made remarks that I addressed to U.S. District Judge Lorna Schofield. She is assigned to K1. In

those remarks, I explained that I just tried to testify in the Mayor’s 3/18/19 public hearing and

that I was illegally ejected from it after I was illegally assaulted by a member of the Mayor’s

NYPD security detail as I testified in it. I was then referring to Defendant NYPD John Doe1

3/18/19 as the person who assaulted me during that hearing. I also then stated in that video that

Mr. Gungor was Defendant NYPD John Doe1 3/18/19’s supervisor. At the elapsed time of 37

seconds in that video, I’m heard stating that though I asked for the identities of the members of

the NYPD who were personally involved in assaulting me in the Blue Room on that date and

coercing me to leave City Hall, my requests were not being complied with. Mr. Gungor is then

shown and heard at the elapsed time of 42 seconds in that video as he told me that he would give

me all of his information of that nature that I had requested. At the elapsed time of 1 minute in

that video, Defendant Gungor is shown raising his left hand again to again acknowledge that he


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was then Defendant NYPD John Doe1 3/18/19’s supervisor. He did so in response to additional

narration that I just provided for that video as I explained that immediately after I was assaulted

by Defendant NYPD John Doe1 3/18/19 in the Blue Room and ejected from it, I asked to talk

with his supervisor and =promptly met Mr. Gungor as a result. Defendant Gungor identified first

himself as “Sergeant Gungor” at the elapsed time of 1 minute and 2 seconds in that video. After I

then immediately asked for his NYPD badge number, he ignored that request and instead told me

that he would provide me that information later. At the elapsed time of 1 minute and 14 seconds

in that video, I then asked Mr. Gungor to explain to Judge Schofield through that video why I

was escorted out of the Mayor’s 3/18/19 public hearing. In response, he is shown and clearly

heard lying to me at the elapsed time of 1 minute and 28 seconds by fraudulently claiming that

the Mayor’s 3/18/19 public hearing was just a bill signing instead of being the actual public

hearing that it was in which members of the public were legally entitled to testify about proposed

legislation that was on the agenda for discussion during that hearing. The next screenshot shows

Mr. Gungor as he lied about that.




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160.   . The next screenshot shows Defendant Barker and Mr. Gungor at the elapsed time of 1

minute and 34 seconds as Mr. Gungor and I approached the security screening area that has a

metal detector machine in it and is closest to the Park Row exit for City Hall as Mr. Barker stood

near that screening area.




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161.   . The next screenshot shows Defendant Klein on the left as he wore a blue tie and padded

dark jacket and Defendant Gungor’s left arm on the right at the elapsed time of 1 minute and 34

seconds as I asked Mr. Klein if he was Mr. Gungor’s supervisor. Mr. Gungor then immediately

told me that he was the boss instead of other people in that area. At the elapsed time of 1 minute

and 41 seconds in that video, Mr. Gungor suddenly came far too close to me to try to intimidate

me for no reason whatsoever while I continued to conduct myself in an entirely lawful manner as

I then immediately him who his supervisor was. He then began to tell me that Defendant

Redmond was his supervisor as he continued to illegally try to intimidate me in order to coerce

me to leave City Hall’s grounds faster than I was then doing as I was instead focused on


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diligently gathering relevant information to use for subsequent litigation against him and others

for what was continuing to occur then. At the elapsed time of 1 minute and 44 seconds in that

video, I’m clearly heard ordering Mr. Gungor to not put his hands on me after he just illegally

did so. In response, he ignored what I just and illegally put his hands on me again without any

legal justification. That prompted me to order him to get his damn hands off of me. After then

told me that he would give me a business card of his that had his NYPD identification

information shown on it, I pointed out that that didn’t’ give him any ground whatsoever to have

put his hands on me then. At the elapsed time of 1 minute and 53 seconds in that video, I’m

heard asking Defendant Klein why he also put his hands on me after he did so while I was

lawfully walking toward the Park Row exit of City Hall as he also stalked me toward that area.

The next screenshot is from the elapsed time of 1 minute and 58 seconds in that video as Mr.

Klein lied by claiming that he didn’t put his hands on me. He absolutely did so and that was

assault against me that I immediately regarded as offensive physical contact with my body.




162.   The next screenshot is also from the elapsed time of 1 minute and 58 seconds in that

video and shows Mr. Klein’s face as he again lied by claiming that he didn’t put his hands on


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me.




163.   The next screenshot is from the elapsed time of 1 minute and 59 seconds in that video

and shows Mr. Klein’s face as I asked him what his name was. In response, he immediate told

me, ‘I’m not telling you my name.”




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164.   By refusing to tell me his name then, Mr. Klein flagrantly violated my First Amendment

right to be immediately apprised of that information. He also engaged in obstruction of justice by

doing so. I sought that information to report a valid complaint against him and to commence

valid litigation against him. At that time, he and Defendant Gungor were acting in concert

against me as they violated all of the following through their illegal acts against me as they

coerced me to leave City Hall’s grounds:

       a. 18 U.S.C. §245(b)(5), 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42

           U.S.C. §1985, 42 U.S.C. §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §240.65, NYPL §175.25, NYPL §120.45,


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           NYPL §215.10, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

           Fourteenth Amendment, New York State’s Open Meetings Law,

       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. Their oath of office as members of the NYPD.

       g. The findings from People v. Howard that I discussed earlier in this complaint.

165.   The next screenshot is from the elapsed time of 2 minute and 02 seconds in that video

and shows Mr. Klein’s chest as he began illegally assaulting me by pushing me toward the exity

of City Hall by Park Row as I was asking him if he was a member of the NYPD because he

wasn’t wearing a NYPD uniform and didn’t have any NYPD badge displayed. As I asked him

that, my remark suddenly was cut short because he illegally assaulted me by pushing me in my

chest that caused my speech to be disrupted. I genuinely regret not having immediately used that

opportunity to engage in legal self-defense against him by breaking both his arms and legs that

he was then using to push me with. I really should have done so. If I hadn’t believed that he was

armed with a gun and that other members of the NYPD would shoot me if I tried to legally do so,

it’s entirely conceivable that I may have otherwise then done so. However, my experience with

the NYPD’s criminal mob is that its gang-members are scared of having a fair fight when they

illegally instigate such confrontations and provide entirely valid grounds for people to legally

engage in self-defense against that criminal and Nazi mob that is disguised as law-enforcement

every single day instead of just Halloween.




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166.   The next screenshot is from the elapsed time of 2 minute and 04 seconds in that video

and shows the zipper for the jacket that Mr. Klein was wearing as he continued to criminally

assault me by illegally pushing me as I clearly ordered him to get off of me.




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167.   The next screenshot is from the elapsed time of 2 minute and 05 seconds in that video

and shows the zipper for the jacket that Mr. Klein was wearing as well as the collar of his white

shirt as he continued to criminally assault me that caused me to stutter as I spoke to provide

further narration for that video while I then directed my remarks to Judge Schofield as I pointed

out that Mr. Klein was then illegally assaulting me.




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168.   The next screenshot is from the elapsed time of 2 minute and 07 seconds in that video

and shows a close-up of Mr. Klein’s face as he continued to criminally assault me by pushing me

while I was continuing to conduct myself in an entirely lawful manner in contrast to him and

other members of the NYPD who were then nearby and illegally made no attempt to intervene on

my behalf against him while they had a legal duty and realistic opportunity to have done so to

end Mr. Klein’s abuse that was violating my Fourth Amendment rights among other things. Mr.



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Klein was so close to me then that a reflection of me is seen in his left eye in this screenshot.




169.   At the elapsed time of 2 minutes and 10 seconds in that video, NYPD John Doe4 3/18/19

stood just to the right of Defendant Klein as I was clearly heard in that video as I stated that Mr.

Klein was continuing to push me in spite of the fact that I was trying to leave City Hall’s

grounds. Defendant NYPD John Doe4 3/18/19 illegally made no attempt to intervene on my


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behalf against Mr. Klein to get him to stop assaulting me by pushing me. The specific remark

that I then said about that was the following:

       “I’m trying to leave and you’re pushing me.”

170.   At the elapsed time of 2 minutes and 12 seconds in that video, Defendant Klein is shown

and heard as he said, “Get out of the way” to me.

171.   The next screenshot is from the elapsed time of 2 minute and 13 seconds in that video

and shows Defendant Klein’s right arm as he then illegally used it to put his right hand on my

body again and assaulted me as he did so by virtue of the fact that I immediately regarded that as

offensive physical contact and I had previously ordered him not to touch me. NYPD John Doe4

3/18/19 was then still standing to Mr. Klein’s right and still illegally refused to intervene on my

behalf against Mr. Klein. Mr. Klein’s right arm is shown in this screenshot at the top as it was

then raised and extended toward the left side of my body. NYPD John Doe4’s left arm and hand

appear lowered in this screenshot. I’m heard then in that video as I stated, “Get the fuck off me”

to Defendant Klein.




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172.   The next screenshot is also from the elapsed time of 2 minute and 13 seconds in that



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video and shows Defendant NYPD John Doe4 3/18/19’s chest as he continued to be Defendant

Klein’s criminal accomplice as he joined him in trying to illegally intimidate me to coerce me to

leave City Hall’s grounds without any valid legal justification. The area outside of City Hall’s

main building is a public forums where people frequently gather to conduct public press

conferences, hold rallies, and otherwise have informal conversations with New York City

government officials as they enter and exit City Hall’s building. I had a First Amendment and

Fourteenth Amendment right then to lawfully exercise my First Amendment right to assemble

directly in front of the main steps to City Hall then largely to see if I would cross paths with a

member of the City Council and/or a reporter to whom I could engage in protected

whistleblowing about the illegal acts and omissions that were being perpetrated against me on

that date by the Mayor and members of the NYPD. I certainly sought to then do so and was

illegally prevented from doing so.




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173.   Through his illegal acts and omissions against me then, Defendant NYPD John Doe4

3/18/19 violated all of the following:

       a. 18 U.S.C. §245(b)(5), 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42

           U.S.C. §1985, 42 U.S.C. §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §120.45, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

           and Fourteenth Amendment.




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       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. His oath of office as a member of the NYPD.

       g. Findings in People v. Howard that I discussed earlier in this complaint.

174.   The next screenshot is also from the elapsed time of 2 minute and 20 seconds in that

video and shows Defendant Dwyer and Defendant NYPD John Doe2 3/18/19 in the distance as

they walked toward where I then was. However, they certainly weren’t then doing so to try to

intervene on my behalf. They were instead then doing so to make certain that I immediately left

City Hall’s grounds. Defendant Dwyer appears on the left and Defendant NYPD John Doe2

3/18/19 appears on the right. Both of them then faced me.




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175.   As a result of their illegal omissions against me then as they acted in concert with

Defendant Klein, Defendants Dwyer and NYPD John Doe2 3/18/19 violated all of the following:

       a. 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42 U.S.C. §1985, 42 U.S.C.

           §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §120.45, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

           and Fourteenth Amendment.

       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. Their oaths of office as members of the NYPD.

       g. Findings in People v. Howard that I discussed earlier in this complaint.

176.   The next screenshot is from the elapsed time of 2 minute and 32 seconds in that video

and shows an unknown woman as she stood near the NYPD guardhouse that is located just

inside of the entrance to City Hall by Park Row after I just exited City Hall’s grounds. I had just

asked Mr. Klein why I hadn’t received a business card that Defendant Gungor had previously

told me he would give to me that contained his NYPD identification information on it. The

relevance that this unknown woman has in this complaint pertains to the fact that Defendant

Klein and Defendant NYPD John Doe4 3/18/19 were among other NYPD defendants who

illegally caused me embarrassment as a result of imposing a stigma on me by virtue of the fact

that their illegal acts and omissions against me then occurred in full view of the public that likely

let this woman and other members of the public to erroneously assume that I had done something

wrong and was conducting myself in some disorderly and/or unlawful way to have justified that

treatment in spite of the fact that members of the NYPD then were instead committing acts as




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thugs while violating my constitutional rights and other applicable laws. I certainly suffered

entirely undue and substantial reputational harm, humiliation, justifiable anger as a direct result

of the illegal acts and omissions that the Mayor and NYPD defendants who my 3/18/19 claims

involve committed against me on 3/18/19 while they were in my presence and otherwise in my

line of sight while they had a legal and/or inherent ethical and/or affirmative duty to intervene on

my behalf and did not do so.




177.   The next screenshot is from the elapsed time of 2 minute and 34 seconds in that video

and shows Defendant NYPD John Doe5 3/18/19 on the left. His presence there then confirms

that he had just been nearby as Defendants Klein and NYPD John Doe4 3/18/19 were illegally



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coercing me to leave City Hall’s grounds without a legal justification.




178.   Defendant NYPD John Doe5 3/18/19 had a legal duty to have intervened on my behalf

then to uphold my constitutional rights that largely pertain to my First Amendment right to

lawfully assemble and my Fourteenth Amendment due process and equal protection rights.

However, he illegally made no effort to intervene on my behalf because he was acting in concert

with them through his failure to act on my behalf. As a result, he is also liable for having violated

all of the following in regards to me and the fact that I was illegally coerced to leave City Hall’s

grounds:

       a. 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42 U.S.C. §1985, 42 U.S.C.

           §1986.



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       b. NYPL §240.20, NYPL §240.26, NYPL §120.45, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

          and Fourteenth Amendment.

       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. His oath as a member of the NYPD.

       g. Findings in People v. Howard that I discussed earlier in this complaint.

179.   The next screenshot is from the elapsed time of 2 minute and 35 seconds in that video

and shows Defendant Barker on the right as he wore a NYPD uniform that included a hat as he

then stood to the right of Defendant NYPD John Doe4 3/18/19.




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180.   For the same reasons that I just discussed about Defendant NYPD John Doe5 3/18/19,

Defendant Barker is also liable for having violated all of the following in regards to me and the

fact that I was illegally coerced to leave City Hall’s grounds:

       a. 18 U.S.C. §241, 18 U.S.C. §1513(e), 18 U.S.C. §242, 42 U.S.C. §1985, 42 U.S.C.

           §1986.

       b. NYPL §240.20, NYPL §240.26, NYPL §120.45, CPL §140.50.

       c. My rights pursuant to the First Amendment, Fourth Amendment, Fifth Amendment,

           and Fourteenth Amendment.


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       d. New York State General Business Law §349.

       e. New York City Charter §1116 and New York City Charter Section §435(a).

       f. His oath as a member of the NYPD.

       g. Findings in People v. Howard that I discussed earlier in this complaint.

181.   The next screenshot is from the elapsed time of 2 minute and 36 seconds in that video

and shows Defendant NYPD John Doe2 3/18/19 on the left in the distance as Defendant NYPD

John Doe5 3/18/19 stood much closer to where I then was and faced me while Defendant NYPD

John Doe4 3/18/19 also stood nearby as his back was turned to me.




182.   The next screenshot is from the elapsed time of 2 minute and 39 seconds in that video

and shows Defendant Klein as he wore an earpiece near his left ear that security personnel use

that likely also enabled him to have conducted a diligent and timely investigation to objectively



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determine whether I had committed any illegal act to have justified having been ejected from the

Blue Room, City Hall’s building, and City Hall’s grounds instead of assuming that I had done so

based on how others were treating me. He had the opportunity to ask to immediately see all

relevant video security camera recordings in conjunction with such an objective investigation.

However, he didn’t make any attempt to conduct an investigation about that and instead

exacerbated matters by criminally assaulting me and illegally refusing to identity himself to me.




183.   All remarks that I made to Mr. Klein and other members of the NYPD as I was being

illegally coerced to leave City Hall’s grounds on 3/18/19 were in the context of making entirely

valid complaints to them about how they were committing illegal acts and omissions against me



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and was therefore protected speech as per findings that were issued in Barboza v. D'Agata, 151

F. Supp. 3d 363 (S.D.N.Y. 2015). The following is a relevant excerpt from Doe v. City of New

York, No. 18-cv-670 (ARR)(JO) (E.D.N.Y. Jan. 9, 2020) that also concerns that matter:

   "Finally, "[t]he right to criticize public officials is at the heart of the First Amendment's right
   of free speech." Kaluczky v. City of White Plains, 57 F.3d 202, 210 (2d Cir. 1995) (citing
   N.Y. Times Co. v. Sullivan, 376 U.S. 254, 282 (1964)). Indeed, the "right to criticize the
   police without reprisal" is "clearly" an "interest protected by the First Amendment," Kerman
   v. City of New York, 261 F.3d 229, 241-42 (2d Cir. 2001), as "[t]he First Amendment protects
   a significant amount of verbal criticism and challenge directed at police officers[,]" id. at 242
   (quoting City of Houston v. Hill, 482 U.S. 451, 461 (1987)). Thus, on summary judgment, the
   Second Circuit has held that a plaintiff established a First Amendment retaliation claim when
   he proffered facts showing that police officers retaliated against him for making derogatory
   comments to the officers and for threatening to sue them. Kerman, 261 F.3d at 241-42.[3]"

184.   The next screenshot is from the elapsed time of 2 minute and 40 seconds in the video

recording that I have been discussing and shows Defendants Barker and Klein from left to right

as it clearly also shows that Defendant Barker was then armed with a gun that appears near his

right hip. I’m heard at that point in that video providing narration in which my remarks were

addressed to Judge Schofield as I pointed out that Defendant Klein had assaulted me. It’s my

view that Defendant Barker should have used his gun to perform his legal duty to have

intervened on my behalf against Defendant Klein by shooting Mr. Klein’s legs to get him on the

ground and end his assaults against me before allowing me to walk back to the area in front of

City Hall’s building by its main entrance and step on Mr. Klein’s hands, arms, and legs in the

specific areas where he would have just been shot by Defendant Barker.




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185.   The next screenshot is from the elapsed time of 2 minute and 42 seconds in that same

video and shows Defendant Barker looking at me as he stood in front of Defendant Klein while

roughly 5 people are shown in the background as they were then on the steps of City Hall in

front of the main entrance to that building with whom I had a First Amendment and Fourteenth

Amendment right to try to lawfully then engage protected whistleblowing and expressive

association in that specific area about the illegal acts and omissions that were committed against


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me by the Mayor and members of the NYPD at City Hall. This means that Defendants Barker,

Klein, and the other members of the NYPD that I have been discussing illegally chilled my First

Amendment protected speech in regards to my ability to have then talked with those people in

that specific area to illegally cover-up their illegal acts and omissions against me on that date.




186.   At the elapsed time of 2 minutes and 47 seconds in that video, I’m clearly heard stating

that there would be a public hearing on 3/19/19 that would be conducted by the City Council’s

Committee on Public Safety. That committee is responsible with others for providing proper

oversight of how the NYPD operates and I intended to testify in that hearing against the NYPD.


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Here is another screenshot of Defendant Barker from that elapsed time in that video as his NYPD

badge is clearly shown.




187.    At the elapsed time of 2 minutes and 52 seconds in that video, I’m clearly heard telling

someone nearby who isn’t shown in that video that I was just illegally coerced to leave City

Hall’s property after I was illegally ejected from the Mayor’s 3/18/19 public hearing in which I

briefly testified.

188.    The next screenshot is from the elapsed time of 3 minute and 11 seconds in that same


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video and shows the NYPD guardhouse on the left that is located just inside of the Park Row

entrance to City Hall and several people in the background that includes someone who was

walking in my direction and appeared to be holding something in his left hand as he had a jacket

open that he was wearing. I was about to have a brief conversation with that person where I then

stood.




189.     The next screenshot is from the elapsed time of 3 minute and 20 seconds in that same

video and shows Defendant Gungor as he approached me while holding a business card in his

left hand to give to me.


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190.   The next screenshot is of a scanned copy of the business card that he gave me on which

he crossed out some information that was printed on it.




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191.   The information on that business card indicates that he was a sergeant in the NYPD and

assigned to the NYPD’s Executive Protection Unit that has been the subject of numerous

lawsuits largely thanks to Defendant Redmond being a defendant in them. Mr. Gungor crossed

out information on that business card that appears to indicate the following:

       a.      His office telephone number then was 212-696-6069.

       b.      His cell phone number then was 347-855-8680.

       c.      His fax number then began with 212-233-5 while the last number was 8.

       d.      E-mail addresses that he then used were a) Jgungor@cityhall.nyc.gov and

               b) Jemal.Gungor@nypd.org.

192.   At the elapsed time of 3 minutes and 23 seconds in that video, I’m heard telling Mr.

Gungor as he gave me his business card that Defendant Klein illegally put his hands on me again

after Mr. Gungor walked away from where Mr. Klein and I were. I then asked Mr. Gungor to

provide me Mr. Klein’s name. Mr. Gungor illegally withheld that information from me in

violation of my First Amendment rights. The CCRB later identified Mr. Klein for me instead. In


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that same conversation that I had with Mr. Gungor then, he lied to me by telling me that

whatever information I then needed about my interactions with the NYPD on 3/18/19 at City

Hall was on the business card that he just handed to me. However, that business card only has

information about Mr. Gungor on it instead of also having information about other members of

the NYPD.

193.    The next screenshot is from the elapsed time of 3 minute and 31 seconds in that same

video and shows Defendant Gungor as he walked away from me without having identified

Defendant Klein to me to try to illegally prevent me from being able to have Mr. Klein held

properly responsible for the illegal acts and omissions that he committed against me on that date

at City hall.




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194.     The next screenshot is from the elapsed time of 3 minute and 33 seconds in that same

video and shows a man that I briefly discussed earlier in this complaint. I talked with him then as

I continued to stand just outside of City Hall’s entrance by Park Row. I then asked him if he

worked for the Mayor’s office. He told me that he did and that he worked for a division of it that

is known as the “Mayor’s Advance”.




195.     I’m heard in that video at the elapsed time of 3 minutes and 43 seconds as I asked him

that if the Mayor conducts a public hearing, do members of the public have a right to testify in it.

He told me that wasn’t a question that he could answer because it was above his pay grade and

that he wasn’t sure how that worked. That video recording ended shortly after that conversation

ended.

196.     Shortly after that video ended, I walked to the area by the Broadway entrance to City Hall

to try to have an opportunity to talk with journalists, members of the City Council, and others


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who had been in the Blue Room in City Hall while I was in it on that date that I might cross

paths with as they then entered or exited City Hall near where I then was. I sought to talk with

them about the illegal acts and omissions that were committed against me by the Mayor and

NYPD on that date at City Hall. While I was in that area between 4:10 pm and 6 pm on 3/18/19,

I happened to cross paths with New York City Councilman Ritchie Torres on that sidewalk near

that entrance to City Hall in an area where there are video security cameras that are controlled by

the NYPD that record the area where we then stood. I also talked with a man named Daniel D.

Brownell who was in the Blue Room in City Hall while I was in it on 3/18/19. I also talked with

Paul Ochoa of the Mayor’s staff and NYPD Officer Ocasio-Torres (badge # 5886) while she was

assigned to the NYPD guardhouse that is located just inside of the Broadway entrance to City

Hall. I talked with all of them then about the fact that I was illegally ejected from the Mayor’s

3/18/19 public hearing as I lawfully conducted myself during it, I attempted to testify in that

hearing and the Mayor and a member of the Mayor’s NYPD security detail illegally disrupted

my testimony, and that I was then illegally coerced to leave both City Hall’s building and City

Hall’s property by members of the NYPD.

197.   When I talked with Mr. Torres about that then, I clearly asked him about what he could

do about that largely because he was the chairman of the City Council’s Committee on Oversight

and he had previously introduced legislation about NYPD reforms. He told me then that he really

couldn’t do anything about that because what happened to me on that date was limited to me

instead of being what he regarded as a systemic problem. By refusing to intervene on my behalf

then, Mr. Torres clearly established that he is not a leader and shies away from performing his

duties as a public servant and lawmaker in situations when he is presented with a meaningful

opportunity to intervene to address major abuses of power by the Mayor and the NYPD that




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violate fundamental constitutional rights in public forums and other applicable laws.


Facts about spoliation of video recording evidence by the NYPD concerning my 3/18/19

claims Mayor’s 3/18/19 town hall:

198.   Although I thereafter submitted a timely FOIL demand to the NYPD on 3/18/19 to

provide me video recordings that were recorded by video security cameras that it controls that

would have otherwise caused me to be provided with a video recording that was recorded by one

or more video security cameras of my interactions with Mr. Torres while he and I talked on

3/18/19 after 4:30 pm on the sidewalk near City Hall’s Broadway entrance, the NYPD illegally

withheld those video recordings from me in flagrant violation of my rights pursuant to the First

Amendment, Fifth Amendment, and Fourteenth Amendment as well as FOIL. Defendant City

has had a legal duty to have preserved those video recordings because they were related to the

illegal acts and omissions that were committed against me on 3/18/19 by the Mayor and other

members of the NYPD at City Hall. However, it appears that the NYPD illegally allowed those

video recordings of my interactions with Mr. Torres on 3/18/19 to have been overwritten. When

I talked with Mr. Brownell about what transpired in the Blue Room in City Hall on 3/18/19 in

regards to me and the fact that I was illegally seized and ejected from it after the Mayor engaged

in illegal witness tampering as I testified in it, I asked him if understood why that occurred. He

told me that he didn’t know why that occurred and wished me well. When I talked with Mr.

Ochoa about that, I believe that he fraudulently claimed to me then that I couldn’t present

recordings in conjunction with testimony that I gave during public hearings that the Mayor

conducted in spite of the fact that no policy nor law exists in writing to prohibit that. Prior to

3/18/19, Mr. Ochoa was personally involved with others in having illegally prevented me from

testifying in a public hearing that the Mayor conducted on 1/8/18 in the Blue Room in City Hall



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about proposed legislation that concerned reforming the NYPD after the agenda for that specific

hearing was changed by the Mayor’s staff at the last minute on that date. I will pursue entirely

valid legal claims against him and others about that in a separate complaint. When I talked with

NYPD Officer Ocasio-Torres after 4 pm by the NYPD guardhouse that is located just inside of

the entrance to City Hall’s property by Broadway, she essentially told me that she didn’t care

about the illegal acts that were committed against me inside of City Hall’s building and on City

Hall’s property by the Mayor and members of the NYPD and pointed out that she hadn’t been

involved in those matters. She told me that in spite of the fact that she sued the City of New York

for harassment that she experienced by members of the NYPD and she was previously harassed

by a judge while she was assigned to the NYPD guardhouse where I talked with her on 3/18/19.

199.   The following is a relevant excerpt from an e-mail message that I received on 3/18/19 at

6:36 pm from the NYPD that was in response to a FOIL demand that I submitted to it on that

date for all of the video recordings that were in its possession and recorded by video security

cameras it controls that pertained to a) illegal acts and omissions that were committed against me

on City Hall’s property on 3/18/19 by members of the NYPD and b) conversations that I had

with Ritchie Torres, Mr. Brownell, Mr. Ochoa, and NYPD Officer Ocasio-Torres about those

illegal acts and omissions as well as the illegal acts that the Mayor committed against me on that

date in the Blue Room in City Hall:

   From: <openrecords@records.nyc.gov>
   Subject: [OpenRecords] Request FOIL-2019-056-04374 Submitted to New York City
   Police Department (NYPD)
   Date: March 18, 2019 at 6:36:33 PM EDT
   To: <towaki_komatsu@yahoo.com>

   Your request FOIL-2019-056-04374 has been successfully submitted to the New York City
   Police Department (NYPD). The details of your request are shown below.
   Request Title: Video demand




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   Request Description: Immediately provide me with copies of all and and video recordings
   that were recorded by video security cameras on 3/18/19 that are controlled by the NYPD
   between 4:10 pm and 5:30 pm while I was inside of New York City Hall and while I was
   outside of it in the following areas: a) By the guardhouse located by Park Row both upon
   arriving to City Hall and while departing City Hall. b) Between the main entrance to City
   Hall in front of it and the entrance to City Hall's compound by Park Row during both the
   times that I entered City Hall from that guardhouse and passed it while leaving City Hall. c)
   By the guardhouse to City Hall located by Broadway while NYPD Officer Ocasio-Torres
   (badge # 5886) was assigned to that guardhouse after I left City Hall through its exit on Park
   Row and then met her by its entrance on Broadway. d) While I talked with New York City
   Councilman Ritchie Torres, Paul Ochoa of the Mayor's office, and Daniel D. Brownell right
   outside of the entrance to the City Hall compound on Broadway. While I was inside of City
   Hall on 3/18/18, I was primarily inside of its Blue Room after 4:15 pm. However, I was also
   illegally assaulted by a Black male member of the NYPD. I was also assaulted by a
   Caucasian male with grey hair as I was leaving City Hall then through its exit on Park Row.

200.   In addition to having illegally withheld from me and likely destroyed the video

recordings that were recorded on 3/18/19 by video security cameras it controls of my interactions

with Ritchie Torres near the Broadway entrance to City Hall, the NYPD illegally did the same

with the video recordings that were recorded by its video security cameras of the interactions that

I had after 4 pm on 3/18/19 with Mr. Brownell, Mr. Ochoa, and NYPD Officer Ocasio-Torres

(badge # 5886) in that same area. The NYPD previously engaged in such flagrant obstruction of

justice against me with respect to video recordings that were recorded on 9/8/17 that were

recorded by video security cameras it controls of the area by the Park Row entrance to City Hall

after NYPD Officer Cruz (badge #: 751) was among people who illegally prevented me from

attending a public hearing on that date that the Mayor conducted in the Blue Room in City Hall

that concerned proposed legislation that was about NYPD reforms that Ritchie Torres had

worked on with others. I had also submitted a timely FOIL demand to the NYPD for those 9/8/17

video recordings.

201.   The following shows a relevant excerpt from the e-mail message that I sent to the NYPD

on 9/8/17 at 9:29 pm in which I submitted my FOIL demand to it for the 9/8/17 video recordings




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before the NYPD illegally didn’t provide me any video recordings in response to illegally cover-

up the illegal acts that NYPD Officer Cruz committed against me on that date at City Hall and

violate my constitutional rights and other applicable laws in the process:

   From: Towaki Komatsu <towaki_komatsu@yahoo.com>
   Subject: Re: FOIL demand
   Date: September 8, 2017 at 9:29:01 PM EDT
   To: FOIL@nypd.org

   NYPD FOIL Team,

   I’m sending you this message to demand that the NYPD immediately provide me with all
   security camera video recordings that shows me talking with NYPD Officer Cruz (badge #:
   751) between 1:45 pm and 2 pm just inside of the visitor’s entrance to City Hall located by
   Park Row and while he was stationed in the guardhouse there.

   In addition, I further demand to be provided with the telephone numbers for calls he made
   and received from the telephone in that guardhouse while I stood outside of it and was
   waiting for him to let me proceed to the security area in order to attend a public 2 pm located
   in the Blue Room in City Hall that had been scheduled.

   Pursuant to New York State’s Open Meetings Law that I explained to Officer Cruz today, I
   had a right to attend that public meeting. However, I was illegally deprived of my ability to
   exercise that right by being denied access to it.

202.   The following shows an e-mail message that I received from the NYPD on 3/21/19 at

12:04 pm that indicated that Defendant Halk was assigned to work on the FOIL demand that I

submitted to the NYPD on 3/18/19 for video recordings that pertained to the illegal acts and

omissions that were committed by members of the NYPD against me at City Hall on 3/18/19 as

well as the conversations that I had with Ritchie Torres, Mr. Brownell, NYPD Officer Ocasio-

Torres, and Paul Ochoa after 4 pm near the Broadway entrance to City Hall:

   From: <openrecords@records.nyc.gov>
   Subject: [OpenRecords] Request FOIL-2019-056-04374 Acknowledged
   Date: March 21, 2019 at 12:04:18 PM EDT
   To: <towaki_komatsu@yahoo.com>

   The New York City Police Department (NYPD) has acknowledged your FOIL request FOIL-
   2019-056-04374.



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   You can expect a response on or about Wednesday, July 31, 2019.

   Additional Information:
   Your request has been assigned to Detective Halk (646-610-6430)

   Please visit FOIL-2019-056-04374 to view additional information and take any necessary
   action.
   DO NOT RESPOND TO THIS EMAIL. For information or questions about this request
   please use the Contact the Agency link on the request page in OpenRecords.


203.   What follows shows an e-mail message that I timely sent on 4/27/19 at 8:40 pm to the

NYPD team that handles appeals of FOIL matters after I received a CD-Rom disk from the

NYPD on 4/26/19 in response to my 3/18/19 FOIL demand to the NYPD for video recordings.

That CD-Rom didn’t include the entirety of the video recordings that I ordered the NYPD to

provide to me through my 3/18/19 FOIL demand to it. As a result, I submitted a timely appeal to

the NYPD on 4/27/19 in response to its illegal failure to provide me the entirety of the video

recordings that I directed it to provide to me.

   From: Towaki Komatsu <towaki_komatsu@yahoo.com>
   Subject: Appeal for FOIL-2019-056-04374
   Date: April 27, 2019 at 8:40:10 PM EDT
   To: FOIL APPEALS <FOILAppeals@NYPD.org>

   The following is the FOIL demand that I submitted for FOIL #: 2019-056-04374

   On 4/26/19, I received a CD-Rom disk in response to that FOIL demand that contained just 1
   hour of video.

   That fact clearly violates my First Amendment right to have the NYPD promptly and fully
   comply with the FOIL demand that I submitted that was for 5 hours of video for that FOIL
   demand.

   I also clearly requested all responsive video in relation to that demand. However, the video
   that I was provided was from less than the number of video security cameras that the NYPD
   controls from which responsive video recordings were availalbe. This fact violates my First
   Amendment and FOIL rights as well.

   Immediately comply.




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   I will apprise a federal judge of the NYPD’s illegal non-compliance with this FOIL demand
   shortly.


204.   What follows shows a relevant excerpt from an e-mail message that I received on 5/2/19

at 9:29 am from Defendant Mazur in response to the appeal that I submitted to the NYPD on

4/27/19 that I just discussed.

   From: FOIL APPEALS <FOILAppeals@nypd.org>
   Subject: RE: Appeal for FOIL-2019-056-04374
   Date: May 2, 2019 at 9:29:36 AM EDT
   To: Towaki Komatsu <towaki_komatsu@yahoo.com>

   Mr. Komatsu,

   Please see attached appeal determination. Thank you.

   Best,

   Sergeant Jordan S. Mazur
   Records Access Appeals Officer
   NYPD Legal Bureau
   1 Police Plaza, Room 1406
   New York, NY 10038
   E-Mail: FOILAppeals@NYPD.org


205.   The e-mail message that I received from Mr. Mazur that I just discussed also had a PDF

file attached to it. The next 2 screenshots are of relevant excerpts from that PDF file that is 2

pages in length. In short, Mr. Mazur stated in that PDF file that I would not be provided further

video recordings in response to my 3/18/19 FOIL demand to the NYPD that pertained to that

demand. Although he claimed that the reason for that was because the NYPD no longer had

those video recordings, that was totally irrelevant because Defendant City was legally required to

have preserved the entirety of the video recordings that were recorded by NYPD video security

cameras that pertain to my 3/18/19 claims in this action on account of the fact that I reported

numerous, timely, and entirely valid complaints to the NYPD, CCRB DOJ, NYAG, and City



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Council about the illegal acts and omissions that were perpetrated against me on 3/18/19 by the

Mayor and members of the NYPD at City Hall. My submission of such timely complaints about

that was the trigger that thereafter caused Defendant City to be required to preserve all of those

video recordings that include the video recordings of my conversations with Ritchie Torres, Paul

Ochoa, Mr. Brownell, and NYPD Officer Ocasio-Torres on 3/18/19.




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206.   Defendants Mazur and Halk are jointly liable with Defendant City for having illegally

failed to preserve the video recordings that were recorded on 3/18/19 that I ordered the NYPD to

provide to me that I have discussed in this complaint. They’re also liable for failure to properly

train and supervise others and violating my rights pursuant to the First Amendment, FOIL, Fifth

Amendment, and Fourteenth Amendment with respect to abuse of process and violations of my

due process rights in regards to that matter.

207.   On a related note, the discussion that follows sufficiently and clearly confirms that the

NYPD illegally withheld video recordings from me that were recorded on 3/18/19 by additional

video security cameras that the NYPD controls of the area where Defendant Klein and others

were illegally coercing me to leave City Hall’s property on 3/18/19. This revelation is achieved

by virtue of the fact that the NYPD provided me a video recording that was recorded on 4/8/19

by a video security camera that it controls that includes the following image in that video in

which I’m shown standing near the Park Row entrance to City Hall while NYPD Officer Feeney

(badge #: 30475) was illegally preventing me from walking past him to reach City Hall’s

building while the Mayor was inside of the SUV that is shown in this screenshot and was parked

on City Hall’s grounds:




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208.   Although I arrived to that location on 4/8/19 before the bald man who stood behind me,

NYPD Officer Feeney allowed that bald man to walk past me to enter City Hall’s grounds in

flagrant violation of my Fourteenth Amendment due process and equal protection rights as well

as my First Amendment rights while the Mayor was still in that SUV. I was there then to meet

with people who worked for the City Council to check on the status of a video recording that was

required by law to be available to the public on the Internet by 3/28/19 of testimony that I gave

on 3/25/19 to the City Council’s Committee on General Welfare that illegally still wasn’t

available on the Internet on 4/8/19. The preceding screenshot corresponds to the elapsed time of

30 minutes and 40 seconds within the video recording that is available on the Internet at

https://drive.google.com/open?id=1T8zj7ZgSg4M4DxE7jsBVxLpkLxP_ZSsg.




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209.   The next screenshot is from the elapsed time of 32 minutes and 52 seconds in that video

as the whistleblower news censor in journalism named Graham Rayman that I discussed earlier

in this complaint is shown approaching the Park Row exit for City Hall as he walked next to

NYPD Officer Feeney.




210.   The next screenshot is from the elapsed time of 32 minutes and 58 seconds in that video

as I talked with Mr. Rayman by that exit and apprised him that I was illegally being prevented by

NYPD Officer Feeney from accessing City Hall’s grounds. Although Mr. Rayman then

questioned Mr. Feeney about that and Mr. Feeney didn’t give him a valid explanation for why I

was being illegally prevented from accessing City Hall’s grounds, Mr. Rayman didn’t report

anything about that in the news in spite of the fact that it was actually part of a continuation of a

longstanding pattern of violating my constitutional rights at public forums by members of the

NYPD that I had been in contact with him about in June of 2017 and fully substantiated back

then as well.


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211.   The next screenshot is from that same video at a point in it that was shortly after I

finished my conversation with Mr. Rayman as I was then permitted by NYPD Officer Feeney to

enter City Hall. This screenshot is a magnified version of what appears in that video then and

sufficiently confirms that if the NYPD had provided me a video recording that was recorded on

3/18/19 by the same video security camera that recorded this video on 4/8/19, I could have

similarly thoroughly inspected what was shown in it and magnified that video to gather further

proof that Defendant Klein illegally assaulted me on 3/18/19 as he illegally coerced me to leave

City Hall’s grounds then. This is due to the vantage point that corresponds to the camera angle at

which that video security camera was then installed.




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212.   The discussion that follows concerns what appears in 3/18/19 aerial video to which I

referred earlier in this complaint. The next screenshot is from the elapsed time of 56 minutes and

39 seconds as I played back that video while magnifying what appeared in it. That screenshot

shows Defendant NYPD John Doe2 3/18/19 in the upper-left area and Defendant Dwyer in the

lower-right corner as they approached where I was then being illegally coerced to leave City

Hall’s grounds without having tried to intervene on my behalf to stop that and uphold my

constitutional rights to have then remained on City Hall’s grounds in the area where they then

were largely to try to have an opportunity to apprise journalists and members of the City Council

about the illegal acts and omissions that the Mayor and members of the NYPD were perpetrating

against me then at City Hall and perpetrated earlier on that date at City Hall.


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213.   The discussion that follows concerns what appears in 3/18/19 aerial video to which I

referred earlier in this complaint. The next screenshot is from the elapsed time of 56 minutes and

39 seconds as I played back that video while magnifying what appeared in it. That screenshot

shows Defendant NYPD John Doe2 3/18/19 in the upper-left area and Defendant Dwyer in the


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lower-right corner as they approached where I was then being illegally coerced to leave City

Hall’s grounds without having tried to intervene on my behalf to stop that and uphold my

constitutional rights to have then remained on City Hall’s grounds in the area where they then

were largely to try to have an opportunity to apprise journalists and members of the City Council

about the illegal acts and omissions that the Mayor and members of the NYPD were perpetrating

against me then at City Hall and perpetrated earlier on that date at City Hall.

214.   The next screenshot is from the elapsed time of 56 minutes and 39 seconds in the video

that I discussed earlier in this complaint and is referred to as “NYPD 3/18/19 video2”. As a

reminder, a copy of that video is available on the Internet at

https://drive.google.com/open?id=1IKBHpLvN7zSX6RLwaBiQ5G6a1JKokErR. I’m shown on

the far left in this screenshot as I wore a white sweater and was recording a video with my cell

phone of Defendant Klein as he stood in front of me and was coercing me with other members of

the NYPD to leave City Hall’s property immediately. Defendant Gungor appears in the upper-

right corner of this screenshot as he stood in front of a SUV.




215.   The preceding screenshot clearly illustrates the fact that it would have been much easier

for me to better substantiate my claims against Defendant Klein for having illegally assaulted me

on 3/18/19 by pushing me as he illegally coerced me to leave City Hall’s property if the NYPD

had complied with its legal duty to have provided me the entirety of the video recordings that I



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ordered it to provide to me on 3/18/19. Defendant Zappia was also in the immediate vicinity of

where Defendant Klein and other members of the NYPD were coercing me to leave City Hall’s

property on 3/18/19 as Defendant Zappia illegally didn’t intervene on my behalf in regards to

that.

216.    Prior to commencing this action to pursue entirely valid claims against the defendants for

the illegal acts and omissions that they committed against me that pertain to my 3/18/19 claims, I

promptly reported entirely valid complaints against the Mayor, NYPD John Doe1 3/18/19, and

Defendants Gungor and Klein in response to those illegal acts and omissions to the NYAG, DOJ,

CCRB, DOI, and members of the City Council within one week thereafter and a complaint about

that to the NYPD’s IAB on 3/30/19. To submit those complaints, I visited the offices of the

NYAG, DOJ, and DOI during that period, sent an e-mail about that to the CCRB and IAB, and

testified on 3/19/19 and 3/26/19 to Donovan Richards and Ritchie Torres on those dates during

public hearings that they conducted as the chairmen of the City Council’s Committees on

a) Public Safety and b) Oversight.

217.    However, I have no reason to believe that any of the government bodies and government

officials to whom I reported those entirely valid complaints thereafter took any appropriate

corrective action about that matter. I instead have every to believe that those illegal acts and

omissions that were committed against me were condoned and adopted to a degree by at least 3

of the government officials to whom I directly and indirectly reported those valid complaints.

218.    The following is a link to the video recording that the City Council arranged to be

recorded of the public hearing that the Donovan Richards conducted on 3/19/19 as the chairman

of the City Council’s Committee on Public Safety:

        https://councilnyc.viebit.com/player.php?hash=xCbxmcRFE4wC




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219.    As I testified in that hearing at the elapsed time of 3 hours, 41 minutes, and 25 seconds, I

apprised Mr. Richards, everyone who attended that hearing, and all who watched the video

recording of that hearing of the illegal acts and omissions that the Mayor and members of NYPD

committed against me on 3/18/19 as I played back a video recording in conjunction with my

testimony that showed how those illegal acts and omissions occurred. While I testified in that

hearing, I calmly expressed an objection at the elapsed time of 3 hours, 41 minutes, and 5

seconds to New York City Councilman Rory Lancman as he sat near where I testified about the

fact that he was flagrantly violating my due process rights by playing around with his cell phone

instead of paying proper attention to my testimony in violation of rules of the City Council that I

believe exist and prohibit its members from using such electronic devices while they attend

public hearings in which members of the public testify as they testify in them. In response, Mr.

Lancman didn’t deny that he was then using such a device and irrelevantly stated that he was

multitasking. That occurred before Mr. Lancman presided over an additional City Council public

hearing that was conducted later that same day for which I had registered to testify in before Mr.

Lancman illegally didn’t allow me to do so in flagrant violation of my First Amendment and

Fourteenth Amendment rights while that hearing was also recorded on video as a result of

arrangements that the City Council made. Mr. Lancman instead ended that hearing before I could

testify in it as I attended that hearing and conducted myself in an entirely lawful manner while

waiting for a chance to testify in it. That public hearing was conducted by the City Council’s

Committee on the Justice System for which Mr. Lancman is the chairman. The video recording

that the City Council arranged to be recorded of that hearing is available on the Internet at

https://councilnyc.viebit.com/player.php?hash=IIBAIGAerS78.

220.   The following is a link to the video recording that the City Council arranged to be




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recorded of the public hearing that the Ritchie Torres conducted on 3/26/19 as the chairman of

the City Council’s Committee on Oversight:

       https://councilnyc.viebit.com/player.php?hash=PVKea3TdHUTv

221.    As I testified in that hearing at the elapsed time of 41 minutes, and 37 seconds, I apprised

Mr. Torres, everyone who attended that hearing, and all who watched the video recording of that

hearing of the illegal acts and omissions that the Mayor and members of NYPD committed

against me on 3/18/19 as I played back a video recording in conjunction with my testimony that

showed how those illegal acts and omissions occurred. Also, as I testified in that hearing, I

reminded Mr. Torres about the conversation that he and I had on 3/18/19 near the Broadway

entrance of City Hall that concerned the very same illegal acts and omissions that were

committed on that date about which I then testified to him on 3/26/19. I also pointed out to Mr.

Torres during that 3/26/19 hearing that the 2nd Circuit had conducted an oral arguments hearing

earlier that day in the landmark case of Knight First Amendment Inst. Columbia v. Trump, 928

F.3d 226 (2d Cir. 2019) that concerned viewpoint discrimination by government officials as that

pertained to public forums.

222.   Prior to testifying to Mr. Torres in that 3/26/19 City Council public hearing, I also

testified to him on 3/26/18 while he was the chairman of that same committee. When I testified

to him on 3/26/18, I apprised him and New York City Councilman Kalman Yeger of the fact that

I was repeatedly and illegally prevented from attending public town hall meetings and public

resource fair meetings that the Mayor conducted in 2017 as he ran for re-election. I was referring

to that as I told Mr. Yeger and Mr. Torres at the elapsed time of 2 hours, 41 minutes, and 15

seconds in the video recording that the City Council arranged to be recorded of that hearing that

is available at https://councilnyc.viebit.com/player.php?hash=1diWh0EurD71 that that illegal




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practice of barring me from such public forums while I was a whistleblower and sought to

engage in whistleblowing while lawfully attending them constituted voter suppression and voter

fraud for the Mayor’s benefit. It’s worthwhile to point out that instead of having taken

appropriate corrective action in response to my conversations with him on 3/26/18, 3/18/19, and

3/26/19 about the illegal acts and omissions that were committed against me at public forums

that the Mayor conducted, Mr. Torres illegally and flagrantly subjected me to First Amendment

retaliation, viewpoint discrimination, standardless discretion, abuse of process, and violation of

my due process and equal protection rights as he abruptly terminated my ability to testify on

11/13/19 in the public hearing that he conducted for the City Council’s Oversight committee

while that hearing was recorded on video as a result of arrangements that the City Council

conducted that is available on the Internet at

https://councilnyc.viebit.com/player.php?hash=mrXTN2FyDz20. My testimony in that hearing

begins at the elapsed time of roughly 36 minutes and 56 seconds in that video recording. That

video recording confirms that I lawfully criticized Mr. Torres about dishonesty by him in what I

intended to be brief preliminary remarks that I would make before quickly moving to the

remainder of my testimony that was directly related to the subject matter of that hearing. Mr.

Torres promptly interrupted my testimony after just a few seconds and abruptly terminated that

hearing shortly after he blatantly lied to me by telling me that I didn’t have any right to testify to

the City Council and fraudulently suggested that I had violated some rule that actually didn’t

exist. That occurred after I learned that a Twitter account that is registered to him was blocking a

Twitter account that is registered to me in violation of Knight First Amendment Inst. Columbia v.

Trump, 928 F.3d 226 (2d Cir. 2019).

223.   Prior to Letitia James becoming the New York State Attorney General, all of the




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following is entirely true, accurate, and relevant:

       a.      I talked with her on 10/26/17 at the site of the public town hall meeting that the

               Mayor conducted in Brooklyn on that date as she arrived at that site before she

               entered the building in which that town hall was conducted. At that time, I was

               being illegally prevented from attending that town hall by members of the NYPD

               and Mayors’ staff in spite of the fact that I was conducting myself in an entirely

               lawful manner in stark contrast to them while that was occurring in full view of

               many witnesses that consisted of other members of the public who were waiting

               to be granted access to that town hall. I told Ms. James then while she was then

               New York City’s Public Advocate that I was being illegally prevented from

               attending that town hall meeting. She told me then in response that she would

               look into that matter. She then left and entered the building that hosted that public

               forum. I never heard from her again nor a member of her staff to receive an

               update about anything that she may have possibly learned about my illegal

               exclusion from that town hall. That fact leads me to believe that she lied to my

               face on 10/26/17 and never followed-up about that matter.

       b.      Ms. James attended the public town hall meeting that the Mayor conducted on

               3/15/17 during which I talked with the Mayor and engaged in protected

               whistleblowing that was largely against Mr. Banks and HRA’s business partners.

               At the elapsed time of 28 seconds in the video recording that the Mayor’s office

               arranged to be recorded of that town hall meeting that is available on the Internet

               at https://www.youtube.com/watch?v=i5LjWB2d2vc, the Mayor is shown making

               a hand gesture and facial expression that was directed at Ms. James as she sat




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     among the audience as he entered the room in which that town hall was

     conducted. In short, that hand gesture and facial expression is widely known to

     represent the act of blowing a kiss to someone that Ms. James is shown accepting

     in that video.

c.   On 3/18/18, I recorded a short video at 2:51 pm that is available on the Internet at

     https://drive.google.com/file/d/1fFgHFzfihrHPDoSQVU6toVXyYq-

     8ipmF/view?usp=sharing of Ms. James as she was interviewed by someone in

     Foley Square in Manhattan shortly before I then talked with her and legally

     recorded an audio recording of that conversation at 2:51 pm as well. That audio

     recording is available on the Internet at

     https://drive.google.com/file/d/1fFgHFzfihrHPDoSQVU6toVXyYq-

     8ipmF/view?usp=sharing. That audio recording confirms that I reminded her at

     the elapsed time of 12 seconds of the prior meeting she and I had on 10/26/17 at

     the site of the Mayor’s town hall meeting on that date and the fact that she told me

     then that she would look into the matter of why I was being illegally barred from

     that public forum. She told me on 3/18/18 that she didn’t recall my conversation

     with her on 10/26/17. At the elapsed time of 44 seconds in that 3/18/18 audio

     recording, Ms. James is heard telling me that she would follow-up about entirely

     valid complaints that I reported to her against Defendant Redmond for violating

     my civil rights and those of others as I pointed out to her during that conversation

     that Mr. Redmond was then the head of the Mayor’s NYPD security detail.

     Hindsight strongly suggests that Ms. James lied to my face on 3/18/18 by

     claiming that she would follow-up about that.




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d.   On 5/21/18, I recorded a video recording at 12:51 pm that is available on the

     Internet at

     https://drive.google.com/file/d/12d_ISpRFGIkQ_ljY64Meo7uDR2tAVgkS/view?

     usp=sharing as I coincidentally crossed paths with Ms. James again while she was

     walking with New York City Councilman Corey Johnson near her office by City

     Hall while she continued to be New York City’s Public Advocate. The next

     screenshot is from the elapsed time of 39 seconds as I reminded her that she told

     me on 3/18/18 that she would look into my complaints against Defendant

     Redmond as I then sought to try to get an update from her about that. In short, she

     essentially ignored me then and walked away without providing me any update

     that left me with the firm belief that she is totally untrustworthy and doesn’t mind

     criminal acts by the NYPD and Mayor’s staff that violate the civil rights of New

     Yorkers at public forums.




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       e.      On 6/17/20 and 6/18/20, Ms. James conducted public hearings remotely to allow

               New Yorkers to testify in them about terrorism by members of the NYPD in

               response to terrorism that that committed since May of 2020 in relation to

               widespread protests across New York City. Although I was among those who

               registered to testify in those hearings in accordance with my rights pursuant to the

               First Amendment and Fourteenth Amendment, I was illegally prevented from

               doing so. Instead, the video recordings that the New York State Attorney

               General’s office arranged to be recorded of those hearings confirm that Ms. James

               used part of those hearings to talk to someone who testified in them about dogs

               that he was taking care of in spite of the fact that that was totally unrelated to the

               subject matter of those hearings and the length of time that she talked with that

               person about that should have instead been allocated to me and others who had

               relevant testimony to provide during those hearings.



224.   To close out this section, it is worth pointing out that the New York City 2017 general

elections were held in November of 2017 and likely heavily factored into the decisions that were

made to commit the illegal acts and omissions against me on 10/12/17, 10/18/17, and 10/25/17 in

relation to my efforts to have lawfully attended the public forums that this complaint concerns to

minimize, marginalize, and murder my First Amendment and Fourteenth Amendment right to

lawfully assassinate the character of the Mayor, members of his NYPD security detail, Mr.

Banks, other personnel of HRA, and others as they ran for re-election and otherwise stood to

benefit from Bill de Blasio being re-elected as New York City’s Mayor in order to allow New

Yorkers to make better informed and independent decisions about firing Bill de Blasio and his



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administration through the power of their votes and word-of-mouth advertising that they could

spread for that endeavor. The timing of the illegal acts that continued to be perpetrated against

me on 10/12/17, 10/18/17, and 10/25/17 truly matters in that sense. Also, the illegal acts and

omissions that were committed against me on 3/18/19 occurred as Bill de Blasio was making

arrangements to compete in the U.S. presidential election before he hilariously crashed and

burned in that pursuit because the public proved decisively that it just isn’t as stupid as he likely

thought it was and never allowed him to have much support in that naked publicity stunt by him.


                                      CAUSES OF ACTION

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.


CLAIM #1: Violations of the First Amendment right of access to a public forum, to protest in
          a public forum, to record audio and video recordings in a public forum, to take
          photographs in a public forum, to receive information in a public forum, to have
          the opportunity to talk with journalists in a public forum, to distribute
          whistleblowing literature in a public forum, to engage in lawful assembly in a
          public forum, to engage in freedom of expression in a public forum, to otherwise
          engage in whistleblowing and criticism of government officials in a public forum,
          to engage in expressive association, and to petition government officials in a
          public forum for redress of grievances

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      I also incorporate by reference as though fully set forth herein the decision that was



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issued on 5/19/20 in Dunn v. City of Fort Valley, No. 19-cv-287(TES) (M.D. Ga. May 19, 2020)

due to relevant findings it contains about First Amendment rights in public forums, supervisory

liability, and other pertinent things.

3.      My right to lawfully protest in a public forum in a manner that doesn’t disrupt how that

public forum is conducted while valid time, place, and manner restrictions do not exist to

prohibit such protest in a public forum was acknowledged the following remark that Judge

Schofield expressed in the decision that she issued in Gonzalez v. City of New York, No. 14 Civ.

7721 (LGS) (S.D.N.Y. Sept. 29, 2016):

        “Two branches of First Amendment claims are relevant to the present case: (a)
        interference with the right to protest in a public forum and (b) retaliation for exercising
        First Amendment rights.”

4.      More importantly, my right to lawfully protest in a public forum in a manner that doesn’t

disrupt how that public forum is conducted while valid time, place, and manner restrictions do

not exist to prohibit such protest in a public forum was confirmed by the following excerpt from

Occupy Nashville v. Haslam, 949 F. Supp. 2d 777 (M.D. Tenn. 2013):

        “a state may not restrict First Amendment rights, absent valid time, place, or manner
        restriction. See Dean, 354 F.3d at 551; Galvin v. Hay, 374 F.3d 739, 751 (9th
        Cir.2004) ("As speakers may generally control the presentation of their message by
        choosing a location for its importance to the meaning of their speech, speakers may
        ordinarily— absent a valid time, place and manner restriction—do so in a public
        forum."); Childs v. Dekalb Cnty., Ga., 286 Fed.Appx. 687, 693-94 (11th
        Cir.2008) (denying qualified immunity and stating that, based on Supreme Court
        precedent, "police officers have known for decades that protestors present on public
        property have a First Amendment right to peacefully express their view, in the absence of
        narrowly tailored ordinances restricting the time, place, or manner of the speech”).”

        (boldface formatting added for emphasis)

5.      Due to the facts and circumstances that I have discussed at length and with sufficient

specificity in this pleading, I have decisively established that the Defendants identified above

that this claim concerns were personally involved in having willfully, callously, and wantonly



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illegally violated my First Amendment rights in relation to my efforts to have attended the

Mayor’s 10/12/17 town hall.

6.      I have further established that the defendants that this claim concerns violated my First

Amendment right of access to public records that were made available in the building that hosted

the Mayor’s 10/12/17 town hall that were made available strictly to the members of the public

who were permitted to attend that town hall.

7.      Ms. Ramos is also liable for this cause of action due to her role as co-conspirator in that

conspiracy as she illegally deceived Ms. Durkin on 6/28/17 and 6/29/17 in e-mail messages that

she sent to Ms. Durkin about me and the illegal acts that continued to be illegally committed

against me on 10/12/17 and prevented me from being able to lawfully attend the Mayor’s

10/12/17 town hall. Ms. Ramos sent those e-mail messages to Ms. Durkin about me in

furtherance of a fraudulent scheme to try to illegally cover-up such illegal acts and omissions

that were committed against me. Relevant findings that support this assertion about Ms. Ramos’

liability exist in the decisions that were issued in US v. Blackmon, 839 F.2d 900 (2d Cir. 1988),

Escalera v. Samaritan Village Men's Shelter, No. 17-cv-4691 (CM) (S.D.N.Y. Sept. 27, 2019),

US v. Basey, 816 F.2d 980 (5th Cir. 1987), Vann v. City of New York, 72 F.3d 1040 (2d Cir.

1995), Pangburn v. Culbertson, 200 F.3d 65 (2d Cir. 1999), and Dunn v. City of Fort Valley, No.

19-cv-287(TES) (M.D. Ga. May 19, 2020).


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully



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set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

     forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I

     presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, de Blasio, O’Neill,
        Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #2:          First Amendment Retaliation, Viewpoint Discrimination,
               and Standardless Discretion in Denying Access to a Public Forum


     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,



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        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.



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     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, de Blasio, O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #3:                      Violations of the Fourth Amendment

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully




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set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Carrion, Ramos, de Blasio, O’Neill, Vance,
        Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.



CLAIM #4:                      Violations of the Fifth Amendment

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD



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        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.




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     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #5:                   Violations of the Fourteenth Amendment
                                 Substantive Due Process Rights

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)




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1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #6:                      Violations of Procedural Due Process

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,



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        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.



                                          Page 315 of 359
     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #7:                   Violations of the Fourteenth Amendment
                                    Equal Protection Rights

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)




                                          Page 316 of 359
1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #8:                  Violations of the Fourteenth Amendment
                          Prohibitions Against Selective-Enforcement

     A. For my 10/12/17 claims:




                                          Page 317 of 359
        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I




                                          Page 318 of 359
presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #9:                      Failure to Intervene in Violation of the
                                      Fourteenth Amendment

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de



                                           Page 319 of 359
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #10:                       Failure to Train and Supervise

     A. For my 10/12/17 claims:



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        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Redmond, Carrion, Ramos,
        Levin, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I



                                          Page 321 of 359
presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Redmond, Dwyer, Mazur, Halk, Carrion, Ramos, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #11:          Violation of the New York State’s Open Meetings Law

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)



                                          Page 322 of 359
1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Carrion, Ramos, de Blasio, O’Neill, Vance,
        Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #12:                               Abuse of Process

     A. For my 10/12/17 claims:




                                          Page 323 of 359
        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I




                                          Page 324 of 359
presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.



CLAIM #13:                            Deliberate Indifference

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de



                                          Page 325 of 359
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #14:          Fraudulent Misrepresentation and Fraudulent Inducement

     A. For my 10/12/17 claims:



                                          Page 326 of 359
        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

     forth herein.

2. The defendants that this claim concerns are liable for it due to the information that I



                                          Page 327 of 359
     presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #15:          Violation of New York State General Business Law 349

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)



                                          Page 328 of 359
1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #16:                                   Negligence

     A. For my 10/12/17 claims:




                                          Page 329 of 359
        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I




                                          Page 330 of 359
presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #17:                              Municipal Liability

                               (Against Defendant City of New York)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      Defendant City of New York is liable for this claim due to the information that I

presented in this complaint.


CLAIM #18:          Intentional and Negligent Infliction of Emotional Distress

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.



                                          Page 331 of 359
2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully



                                          Page 332 of 359
set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #19:                     Conspiracy to Violate Civil Rights and
                                      Cover-Up Such Abuse

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:



                                          Page 333 of 359
        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #20:                              Unjust Enrichment

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.




                                          Page 334 of 359
2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully



                                          Page 335 of 359
set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #21:                         Public and Private Nuisance

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:




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        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #22:           Violations of the Hatch Act (see 5 U.S.C. §1502(a)(1))

     A. For my 10/12/17 claims:

        (Against Defendants City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason,
        Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD
        John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD
        John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD
        Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Redmond, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I



                                          Page 337 of 359
presented in this complaint.


     B. For my 10/18/17 claims:

        (Against Defendants City of New York, Atcheson, Ringel, Ridener, Stribula, Jane Doe1
        10/18/17, Ioveno, Santana, NYPD John Doe4 10/12/17, NYPD John Doe1 10/18/17,
        NYPD John Doe2 10/18/17, NYPD John Doe3 10/18/17, NYPD John Doe4 10/18/17,
        NYPD John Doe5 10/18/17, NYPD John Doe6 10/18/17, Carrion, Ramos, Levin, de
        Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     C. For my 10/25/17 claims:

        (Against Defendants City of New York, Redmond, Nieves, Baez, Gerola, Ventri, NYPD
        John Doe4 10/12/17, NYPD John Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD
        John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD
        John Doe6 10/25/17, Carrion, Ramos, de Blasio, O’Neill, Vance, Jr., Byrne, Jr., Shorris)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


     D. For my 3/18/19 claims:

        (Against Defendants City of New York, Gungor, Klein, Zappia, Barker, NYPD John
        Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD John Doe4
        3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de Blasio,
        O’Neill, Vance, Jr., Byrne, Jr.)

1.      I incorporate by reference the allegations set forth in all preceding paragraphs as if fully

set forth herein.



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2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


CLAIM #23:                                    Assault

     A. For my 10/25/17 claims:

                                    (Against Defendant Nieves)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

     forth herein.

2.      Defendant Nieves is liable for this claim due to the information that I presented in this

complaint.


CLAIM #24:                Spoliation of Evidence & Violation of FOIL

     A. For my 3/18/19 claims:

                               (Against Defendants Mazur and Halk)

1. I incorporate by reference the allegations set forth in all preceding paragraphs as if fully set

     forth herein.

2.      The defendants that this claim concerns are liable for it due to the information that I

presented in this complaint.


                                DEMAND FOR A JURY TRIAL

1.      I demand a trial by jury in this action on each and every one of my damage claims.


                                     PRAYER FOR RELIEF

WHEREFORE, this Court should accept jurisdiction over this entire matter and grant me

additional relief by:




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1.         Causing this Court to exercise supplemental jurisdiction over K1, K2, K3, K4, K5, and

K6 before then consolidating them with this action that will result in having this action to control

how all of that litigation is conducted. This request stems from a common nucleus of operative

fact and is pursuant to FRCP Rule 42.

2.         Empaneling a jury to hear and decide this case strictly on its merits.

3.         Granting me the following additional relief against the defendants individually and

jointly:

     a.           Compensation for violations of my constitutional rights, defamation, abuse of

     process, nuisance, unjust enrichment, wire fraud, and fraudulent misrepresentations as well

     as pain, suffering, mental anguish, and humiliation that I experienced due to the illegal acts

     and omissions by the defendants.

     b.           Declaratory, injunctive, and equitable relief through the issuance of an order that

     voids the results of the 2017 New York City government elections for the jobs of New York

     City Mayor, New York City Councilmember, Bronx District Attorney, Queens Borough

     President, New York City Comptroller, and New York City Public Advocate primarily

     because it is reasonable to believe that results of those elections were materially tainted by

     voter fraud, voter suppression, and whistleblower retaliation in violation of 5 U.S.C.

     §1502(a)(1) that occurred partly by illegally:

             i.      Preventing whistleblowers from attending public forums that the Mayor

                     conducted with them and were partly used as campaign events to attract various

                     types of support from voters and prospective voters.

            ii.      Segregating and discriminating against whistleblowers at such public forums.

     c.       Declaratory, injunctive, and equitable relief in accordance with findings expressed in




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Capitol Records, Inc. v. Thomas-Rasset, 692 F.3d 899 (8th Cir. 2012) through the issuance of

an order that enjoins Defendant City’s personnel and agencies from continuing to commit

illegal acts and omissions against me that violate my rights.

d.         Further declaratory, injunctive, and equitable relief through the immediate issuance of

an order that:

       i.     Prohibits all members of the NYPD from deliberately making any physical

              contact with me while I am conducting myself in a lawful manner.

      ii.     Requires all members of the Mayor’s NYPD security detail to not come within 10

              feet from me while they are on-duty as members of the Mayor’s NYPD security

              detail and I am conducting myself in a lawful manner, unless I explicitly grant

              consent for that to occur.

     iii.     Requires all members of the Mayor’s CAU to not come within 10 feet from me

              while I am conducting myself in a lawful manner and they are on-duty as

              members of the Mayor’s CAU, unless I explicitly grant consent for that to occur.

     iv.      Prohibits Defendant City’s personnel from illegally interfering with my ability to

              attend public forums that the Mayor may conduct from within the room in which

              he does so as he does so.

      v.      Prohibits Defendant City’s personnel from illegally interfering with the rights that

              other people have to lawfully attend public forums that the Mayor conducts that

              may allow others and I to exercise our First Amendment right to observe, hear,

              and enjoy lawful speech and other expression that such people may engage in to

              criticize the Mayor and others during them.

     vi.      Prohibits Defendant City’s personnel from illegally interfering with the First




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        Amendment and Fifth Amendment rights that people have to a) bring literature

        and signs with them into rooms in which the Mayor conducts public forums, b)

        lawfully distribute such literature during those meetings without disrupting those

        meetings, c) distribute such literature and otherwise show it and signs in the

        rooms in which the Mayor conducts such meetings before they begin and after

        they end, and d) Keep such literature and signs with them as the Mayor conducts

        such public forums.

vii.    Requires Defendant City to grant access to public forums that the Mayor conducts

        inside of buildings based on the order in which members of the public line up

        directly outside of those buildings shortly before those meetings begin to be

        granted access to the room in which the Mayor conducts such public forums on

        those dates.

viii.   Prohibits Defendant City from allowing its personnel to prevent members of the

        public from attending public forums that the Mayor conducts inside of buildings

        from within the rooms in which he does so while sufficient seating is available in

        those rooms.

 ix.    Orders Defendant City to immediately cause all members of the NYPD who are

        present in areas where the Mayor conducts public town hall meetings, public

        resource meetings, public hearings, and press conferences that the public may

        observe to wear body-cameras that are always on and always recording both audio

        and video recordings.

  x.    Orders Defendant City of New York to provide all audio and video recordings

        from such body-cameras in unedited and non-redacted form along with their audit




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        trail records to allow for an independent forensic analysis within 24 hours of any

        adverse encounter that occurs between a) members of the public and b) the

        members of the NYPD wearing those body-cameras.

 xi.    Orders Defendant City to immediately a) cause clear audio recordings to be

        recorded of all verbal communications that members of the NYPD have while

        they are on-duty as members of the NYPD and present in areas where the Mayor

        conducts public town hall meetings, public resource meetings, public hearings,

        and press conferences that the public may observe.

xii.    Orders Defendant City of New York to provide all such audio recordings in

        unedited and non-redacted form that includes information that identifies the date

        and time when those recordings began to be recorded as well as the speakers

        heard in those communications that are personnel of Defendant City within 24

        hours of any adverse encounter that occurs between a) members of the public and

        b) the members of the NYPD heard in those audio recordings while they are being

        recorded.

xiii.   Orders Defendant City to immediately cause all other electronic communications

        (such as e-mail messages, cell phone text messages, and encrypted

        communications) that are engaged in by those who are part of the Mayor’s NYPD

        security detail to be recorded and preserved for possible use in litigation by

        people that they commit illegal acts and omissions against.

xiv.    Orders Defendant City to provide all such electronic communications within 24

        hours in unedited and non-redacted form that includes information that identifies

        the date and time when those communications occurred and the identities of those




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               who engaged in them to members of the public who have adverse encounters with

               members of the Mayor’s NYPD security detail to the extent that those

               communications concern those adverse encounters.

     xv.       Orders Defendant City to provide me copies of all communications that its

               personnel have had about me since 2/1/16 in unedited and non-redacted form.

               This includes, but is not limited to all of the following:

                       1)     All communications that have taken place by using personally-

                              owned devices, personal e-mail accounts, personal encrypted

                              messaging accounts, and personal cell phone plans as well as by

                              using computers and other devices that are owned or leased by

                              Defendant City and e-mail, cell phone, and encrypted messaging

                              accounts that are administered and/or controlled by Defendant

                              City.

e.          Further declaratory, injunctive, and equitable relief through the immediate issuance of

an order that:

       i.      Orders Defendant City to immediately cause the CCRB and DOI to be provided

               all video recordings within 24 hours after a complaint is reported to them about

               illegal acts and omissions that are committed by members of the NYPD and other

               personnel of Defendant City that are recorded by video security cameras that

               Defendant City controls. This includes, but is not limited to illegal acts that are

               related to public forums that the Mayor conducts and occur on the dates and at the

               locations where the Mayor conducts them.

      ii.      Further orders Defendant City to make those video recordings available within 24




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       hours in unedited and non-redacted form to those who report such illegal acts and

       omissions to the CCRB and DOI.

iii.   Orders that the following Defendants are also required to be fired at the earliest

       possible instead of practical or convenient time from the jobs that they hold with

       Defendant City of New York largely pursuant to Section 1116 of the New York

       City Charter in response to the illegal acts and omissions that they committed

       against me in relation to my efforts to have lawfully attended the Mayor’s a)

       10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair, d) 3/18/19

       public hearing and that they are prohibited from being employed by Defendant

       City again:

              Stribula, Miller, Jane Doe1 10/12/17, Mason, Lance, Ranieri, Suzuki,
              NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD John
              Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17,
              NYPD John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane
              Doe2 10/12/17, NYPD Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17,
              Atcheson, Ringel, Ridener, Jane Doe1 10/18/17, Ioveno, Santana, NYPD
              John Doe1 10/18/17, NYPD John Doe2 10/18/17, NYPD John Doe3
              10/18/17, NYPD John Doe4 10/18/17, NYPD John Doe5 10/18/17, NYPD
              John Doe6 10/18/17, Redmond, Nieves, Baez, Gerola, Ventri, NYPD John
              Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD John Doe3 10/25/17,
              NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD John
              Doe6 10/25/17, Gungor, Klein, Zappia, Barker, NYPD John Doe1
              3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD
              John Doe4 3/18/19, NYPD John Doe5 3/18/19, Dwyer, Carrion, Ramos,
              de Blasio, Shorris, O’Neill, Vance, Jr., Byrne, Jr.

iv.    Orders the following defendants to immediately and fully reimburse the City of

       New York with pre-judgment and post-judgment interest for the total value of pay

       and benefits that they received that directly correspond to the length of time

       during which they were involved in the illegal acts and omissions that were

       committed against me in relation to my efforts to have lawfully attended the




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      Mayor’ a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair,

      and d) 3/18/19 public hearing:

             Stribula, Miller, Jane Doe1 10/12/17, Mason, Lance, Ranieri, Suzuki,
             NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD John
             Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17,
             NYPD John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane
             Doe2 10/12/17, NYPD Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17,
             Atcheson, Ringel, Ridener, Jane Doe1 10/18/17, Ioveno, Santana, NYPD
             John Doe1 10/18/17, NYPD John Doe2 10/18/17, NYPD John Doe3
             10/18/17, NYPD John Doe4 10/18/17, NYPD John Doe5 10/18/17, NYPD
             John Doe6 10/18/17, Redmond, Nieves, Baez, Gerola, Ventri, NYPD John
             Doe1 10/25/17, NYPD John Doe2 10/25/17, NYPD John Doe3 10/25/17,
             NYPD John Doe4 10/25/17, NYPD John Doe5 10/25/17, NYPD John
             Doe6 10/25/17, Gungor, Klein, Zappia, Barker, NYPD John Doe1
             3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD
             John Doe4 3/18/19, NYPD John Doe5 3/18/19, Dwyer, Carrion, Ramos,
             de Blasio, Shorris, O’Neill, Vance, Jr., Byrne, Jr.

v.    Restrains Defendant City’s personnel and agencies from continuing to commit

      illegal acts and omissions against me that violate my rights, especially in all areas

      that are public forums.

vi.   Restrains the City of New York from allowing the NYPD to provide more

      security and law-enforcement that would benefit members of the press in public

      forums and other public areas than what members of the NYPD extended to

      Plaintiff on 10/12/17, 10/18/17, 10/25/17, and 3/18/19 in relation to Plaintiff’s

      efforts to attend public town hall meetings, resource fair meetings, and public

      hearings that the Mayor conducted on those dates and to otherwise lawfully

      assemble inside of City Hall and on its property on 3/18/19 on the grounds that

      such greater security and law-enforcement would violate Plaintiff’s Fourteenth

      Amendment rights that pertain to selective-enforcement, equal protection, due

      process, and discrimination.




                                Page 346 of 359
     vii.    Declares that the ban that the Mayor announced that prohibits large gatherings of

             people in New York City and protests from being conducted is overly broad,

             pretextual, void, and unenforceable largely because it impermissibly violates core

             First Amendment rights as well as Fifth Amendment and Fourteenth Amendment

             rights that pertain to due process, selective-enforcement, equal protection, and

             liberty.

     viii.   Further declares that though it may possibly be advisable to wear a face mask in

             New York City, no one is required to do so partly because a) members of the

             NYPD are not themselves wearing face masks outside and b) doing so impedes

             the flow of oxygen to healthy people and impermissibly infringes upon the First

             Amendment rights that people have to engage in freedom of expression, such as

             by having people see them smiling, expressing affection by kissing, being able to

             yawn without having to wear a face mask, and having other facial expressions that

             they make seen by others. Although it is potentially dangerous to one’s health to

             engage in a wide variety of other activities that include driving a car because of

             the possibility that a drunk driver may pass by and having a drink in a bar because

             there is a possibility to breathe in second-hand smoke, bans on driving and

             visiting bars have not been imposed due to such risk factors.

      ix.    Similarly declares that the social-distancing restrictions in New York State are

             overly broad, void, and unenforceable for the same reasons just discussed and

             declares that those restrictions have been selectively-enforced by the NYPD in

             violation of the Fourteenth Amendment.

f.       Declaratory relief by declaring that the Mayor’s a) 10/12/17 town hall, b) 10/18/17




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town hall, c) 10/25/17 resource fair, and d) 3/18/19 public hearing were public forums that

were subject to New York State’s Open Meetings Law and that all actions that were taken in

relation to those meetings are void pursuant to Section 107 of New York State’s Public

Officer Law because those public forums were conducted in violation of New York State’s

Open Meetings Law.

g.     Injunctive and equitable relief by ordering Defendant City to immediately provide me

the following in unedited and non-redacted form:

      i.   Copies of all video recordings and photographs that were recorded and otherwise

           taken by Defendant City’s personnel inside of the buildings that hosted the

           Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair,

           and d) 3/18/19 public hearing between the time when a) the first member of the

           public entered those buildings on the dates when those public forums were

           conducted in relation to attending those public forums and b) everyone who

           attended those public forums exited those buildings after they concluded on the

           dates when they were conducted.

     ii.   Copies of all video recordings and photographs that were recorded and otherwise

           taken by Defendant City’s personnel in the areas where I interacted with the

           defendants on 10/12/17, 10/18/17, 10/25/17, and 3/18/17 at the sites of the

           Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair,

           and d) 3/18/19 public hearing while they and/or others illegally prevented me

           from attending those public forums through their illegal acts and omissions and

           otherwise caused me to be illegally ejected from the Mayor’s 3/18/19 public

           hearing and coerced to exit City Hall’s grounds on 3/18/19.




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     iii.     Copies of all records that have been in the possession of Defendant City’s

              personnel that pertain to the deliberations, planning, coordination, execution, and

              cover-up that took place in regards to my having been illegally:

                      1)      Prevented from attending the Mayor’s a) 10/12/17 town hall, b)

                              10/18/17 town hall, c) 10/25/17 resource fair, and d) 3/18/19

                              public hearing.

                      2)      Ejected from the Mayor’s 3/18/19 public hearing and coerced to

                              exit City Hall’s grounds on 3/18/19.

     iv.      Copies of all records that have been in the possession of Defendant City’s

              personnel that describe staff assignments that were issued to the members of the

              Mayor’s staff, the Mayor’s CAU, the members of the Mayor’s NYPD security

              detail, and the other members of the NYPD who were assigned work to do in

              relation to the Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17

              resource fair, and d) 3/18/19 public hearing.

      v.      Copies of all records that have been in the possession of Defendant City’s

              personnel that consist of the names and contact information for the members of

              the public who registered to attend the Mayor’s a) 10/12/17 town hall, b)

              10/18/17 town hall, c) 10/25/17 resource fair, and d) 3/18/19 public hearing as

              well as the names and contact information for the journalists who attended those

              public forums

h.         Injunctive and equitable relief by ordering Defendant City of New York to

immediately provide me all video recordings as an “.avi”, “.mp4”, or “.mov” computer file

that were recorded on 2/19/20 by all video security cameras that were installed in the school




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and are controlled by DOE that hosted the town hall meeting that the Mayor conducted on

that date between the times when the first member of the public was allowed into that school

for the purpose of attending that town hall until everyone who attended that town hall exited

that school.

i.        Compensation for all costs and attorney fees that are related to my pursuit of this civil

action.

j.        Equitable and injunctive relief that authorizes me and others that I may ask to help me

to paint, write, or draw any message or image of any size indefinitely throughout New York

City without needing pre-approval from anyone on any public street, sidewalk, public

passageway, concourse, and park indefinitely by using resources that will be provided to me

by the City of New York for that purpose.

k.        Equitable and injunctive relief that orders the City of New York to cause its NYPD to

accord whatever messages and images that I may paint, write, or draw in public areas

throughout New York City to receive equal law-enforcement protection that is accorded to

Black Lives Matter signs on streets in New York City, especially the one located in front of

Trump Tower in Manhattan.

l.        An award of damages against the following defendants pursuant to 18 U.S.C. §1986

for having not intervened on my behalf in relation to my effort to have attended the Mayor’s

he Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair, and d)

3/18/19 public hearing:

     The City of New York, Stribula, Miller, Jane Doe1 10/12/17, Mason, Lance, Ranieri,
     Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2 10/12/17, NYPD John Doe3
     10/12/17, NYPD John Doe4 10/12/17, NYPD John Doe5 10/12/17, NYPD John Doe6
     10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane Doe2 10/12/17, NYPD Jane Doe3
     10/12/17, NYPD Jane Doe4 10/12/17, Atcheson, Ringel, Ridener, Jane Doe1 10/18/17,
     Ioveno, Santana, NYPD John Doe1 10/18/17, NYPD John Doe2 10/18/17, NYPD John



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     Doe3 10/18/17, NYPD John Doe4 10/18/17, NYPD John Doe5 10/18/17, NYPD John
     Doe6 10/18/17, Redmond, Nieves, Baez, Gerola, Ventri, NYPD John Doe1 10/25/17,
     NYPD John Doe2 10/25/17, NYPD John Doe3 10/25/17, NYPD John Doe4 10/25/17,
     NYPD John Doe5 10/25/17, NYPD John Doe6 10/25/17, Gungor, Klein, Zappia, Barker,
     NYPD John Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John Doe3 3/18/19, NYPD
     John Doe4 3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur, Halk, Carrion, Ramos, de
     Blasio, Shorris, O’Neill, Vance, Jr., Byrne, Jr.


m.      An award of damages against the following defendants pursuant to New York State

General Business Law §349 for deception in relation to my efforts to have attended the

Mayor’s he Mayor’s a) 10/12/17 town hall, b) 10/18/17 town hall, c) 10/25/17 resource fair,

and d) 3/18/19 public hearing with respect to how those defendants conducted themselves as

criminal accomplices instead of the law-enforcement personnel that they technically were on

10/12/17 and 10/18/17, 10/25/17, and 3/18/19:

        Mason, Lance, Ranieri, Suzuki, NYPD John Doe1 10/12/17, NYPD John Doe2
        10/12/17, NYPD John Doe3 10/12/17, NYPD John Doe4 10/12/17, NYPD John
        Doe5 10/12/17, NYPD John Doe6 10/12/17, NYPD Jane Doe1 10/12/17, NYPD Jane
        Doe2 10/12/17, NYPD Jane Doe3 10/12/17, NYPD Jane Doe4 10/12/17, Ioveno,
        Santana, NYPD John Doe1 10/18/17, NYPD John Doe2 10/18/17, NYPD John Doe3
        10/18/17, NYPD John Doe4 10/18/17, NYPD John Doe5 10/18/17, NYPD John
        Doe6 10/18/17, Redmond, Nieves, Baez, Gerola, Ventri, NYPD John Doe1 10/25/17,
        NYPD John Doe2 10/25/17, NYPD John Doe3 10/25/17, NYPD John Doe4
        10/25/17, NYPD John Doe5 10/25/17, NYPD John Doe6 10/25/17, Gungor, Klein,
        Zappia, Barker, NYPD John Doe1 3/18/19, NYPD John Doe2 3/18/19, NYPD John
        Doe3 3/18/19, NYPD John Doe4 3/18/19, NYPD John Doe5 3/18/19, Dwyer, Mazur,
        Halk, O’Neill, Cyrus Vance, Jr., Byrne, Jr.


n.      An award of punitive damages for all of my claims set forth in this pleading.

o.      An award of pre-judgment and post-judgment interest.

p.      Declares that the Mayor’s 10/12/17 town hall was illegally conducted inside of a

public school.

q.      Equitable and injunctive relief that orders the City of New York to remove all

obstructions from public sidewalks, public streets, public parks, and public concourses that



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include traditional public forums within 24 hours that the NYPD and Mayor’s office has set

up and otherwise allowed to exist on them and to not setup such obstructions again in such

public areas nor otherwise allow them to exist on and in them without prior approval by this

Court. The existence of such obstructions on sidewalks violates New York City

Administrative Code §16-122(b). Also, such obstructions impermissibly infringe upon and

otherwise burden the First Amendment rights that people have to lawfully walk, bicycle, and

otherwise freely move about and congregate in such areas – especially on sidewalks and in

parks that are traditional public forums – while some who seek to do so may have various

disabilities that include blindness and physical ailments. Allowing such obstructions to exist

on public sidewalks, in public streets, in public parks, and on public concourses in New York

City is clearly inequitable and quite literally an insult to injury with respect to my claims in

this action that largely concern illegal acts and omissions that were committed against me

while no pandemic existed in New York City that prevented me from lawfully attending

public forums. It is patently inequitable to my countervailing interest and ability to lawfully

exercise my constitutional rights on public sidewalks and in parks to be curtailed by the

NYPD and Mayor’s administration during the ongoing Coronavirus pandemic to

accommodate such things as outdoor dining after the NYPD and Mayor’s administration

flagrantly, willfully, criminally, and repeatedly violated my constitutional rights to lawfully

attend public forums inside of buildings that the Mayor and other government officials

conducted. In the same way that I took a risk that I would be illegally prevented from

lawfully attending such public forums that the Mayor conducted while no pandemic existed

in New York City as I visited the sites where those public forums were conducted on the

dates when they were conducted, the owners of restaurants and other businesses that would




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benefit by being able to expand their operations on public sidewalks and in public parks in

New York City at the expense of my First Amendment, Fifth Amendment, and Fourteenth

Amendment rights to freely make use of all areas on such public sidewalks and public parks

that are traditional public forums took a risk that circumstances beyond their control would

possibly arise that would materially and repeatedly disrupt their ability to operate their

businesses. A reasonable, equitable, and creative accommodation may be made for owners of

businesses that wish to conduct their operations outside by having this Court order the

immediate bulldozing of City Hall; the NYPD headquarters, precincts, and training facilities,

and Gracie Mansion to allow such businesses to promptly expand their operations on account

of the fact that those locations have been the primary sanctuaries of mobsters dressed as

government officials and members of the NYPD that committed illegal acts and omissions

that rigged and stole the 2017 New York City government elections through voter

suppression, voter fraud, whistleblower retaliation, and terrorism that persists against New

Yorkers.

r.     Equitable relief that will have this Court adopt the practice in USA v. Donziger, No.

11-cv-0691(LAK)(RWL)(S.D.N.Y.) to similarly appoint private prosecutors to commence

criminal prosecutions against the defendants that this action concerns in response to criminal

acts and omissions that they committed and/or condoned against me that are addressed in this

complaint to remedy the fact that prosecutors have negligently refused to do so.

s.     Orders the City of New York to immediately implement a procedure by which all

members of the public can obtain free, unedited, and non-redacted copies of all video

recordings within 48 hours after they are recorded by video security cameras that are

controlled by the NYPD that will begin in the next 7 calendar days for which the following




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relevant facts apply to befit the public’s interest in government transparency, accountability,

being accorded proper due process while testifying in public hearings and otherwise talking

with government officials, and having a means with which to measure the extent to which a)

due process is and isn’t accorded to members of the public during such interactions members

of the news media inappropriately and consistently censor those who testify in public

hearings that aids and abets greater societal ills that include terrorism by the NYPD, voter

suppression, whistleblower retaliation, viewpoint discrimination, and voter fraud:

          i.   Such video recordings to be made available to the public within 48 hours

               include those that are recorded inside of City Hall’s building in all areas in

               which public hearings are conducted as well as all other public areas inside of

               City Hall’s building.

         ii.   Such video recordings to be made available to the public within 48 hours

               include those that are recorded by all video security cameras of those areas by

               video security cameras that are controlled by the NYPD.

        iii.   Such video recordings to be made available to the public within 48 hours also

               include those that are recorded outside of and in the immediate vicinity of

               City Hall’s building of the property of City Hall for all areas of that property.

        iv.    Such video recordings to be made available to the public within 48 hours

               include those that are recorded by all video security cameras of the areas just

               discussed by video security cameras that are controlled by the NYPD.

         v.    Such video recordings to be made available to the public within 48 hours also

               include those that are recorded of all areas of the sidewalks and other

               passageways and walkways that immediately surround City Hall’s property.




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         vi.   Such video recordings to be made available to the public within 48 hours

               include those that are recorded by all video security cameras of the areas just

               discussed by video security cameras that are controlled by the NYPD.

        vii.   Such video recordings to be made available to the public within 48 hours must

               be made available as types of video recordings that that have the file extension

               of “.mp4”, “.avi”, and “.mov” that can readily be played back on computers

               that run the operating systems for Windows and Macintosh computers without

               the need for special software to do so.

       viii.   Such video recordings to be made available to the public within 48 hours must

               include information in them that show the date and time when they were

               recorded.

t.     Restrains the City of New York from transferring the NYPD’s authority to issue and

revoke press credentials to another entity within Defendant City’s government.

u.     Immediately revokes the NYPD’s authority to issue and revoke press credentials and

empowers me and a group of other whistleblowers who are independent of the influence of

both a) Defendant City and b) alleged news organizations to act in the NYPD’s place to

determine who will and will not have press credentials issued to them as well as those who

will have their existing press credentials revoked to befit the public’s interest in transparency,

government accountability, and inappropriate and complicit censorship by the press that aids

and abets societal ills within an illegitimate, corrupt, and dysfunctional government.

v.     Declares that New York City has proven to be and remains an anarchist jurisdiction

largely because of illegal acts and omissions that the defendants in this action criminally

perpetrated in New York City in relation to the constitutional rights that people have to




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lawfully attend and participate in public forums in New York City.

w.     Declares that all restrictions that have been established in New York City by New

York State Governor Andrew Cuomo. Defendant de Blasio, and the NYPD that restrict

peaceful a) protesting and demonstrating activities outdoors and indoors and b) gatherings of

people indoors and outdoors for other purposes that may possibly include obtaining

information from witnesses and formulating plans to establish a class-action lawsuit against

the City of New York in relation to this case and related litigation that I commenced

impermissibly violate the First Amendment, are overly broad, is clear standardless discretion,

are an unlawful prior restraint on First Amendment rights, are being selective-enforced in

violation of the Fourteenth Amendment, and are void.

x.     Injunctive and equitable relief by ordering Defendant City to immediately provide me

within 24 hours all “Unusual Occurrence Reports” and related reports that members of the

NYPD were required to complete in relation to their acts and omissions against me that

caused and otherwise enabled me to have been a) prevented from attending the Mayor’s

10/12/17 town hall, 10/18/17 town hall, 10/25/17 resource fair, and 3/18/19 public hearing

and b) coerced to leave City Hall’s grounds on 3/18/19.

y.     Orders the City of New York to immediately provide me records of the names of the

NYPD personnel who were assigned to NYPD car number 5249 on 10/25/17 while it was

parked across the street from where I stood near the entrance to the property of the college

that hosted the Mayor’s 10/25/17 resource fair; clear photographs of the faces of faces shows

Defendants NYPD John Doe3 10/25/17, NYPD John Doe4 10/25/17, NYPD John Doe5

10/25/17, and NYPD John Doe6 10/25/17 in color that show them as they appeared on

10/25/17; and all communications that they engaged in about me on 10/25/17.




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z.     Orders the City of New York to immediately close the buildings in which New York

City’s Housing Courts operate that the City of New York maintains until 60 days after the

following occurs:

          i.   All New York City public libraries have fully re-opened to allow all members

               of the public to use the Internet access and other resources that such libraries

               make available that would be of benefit to pro se litigants who need Internet

               access and may not otherwise have that with which to:

                    1) Engage in legal research and prepare legal papers to properly prepare

                       for legal proceedings assigned to New York City’s housing courts.

                    2) Search for and apply for employment opportunities.

                    3) Stay abreast of news pertaining to the coronavirus and how best to take

                       care of themselves, their families, and friends to stay healthy during

                       the ongoing coronavirus pandemic.

                    4) Engage in research to make contingency plans about housing and other

                       matters.

                    5) Stay abreast of news pertaining to upcoming government elections that

                       directly impact their life.

aa.    Declares that video evidence and the totality of the circumstances sufficiently confirm

that Defendant de Blasio flagrantly, willfully, oppressively, and wantonly committed illegal

acts and omissions during the Mayor’s 3/18/19 public hearing against Plaintiff directly with

respect to Plaintiff’s status as a speaker and the general public by extension with respect to

public’s First Amendment right to receive information from speakers in violation of his oath

of office as the New York City Mayor, the First Amendment, Fourteenth Amendment, New




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   York State’s Open Meetings Law, New York City Charter §1116, NYPL §195.00, NYPL

   §215.10, 18 U.S.C. §1513(e), 18 U.S.C. §245(b)(5), 18 U.S.C. §241, 42 U.S.C. §1985, 42

   U.S.C. §1986, NYPL §240.20, NYPL §240.26, NYPL §240.65, and NYPL §175.25 partly by

   illegally subjecting Plaintiff to viewpoint discrimination and First Amendment in response to

   testimony that was protected activity that Plaintiff attempted to lawfully deliver during the

   Mayor’s 3/18/19 public hearing that was also the but-for cause for Plaintiff having been

   illegally seized, assaulted, and ejected from both the Blue Room in City Hall and City Hall’s

   grounds immediately thereafter without any due process having been accorded to Plaintiff

   that caused Plaintiff substantial and irreparable harm partly to his First Amendment

   freedoms.

   bb.    Orders the City of New York to immediately both suspend and terminate the

   employment of Defendant de Blasio as an employee of the City of New York and to bar him

   from future employment opportunities with the City of New York pursuant to New York City

   Charter §1116.

   cc.    Such other, further, and different relief as the interests of justice and equity may

   require.


Dated:         New York, New York
               October 17, 2020




                                                                 From,


                                                                 s_/Towaki Komatsu

                                                                 Plaintiff, Pro Se
                                                                 802 Fairmount Pl., Apt. 4B


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                  Bronx, NY 10460
                  (347) 872-1205
                  Towaki_Komatsu@yahoo.com




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Exhibit A
Exhibit B
Exhibit C
